Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 1 of 172




           EXHIBIT 13
                         [Part 1]
Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 2 of 172
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 3 of 172


                                         Fair Trade Commission

                                           Multi-party Meeting

                                               Decision no. 2011-019                        March 10, 2011

Case number: 2010Gukka2364

Case name: Wrongful joint actions by the 5 computer color monitor CDT manufacturers

Defendants: 1. Samsung SDI
               428-5 Gongse-dong, Giheung-gu, Yongin-si
               Representative Director:      Choi
               Agent: Shin & Kim
               Attorneys at law: Jung Won Park, Min Ho Lee, Oh Tae Kwon
               Agent: Apex Law Firm
               Attorney at law: Jung Hee Kang

              2. LG Philips Display
                 184 Gongdan 1-dong, Gumi-si
                 (Delivery address: Kyungbuk Samil Law Firm 34-3 Songjeong-dong, Gumi-si)
                 Temporary Representative Director:        Kim

              3. Chunghwa Picture Tubes, Ltd.
                 No. 1127 Heping Rd. Bade City, Taoyuan, 334, China (Taiwan)
                 Representative Director: Lin Wei Shan

              4. Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.




                                                                                           Exhibit
                                                                                           630-EF
        -1-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 4 of 172


                  Lot 1 Subang Hi-Tech Industrial Park Batu Tiga 40000 Shah Selangor, Malaysia
                  Representative Director: Kuang-Lang Chen

               5. CPTF Optronics Co., Ltd.
                  No. 1 Xin Ye Road, Mawai Hi-Tech Development Zone, Fuzhou, China
                  Representative Director: Sheng-Chang Lin
                  The agent for the defendants 3 through 5: Yoon & Yang
                  Attorneys at law: Ho Il Yoon, Jae Yung Kim, Dong Young Han




                                                    Text

1. The defendant Samsung SDI, the defendant Chunghwa Picture Tubes, Ltd., the defendant Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd, and the defendant CPTF Optronics Co., Ltd. should pay the following
fines to the government coffers.

A. Penalties

(1) Defendant Samsung SDI:                                          24,013,000,000 won
(2) Defendant Chunghwa Picture Tubes, Ltd.:                         2,198,000,000 won
(3) Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.:                    32,000,000 won
(4) CPTF Optronics Co., Ltd.:                                       28,000,000 won

B. Payment due date: Within the due date indicated in the penalty notification (60 days)

C. Place of payment: The Bank of Korea (Treasury Collecting Agency) or post office




        -2-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 5 of 172



                                                 The Reasons

1. The basic facts

A. The eligibility of the defendants

1       The defendant Samsung SDI Co., Ltd. (hereinafter referred to as “Samsung SDI” or “Samsung
Display Devices1”), the defendant LG Philips Display (hereinafter referred to as “LPD” 2), the defendant
Chunghwa Pictures Limited (hereinafter referred to as “Chunghwa Pictures”), the defendant Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd. (hereinafter referred to as “Chunghwa Pictures Malaysia”), and the
defendant CPTF Optronics Company Limited (hereinafter referred to as “Chunghwa Pictures Tubes
Fuzhou”) produces and markets CDT (color display tube)3 products, which are color monitor display
tubes for computers and are companies as defined under Article 2.1 of the Law on the Regulation of
Trusts and on Fair Transactions (revised to Law No. 7492 on April 1, 2006, hereinafter referred to as the
“Law”).

2       The defendant Samsung SDI and the defendant LPD are domestic companies who were
established according to the laws of the Republic of Korea and whose principal offices are located in the
Republic of Korea. The defendant Chunghwa Picture Tubes which was established according to the laws
of the Republic of China (Taiwan) and whose principal office is located in Taiwan, Chunghwa Picture
Tubes Malaysia which was established according to the laws of Malaysia and whose principal office is
located in Malaysia, and Chunghwa Picture Tubes Fuzhou which was established according to the laws of
the People’s Republic of China and whose principal office is located in the People’s Republic of China,
are foreign companies which were each established according to the laws of their respective countries
and whose principal places of business are located in their respective countries.

3        In regard to the jurisdiction over foreign companies and in regard to their status as defendants,
Article 2.1 of the Law merely states that “a business entity carries out manufacturing, service, or other
business activities,” not limiting the business entities that are subject to the Law to domestic companies.
Furthermore, Article 19.1 of the Law stipulates that the subject of violation is a “business entity,” and
doesn’t limit such business entities to domestic companies. Furthermore, according to Article 2.2 of the
Law, “the Law applies to those actions that impact the domestic market regardless of whether such
actions were carried out overseas.”




1
  The defendant Samsung SDI was established as Samsung NEC in 1970. In 1974, the company changed its name to
Samsung Display Devices Industrial Inc. In 1984, the company changed its name again to Samsung Display Devices
Inc. In November of 1999, the company changed its name to Samsung SDI.
2
  On March 30, 2010, the Kimchun branch of Daegu District Court appointed Mr. Kim, an attorney at law at
Kyungbuk Samil, as the temporary representative director. As a result, the address “Law firm Kyungbuk Samil 34-3
Songjung-dong, Gumi City” was included was included as one of the addresses to send documents related to this
case.
3
  The term cathode ray tube (CRT), also known as the Braun tube, refers to both the computer color monitor CDT
(color display tube) and the TV color monitor CPT (color picture tube).
          -3-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 6 of 172


4        Therefore, despite of the fact that some of the defendants that manufacture and market CDT
products, which are cathode ray tubes for computer color monitors, were established according to the
laws of foreign countries and have principal offices in foreign countries, the jurisdiction of the Law is
acknowledged over foreign companies to the extent of the impact on the domestic market caused by
any joint actions carried out with other companies overseas, so the Law applies accordingly.

5        Therefore, as can be seen in 3. A below, the defendants, which carried out wrongful joint actions
such as setting the sales prices of the CDT products which are computer color monitor cathode ray tubes,
from November 23, 1996 to March 14, 2006, allocating the market shares, and limiting the production
volumes (hereinafter referred to as the “joint actions in this case”), thereby impacting the domestic
market, are subject to the application of the Law in accordance with the stipulations of Article 2.1 and
Article 2.2 of the Law.

B. The corporate structures of the defendants 4 and other relevant information

1) Chunghwa Picture Tubes Group

6       The defendant Chunghwa Picture Tubes 5 is the parent company of the Chunghwa Picture Tubes
Group and the headquarters office is located in Taoyuan, Taiwan. 18.1% of the shares of the defendant
Chunghwa Picture Tubes are owned by Chunghwa Electronics Investment Co (18.1%), 12.8% are owned
by Tatung Company, and the rest are owned by the general public. During the joint action period, the
defendant Chunghwa Picture Tubes marketed CDT products and parts to the whole world, but currently
the company produces and markets TFT-LCD panels and related parts.




4
  Although Orion Electronics Co., Ltd. (hereinafter referred to only as “Orion) participated in the joint actions
related to this case, the liquidation process started in July of 2003. After the company was dissolved on October
31, 2005, the dissolution registration was completed. Due to the fact that the statute of limitations expired, the
company was excluded in the defendant list of this case. Both LG Electronics and Philips engaged in the CRT
business before transferring their respective businesses to LPD. However, after transferring the CRT business to
the defendant LPD on June 30, 2016 and July 1, 2001, respectively, these companies are no longer engaged in the
CRT business, which is related to the joint actions in this case. Furthermore, neither of the companies has directly
or indirectly dominated or participated in the decision making processes related to the pricing and production
volume of LPD. On top of that, the statute of limitations for the actions taken by LG Electronics prior to June 30,
2001 and the actions taken by Philips prior to July 1, 2001 has expired. As a result, these two companies have
been excluded from the defendant list.
5
  Hereinafter in this document, the term “Chunghwa Picture Tubes” refers to the corporate group that includes the
“Chunghwa Picture Tubes” headquarters, “Chunghwa Picture Tubes Malaysia,” and “Chunghwa Picture Tubes
Fuzhou” unless the term “Chunghwa Picture Tubes” is specifically used to refer only to the headquarters office to
the exclusion of the defendant Chunghwa Picture Tubes Malaysia and the defendant Chunghwa Picture Tubes
Fuzhou. First, the directors and employees of the defendant Chunghwa Picture Tubes participated directly with
the employees of the subsidiary companies in the cartel meetings to reach agreements or directed the subsidiary
companies to carry out the agreements. Second, as we can see in the statement of Jason Liu in the attachment of
the review report of this case dated May 14, 2008 (refer to page 267), due to the transfer of personnel within the
Chunghwa Picture Tubes Group, the same people carried out the joint actions in this case on behalf of both the
parent company and the subsidiary companies, reporting to both the Chunghwa Picture Tubes headquarters and
other subsidiary companies. Third, in agreeing on the market shares during the joint action period of this case,
other defendants regarded the Chunghwa Picture Tubes group as a single entity.
         -4-       Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 7 of 172


7        During the joint action period, the defendant Chunghwa Picture Tubes produced and marketed
CDT products directly or through its subsidiary companies Chunghwa Picture Tubes Malaysia and
Chunghwa Picture Tubes Fuzhou. The defendant Chunghwa Picture Tubes Malaysia is a wholly-owned
subsidiary of Chunghwa PT (Bermuda) Ltd., which is in turn wholly owned by the defendant Chunghwa
Picture Tubes, and produced CDT products until 2003. The defendant Chunghwa Picture Tubes Fuzhou
is also wholly owned by Chunghwa Picture Tubes through Chunghwa PT (Labuan) Ltd. and Chunghwa PT
(Bermuda) Ltd.6

2) Samsung SDI

8       The defendant Samsung SDI was established as Samsung NEC Co., Ltd. in 1970. In 1974, the
company changed its trade name to Samsung Display Devices Industrial Inc. and started to produce
semiconductors. In 1979, the company was listed in the Korean stock exchange. In 1984, the company
changed its trade name to Samsung Display Devices Inc. In November of 1999, the company again
changed its trade name to Samsung SDI Co., Ltd. The largest shareholder of Samsung SDI is Samsung
Electronics Co., Ltd.,7 which owns 19.68% of the shares. The rest of the shares are owned by the general
public. The company currently produces such products as PDP’s (plasma display panels), secondary
batteries, and OLED’s (organic lighting diodes). During the joint action period of this case, Samsung SDI
manufactured CDT products in its factory located in Suwon, Korea and in its factory located in Busan,
Korea, marketing the CDT products to such domestic customers as Samsung Electronics, Daewoo
Electronics, Hansol Electronics, Hyundai Electronics, and LG Electronics. However, the Suwon factory
closed in 2006 and the Busan factory closed in 2007. Currently, the company doesn’t produce CDT
products anymore.




6
                     Chunghwa Picture Tubes, Ltd.
                 41.03%                             100%
       Chunghwa PT (Labuan) Ltd.         58.97% Chunghwa PT (Bermuda) Ltd.
                  10.61%                 78.20%      100%
   Chunghwa Picture Tubes Fuzhou                 Chunghwa Picture Tubes Malaysia
7
  Hereinafter, the term “co. ltd.” will be omitted when referring to companies.
         -5-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 8 of 172


3) LPD

9        LPD was established by LPD Holdings (LG Philips Displays Holdings B.V.), which is a holding
company established in Eindhoven, the Netherlands, as a joint venture created when LG Electronics and
Philips Electronics (Kninklijke Philips Electronics N.V.) transferred their CRT business units. Since its
founding, the company has been under the control of LPD Holdings. LG Electronics transferred its CRT
business unit to LPD on June 30, 2001 and Philips Electronics (Kninklijke Philips Electronics N.V.)
transferred its CRT business unit to LPD on July 1, 2001. Specifically, LPD Holdings, which was invested
equally by LG Electronics and Philips Electronics, is the sole owner of LPD Investment (LG Philips Displays
Investment B.V.). LPD Sittard (LG Philips Displays Sittard B.V.) and LPD Stadskanaal (LG Philips Displays
Stadskanaal B.V.) each own 50% of the shares of LPD.

10     LPD produced CDT’s in the Gumi factory and in Changwon factory, which are all located in Korea,
and sold these products to such customers as LG Electronics, Samsung Electronics, and Hansol
Electronics. In January of 2006, LPD Holdings started bankruptcy proceedings at a court in the
Netherlands and is in the middle of a liquidation process. LPD transferred its CRT production and
marketing facilities to Merdian Solar & Display Co., Ltd, which is wholly owned by MGA Holding
Corporation Limited, a company located in Hong Kong, and closed business on December 10, 2009.
Currently, the company is not engaged in any specific business activities.

4) The financial information of the defendants

The financial related to the defendants is as shown in Table 1 below.




<Table 1>                       General information of the defendants
                                                                                  (1 million won, as of 2009)




        -6-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 9 of 172



                                        Chunghwa           Chunghwa
                      Chunghwa
    Classification                     Picture Tubes      Picture Tubes       Samsung SDI          LPD (’08)8
                     Picture Tubes
                                         Malaysia            Fuzhou
      Capital          5,954,641          263,632            330,001             240,681             584,125
       Sales           1,745,415          174,831            150,145            3,550,584           422,965
     Ordinary
                         385,096            44,327             169,298           231,141             59,130
     income
    Operating
                        1,068,534           21,206             39,880            88,229              6,199
       profit
    Net income           373,170            44,291             69,221            217,992             262,508

            * Source: Information submitted by the defendants and data from the electronic disclosure
           system of the Financial Supervisory Service

2. The Market Structure and the Market Situation

           A. The related products

11      The CRT (cathode ray tube) is generally known as “Brawn tube” in Korean. The CRT is a vacuum
tube which displays videos, diagrams, or texts with electronic beams and is used in color TV’s and
computer monitors. The CRT is a core display component which had been used widely before such flat
panel displays as LCD’s or PDP’s became widespread.

12      The CRT is classified into the CDT or CPT depending on the usage. The CDT (color display tube)
under this case is used in color monitors for computers and the CPT (color picture tube) is used in color
monitors for TV’s. The two products are different in the following ways;

13        First, in terms of product characteristics, the CDT is designed for the purpose of displaying
mainly texts or still pictures. So, the CDT is excellent in terms of resolution and contrast, but is relatively
inferior in terms of brightness. On the other hand, the CPT is excellent in terms of brightness because it
is required to display moving pictures on TV, but is relatively inferior in terms of resolution and contrast.
Due to such technological characteristics, the CDT and the CPT are not compatible. The product size is
indicated in inches (“). The CDT sizes are standardized at 14”, 15”, 17”, and 19”. On the other hand, due
to the fact that there are various performance criteria and designs for TV’s depending on the
manufacturer, the CPT sizes are very diverse, ranging from 6” to 36”.




8
 LPD transferred its CRT business to another company on June 8, 2009 and is not engaged in any business
activities. As a result, the 2008 data is provided here.
          -7-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 10 of 172


14      Also, depending on the curvature of the product surface, the CPT is classified into flat screen or
curved screen. Although the flat screen is superior for displaying videos, the price is high. Also, the
lower the reflection rate of the CRT, more advanced technology is required, so the price is higher. Also,
depending on whether the deflection yoke (DY) 9 is attached or not, the CRT is classified into bare tube or
integrated tube component (ITC). Due to the fact that some CRT customers wanted to purchase bare
tubes onto which they can attach their own deflection yokes, the defendants produced and marketed
two types of products.

<Diagram 1>                                            The CRT Structure


                                            Glass bulb




        Shadow mask




                                                                                               Electronic
                                                          Deflection                           gun
                                                          yoke

<Diagram 2>                                             CRT Classification
    Classification                          CDT                                              CPT
     Major use        Computer monitors                               TV monitors
      Structure       Dots applied (mask structure)                   Stripes applied (mask structure)
                          A spherical fluorescent substance is used        For brightness, the fluorescent substance
                          to improve resolution                            is formed vertically to use the fluorescent
                          Documents or diagrams are viewed up              substance area broadly
                          close                                            Moving pictures are viewed from a few
      Difference
                          The fluorescent substances are arranged          meters away
                          so that the distance between the                 The short afterglow fluorescent substance
                          fluorescent substances is consistent in          is used
                          any direction
                          Because the dot hole is small, resolution       Because the dot hole is broad, the
                          is high                                         resolution is low
    Characteristics       Brightness is low due to the large area         Because the lighting area is broad,
                          being lighted                                   brightness is high
                          There are afterglows                            There are no afterglows
         Size         12”~28”                                         6”~36”
* Source: KIS Credit Information Service Industry Report (CRT), February 21, 2007
B. The general characteristics of the CRT industry


9
 This is the most important component of the CRT magnetic device. In order for the electronic signals transmitted
as time series to be reproduced as video on the CRT, the electronic beams fired from the electronic gun should be
two-dimensionally deflected. The device that is used here is the deflection yoke.
          -8-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 11 of 172


15       Due to the fact that the CRT is a core component of home TV’s and computer monitors, the
demand for the CRT is sensitive to the demands for these products. Actually, the demand for the CPT
increases in even years when such international sports events as the Olympic Games and World Cup are
held and the demand for the CDT increases during the school opening season. Due to the fact that the
CRT is standardized, mass production is feasible. However, due to the requirement of large capital,
production is carried out mainly by large corporations which have the necessary capital. Due to the fact
that the strategic relationship with parts manufacturers is important for the industry, most CRT makers
are vertically integrated with electronics producers and computer producers.

C. Changes in the CDT market situation

16        In the 2000’s, the global CRT market has decreased in size with the growth of the flat panel
display products such as the LCD, PDP, and OLED. With the growth in the notebook PC market, the
demand for LCD monitors has accelerated, resulting in the rapid decrease in the CDT market.
Furthermore, with the digitalization of broadcasting companies, the CRT TV sales decreased, especially
in the advanced countries. In 1999, the CDT held 84% market share of the global computer monitor
market. However, in 2004, the market share decreased to 40%. In 2003, the CPT held 95% of the global
TV market. However, in 2006, the market share decreased to 75%. 10 However, due to the fact that it is
possible to produce completely flat CRT’s and that the high resolution technology became available, slim
CRT TV’s were launched. As a result the demand for low-end models such as premium CRT products is
still present in the emerging countries such as Southeast Asian countries, Eastern Europe countries, and
China where the diffusion level for PC’s and TV’s is low.

<Diagram 2>                          Changes in the Sales of the Global CDT Monitors                 (10,000 units)




10
     Source: Display market research company iSuppli, Display Search report (December 19, 2006)
           -9-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 12 of 172




* Source: Display Search 3Q of 2007

17     With the rapid growth of the flat display industry (e.g. LCD) in recent years, the demand for the
CDT, which is the subject of this case, resulted in the downward pressure on the CDT price.

<Diagram 3>                              Changes in the CDT price                                      (in dollars)

 Classification         2003              2004            2005              2006             2007
   CDT price            56.08            51.98            45.97             45.06            48.54
* Source: KIS Credit Information Service CRT Industry Report (February of 2008), Samsung SDI Business
Report

<Diagram 3>                                Changes in the CDP Price (graph)




        * Source: KIS Credit Information Service CRT Industry Report (February of 2008)

D. The competitive situation in the global CDT market and in the Korean CDT market

18       Starting in the 1980’s, the global CDT industry had been led by the Japanese companies such as
Matsushita, Hitachi, Sony, and Toshiba, but the Japanese companies started to stop producing the CDT’s
in the late 1990’s and in the early 2000’s. As a result, the defendants of this case started to supply the
CDT products in the global market and in the Korean market.


        -10-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 13 of 172


19      As illustrated in Diagram 4 below, the defendants of this case have been supplying 85% of the
CDT’s in the global CDT market after 2002. Also, the domestic CDT cartel comprised of Samsung SDI,
LPD (LG Electronics before July of 2001), and Orion (up until around 2003) has supplied at least 90% of
the supplies in the Korean CDT market.

<Diagram 4>                                  Global CDT market share by company

                                                                                                       (%)
  Company\year               2002                2003                  2004               2005
   Samsung SDI               33.5                 39.0                 42.0               43.8
        LPD                  28.1                 30.7                 32.1               32.2
Chunghwa Picture
                             22.9                 23.6                 22.1               22.8
      Tubes
     Subtotal                84.5                 93.3                 96.2               98.8
      Others                 15.5                  6.7                  3.8                1.2
       Total                 100.0               100.0                100.0               100.0
* Source: Display Search, Stanford Resources Display Insight, Samsung SDI Business Report

20      The size of the global CDT market in 2002 was around 5 trillion won. However, the market size
has been reduced continuously, and as a result the market size in 2005 was reduced to 1.8 trillion won.
The Korean market experienced a similar trend. In 2000, the market size was 45 billion won, but the
market size is estimated to have been reduced to around 50 billion won in 2005 due to such factors as
the transfer of CDT monitor factories to other countries.

<Diagram 5>                        Global CDT Market Size and Korean CDT Market Size

                                                                                            (Million won)
        Year                   Global CDT market size                        Korean CDT market size
        2002                         5,344,794                                      452,000
        2003                         3,948,489                                      154,000
        2004                         3,199,409                                      130,000
        2005                         1,866,766                                       49,892
* Source: Data submitted by the defendants

E. The distribution structure of the CDT




        -11-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 14 of 172


21       The CDT, which is the product related to which the joint actions were carried out, has the
following distribution structure: Raw materials producers CDT producers, who are the defendants in
this case Computer monitor producers, who are the customers of the defendants PC producers
Final consumers. Most monitor producers deliver monitors to specific PC producers as OEM producers.
Most CDT producers are Asian companies such as Korean companies and Taiwanese companies. Most
Taiwanese monitor suppliers provide monitors to American PC manufacturers such as Dell and HP and
overseas PC manufacturers as OEM producers.

22      During the joint action period in this case, the CDT customers were classified into 6 major
customers and 6 minor customers. The 6 major customers as jointly recognized by the cartel
participants in this case were South Korea’s Samsung Electronics, LG Electronics, Philips, Lite-On, AOC
and EMC. Also, the 6 minor customers were South Korea’s Hyundai Electronics and Hansol Electronics,
Ben-Q, Compal, Delta, Tatung.

23       Generally, computer monitor producers transact with multiple CDT manufacturers. The first
reason is to induce price competition among the CDT manufacturers by maintaining relationships with
multiple suppliers because computer monitor producers want to purchase CDT’s at the lowest possible
prices. Second, due to the fact that these products are technologically standardized, these products can
be used in monitors after conducting sample tests over a period of time regardless of the manufacturer.
Lastly, the CDT customers want to have secondary and tertiary suppliers ready to supply them with the
CDT products to prepare for the spike in demand. As a result, they maintain relationships with multiple
CDT manufacturers.

F. Price determination
24       The defendants in this case did not have list prices. Rather, the price and quantity of the CDT’s
were determined based on a case-by-case negotiation with each customer. The negotiations took place
on a monthly basis to determine the price and quantity. However, in the event that there was any
imbalance between the supply and demand, negotiations could take place many times in a given month
at the request of the party with the bargaining power.




        -12-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 15 of 172



25      The price negotiation processes of the defendants in this case proceeded similarly. First, before
the price negotiation started, the sales and marketing directors of the headquarters office of each
defendant group set up an internal target sales price based on the production capability, desired sales
quantity, market price, and expected changes in the supply and demand situation. 11

26      On the other hand, the price negotiation started when the customer provided the defendant
with the purchase order (PO) which included the target price and the desired quantity. Each of the
defendants used the price guideline established through the above process when negotiating with the
customer. The final sales quantity and sales price were determined by taking into consideration the
relationship with the customer, the inventory level, and the production plan. At this time, the sales
manager at the overseas subsidiary company discussed with the director at the headquarters office. For
major customers, volume discounts were sometimes applied. On the other hand, the employees at the
overseas subsidiary company sometimes had the power to determine the sales price for small-scale
orders within the bounds of the price range preapproved by the final price decision maker at the
headquarters office.



3. Wrongful Joint Actions

A. Actions

1) Summary of the joint actions in this case

27       The defendants in this case jointly set up the CDT sales price, allocated the CDT market share,
and agreed on the limitation of production. In order to smoothly carry out such agreements, the
defendants periodically exchanged confidential sales information. The joint actions in this case occurred
at least from November 23, 1996 to March 14, 2006. During this period, the defendants periodically
held multi-party cartel meetings. These meetings were referred to as “CDT glass meetings.” However,
when the number of the companies in the cartel changed due to such occurrences as bankruptcies or
joint ventures, these meetings were referred to as “5-party meetings” or “3-party meetings.”




11
   During the routinely –held cartel meetings, the companies shared information regarding the above mentioned
issues, jointly set the sales prices, and agreed to reduce production and set market shares. When setting the sales
prices and deciding on the production level, the defendants took the agreements into consideration.
          -13-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 16 of 172


28      During such meetings, the defendants exchanged such sensitive sales information as each
company’s production capacity, operation rate, production plans, sales prices, customer demands, and
customer reactions. Based on such information, the defendants allocated production quotas to meet
the CDT market’s demand, jointly set up the sales prices, and periodically agreed to reduce production
in order to maximize each company’s profit. At each meeting, the companies checked whether other
companies adhered to the agreements reached during the previous meeting.

29      On the other hand, the cartel meetings were held at different levels, from the top level meetings
to the working level meetings. Specifically, during the top level meetings, CEO’s or high-level directors
participated to confirm the need for cooperation among the companies in the industry and the overall
principle of cooperation. Right below the top level meetings were the management level meetings
during which the senior sales directors participated in order to agree on the allocation of market shares
and on production cutbacks. Lastly, during the working level meetings in which the sales and marketing
people participated, detailed market information was exchanged and whether the agreements reached
at the management levels were carried out. These cartel meetings were held in various Asian countries
such as South Korea, Taiwan, Malaysia, Indonesia, Thailand, Hong Kong, China, and Japan, and in various
European countries.

30       The types of agreements reached at the cartel meetings can be classified broadly into three
categories. First, the defendants agreed on the sales prices. The means of agreement to the sales price
were shown in the forms of joint setting of the sales price, the extent of increases (decreases) in the
sales prices, and the minimum prices. To carry out the above, the defendants exchanged information on
the supply and demand in the CDT market, the customer reactions each company learned based on
negotiations with the customers, and the price changes of the raw materials. Furthermore, the
defendants fixed target prices and agreed on the reasons for any price increases, even agreeing on
which member company was to inform which customer on the reasons for the price increases. The
agreed prices could be adjusted by taking into consideration the differences in quality. Sometimes, the
price could be adjusted by reflecting the differences in product specifications. Second, the defendants
agreed on production reduction. The defendants either agreed on the number of days production was
to be stopped or jointly established a plan to close the production line. Furthermore, in order to
effectively carry out the production reduction agreement, each company designated auditors and
agreed to allow these auditors to audit the production facilities. Third, the defendants even agreed to
allocate the market share for each customer. The defendants agreed on the allocation of market share
based on the sales volume of each company during the period prior to any given cartel meeting, thereby
reducing competition and stabilizing the market shares.




        -14-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 17 of 172


31       Besides explicitly agreeing on the above, implicitly agreed upon or mutually recognized the
following issues. For example, the defendants hid evidences related to the agreements in order to
maintain the cartel’s discussions confidential. Also, when disputes arose, the directors resolved the
issues. Furthermore, the defendants exchanged important information such as information pertaining
to production, prices, and customer demands. In the event that any agreement was not carried out, the
company that failed to carry out the agreements was criticized or other companies implied the
possibility of retaliation to prompt the member companies to carry out the agreements. These implicit
agreements were necessary for the explicit agreements to be carried out efficiently and these implicit
agreements were reached as a matter of course as more cartel meetings were held.

        2) The agreements

        A) The basic principles and structure of the joint actions

        (1) The motivation for the formation of the cartel

32        The defendants started the bilateral contacts in 1995. The companies that participated in the
initial two-party meetings in the CDT industry’s heyday exchanged CDT market information one on one.
Such information could have been acquired through market research companies or customer companies.
However, such information from competitors was more reliable. Furthermore, as the exchange of
information continued intermittently, the defendants ultimately started to jointly determine the sales
quantity or sales price.

33      Specifically, during the multi-party meeting held on November 23, 1996 with the top level
managers from Samsung Display Devices12, Chunghwa Picture Tubes, and Orion present, the participants
agreed on the basic principles of the cartel, namely “collectively reducing production in order to resolve
the excess supply of the CDT’s” and “refraining from reducing the prices which would lead to cut-throat
competition.” From then on, the defendants started to share other companies’ confidential sales
information, thereby jointly determining the sales prices and the production volumes in order to
maximize profit.




12
  The company name Samsung Display Devices is to be used when describing any actions carried out by the
defendant before the company changed its name to Samsung SDI in November of 1999.
        -15-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 18 of 172



<Table 6> The statement of President OOO Jing of Chunghwa Picture Tubes made on May 14, 2008
     Answer (1) I think that even if the information disclosed in the CDT multi-party meetings
     was not always accurate, such information helped all the participants. The information
     obtained through the CDT multi-party meetings was each company’s confidential sales
     information not disclosed in the marketplace. I believed that such information allowed us
     to prevent the price from falling further, ensuring that we receive a higher price.

                                                 (Evidence sogap 1-1, page 275 of the review report)

(2) The participants in the cartel meetings13

34      During the period in which the joint actions in this case were carried out, the participants in the
cartel meetings from Chunghwa Picture Tubes Group were Representative Director C. Y. Lin, Vice-
president C. C. Liu, S. J. Yang, Jason Liu, Tony Chien, Tony Cheng, Alex Ye, Michael Du, Christina Tsie,
Edward Cheng, and Yvonne Ling-Yuan. The participants from Samsung SDI were Representative Director
Sohn, Vice-president Kim, Mr. Ra, Mr. Lee, Mr. Kim, Mr. Song, and so on. The participants from LPD
were Director Yang, Vice-president Choi, Mr. Park, Mr. Koh, Mr. Jeon, and so on.

(3) The structure of the cartel meetings

35      The cartel meetings in this case can be classified into the top level meetings which were held
each quarter or semi-annually, the management level meetings which were held monthly, and the
working level meetings which were held monthly as well. The CEO’s or CRT business unit heads
participated in the top level meetings to reach high-level agreements. During the management level
meetings, the directors from each company participated in order to reach specific agreements on such
areas as the market share and the reduction in production volume.




13
  Among the directors and employees belonging to the Chunghwa Picture tubes group, C. Y. Lien worked as the
representative director of Chunghwa Picture tubes from 1983 to May of 2007, C. C. Liu worked as the sales and
marketing vice-president of Chunghwa Picture Tubes from 2000 to 2005, S. J. Sheng worked as a senior VP of
Chunghwa Picture tubes from 1997 to June of 2007, and Jason Liu worked as a sales manager of Chunghwa Picture
Tubes Malaysia from September of 1994 to November of 1998, worked as a CDT sales manager of Chunghwa
Picture Tubes Fuzhou from 1998 to November of 2001, worked as the vice-president of Chunghwa Picture Tubes in
2006, and worked as the president of Chunghwa Picture Tubes Fuzhou from July of 2006 to May of 2007. Among
the Samsung SDI directors and employees, Mr. Sohn worked as the representative director of Samsung Display
Devices from January of 1996 to January of 1999 and Mr. Kim worked as a senior managing director (headquarters
head) for Samsung Display Devices and Samsung SDI from February of 1998 to March of 2001, worked as the vice-
president of Digital Display from March of 2001 to February of 2002, and worked as the vice-president of Samsung
SDI from March of 2002 to February of 2003. Among the directors and employees belonging to LPD, Mr. Yang
worked as a registered director of LPD from February of 2002 to September 22 of 2006, and Mr. Choi worked as a
CRT managing director from July of 2001 to January of 2003, and worked as the CPO vice-president from February
of 2004 to January for 2006.
         -16-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 19 of 172


In the working level meetings, specific sales related information to be provided to the top level meetings
or management level meetings was exchanged. Furthermore, whether the agreements of the previous
meetings had been carried out was checked during the working level meetings. The above facts can be
confirmed by a statement made by a participant in the cartel meetings.

<Table 7> The statement of General Manager Song of Samsung SDI made on June 18 and June 19 of
2009
 Answer (2) The cartel meetings were broadly classified into the top meetings, management
 meetings, and working level meetings.
  First, in the top level meetings, the CDT sales heads (senior managing directors) participated and
 these meetings were to be held once per quarter in principle. During these meetings, the issues
 that had been agreed on at the management level meetings were shared and the participants could
 grasp the CDT industry trend. Below the top level meetings were the management level meetings
 participated by the sales team heads (managing directors). These meetings played the most
 important part for the cartel. These cartels were supposed to be held each month, in principle. In
 many cases, these meetings were held along with the “green meetings” at hotels or resorts that had
 a golf course. Below the management level meetings were the working level meetings. The sales
 managers who worked in the Taiwan branch office of each company participated in such meetings.
 These meetings were held each month and each company’s office in the downtown Taipei was used
 as the meeting place. The working level meetings were held 1 week prior to the management level
 meetings to support the management level meetings.
                                                    (Evidence sogap 2-1, page 304 of the review report)

(4) How the cartel meetings were held

A company was designated as the “presiding company” over a period of from 6 months to 12 months.
The presiding company was responsible for such administrative tasks as selecting the meeting dates and
places and making hotel and transportation reservations. Also, the directors from the presiding
company presided over the cartel meetings. The meeting information was exchanged at the working
level, and such information was provided mainly via emails or telephone.

<Table 8> The statement of President Jason Liu of Chunghwa Picture Tubes made on May 14, 2008

 Answer (3) The company entrusted with the responsibility of acting as the presiding company was in
 charge of gathering the related information. For example, when Samsung SDI was the presiding
 company in 2005, Samsung SDI gathered and edited such information for the most part. Until
 March of 2006, Chunghwa Picture Tubes was the presiding company, so the company carried out
 such tasks.                                     (Evidence sogap 1-1, page 275 of the review report)

<Table 9> The statement of General Manager Song of Samsung SDI made on June 18 and June 19 of
2009




        -17-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 20 of 172


 Answer (3) In contrast to the working level meetings which were conducted relatively freely, the
 management level meetings were conducted with prepared meeting materials. In the management
 meetings, the participants took turns to act as the chairman. In most cases, the chairman was
 responsible for making reservations for the meeting room, gold course, room and board, and
 transportation as well as for presiding over the meeting.

                                                     (Evidence Sogap 2-1, page 307 of the review report)


37      The cartel meetings were conducted in English and the presentation materials used during the
meetings were exchanged and confirmed by the sales and marketing people before being distributed.
The market information to be exchanged among the participants or issues to be agreed upon were
either projected on the wall or prepared on a whiteboard by the chairman. The participants confirmed
the issues to be agreed on before reaching any agreement.

<Table 10> The statement of General Manager Song of Samsung SDI made on June 18 and June 19 of
2009

 Answer (2) For this, Yvonne of Chunghwa Picture Tubes provided a standardized excel spreadsheet
 to each of the participants and requested the participants to fill the new sales data after the
 previous meeting in the respective columns. Yvonne then participated in the working level meeting,
 projecting the Excel data on the wall with a projector for the participants to confirm whether the
 agreed-upon market shares were being adhered to well, and if there were any discrepancies,
 explanations were provided and the participants discussed about future adjustments.

 Answer (5) There were no separate documents to verify that agreements were reached.
 Discussions were carried out during the working level meetings. Then, at the management level
 meeting participated by the sales team heads, the details of the agreements to be kept by the
 participating companies were discussed and confirmed and the participants expressed their
 agreements either explicitly or implicitly.

                                      (Evidence Sogap 2-1, page 306 and page 309 of the review report)



38      During the collusion period in this case, the cartel meetings proceeded in a set pattern. First,
when a meeting started, during the “market update” session, the member companies presented
sensitive information such as information on the production volume, operational capability, sales
volume, sales price, negotiations with their customers and so on. Then, the member companies
compared the global demand and supply to review whether the agreement to increase the price could
be implemented effectively. Afterwards, the member companies checked other member companies
regarding whether the agreements of the previous meeting were being carried out properly. After
confirming with any companies that were being suspected of not carrying out the agreements based on
the information from the customers or market, either the breaching companies promised to adhere to
the agreements or actions were taken against the breaching companies.
<Table 11> Statement of General Manager Song of Samsung SDI made on June 18 and June 19 of 2009

        -18-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 21 of 172



   Answer 13) During the management level meeting, the sales volume of each model for each
   company in that month was checked first. The next session was the “M/S Review” session, during
   which the companies checked whether the market shares which had been agreed at the beginning
   of the year were being adhered to properly. The next session was the Line Control Plan or Lone
   Shut-Down Schedule session during which the companies discussed about whether CDT factories
   located across the globe either stopped or close production lines according to the plan. Also, on
   several occasions during the meetings, the companies agreed on the standard price for each model.
   The major CDT monitors were 14 inch, 15 inch, 17 inch, and 19 inch models. The companies agreed
   on the standard prices based on the major specifications of each model (e.g. coating, DY integration,
   mask materials, etc.)

                                                      (Evidence Sogap 2-1, page 307 of the review report)

39      Also, in order to increase the price or minimize the price drop, the defendants allocated the
market share for each company or agreed to reduce the production volume. In order to match the
supply artificially to the overall demand, the companies agreed to allocate the amount of supply to be
reduced by each company and to allocate the sales volume for each major customer. Furthermore, in
order to ensure that the agreements would be carried out, the companies agreed on how to specifically
audit the member companies.

<Table II> Statement of General Manager Lee of Samsung SDI made on July 7 and July 8 of 2009

  Answer 14) In order to maintain the sales prices at a certain level, the excess supply had to be
  resolved. For this, the companies agreed to jointly control the supply. So, during the early 2000’s,
  the companies submitted the monthly closing days to stop operation on specific number of days, to
  notify the designated personnel in other companies, and to allow these people to actually visit the
  companies to check whether the agreements were being implemented. I visited competitors’
  factors on line audits in the first half of 1999. Also, I remember that the people from Chunghwa
  Picture Tubes and LPD visited our company.          (Evidence Sogap 2-2, page 308 of the review report)


40     Lastly, during the AOB (any other business) session, the participants decided on the next
meeting’s date and place before ending the meeting.

(5) Details of the agreements

41       During the cartel meetings, in order to avoid competition, the defendants allocated the global
CDT market or market share for each customer. Furthermore, the defendants agreed to reduce
production volume in order to prevent the price from decreasing due to excess supply. In addition, the
defendants agreed on the measures of price fixing in order to carry out the above agreements
effectively. In the case of the sales price agreement, such specific agreements as prohibiting the sale of
defective products, which could have an adverse effect on the market prices, and synchronizing the
price increases were included.



        -19-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 22 of 172


42       Specifically, the “market share allocation” agreement comprised of such details as the allocation
of the global CDT market share based on the sales volume in the previous year, the allocation of a
market share for a specific customer, and the designation of a major supplier and a secondary supplier
for each customer. The “production volume reduction” agreement was comprised of the agreement on
the number of operational days per month, the agreement to close production lines located across the
globe, and the agreement on the audit system to directly confirm the production line stoppage in order
to check whether the above agreements were being carried out.

<Table 12> The statement of President Jason Liu of Chunghwa Picture Tubes made on May 14, 2008
  Answer 10) Broadly, agreements were made on the price, production, and market share. First, regarding the price,
  agreements on the price increases and on the minimum, floor, or bottom prices were made. Also, agreements were made
  on the sales prices to individual customers. For instance, agreements on the specific prices to be offered to the 6 major
  customers by the primary suppliers were made. In addition, agreements on the specific prices to be offered to the 6
  major customers by the secondary suppliers were made. Furthermore, agreements on the differences in price between
  the 6 major customers and small customers were made. During the CDT cartel meetings, the companies determined
  which companies were to notify to the customers of any price increases and jointly determined the timing of any price
  increase and the reasons behind the price increase.
  Also, the companies agreed on the market shares. For instance, the market shares of the global CDT market and the
  market shares of the participating companies for each major customer as well as the market shares for each major
  customer were agreed. During each meeting, the companies checked whether the agreements were adhered to. The
  market shares were sometimes allocated to each company based on the global sales in the previous year or previous
  quarter. Sometimes, market share were allocated to the companies for a particular customer. The market shares were
  allocated based on the global market, so the meeting participants could effectively maintain the agreed prices.
  Lastly, agreements were made on the production volume. First, the global CDT demand was projected. Then, in order to
  prevent the CDT prices from falling, each participating company was allocated production volume according to the
  projected demand. The companies participating in the CDT meetings exchanged the monthly production stoppage plans
  before the start of each meeting. During the meeting, the number of stoppage days was decided for each company.
  Furthermore, as the CDT market was gradually decreasing, the multi-party glass meeting participants agreed to close some
  of the production lines located across the globe voluntarily. The companies agreed to reduce production because it was
  not easy to determine whether price agreements were followed by the companies. Sometimes, in order to check whether
  the production reduction agreements were being followed, the participating companies sent their employees to other
  companies to directly audit whether these companies stopped production or closed lines.
                                                                         (Evidence Sogap 1-1, page 273 of the review report)


<Table 13> The statement of General Manager Lee of Samsung SDI made on July 7 and July 8 of 2009
  Answer 19) Although the B products made up less than 1% of the total production, the companies
  agreed to “stop the sale of B products” because these products had an adverse effect on the overall
  market prices. The companies agreed not to recognize any “buffer period” because if any buffer
  period was allowed for each customer after reaching an agreement on the price, those companies
  who carried out prices increases first could incur damages. Therefore, it was agreed by the
  companies to immediately increase the price. (Evidence Sogap 2-2, page 344 of the review report)

(6) Implementation of the agreements and sanctions against the breaching companies

43       For the purpose of limiting competition, the defendants in this case met periodically during the
joint action period in order to agree on major issues such as the sales prices of the CDT products and the
production volumes.

        -20-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 23 of 172


The implementation of the agreements was checked mutually in the following meeting. Sometimes,
some member companies provided information on the production volume and sales volume which was
different from the actual information. However, this was tantamount to presenting to other cartel
participants that they were adhering to the agreements. All the member companies disclosed whether
they were adhering to the agreements based on the expectation that other member companies would
carry out the agreements as well. In conclusion, we can see that all the cartel members carried out their
agreements as expected.

<Table 14> The statement of President Jason Liu of Chunghwa Picture Tubes made on May 14, 2008
Answer 11) I think that the sales prices and production volumes disclosed by the companies CDT
glass meeting participants during the multi-party meetings were sometimes inaccurate prior to
2005. In order to give the impression to other participants that that they were adhering to the
agreements, the participants tended to disclose their sales prices a little higher than the actual
prices and the production volumes or sales volumes a little lower than the actual production
volumes or sales volumes, and as the meetings continued, the participants took this into
consideration. Chunghwa Picture Tubes sometimes knew that based on the customer information
or information gathered from the market, the information disclosed by the companies participating
in the glass meetings were inaccurate. However, the multi-party participants disclosed more
accurate information through discussions or arguments during the meetings and reconfirmed their
intention to adhere to the agreements. Sometimes, differences were narrowed through higher
level meetings (i.e. top level meetings or management level meetings.

                                                    (Evidence Sogap 1-1, page 274 of the review report)

44       Also, the member companies took several measures in order to prevent cheating by the
participating companies. Regarding the agreement to fix the sales price, in order to simplify the
implementation of the agreed-upon price, the price differences due to different specifications and the
price differences due to the transaction conditions were taken into consideration. Regarding the
agreement to reduce production volume, auditors from each company could visit other companies’
production facilities without prior notification to check whether the operation was being reduced as
agreed. Also, in the event that any company breached the market share allocation agreement, the
participants declared to the breaching company that they would take back the market share against the
breaching company’s major customers in the same manner. In most cases, the member company that
was found out to have lowballed promised to prevent the reoccurrence. Also, in the event that the
annual market share allocation agreement was not carried out, the market shares of the breaching
companies were deducted during the meeting to determine each company’s market share in the
following year.

(7) The cartel’s areas of influence

45     The joint actions in this case had anticompetitive influences in all the areas where the CDT
products were sold, either directly or indirectly.



        -21-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 24 of 172


The cartel in this case agreed on the target price by customer and by model, allocated market shares
based on the total sales volume, allocated the sales volume of each producer for each customer,
allocated major customers, and agreed on production reduction. In case of Korea, it can be confirmed
that the manufacturers of finished computer products such as Samsung Electronics, LG Electronics,
Hyundai Electronics, and Hansol Electronics, etc who were the targets of the cartel existed within the
country, that Samsung SDI, LPD, etc. were the major participants (Korean companies) to the cartel, and
also that the cartel meetings were frequently held in Korea.

<Table 15> The statement of President Jason Liu of Chunghwa Picture Tubes made on May 14, 2008

  Answer 15) The range of the CDT multi-party agreements was global. In addition to the
  agreements, there were always discussions about the production volumes from the factories
  throughout the world including Korea and about the sales volumes. Also, the corporations located
  in Korea, namely Samsung Electronics and LG Electronics were among the 6 major customers
  discussed during the CDT multi-party meetings. Therefore, I think that Korean customers would
  have been influenced by the implementation of the agreements reached through the CDT
  multiparty meetings.

                                                     (Evidence Sogap 1-1, page 276 of the review report)

(8) The principle of confidentiality

46       The defendants in this case endeavored to hide their collusion. First, the meeting reports were
titled as “Visitation Report,” “Market Information Exchange,” or “Return-from-abroad Trip Report” in
order to keep the agreements with the competitors confidential. Also, either “secret” or “confidential”
was written on the defendants’ cartel documents and meeting reports. Furthermore, in order to ensure
that the purpose of the collusion would not be disclosed outside, other meeting names were used or the
meeting places were changed.

<Table 16> The statement of President Jason Liu of Chunghwa Picture Tubes made on May 14, 2008

  Answer 22-1) Also, there were cases where the participants faced difficult situations in negotiating
  with customers when the discussion details sometimes leaked outside as the glass meetings
  progressed. So, the companies discussed about how to keep the meetings and the agreements of
  the meetings confidential. Also, I now believe that some of the participants were concerned about
  potential penalties related to the violation of the antitrust regulations. Mr. Jerry Lin of Philips
  proposed to other companies not to prepare meeting logs and to limit the number of participants
  from each company to 2 to 3 people, and the participants agreed.

                                             (Evidence Sogap 1-1, page 292 of the review report)

<Table 17> The statement of General Manager Lee of Samsung SDI made on July 7 and July 8 of 2009




        -22-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 25 of 172



     Answer 5) …. GSM stands for glass standardized meeting. The participants used this term
     not only because the term didn’t disclose the characteristics of the meetings but also
     because the name somewhat conformed to the meetings’ purpose, which was to
     “standardize.” (Evidence Sogap 2-2, page 337 of the review report)

47      Also, even during cartel meetings, in order to ensure that no evidence would be left behind, the
participants agreed not to leave any records pertaining to the discussions. Furthermore, in order to
ensure that only the minimum number of people would know the existence of such meetings, the
companies agreed to limit the number of participants in a given meeting to 2 people from each
company.

(9) The joint action period and the termination date

48      For the defendant Samsung SDI, the defendant Chunghwa Picture Tubes, the defendant
Chunghwa Picture Tubes Malaysia, and the defendant Chunghwa Picture Tubes Fuzhou, the joint action
period commenced on November 23, 1996. For the defendant LPD, the starting date was June 30, 2001.

49      In the case of the defendant Samsung SDI, the defendant Chunghwa Picture Tubes, the
defendant Chunghwa Picture Tubes Malaysia14, and the defendant Chunghwa Picture Tubes Fuzhou, on
November 23, 1996, the representative directors participated in the top level meeting. Thereafter, for
the next 10 years, the companies exchanged information on the production situation and future plans,
agreed on production reduction, and agreed to refrain from lowering the sales prices at the CDT cartel
meetings. Therefore, November 23, 1996 should be regarded as the starting date of the violations for
the defendant Samsung SDI, the defendant Chunghwa Picture Tubes, the defendant Chunghwa Picture
Tubes Malaysia, and the defendant Chunghwa Picture Tubes Fuzhou.

50       The defendant LPD participated in the CDT cartel meeting for the first time on July 24, 2001
after being established on June 11, 2001. However, the company was transferred the CRT business unit
from LG Electronics on June 30, 2001 and the CRT business unit from Philips Electronics on July 1, 2001.
Since it should be acknowledged that the parent companies’ intention to limit competition by
participating in the wrongful joint actions was continued by LPD and the effects of the parent companies’
prior actions can be attributed to LPD, June 30, 1001, which is the day on which the CRT business was
transferred from LG Electronics, should be considered as the starting date of the violations.




14
   Although it is not clear whether the representatives from the defendant Chunghwa Picture Tubes participated in
this meeting, as we reviewed in footnote 5), the directors and employees of Chunghwa Picture Tubes participated
in the cartel meetings to reach agreements or directed the subsidiary companies to carry out the details of the
agreements. Furthermore, as we can see in the statement (refer to page 267) of Jason Liu dated May 14, 2008,
which is an attachment to the review report of this case, due to the transfer of personnel within the Chunghwa
Picture Tubes group, the same people worked for both the parent company and the subsidiary companies to carry
out the joint actions in this case or reported to the Chunghwa Picture Tubes headquarters office and subsidiary
companies related to the joint actions. Therefore, even in the case of the defendant Chunghwa Picture Tubes
Malaysia, November 23, 1996 should be regarded as the starting date of the joint actions in this case.
         -23-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 26 of 172


The defendants held discussions just on the Korean market at least 9 times in 1997, 19 times in 1998, 23
times in 1999, 9 times in 2000, 11 times in 2001, 9 times in 2002, 18 times in 2003, 19 times in 2004, and
12 times in 2005, continuing to hold cartel meetings through the years.

51       Due to the fact that it is not clear when the violations were no longer being perpetrated and
that there is no evidence related to the agreements, the day on which the defendants held the last
meeting, which is March 3, 2006, is regarded as the termination date of this case; as the CDT market was
rapidly transitioning into the flat display panel market, the demand for the CDT’s decreased substantially
and the cartel meetings no longer existed afterwards.

3) The agreements and the specific details of the implementation

A) The agreements of the competitors prior to November 23, 1996

52      Even before November 23, 1996, when the joint actions in this case started, the competitors
producing and marketing the CDT’s exchanged the CDT market information through two-party meetings
(Evidences Sogap 3-1 to Sogap 3-8). During such meetings which started to be held from around
September of 1995, Chunghwa Picture Tubes, LG Electronics, and Samsung Display Devices exchanged
such information as each company’s production situation, order situation, and sales prices.

53      Through such two-party meetings, the defendants could understand that by sharing their
market information, they could increase profit by reducing uncertainties related to the future actions of
the competitors and customers relative to participating in the market individually. However, it is judged
that the irregular two-party meetings held by the companies prior to November 23, 1996 did not reach
the level where there's a meeting of minds to limit competition.




B) The meetings among the competitors in 1996




<Table 18>                          Summary of the CDT Cartel Meetings in 199615

                                                                  Participants (meeting
Year         Date                    Agreements                                                 Evidences
                                                                          level)




15
   Hereinafter in the annual cartel meeting summaries, Chunghwa Picture Tubes is denoted as “Chunghwa,”
Samsung SDI [“Samsung Display Devices (SDD)” prior to November of 1999] is denoted as “SDI,” LG Philips Display
is denoted as “LPD,” LG Electronics is denoted as “LG,” Philips Electronics is denoted as “Philips,” and Orion
Electronics is denoted as “Orion.”
         -24-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 27 of 172


                                                                                             Evidence Sogap 3-9,
                                                                       Chunghwa, SDI,
                            Production cutbacks, refraining from                              page 469 and page
     1      11.23. 1996                                                Orion (top level
                                   sales price decreases                                       471 of the review
                                                                          meeting)
                                                                                                     report
                                                                                             Evidence Sogap 3-10,
                                                                       Chunghwa, SDI,
     2      11.25. 1996             14” floor price ($76)                                   Page 495 of the review
                                                                          Hitachi
                                                                                                     report
                                                                                             Evidence Sogap 3-11,
                                                                                             page 505, page 506,
     3      11.26. 1996          Sales price difference ($0.5)         Chunghwa, SDI
                                                                                             and page 508 of the
                                                                                                 review report
                                                                                             Evidence Sogap 3-12,
     4      12.28. 1996      Floor price agreement confirmation        Chunghwa, SDI        page 523 of the review
                                                                                                     report

The multi-party meeting held on November 23, 1996

54       This meeting was the high level meeting in which the representative director from each
company participated. In the meeting, Chunghwa Picture Tubes, Samsung Display Devices, and Orion
provided other companies with information on the production of each CDT product by size and future
plans. Furthermore, the representative directors agreed to reduce the CDT production volume, to
refrain from reducing the sales prices, and to maintain the price difference of 2 dollars between the ITC
and the B+D 16. In addition, the participants in this meeting agreed to induce other CRT companies to
participate. Specifically, it was agreed that Chunghwa Picture Tubes would bring in Philips, Orion would
bring in Toshiba, and Samsung Display Devices would brining in LG Electronics and Hitachi. We can see
that their intention was to make it impossible for the customers to substitute the suppliers by including
all the CDT suppliers in the cartel in this case. In this meeting, Chairman C. Y. Lin, C. C. Liu, and Jason Liu
of Chunghwa Picture Tubes, 5 people from Samsung Display Devices including President Sohn, and 2
people from Orion including President Um participated.17 This can be confirmed in the Chunghwa
Picture Tubes' "Visiting Report".
 All the manufacturers agreed that the excess supply of the CDT’s was serious. Chairman Lin of
                     18
Chairman  Lin of CPT
 CPT18 proposed   to overcome the difficulties of 1997 by reducing the production level and
 temporarily reduce or defer line expansion plans. Both SDD and Orion expressed their agreement
 to the proposal.
 We explained that continuing to reduce the prices I the midst of the cut-throat competition was
 not good for the CRT factories or monitor manufacturers.
 The price difference between ITC and B+D was supposed to be USD 2 and there was consensus
 among the companies regarding this.                                            (Evidence Sogap 3-9)

     Furthermore, Orion proposed that various CRT companies participate in the next meeting to engage in honest
     conversations and to prepare to solve problems together. CPT confirmed that it would invite PH and Orion
     confirmed that it would invite TSB. SDD was responsible for inviting LG and HTC.
                                                                                           (Evidence Sogap 3-9)
16
   Refers to the bare tube without the deflection yolk attached.
17
   C.Y. Lin was the representative director of Chunghwa Picture Tubes from 1983 to May of 2007. Mr. Sohn worked
as Samsung SDD’s representative director from January of 1996 to January of 1999.
18
   The acronym “CPT” in the evidential documents could mean either the color picture tube, which is the product
subject to collusion, or Chunghwa Picture Tubes Co., Ltd., a defendant, depending on the context.
           -25-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 28 of 172


The multi-party meeting on November 25, 1996

55       As agreed in the meeting of November 23, 1996, Samsung Display Devices invited Hitachi to
participate in the multi-party meeting of November 25 of the same year. In the meeting, the defendants
agreed to refrain from engaging in price competition for the CDT products and to set the minimum price
of the 14 inch CDT at 76 dollars. Also, in response to the criticism of Samsung Display Devices and
Hitachi that the 15 inch CDT price of Chunghwa Picture Tubes is too low, impacting the market price
adversely, the company promised to adjust the price. The participants in this meeting were Mr. Ra of
Samsung Display Devices, Kimura and Sakashita of Hitachi, and Chi-Chun Liu of Chunghwa Picture Tubes.
We can confirm this from Chunghwa Picture Tube’s “Visiting Report.”

  The prices could be decreased to increase sales. However, if the prices drop too much, sales will not
19increase.
   19       Rather, the manufacturers will continue to decrease the prices, resulting in cut-throat
  competition. In order to prevent the CDT prices from freefalling, we hope that HTC will contact
  each CRT factory and continue to discuss.

     We hope that the floor price of the 14” tubes will be maintained at USD 76 (S/S ITD1). CPT's USD 2
     could be used as a benchmark for the price gap between ITC and B+D. (USD 3 for the Korean
     manufacturers and USD 4 for the Japanese manufacturers.) I think that reconciliation could be
     reached easily because the CPT could consider changing to USD 3 through SDD.

     Sales price of 15” products: Both HEDS and SDD think that CPT’s external estimated price of USD
     115 strongly disrupts the market. (The market price offered by HEDS is USD 120 and SDD is offering
     USD 118.) We said explained that we launched our products late and that our prices had to be
     rather low because we were not as competitive, asking for their understanding and stating that we
     would adjust the prices according to the circumstances.

                                                                                        (Evidence Sogap 3-10)


The two-party meeting on November 26, 1996

56      During this meeting, the defendants checked each company’s minimum sales price applied in
early October and the sales prices applied to different purchase quantities. In the meeting, Chunghwa
Picture Tubes stated that Samsung Display Devices was applying the same special price for large orders
to those customers with small orders, requesting that the price difference of at least 1 dollar be
maintained between Samsung Display Devices and Chunghwa Picture Tubes. After discussions, in order
to avoid the start of a price competition, Samsung Display Devices agreed to maintain the price
difference of at least 0.5 dollars. The defendants agreed that Chunghwa Picture Tubes would inform the
agreed-upon minimum 14 –inch price to Hitachi and Philips and Samsung Display Devices would inform
the same information to Toshiba and Orion. In the meeting, Mr. Ra, Mr. Ha, Mr. Lee, and M. S. Lee of
Samsung Display Devices and Chi-Chun Liu, Cheng, and Michael Du of Chunghwa Picture Tubes
participated. This can be confirmed with Chunghwa Picture Tube’s “Customer Contact Report.”


19
  S/S is a type of DY (saddle/saddle). ITO stands for Indium Tin Oxide and refers to the coating Braun tube screen
coating material for non-reflecting gap lines.
          -26-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 29 of 172



220
 CPT disclosed the confirmed floor price in early October first.
 14” MPRII2/ITC USD 80.00
 14” SS/ITC USD 76.00
 Up to now, CPT has followed the guidelines.
 The offer prices in accordance with the customer orders are as follows:
 100K USD 76, 80K 77, 60K 78, 50K-79                                                      (Evidence Sogap 3-11)


 Continuing to reduce the prices will result in more losses for the CRT manufacturers. As a result, CPT
 intends to maintain the current price floors under the condition that unsound competition will be
 stopped. But requested SDD to cooperate by maintaining its offer price to the customers with at least
 USD 1.00/PC price difference compared to CPT.

  Although the current situation is the buyer’s market, price reduction doesn’t have any positive effect
 on increasing orders. Furthermore, if the CRT manufacturers do not maintain their sales prices, leaving
 the customers to reduce the prices, revenues will decline and losses will mount.
 If SDD forces CPT to lower its prices by following the same prices, another vicious competition will
 start. Mr. Ra finally agreed to maintain the price difference of at least USD 0.5/PC and to use the light
 on/EMC.                                                                            (Evidence Sogap 3-11)


 Also, CPT was to inform the 14” price floors to HTC/PH and SDD was to provide that information to
 TSB/GS/Orion. All the companies agreed to keep consistency and to maintain the price difference of
 USD 0.5 ~ USD 1.00/PC with CPT.                                               (Evidence Sogap 3-11)


The two-party meeting on December 18, 1996

57      In this meeting, the two companies reconfirmed that they would maintain the prices they
agreed on November 26, 1996. Also, the two companies confirmed the other company’s sales prices
obtained from the customers in order to check whether the agreements had been carried out. Also,
Chunghwa Picture Tubes threatened that in the event that Samsung Display Devices hides price
reductions, the price competition could start. Based on the above, it can be inferred that the two
companies implicitly had agreed to refrain from carrying out aggressive sales activities on the other
company’s major customers. In the meeting, Samsung SDD’s Mr. Ha, Mr. Lee, M. S. Lee, and others and
Chunghwa Picture Tube’s Chi-Chun Liu, Wen-chun Cheng, and Ching-wien Du participated. This can be
confirmed with Chunghwa Picture Tube’s “Customer Contact Report.”




20
  The term MPRII is the international unit stipulated in Sweden which indicates the interception of harmful
electronic waves generated by electronic products.
         -27-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 30 of 172


 CPT agreed to maintain the MPRI price of USD 80.00 and normal price of 76.00 during the two-
 party meeting on November 26, 1996.

 If SDD asserts to compete by fully utilizing its production capacity, which is not conducive to profit,
 CPT will apply greater production capacity pressure to the Taiwanese customers and will take more
 irrational measures in Korea in order to prevent SDD from establishing any bridgehead. Mr. Ha of
 SDD will transmit this information to the headquarters office in Korea. (Evidence Sogap 3-12)


(3) The meetings among the competitors in 1997

<Table 19>                             Summary of the CDT Cartel Meetings in 1997

Year    Date held             Agreement details                       Participants                     Evidences
                      Maintain the price floors (14”: $64,
                                                                                               Evidence Sogap 3-15, page
                                  15”: $98)
 1      1.28. 1997                                            Chunghwa, SDI, Orion, Philips     554 and page 559 of the
                      Reduce the number of operational
                                                                                                     review report
                                     days
                                                                                                   Evidence Sogap 3-16,
                     Notify price increases and reduction             Chunghwa,                   Evidence Sogap 3-16-1
 2      2.24. 1997
                                     plans                         SDI/Chunghwa, LG                Evidence Sogap 3-17,
                                                                                              Page 589 of the review report
                       Price floors (14”: $67, 15”: $100)                                          Evidence Sogap 3-18
 3      2.25. 1997    Reduce the number of operational         Chunghwa, SDI, LG, Philips          Evidence Sogap 3-19
                      days, maintain the market shares                                        Page 593 of the review report
                       How to implement the previous                                              Evidence Sogap 3-20 ,
 4      2.27. 1997                                                Chunghwa, Toshiba
                                  agreements                                                  Page 605 of the review report
                                                                                                   Evidence Sogap 3-21
                        Maintain the previously-agreed         Chunghwa, SDI, LG, Orion,           Evidence Sogap 3-22,
 5      3.12. 1997
                                    prices                     Philips, Hitachi, Matsushita   Page 611, page 613, and page
                                                                                                 615 of the review report
                     14” and 15” CDT price increases for                                           Evidence Sogap 3-23
 6      3.19. 1997          each company and the              Chunghwa, SDI, Orion, Philips     Page 627, page 628 of the
                            implementation dates                                                       review report
                     14” and 15” CDT prices increases for
                            each company and the                                                  Evidence Sogap 3-24
 7      3.26. 1997      implementation dates. Prices             Chunghwa, SDI, Philips       Page 640 and page 642 of the
                      differences for based on detailed                                              review report
                                specifications
                                                                                                  Evidence Sogap 3-25
 8      4.7. 1997      Increase of $5 for the 17” CDT’s           Chunghwa, Toshiba           Page 649 and page 652 of the
                                                                                                      review report
                                                                                                 Evidence Sogap 3-26-9,
                        Confirmation of the previously-
                                                                Chunghwa, Matsushita, /         page 661, page 673, page
 9      4.23. 1997   agreed prices, price increases for 14”
                                                              Chunghwa, SDI, Orion, Philips   675, page 687, and page 688
                      and 15” CDT’s in the Korean market
                                                                                                  of the review report
                                                                                                  Evidence Sogap 3-30,
                     Agreement on the price increases for
10      5.2. 1997                                                    Chunghwa, SDI            Page 689 and page 690 of the
                           the 14” and 15” CDT’s
                                                                                                      review report
                      The minimum prices (14”: $71, 15”:                                          Evidence Sogap 3-31
                                                               Chunghwa, SDI, LG, Orion,
11      5.9. 1997    4105) and maintain the price volume                                      Page 696, page 698, and page
                                                                      Philips
                              for each customer                                                 700 of the review report




        -28-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 31 of 172


                       Maintain the previously-agreed                                         Evidence Sogap 3-32
12      5.16. 1997                                              Chunghwa, SDI, LG
                                    prices                                                Page 710 of the review report
                       Maintain the previously-agreed
                                                                                             Evidence Sogap 3-33
                      prices, maintain the differences in
13      5.20. 1997                                           Chunghwa, SDI, LG, Philips    Page 723, page 725 of the
                      prices among the defendants and
                                                                                                 review report
                         increase the prices in Korea
                        Measures to induce breaching                                          Evidence Sogap 3-34
14      6.5. 1997                                                 Chunghwa, SDI
                           companies to cooperate                                         Page 734 of the review report
                                                                                              Evidence Sogap 3-35
                      Refrain from competition. Price of
15      7.8. 1997                                                 Chunghwa, SDI           Page 739 and page 741 of the
                      14” ($62), mutually adjust the price
                                                                                                 review report
                       Floor prices (14”: $60, 15”: $90)                                      Evidence Sogap 3-36
16      7.18. 1997       How the overseas subsidiary              Chunghwa, SDI           Page 747 and page 749 of the
                          companies is to implement                                              review report
                                                                                              Evidence Sogap 3-37
17      8.1. 1997      How to maintain confidentiality            Chunghwa, SDI
                                                                                          Page 764 of the review report
                                                                                              Evidence Sogap 3-38
                     Check whether the agreements were
18      8.18. 1997                                                Chunghwa, SDI           Page 772 and page 774 of the
                                carried out
                                                                                                 review report
                     Exchange information on the current                                      Evidence Sogap 3-39
19      10.9. 1997                                            Chunghwa, SDI, Philips
                                 sales prices                                             Page 787 of the review report
                     Refrain from reducing prices, control
                                                                                              Evidence Sogap 3-40
20     10.20. 1997    production, and maintain the price          Chunghwa, SDI
                                                                                          Page 795 of the review report
                                     floor
                                                                                              Evidence Sogap 3-41
21     10.30. 1997   Minimum prices (14”: $58, 15”: $75)      Chunghwa, SDI, Philips      Page 805 and page 807 of the
                                                                                                 review report
                          Check the intention of the
22      11.7. 1997        companies to carry out the          Chunghwa, Matsushita            Evidence Sogap 3-42
                                 agreements
                                                                                              Evidence Sogap 3-43
                       Contact more, agree on the floor
23     11.20. 1997                                           Chunghwa, SDI, LG, Philips   Page 892 and page 832 of the
                             price for 14” ($58)
                                                                                                 review report


The multi-party meeting on January 28, 1997

In this meeting, the defendants agreed to maintain the minimum price (per each customer) by reducing
the number of operational days, reasoning that reducing the price in order to increase the market share
results only in the reduction in the CDT industry’s overall profit. Also, the meeting results were provided
to LG Electronics, which had not participated in this meeting, encouraging the company to carry out the
agreements of the CRT suppliers. We can see that the defendants shared information on each
company’s operational days, inventory situation, and production cost data in order to effectively
respond to price decreases and to reach effective price agreements, thereby controlling the supply in
line with the CDT demand by establishing future plans based on the above information. In the meeting,
Mr. Ra of Samsung Display Devices, Mr. Yoo of Philips, Mr. Moon of Orion, and Chi-Chun Liu, Yoo-shuen
Lin, and Ching-wien Du of Chunghwa Picture Tubes participated. This can be confirmed with Chunghwa
Picture Tube’s “Customer Contact Report.”




        -29-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 32 of 172


 If the CDT prices continue to decline, we will only feel that the demand/orders are decreasing more
 and more. Therefore, it is mandatory to make the customers understand the results of the CDT
 decisions. In order for all the people in the CDT industry maintain the floor prices based on the
 agreements at the same time dealing with the customers’ price reduction demands, the number
 of operational days should be temporarily reduced.                        (Evidence Sogap 3-15)


 Currently, HTC is providing the customers (MPRII) 14” at 64.00/pc. Therefore, in order for us to
 maintain our market share, we should follow the above price and should confirm this price as the
 final price. Major customers: 64.00 dollars, mid-sized customers: 65.50 dollars, small customers:
 67.00 dollars. The final price for the 15” MPRII will be 98 USD. Major customers: 98.00 dollars,
 mid-sized customers: 100.00 dollars, small customers: 102-103 dollars

 The meeting participants agreed to maintain the February sales prices as the minimum prices.
 The meeting results were transmitted to LG and requested the company to do its best to persuade
 HTC to support our minimum price resolution.                                (Evidence Sogap 3-15)



The two two-party meetings on February 24, 1997

59       During this meeting, the participants reconfirmed the agreements reached during the meeting
held on January 28, 1997, checked whether the agreements such as the reduction in the number of
operational days had been carried out, and compared the supply prices of each customer in order to
carry out the agreed-upon prices smoothly. Also, the companies agreed to notify to the customers of
their plans to reduce production and to increase the prices in the second half of the year. In this
meeting, Chi-Chun Liu, Yoo-shuen Lin, and Chin-yuen Du of Chunghwa Picture Tubes, Mr. Lee and Mr.
Lee of Samsung Display Devices and Mr. Lee of LG Electronics agreed on the CDT prices and on the
reduction of the number of operational days. This can be confirmed in Chunghwa Picture Tube’s
“Customer Contact Report.”
 First, Director Liu talked about the issues related to the agreements reached during the
 CPT/PH/SDD/Orion meeting held on January 28, 1997. (1) Reduction in the number of operational
 days (2) Decision on the minimum prices: 14” USD 60.00 (S/S), USD 64.00 (MPRII) (3) Refraining from
 offering lower prices to take market shares from other suppliers.

 Currently, CPT and SDD, which are the major 14” suppliers, notified all the customers that they started
 to reduce production in order to maintain the balance between supply and demand. There is a
 possibility that the price of the 14” CDT will go up in the 2nd half when there is a shortage.

                                                                                      (Evidence Sogap 3-17)

60     Also, the fact that all the participating companies carried out the agreement to reduce the
number of operational days, one of the agreements reached in the previous meeting, can be confirmed
by a newspaper article of that time period (“CRT companies to reduce production,” February 18, 1997,
Korea Economic Daily).

        -30-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 33 of 172


The multi-party meeting on February 25, 1997

61       During this meeting, the participants agreed on four points. First, the companies agreed on the
minimum prices for the 14 inch CDT and the 15 inch CDT. Second, Samsung Display Devices was to
announce the increase in price of the 14 inch CDT and Chunghwa Picture Tubes was to announce the
price increase for the 15 inch CDT, with the price increases to take effect from April 1, 1997. Third, the
participants agreed to reduce the number of operational days. Lastly, the participants agreed to
maintain the market shares for each customer. The participants in the meeting were C. Y. Lin of
Chunghwa Picture Tubes, Mr. Yoon and Mr. Ra of Samsung Display Devices, Mr. Lin of LG Electronics,
and Cheng of Philips. This can be confirmed with Chunghwa Picture Tube’s “Customer Contact Report”
and Samsung SDD’s “Meeting data on CRT manufacturers’ production volumes and demands
summarized in a table format.”

 The minimum prices of the 14” CDT MRPII: 67 dollars/unit, S/S: 63.50/unit
 Minimum price of the 15” CDT MPRI: 100.00/PC
 The 14” size price increase was published by SEC (sic) and afterwards CPT announced the price
 increase for the 15” size CDT. The 14”/15” CDT prices will increase April 1 of ’97.
 Each manufacturer should reduce the number of production days in order to control the production
 volume.
 In order to maintain the original market shares, each manufacturer should refrain from using any
 price increases as an opportunity to take away other manufacturers’ market shares.
                                                                                   (Evidence Sogap 3-18)


The two-party meeting of February 27, 1997

62      We can confirm that during this meeting, the CDT manufacturers confirmed the agreement to
increase the prices of the 14” CDT’s and discussed about the plan to increase the CDT prices (to be
implemented by Samsung, Chunghwa Picture Tubes, and Toshiba, in that order) and about contacting
Toshiba and Hitachi to implement the details of the agreements. This can be confirmed with Chunghwa
Picture Tube’s “Customer Contact Report.”
 CPT also stated that currently most CDT manufacturers agreed to increase the 14” price. After SDD
 announces its price increase (14”: MPRII 67), CPT will immediately its 15” CPT to USD 100. TSB
 stated that it is very happy to hear the news and that it would follow the measures.

 CPT stated that most CDT manufacturers agreed on these measures. However, HTC still has not
 expressed its opinion. We requested TSB to request HTC to provide more support.

                                                                                       (Evidence Sogap 3-20)


The multi-party meeting on March 12, 1997

63      During this meeting, the defendants disclosed and compared such information as the
production volume, number of operational days, and inventory level between February and April of
1997 in order to determine whether each company maintained the appropriate amount of supply.

        -31-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 34 of 172


In addition, the companies agreed to increase the minimum price of the 14” CDT to 67 dollars and the
minimum price of the 15” CDT to 100 dollars, agreeing further on the order of notifications of the price
increases and the method of notifications. Also, the companies exchanged opinions regarding whether
the previously agreed-upon prices were implemented and confirmed that Chunghwa Picture Tubes had
not sold its CDT products more than 5 dollars below the customers’ offer prices, as the company had
agreed in the previous meeting. In the meeting, directors and employees from 7 CDT manufacturers
including Mr. Ha, Mr. Lee, and Mr. Lee of Samsung Display Devices, Mr. Lee of LG Electronics, Mr. Moon
of Orion, Huan Lung of Philips, Jian Lung Jang of Hitachi, Yue Hao Jang of Matsushita, and Tony Chen and
David Ross of Chunghwa Picture Tubes participated. This can be confirmed by the memos of the
participants from Chunghwa Picture Tubes and by the “Contact Report” prepared after the meeting.

              February                    March                       April
                            Production                  Production                  Production
              Production                  Production                  Production                  Inventory
                            days                        days                        days
PH            460           23            54            27            440           22            60
CPT
              602           12            698           16                                        550
14”
15”           161           12            250           16                                        450
SDD           900           22            1030          24            1030          24            500
LG                          21-22         550           24            550           24            150
DW            280           22            320           23            350           24            500
MEC           70                          70-80                       70-80

14
 14”: They will start to make overall adjustments starting April 10. The manufacturers reached the
 following conclusion after discussing carefully.
 Maintain the minimum prices            MPRII: USD 67.00/pc
                                       S/S 63.50/pc
 SDD will distribute an official written notification stating the price increase starting April 10 to the
 customers (effective from the shipping date). Other companies will follow suit.
 15” The minimum price will be adjusted starting April 10. 67KHz/MPRII USD 100.00/pc
 CPT will take the lead in notifying the price increases to the customers. Other manufacturers will
 follow suit.                                                                          (Evidence Sogap 3-22)


I reviewed each manufacturer’s sales prices that should be applied when selling to customers and
then requested each manufacturer to disclose its books so that each manufacturer could maintain its
sales territory.

The customers demanded 8-10 dollars, but CPT strongly refused. However, 5 dollars is the amount
previously agreed.                                                            (Evidence Sogap 3-22)

The multi-party meeting on March 19, 1997

64      This meeting was a multi-party working level meeting held for the purpose of discussing about
the prices of the 14” and 15” CDT’s and their production volumes. The defendants prepared the
following table which contains information on the minimum CDT prices by customer and by specification
and checked whether the agreements had been carried out.

        -32-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 35 of 172


Also, the defendants agreed to maximize profit by increasing the price further (5 dollars), reasoning that
if the increase were too small (2 to 3 dollars), the customers would just ignore the increase. In order to
ensure that the agreed-upon prices could be applied effectively, the defendants agreed to provide the
details of the agreements to those companies that didn’t participate in the meeting. Furthermore, the
companies agreed to strengthen communication in order to smoothly carry out the price increases. In
addition, by acknowledging the quality differences among the companies, the companies agreed that
the price difference of 3 dollars be maintained between Chunghwa Picture Tubes and Samsung Display
Devices/Philips/LG Electronics for the 15 inch CDT. The participants in this meeting include Mr. Lee, M.
S. Lee, and Otto Lee of Samsung Display Devices, Milan Baran and Cheng of Philips, Mr. Moon of Orion,
Mr. Ahn of LG Electronics, and Chi-Chun Liu of Chunghwa Picture Tubes. This can be confirmed in
Chunghwa Picture Tube’s “Customer Contact Report.”

 1. 14” CDT: The minimum CDP prices and implementation dates for each company:
     2121 Classification                 March                   Starting April 1             Starting May 1
               CPT                       USD 67                         67                           72
              SDD                          64                           67                           72
               PH                          64                           67                           72
               LG                          64                           67                           72
              Orion                        63                           65                           70


 2. 15” CDT (57KHZ3 MPRI): the minimum prices and implementation dates for each company:

          Classification                 March                   Starting April 1             Starting May 1
               CPT                       USD 98                        102                          107
              SDD                         102                          105                          110
               PH                         100                          105                          110
               LG                         100                          105                          110
              Orion                        98                          100                          105
 The April CPT/SDD price increase letter was sent to all the customers. Also, PH, LG, and Orion followed
 suit. The manufacturers will apply the new prices on the supplies to be delivered starting April 1, in
 principle.                                                                        (Evidence Sogap 3-23)


 When considering that the increase in the CPT price was only USD 2-3/pc, some customers will in turn
 pressure their customers to bear the price increase, but answered that they would not be able to
 transfer the actual price increase to their customers. Therefore, they proposed to extend the scale of
 the price increase. Their reasoning was that if we do it this way, then it could be more beneficial to
 the operation of CDT manufacturers.
 The price increase of about $2 to $3 is not enough. The price increase should be at least $5.
                                                                                    (Evidence Sogap 3-23)




21
     KHZ: Indicates frequency and means kilohertz.
            -33-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 36 of 172


Each of the meeting participants should inform TSB/MEC4 about the 15” size prices. (CPT will contact
them.)
  2222
CPT wants to maintain the difference of USD 5.00/pc reached during the previous discussion in regard
to the price difference for the 15” CDT with SDD/PH/LG. However, the manufacturers disclosed about
their concerns that they would lose orders, and agreed only to the difference of USD 3.00/pc.
 The companies should strengthen their communication in order to carry out the price increases
smoothly.
Despite of the fact that SDD/LG offered the minimum price of USD 64.00/pc, they could not obtain
orders. Therefore, the wait-and-see attitude of the customers should be stopped, and in order to
eliminate the noise, we should immediately increase their prices.
                                                                               (Evidence Sogap 3-23)
The multi-party meeting on March 26, 1997

The defendants found out that their plan to increase the prices was not going smoothly due to Hitachi’s
failure to increase its sales prices as agreed. So, in April and May of the same year, the defendants
notified the Japanese manufacturers about the agreements and agreed to persuade the Japanese
manufacturers to carry out the agreements. Based on the above, we can see that the defendants
adjusted the details of the agreements by taking into consideration the market situation in the event
that the agreed-upon prices could not be applied readily. Also, the companies prepared a table showing
the price differences among the different CDT specifications in order to ensure that the agreements
would be carried out precisely and to prevent any breaches of the agreements. In addition, the
participants confirmed the principle of the cartel, which was to maintain profitability by successfully
increasing the prices based on mutual trust. In the meeting, Mr. Ra and Mr. Ha of Samsung Display
Devices, Mr. Chung of Philips, and Chi-Chun Liu, Shen-jen Yang, and Ching-Wien of Chunghwa Picture
Tubes participated. This can be confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”

 A common understanding should be reached regarding the price increase of the 15” CDT. The decision
 by SDD/PH/CPT to increase their prices should be notified to the Japanese manufacturers to push the
 Japanese manufacturers to follow the decision. The companies decided to modify the sales prices of
 the 15” CDT starting April 1.

          Classification                 March                   Starting April 1            Starting May 1
                                           USD
              SDD                        102.00                   USD 105.00                   USD 110.00
               PH                    100.00 (PH, Jin)             USD 102.00                   USD 110.00
                                     103.00 (Others)          USD 104 (target 105)
              CPT                         98.00                  USD 101-102                   USD 107.00
 Regarding the price increase for the 14” CDT, the meeting participants said that all customers basically
 accepted the price increase and that there were no real problems.                 (Evidence Sogap 3-24)




22
     TSB refers to Toshiba and MEC refers to Matsushita Electronics.
           -34-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 37 of 172


 The price differences for each tube type

                                                    SDD                                 CPT
 15 MPRII                                           105                               101-102
 15 ASC                                            -2.00                               -2.00
 15 w/o coil                                       -2.00                               -2.50
 14 MPRII                                          67.00                               67.00
 14 ASC                                            -2.00                               -2.00
 14 w/o coil                                       -2.00                               -1.50



  In additional to continued production reduction, whenever any frictions related to customer
Indissatisfaction
    addition to con
                  or order quantity occur, all should adhere to mutual trust and communicate honestly
  and seriously in order to find the mutually-beneficial way and to increase the prices successfully so
  that future profitability can be ensured.                                        (Evidence Sogap 3-24)


The two-party meeting on April 7, 1997

66      In this meeting, Chunghwa Picture Tubes was informed that Toshiba would increase the price of
the 17” CDT by 15 dollars starting May of the same year and that one of the major customers for
Toshiba’s 15”MNN neck product was Samsung Electronics. From these facts, the defendants provided
information related to the agreements reached in multi-party meetings at the two-party meeting and
urged the implementation of such agreements. Also, we can confirm that a few of the customers
subject to the implementation of the cartel agreements were Korean companies. Also, in regard to the
plans to increase the prices of the 14” and 15” CDT’s agreed in the previous meeting, Toshiba disclosed
to Chunghwa Picture Tubes that it would increase the prices according to the agreements. This can be
confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”

 CDT confirmed to increase the price to USD 15/pc (The current 17” sales price is at least USD
 215.00/pc)
 Currently, the manor customers of the 15” MNN neck are Japanese and Korean customers and about
 50k/m is for Korea’s Samsung                                                     (Evidence Sogap 3-25)


 Mr. Pu Yong checked TSB’s 14”/15” CDT price increases and said that he wanted to see the results and
 that he would follow the market price. Also, TSB decided to increase the 15” CDT price by 7”%
 starting May. Namely, the sales price will increase from USD 105/pc to USD 112/pc

                                                                                      (Evidence Sogap 3-25)

The two-party meeting and the multi-party meeting on April 23, 1997

67      We can see that the purpose of the two-party meeting between Matsushita and Chunghwa
Picture Tubes held on April 23, 1997 was to completely carry out the CDT price agreements by
preventing any companies from breaching the agreements. This can be confirmed in the “Visiting
Report” prepared by Ching-wien Du of Chunghwa Picture Tubes.
        -35-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 38 of 172



 The major purpose of this trip is to explain to the MEC employees about the current price increases for
 the 14”/15” CDT’s and the background to the current prices of SDD/PH/CPT/LG/TSB and to persuade
 the MEC employees to agree with other companies so that they will support the actual price increase
 measures, thereby making the CDT price increases more perfect and satisfactory.

                                                                                      (Evidence Sogap 3-26)


68      In the multi-party meeting held on the same day, the defendants compared each company’s
production volume and inventory level. Afterwards, the companies reconfirmed the minimum prices of
the 14” CDT in April and May.

                  Production                                                     Inventory
          April                  May                 March                April                May
  CPT      >700K                 <700K               650K-700K            400-500K             400-500K
  PH       450K                  450K                70K                  170K                 120K
  SDD      850K                  850K                600K                 850K                 750K
  Orion    300K                  300K                 500K                350K-380K            350K

  Regarding the 14” MPRRII, the meeting participants agreed to keep the April/May prices as follows:
  (minimum price)
                    April                         May
   14” MPRII USD 67.0/pc                 USD 72.0/pc
   15”MPRII: The companies decided that the standard price to strive for is USD 110.00/pc.
                                                                                (Evidence Sogap 3-26)

69       Also, the defendants discussed about the CDT sales prices in the Korean market. They were very
sensitive to any price increases in the Korean market. The reason was that non-Korean customers
referred to the sales prices in Korea to demand price discounts to the Cartel participants so that the
prices in the Korean market had to increase by the same margin as in other countries. So, Chunghwa
Picture Tubes and Philips asserted that the previous agreements had to be carried out in Korea as well.
This is verified by the fact that Mr. Ra of Samsung Display Devices had sent out a letter related to the
price increase. In order to quickly agree on the prices in May of the same year, the companies decided
to hold the meeting which had been scheduled to be held on May 19-20 earlier on May 6-7. In this
meeting, the marketing directors and employees from four companies including Mr. Ra, Mr. Ha, Mr. Lee,
M.S. Lee, and Mr. Otto of Samsung Display Devices, Mr. Song of Philips, Mr. Moon of Orion, and Chi-
Chun Liu, Shen-jen Yang, and Ching-wien Du of Chunghwa Picture Tubes participated. This can be
confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”




        -36-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 39 of 172


     The 14”/15” CDT sales prices in the Korean market:
     If the 14”/15” CDT prices in Korea do not increase, this will lead to the deterioration of competiveness
     among the Taiwanese companies, and will vehemently resist any CDT price increase. In order to
     prevent failure due to the above situation, CPT/PH prompted SDD/Orion to adjust the prices in Korea
     at the same speed. Mr. Ra asserted that an official letter had already been sent to PH and that the
     company is continuing to endeavor to work with LG/Orion.
     [Memo written in a different font:] Mr. Ra asserted that the CRT manufacturers had discussed with
     PH (Korea) on March 23 regarding price increase in Korea.
     Also, the LG people will not be able to attend the top level meeting which was originally scheduled to
     be held between May 8 and May 10, so the meeting will be rescheduled to be held on May 19-May 20.
     However, CPT proposed to schedule the meeting earlier on May 6-May 7, reasoning that it would be
     better to decide on the May prices as soon as possible.
                                                                                          (Evidence Sogap 3-26)

70      In regard to the implementation of the agreed-upon prices, Chunghwa Picture Tubes sent a
letter written on the company’s letter head paper to Samsung Display Devices on April 29, 1997 to
prompt the faithful implementation of the agreements (“we do not wish to see any withdrawn attitude
to destroy the understanding23”). In response, Samsung Display Devices sent a letter (“Why do we have
to dig our own grave under this situation?”24) written on the company’s letter head paper on May 2 of
the same year in order to resolve Chunghwa Picture Tube’s misunderstanding.

The two-party agreement on May 2, 1997

71      During this meeting, Samsung Display Devices and Chunghwa Picture Tubes agreed to increase
the prices of the CDT products. Also, as discussed in the previous meeting, the Chunghwa Picture Tube’s
participants strongly urged Samsung Display Devices to increase it monitor prices in Korea because
whether Chunghwa Picture Tubes could increase the prices of its products depended directly on the
domestic prices in Korea. This can be confirmed in Chunghwa Picture Tube’s “Visiting Report.”


     This time, it was CPT’s turn to announce and lead the 14”/15” CDT price increases. At this stage, any
     price increases could lead to order decreases in the short term, but in order for the operations to
     normalize, price increases are mandatory.

     As long as CPT and SDD maintain their position staunchly, the price increases will occur. SDD agreed
     to such a point of view and agreed to increase the prices.                     (Evidence Sogap 3-




23
   “With all the efforts working together these days, we do not wish to see any withdrawn attitude to destroy the
understanding and this difficult task. By this last minute determination to prop up price increase action, all of us
could attain the goal. I believe I should be most beneficial for SDD to comply with the agreement of increasing the
price step by step….”
24
   “Why do we have to dig our own grave under this situation? Please make it sure that there is no doubt about
our efforts to increase the price.”
         -37-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 40 of 172


  Regarding the price increase issue, CPT strongly requested SDD to increase the monitor prices in
  Korea to prevent the deterioration of Taiwanese companies’ competitiveness (Evidence Sogap 3-30)


The multi-party meeting on May 9, 1997

72      In this meeting, Director Liu of Chunghwa Picture Tubes explained about the agreements
reached during the top level meeting of April 23 and about the effective date (May 1), and the
participants expressed agreement. Also, the defendants prepared a table as follows to indicate the sales
volume by customer and agreed to maintain the market share.


Director Liu first explained to the meeting participants that the top management’s decisions were as
follows: Minimum price for 14” MPR II: 72 dollars/unit. 15” MPR II: 105 dollars/unit. Effective May 1

                                                                                      (Evidence Sogap 3-31)


               Quantity                CPT           SDD             PH             LG             Orion
Acer             115                    65            10
Action            17                                  14              2
AOC               85                    40                            8                                 35
Bridge            11                    1.5                                                            10.5
Compal            34                    18
CTX               27                     4              2                             3
Delta             17                     7
EMC               37                     -             22             10
Punai            15                     15                            0.5
GVC               43                     7              7                            6                  23
KFC               32                     5              5                            1                  4
LED                9                     1                                            8
Light-on          85                    72                                           12
MAG               18                      9                             3
MITAC              9                                     5                             2

Right

Right now, everybody has to cooperate with each other. It is necessary for us to withstand for one
more month and ignore the sales prices of HTC (Hitachi) while not losing customers/market share to
other manufacturers. This is the only way that the endeavors of the top level meetings will bear fruit.
                                                                              (Evidence Sogap 3-31)
73     The defendants posed questions about the low sales prices, checked other companies’ prices
and reconfirmed the sales prices, and then agreed to refrain from selling the products at low prices to
meet customer demands.



        -38-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 41 of 172


According to the order situation information from AOC, CPT expressed strong dissatisfaction to Mr.
Moon of Orion that AOC is offering 200 dollars, which is lower than CPT’s price, in order to take CPT’s
existing market share.
CPT posed questions regarding SDD/LG’s passive behaviors to their customers such as GVC/KFC/LED
and regarding their failure to adhere to the minimum price level in April. After SDD’s explanations and
LG’s adamant denial, the meeting participants from PH/SDD/LG/Orion agreed to set the minimum
14” MRPII price at 72.0 dollars/unit starting May.
The customers’ statements should not be taken at face value. Also, we should not hesitate to
increase the sales prices. We should refrain from offering low prices to obtain small orders to
ensure that the efforts of all the companies will not have been in vain.
                                                                                   (Evidence Sogap 3-31)

74       This meeting was a working level meeting which was held in order for the participants to agree
on such issues as the CDT prices, market shares, and prohibition against lowballing. Mr. Kim and Mr. Ha
of Samsung Display Devices, Mr. Lim of LG Electronics, Mr. Moon of Orion, Mr. Cheng of Philips, Director
Liu of Chunghwa Picture Tubes, and 3 other people participated in the meeting. This can be confirmed
in Chunghwa Picture Tube’s “Customer Contact Report.”

The multi-party agreement on May 16, 1997

75      During this meeting, the defendants checked whether the agreed prices of each customer were
being carried out properly. Also, the companies discussed about how to effectively respond jointly to
the price decreases carried out by Hitachi. In addition, the companies agreed to faithfully carry out the
agreements reached during the previous top level meeting.


Mr. Ha repeatedly mentioned that he had notified the price increases to the customers first.
Therefore, Mr. Lim thinks that the originally-agreed minimum prices of 15”
MPRII-105.0/pc. And 14”MPRI-72.00/unit should be offered to all the customers, that these prices
should be retried for 1 to 2 months, and that HTC should be continuously persuaded to increase the
sales prices.
Director Liu summarized that before new decisions should be made, the comprehensive opinions of all
the meeting participants should be included in the report to be submitted to the top management and
that everyone should follow the original decisions of the top management.
CPT entrusted LG the responsibility to ensure that all the members will follow the implementation
decisions based on mutual trust. Also, CPT requested LG to participate in all working level meetings in
order to strengthen cooperation based on mutual trust.                           (Evidence Sogap 3-32)


The multi-party meeting on May 20, 1997

76      During this meeting, the defendants reconfirmed the agreements of the top level meeting.
Then, the companies exchanged each company’s production volume and inventory situation.
Afterwards, the companies discussed about increasing the sales prices in Korea.

        -39-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 42 of 172


Then, the participants agreed on the sales prices of the 14” and 15” CDT’s, setting the price differences
among the companies. Chunghwa Picture Tubes and Philips then urged the Korean companies to
increase the domestic sales prices. In response, Samsung Display Devices confirmed that it had
requested LG Electronics and Orion to increase their prices, openly criticizing Orion and LG Electronics
which had offered low prices.

According to the agreements of the top level meeting on May, 1997, the minimum prices should be
adhered to and the prices should not be lowered to take away other companies’ orders
                                                                             (Evidence Sogap 3-33)


Also, due to the fact that the Korean manufacturers’ prices have not increased, CPT/HP complained
about the sales prices of the 14”/15” CDT’s in Korea. Mr. Ra said that SDD had already notified price
increases to the customers and demanded LG/Orion to follow the price increases requests by
increasing the prices above the agreed levels.
I said that the most problematic customers were Orion/LG, and added that Orion’s prices were the
lowers.
I requested 48KMZ-100 dollars to other LG people for 15” products, further requesting to maintain
64KMZ-103 dollars.                                                               (Evidence Sogap 3-33)


77       Also, the defendants agreed on the minimum prices and the sales prices based on customer size
for the 14” and 15” CDT’s. Furthermore, the companies agreed that the price difference for the 15” CDT
between Chunghwa Picture Tubes and Samsung Display Devices/Philips would be set at 3 dollars. This is
the reconfirmation of the agreement reached in the meeting on May 9 in order for Chunghwa Picture
Tubes to maintain its market share in the 15” CDT market.

 14” CDT: Maintain the previously-agreed prices in accordance with decision reached at the top level
 meeting: 14” MPRII-72.00 dollars/pc
 - Major customers – 100.00 dollars/unit in May of 97, June of 97: 100 dollars/unit
 - Medium and small customers – May of ’97: 102.00 dollars/unit. June of ’97: 102 dollars/unit
 The price difference between CPT and SDD/PH will be maintained at 3 dollars/unit according to the
 top level meeting and will not be discussed further.                           (Evidence Sogap 3-33)

78      In this meeting, Mr. Ra and Mr. Ha from Samsung SDI, Mr. Song and another person from Philips,
Charles Lou from LG Electronics, Chi-Chun Liu, Wen-chun Cheng, and Ching-Wien from Chunghwa
Picture Tubes, and other people participated. This can be confirmed in Chunghwa Picture Tube’s
“Customer Contact Report.”

The two-party meeting on June 5, 1997

79      During this meeting, the implementation of the previous price agreements was checked and
those who hadn’t implemented the agreements were confirmed, and how to further cooperate was
discussed.



        -40-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 43 of 172


Also, the Chunghwa Picture Tubes’ participants expressed their dissatisfaction that the company had
incurred damages due to the Korean CRT manufacturers’ failure to increase the prices in Korea as
agreed, urging the Korean companies to increase their prices in the Korean market. This can be
confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”
Therefore, they (SDD) continued to request CPT to support the price agreements and disclosed that
they were willing to understand CPT’s position and to help CPT.
In order to compete, Orion offered lower prices than contract prices and as a result took away
substantial orders from CPT. … LG also took away orders by frequently offering lower prices than the
contract prices. HEDS’ expected 14” CDT production situation is unclear.
SDD’s President Sohn proposed to have another meeting and invited the people who were related to
the future discussions.                                                          (Evidence Sogap 3-34)


The local 14”/15” CDT prices in Korea could not increase simultaneously, only causing the Taiwanese
manufacturers to lose their competitiveness further.                             (Evidence Sogap 3-34)

The two-party meeting on July 8, 1997

80      The defendants agreed to refrain from competing with each other regarding the 14” CDT price
and quantity, to maintain the price difference between major customers and small-scale customers, and
to check with the other company when customers would propose low prices. Regarding the 15” CDT,
Chunghwa Picture Tubes informed Samsung Display Devices that its sales price was not different from
the sales prices of Samsung Display Devices, Philips, and LG Electronics in contrast to the previous
agreement, and the two companies agreed to adjust the price to in line with the price of Samsung
Display Devices. Samsung SDD’s Mr. Ha and Chunghwa Picture Tube’s Ching-wien Du and Ling-Yoon
Cheng participated in this meeting. This can be confirmed in Chunghwa Picture Tube’s “Visiting Report.”


 President Ha said that the current SDD price for 14” follows the price of CPT entirely. He agreed that
 there was no reason for CPT and SDD to compete on price for the 14” CDT. That is because
 competition between the two companies would just cause damages to the companies without
 increasing orders/market share.
 In response to CPT’s proposal to maintain the price at USD 62.00/pc (MPRII), President Ha expressed
 his intention to cooperate. Also, he agreed that a price difference between major customers and small
 customers was needed.
 Samsung agreed to take similar measures on prices, so we should follow suit. Also, if we have any
 suspicions about each other’s prices, we should check each other to prevent the customers from
 cheating us.                                                                       (Evidence Sogap 3-35)


 CPT explained to Mr. Ha again that there was no difference between the current CPT’s 15” price and
 the prices of SDD/PH/LG. (USD 1~2.00/pc)
 In addition, CPT will adjust the price within 1 to 2 months to match the SDD price.
                                                                                   (Evidence Sogap 3-35)


        -41-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 44 of 172


The two-party meeting on July 18

81      During this meeting, the two companies confirmed whether the rumors surrounding the prices
of the 14” and 15” CDT’s were true and agreed on the new sales prices. First, in regard to the 14” CDT,
Samsung SDD’s Mr. Ha proposed to lead the market price jointly with Chunghwa Picture Tubes. Then,
the two companies agreed on the prices to be applied to other customers. In addition, the two
companies agreed to transmit the agreements to the respective overseas subsidiary companies.

     Mr. Ha agreed that the market prices of the 14” CDT could be jointly led by CPT/SDD.
     Both sides agreed to set the 14” CDT prices as follows:
     Major customers: Brand P / Brand A / Brand I: 60.00/pc. Others: 62~64.00/pc
     Director Liu mentioned about CPT’s sincerity in maintaining the current prices and requested today’s
     conclusions to the headquarters/Malaysia factory/Hong Kong subsidiary so that they could follow
     the conclusions.
                                                                                      (Evidence Sogap 3-36)


82      In addition, regarding the 15” CDT, the two companies compared the prices differences that
occurred according to product specifications based on the standard specification (64KHZ/MRPII) to
ensure that the agreed-upon prices would be applied. Furthermore, the two companies agreed to
cooperate with Philips to set the minimum price at 90 dollars.

  Both sides clearly stated again that the price differences for the various tube types were as follows:
  Base: 64KHZ/MRPII
                         CPT              SDD
  No ASC               -2.00             -2.00
  No coil                   -2.50             -2.00
  48KHZ                 -2.00            -2.00
        7
  Glare                 -2.00             -2.00
  Total                      -8.50             -8.00
  As long as SDD/PH/CPT cooperate, the minimum 15” CDT price could be maintained at USD 90.00/pc.
   25
25CPT  will contact PH again to cooperate in such efforts.                           (Evidence Sogap 3-36)

83      The purpose of this meeting was to agree on the prices and production volumes of the 14” and
15” CDT’s. Mr. Ha and 2 other people from Samsung Display Devices and Chi-Chun Liu and Ching-Wien
of Chunghwa Picture Tubes participated. This can be confirmed in Chunghwa Picture Tube’s “Visiting
Report.”




25
  “Due to the fact that people watch computer monitors more closely than TV monitors, the specifications on the
effects on the body are more detailed. The monitors without any liquid applied on the glass are referred as glare
monitors. Those monitors with the coating on the glass are referred to as non-glare monitors. The CDT monitors
with the coated glass are high-end monitors.” (Evidence Sogap 2-1 answer 6)
         -42-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 45 of 172


The two-party meeting on August 1, 1997

84      In this meeting, the two companies exchanged information on factory production volumes and
sales data for each customer. In addition, the companies agreed to keep the cartel meetings
confidential. This can be confirmed in Chunghwa Picture Tube’s “Visiting Report.”

 We have to continue to maintain contact points to exchange information. However, except to respond
 carefully to deal with excessive competition, we should exchange information only orally and should
 never provide any written information.                                         (Evidence Sogap 3-37)

The two-party meeting on August 18, 1997

85      The two companies exchanged the production data and production line conversion plans of the
factories located across the globe and checked whether the previous agreements had been
implemented. Specifically, the participants checked whether the other company’s sales price
information obtained from the market or customers was correct. Regarding the sales prices of the
products to Samsung Electronics, Samsung Display Devices confirmed that the prices offered to Samsung
Electronics were about 2 to 3% lower than the market prices. The meeting participants were Mr. Ra and
3 others from Samsung Display Devices and Chieng-wien Lin and 2 others from Chunghwa Picture Tubes.
This can be confirmed in Chunghwa Picture Tube’s “Visiting Report.”


 When CPT asserted that the current 14”/15” CDT prices of SDD are 58.00/pc and USD 84.00/pc
 respectively based on reliable evidences obtained from customers, Mr. Ra responded that his
 company’s lowest 14” CDT price was USD 59.00/pc. CPT pointed out that when Director Liu had visited
 SDD in July, Mr. Ha had promised to staunchly defend the minimum price of USD 60.00/pc. He
 continued that even if it was necessary to adjust the lower price due to the changes in the market
 situation, SDD had to notify CPT about that for CPT to review the price.
 In regard to the fact that the 15” CDT price is USD 84.00/pc, Mr. Ha strongly denied that his company
 had never offered such a price. Mr. Ha said that that price was only the price demanded by Light-on
 and further stated that SDD had not acquiesced to the company’s demand.           (Evidence Sogap 3-38)


 President Lin requested Mr. Ra to provide him with the prices used for internal transactions.
 However, Mr. Ra just said that the prices are about 2 to 3% lower than the market prices.

                                                                                       (Evidence Sogap 3-38)

The multi-party meeting on October 9, 1997

86     In order to find out whether the excess supply of specific CDT products exerted any downward
pressure on the prices, the defendants exchanged information on the production volume of each of the
production lines located across the globe and information on the line conversion plans.




        -43-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 46 of 172


Also, the participants agreed to differentiate between major customers and small-scale customers in
terms of price and confirmed that there would be no additional price decreases per the decision of the
top management. This can be confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”

 The minimum 14” price is USD 58.00/pc. If possible, the price should be increased to about USD 1-
 2/pc. However, the price increase should be determined based on the price difference with the 15”
 CDT. Mr. Lin of PH said that although their minimum 14”/15” CDT prices are USD 57.00/79.00, the top
 management had already decided not to decrease the 14”/15” CDT prices further. Also, he said that
 the 14” CDT price would be adjusted to at least USD 58.00/pc.
 For the 3 manufacturers, the minimum 15” prices are USD 78-80/pc. SDD asserted that it wants to
 maintain the minimum price at USD 80.00/pc. … Also, they will not decrease the price further.
 17” CDT sales prices: The minimum PH price is USD 170.00/pc and the minimum SDD price is USD
 175.00/pc.                                                                      (Evidence Sogap 3-39)


The two-party meeting on October 20, 1997

87       This meeting was a two-party meeting in which the CEO from each company participated.
During the meeting, the two companies agreed on the principles of refraining from competition through
more close cooperation to prevent price decreases and controlling the production level to maximize
profit. In order to carry out the above principles, the two companies agreed at the working level to
work closely, including notifying to customers uniformly. In order to refrain from price competition in
the 14” and 15” CDT product categories and to reach price agreements, CEO Sohn, Mr. Kim, Mr. Ha, and
others from Samsung Display Devices and CEO Chieng-wien Lin, Chi-Chun Liu, Shen-jen Yang, and Ching-
wien Du from Chunghwa Picture Tubes participated. This can be confirmed in Chunghwa Picture Tube’s
“Visiting Report.”

 President Lin emphasized that it was a good opportunity for all the companies to stop decreasing
 their prices.
 The CDT manufacturers need to send the message to product suppliers and monitor manufacturers
 that the CDT manufacturers do not have the ability to decrease the prices any longer and that in
 order to stabilize the price level the CDT manufacturers will not decrease the prices next year.
 It is more advisable to all the companies to cooperate to control the production volume rather than
 decreasing our prices and engaging in cut-throat competition. In order to pursue more healthy had
 profitable business, we have to maintain the prices.
 In order to strengthen communication, the companies should visit other companies more frequently.
 Thanks to President Lin’s extensive explanations about the fact that there is no way to increase
 customer demand by engaging in price competition and about the fact that it would be more profitable
 for both companies to cooperate, CEO Sohn of SDD agreed on the spot to strongly defend the price
 floor. Also, he asked everyone to communicate more and to cooperate wholeheartedly.
                                                                                   (Evidence sogap 3-40)




        -44-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 47 of 172


The multi-party meeting on October 30, 1997

88       Chunghwa Picture Tubes invited Samsung Display Devices and Philips in order to jointly check
Hitachi, which was decreasing product prices, and to carry out the price agreements effectively.
Specifically, the defendants agreed to adjust prices before offering estimates to customers and
reconfirmed their intention to maintain the minimum price of 58 dollars for the 14” CDT and the
minimum price of 75 dollars for the 15” CDT, which had been agreed in the previous meeting. The
meeting participants were Mr. Ha and Mr. Lee from Samsung Display Devices and Chi-Chun Liu, Shen-jen
Yang, and Ching-Wien of Chunghwa Picture Tubes. This can be confirmed by Chunghwa Picture Tube’s
“Customer Contact Report.”

 In order to strengthen mutual trust to “maintain the prices” and to understand other companies’
 thoughts and methods, CPT invited PH/SDD to the meeting held at SDD Taipei.
 CPT requested SDD to review prices with CPT and use CPT to price as the reference price before
 offering any prices to small and medium customers.                             (Evidence Sogap 3-41)


 SDD believes that in order to ensure the current minimum 14” CDT price, the price of the 15” MPRII
 should not drop below USD 75.00/pc.
 They will adhere to the minimum (14”) price of USD 58.00/pc.                   (Evidence Sogap 3-41)

The multi-party meeting on November 21, 1997

89      This meeting was held in order for the companies to confirm the market rumors and then to
agree on the next month sales prices and to jointly notify the customers that the prices would increase
due to the supply shortage. First, the defendants contacted frequently amongst themselves to agree to
check the sales prices in advance. Then, they agreed to maintain the price of the 14” CDT at 58 dollars,
further agreeing to notify the customers of supply shortages. According to the data that shows the CDT
manufacturers’ production plans, although 24 production lines were planned to be operated, the
companies agreed to prevent the sales prices from falling by notifying the customers that only 21.5 lines
were in operation.

 Regarding the rumor surrounding the current price decisions, the participants agreed to contact
 frequently and to check all areas to make sure to prevent being cheated by the customers.
 All the manufacturers agreed to maintain the 14” price at 58.00 dollars/unit.
                                                                                 (Evidence Sogap 3-43)




        -45-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 48 of 172



 CPT: 5 lines (Should be 5.5 lines).                   SDD: 4 lines
 PH: 2 lines (Should be 3 lines)                        Orion: 1 line
 LG: 2 lines (There is 0.5 line at US Zenith and will operate a line in July of ’98 in Great Britain.)
 HEDS: 2 lines           Toshiba: 2 lines        MEC: 1 line
 Sony: 2 lines           NEC: 0.5 line (TECO’s 0.5 line will be added)
 Total: 21.5 lines (Actually should be 24 lines)                                        (Evidence Sogap 3-43)

 All manufacturers agreed to announce to the monitor manufacturers to that there would be a supply
 shortage for 14”/15” next year to maintain the price level.
 We should be able to notify the customers that the supply will be tight to prevent the prices from
 automatically
2626           dropping.                                                          (Evidence Sogap 3-43)

90      In order to agree on the CDT prices to be applied in December of the same year, the directors
and employees8 of Samsung Display Devices, LG Electronics, Philips, and Chunghwa Picture Tubes
participated. The participants were Mr. Ha of the Taiwan subsidiary of Samsung Display Devices, Mr.
Park and Mr. M. M. Park of LG Electronics, Siuri Lin of Philips, and Chi-Chun Liu, Shen-jen Yang, and
Ching-wien Du of Chunghwa Picture Tubes. This can be confirmed by Chunghwa Picture Tube’s
“Customer Contact Report.”

(4) The meetings held by the competitors in 1998

<Table 20>                        The summary of the CDT Cartel Meetings in 1998
Year        Date held         Agreement details                 Participants                    Evidences
                           Maintain the 14”-15” CDT                                    Evidence Sogap 3-44, page
     1      1.5. 1998                                          Chunghwa, SDI
                               price difference                                         843 of the review report
                           Minimum prices (14”: $58,                                      Evidence Sogap 3-45
                                                          Chunghwa, SDI/Chunghwa,
     2      1.14. 1998           15”: $73~74).                                         Page 852 and page 861 of
                                                                 Toshiba
                           Establish an audit system                                        the review report
                                                                                          Evidence Sogap 3-47
                              Increase the 17” CDT
     3      1.19. 1998                                     Chunghwa, Matsushita          Page 870 of the review
                                     prices
                                                                                                  report
                              Decrease production                                        Evidence Sogap 3-48~9
                                                          Chunghwa, LG/Chunghwa,
     4      3.4. 1998        / Minimum prices (14”:                                    Page 879 and page 891 of
                                                             SDI, Philips, Orion
                                $53.15, 15”: $65)                                           the review report
                               Amount of decrease                                         Evidence Sogap 3-50
     5      3.25. 1998         ($0.5~1.0/pc), price            Chunghwa, SDI              Pages 900~902 of the
                                   stabilization                                              review report
                                                                                          Evidence Sogap 3-51
                            Price guidelines (14”: $50,
     6      3.30. 1998                                    Chunghwa, SDI, LG, Orion       Page 912 of the review
                                     15”: $63)
                                                                                                  report
                                                                                          Evidence Sogap 3-52
                              Production reduction,
     7      4.14. 1998                                         Chunghwa, SDI             Page 920 of the review
                               price maintenance
                                                                                                  report


26
  Although the companies which participated in the cartel meeting are clear based on the evidence related to this
meeting, some of the participants could not be identified, so no participant names were indicated for some of the
participating companies as a result.
         -46-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 49 of 172


                                                                                               Evidence Sogap 3-53
 8         5.18. 1998         Sales prices (14”: $46, 15” $56)        Chunghwa, Orion      Page 928 and page 932 of the
                                                                                                  review report
                                                                                               Evidence Sogap 3-54
                           Production reduction, prevention of         Chunghwa, SDI,
 9         6.1. 1998                                                                       Pages 942~943 of the review
                                       price drop                          Orion
                                                                                                      report
                              Confirmation of the intention to                                 Evidence Sogap 3-55
 10        7.9. 1998                                                   Chunghwa, LG
                           maintain the cooperative relationship                           Page 956 of the review report
                           Termination of sales of B products, 1st
                           and 2nd price increases, application of
                            different prices for major customers                             Evidence Sogap 4-1, page
                                                                     Chunghwa, SDI, LG,
 11        7.18. 1998        and other customers, production                                           2738
                                                                       Orion, Philips
                             reduction, implementation of the                              Evidence Sogap 2-2, page 344
                            audit system to check adherence to
                                         agreements
                                                                                               Evidence Sogap 4-2
                              Reduce 17” production by 25%,          Chunghwa, SDI, LG,
 12        7.31. 1998                                                                        Page 2741 of the review
                                maintain the price of $93              Orion, Philips
                                                                                                     report
                            Check whether the price increase
                                                                                               Evidence Sogap 3-56
                            agreement is being implemented,
 13        8.21. 1998                                                Chunghwa, Hitachi     Page 967 and page 969 of the
                           Check increases in price for products
                                                                                                  review report
                                     from SDD to SEC
                                                                                                Evidence Sogap 4-3
                          Production reduction for 14”, 15”, and     Chunghwa, SDI, LG,
 14        9.2. 1998                                                                          Page 2746 of the review
                              17” and price increase plans             Orion, Philips
                                                                                                       report
                          Number of production reduction days                              Evidence Sogap 2-2, page 346
                                                                     Chunghwa, SDI, LG,
 15        10.9. 1998             and measures to check                                      Evidence Sogap 4-5, page
                                                                       Orion, Philips
                                      implementation                                         2751 of the review report
                          Sales prices (maintain the price of 14”,   Chunghwa, “SDI, LG,     Evidence Sogap 4-6, page
 16       10.20. 1998
                                 increase the price of 17”)             Orion, Philips       2760 of the review report
                                   Measures to check the
                                                                     Chunghwa, SDI, LG,     Evidence Sogap 4-7, page
 17        11.4. 1998         implementation of production
                                                                       Orion, Philips       2764 of the review report
                                         reduction
                                                                     Chunghwa, SDI, LG,     Evidence Sogap 4-8, page
 18       11.23. 1998        Maintain the current sales prices
                                                                        Orion, Philips      2767 of the review report
                                                                     Chunghwa, SDI, LG,     Evidence Sogap 4-9, page
 19      11.28~29. 1998     Increase the sales price of 17” by $5
                                                                       Orion, Thai CRT      2769 of the review report
The meeting on January 5, 1998

91       During this meeting, the defendants continued to discuss about the necessity of maintaining the
price difference between the 14” CDT and the 15” CDT. The reason was that in the event that the price
gap between the two products narrowed, the demand for 14” CDT’s would be transferred to the 15”
CDT, thereby reducing the profit level. Also, in regard to the sales prices applied to Samsung Electronics,
a Korean customer, Samsung Display Devices confirmed to Chunghwa Picture Tubes that Samsung
Display Devices had never supplied Samsung Electronics the products at lower prices. The meeting
participants were Mr. Ha of Samsung Display Devices and another person from Samsung Display Devices
and Chi-Chun Liu, Shen-jen Yang, and Ling-yun Cheng of Chunghwa Picture Tubes. This can be
confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”
If the price difference between 14” and 15” narrows to USD 10.00 for SDD, inevitably substantial
portion of the 14” demand will shift to 15”. Then, the entire market will actively push for change.

                                                                                             (Evidence Sogap 3-44)



        -47-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 50 of 172



  Regarding the rumor that the Korean manufacturers started dumping their products at low prices due
  to the substantial depreciation of the Korean currency, SDD stated that the product orders were
  adequate and that there was no need to hurriedly decrease the prices. In the case of SEC, as a lot of
  CDTs are imported through TSB, the payments have to be made in dollars, so the import prices are still
  high. As a result, SEC could not substantially decrease the prices, and there was no statement that SEC
  was dumping its products.                              (Evidence Sogap 3-44)

The two two-party meetings held on January 14, 1998

92       During this meeting, Mr. Lee of Samsung Display Devices inquired to Ling-yun Cheng about the
possibility of a price drop due to the reduction in orders and Chunghwa Picture Tubes confirmed its
intention to maintain the price level. On the same day, Toshiba’s Hamano, Oshima, and Yang-chang Lee
and Chunghwa Picture Tube’s Chieng-wien Lin and Ching-wien Du discussed about drawing up common
guidelines for the CDT manufacturers and setting up an audit system. This can be confirmed in
Chunghwa Picture Tube’s “Customer Contact Report.”

 Assistant Vice-president Lee expressed his concern about price decreases due to the decrease in
 orders for CPT [Chunghwa Picture Tube]’s 14” products. I answered that we were not taking any
 actions to reduce the price of the 14” CDT and that we would maintain the minimum price at USD 58.
 I hope that both sides will be able to reach an agreement. We plan to reduce the price of 15” from
 USD 74~74 to USD 73~74.                                                        (Evidence Sogap 3-45)

 For such a reason, he proposed to organize an international CDT industry association during this visit.
 The member companies had to maintain representatives in Korea, Japan, and Taiwan in order to meet
 in the above meeting, to prepare common guidelines appropriate for the circumstances, and to
 prepare an audit system to audit the actual activities of each member.
                                                                                 (Evidence Sogap 3-46)


The two-party meeting on January 19, 1998

93      During this meeting, the defendants confirmed that except for Hitachi, the CDT manufacturers
had increased the 17” CDT prices starting January 16 of the same year in accordance with the previous
agreement. Also, Chunghwa Picture Tubes confirmed that in the event that other CDT manufacturers
agree to increase their prices by the same level as the Japanese products, the company would follow
suit. During this meeting, He-wi Ahn and 2 others from Matsushita and Chi-Chun Liu and Sheng-jen of
Chunghwa Picture Tubes participated. This can be confirmed in Chunghwa Picture Tube’s “Visiting
Report.”




        -48-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 51 of 172


Even if some companies mess around, if the demand is still strong, such actions will not impact the
overall situation. Except for Hitachi Singapore, which was acting independently, all the manufacturers
in Japan, Korea, and China increased their 17” prices at this time.
If the conclusion reached by all the companies is CF Med (confirmed), CPT will definitely follow this.
                                                                                 (Evidence Sogap 3-37)


The two-party meeting and the multi-party meeting held on March 4, 1998

94      During this meeting, the defendants agreed to control production and inspect the details of the
agreements in order to improve the market situation marked by excess supply and further agreed to
hold more meetings in the future in order to check in advance uncertainties related to the prices. In
order to discuss on stabilizing the CDT prices, Mr. Cho and 4 others from LG Electronics and Chi-Chun Liu
and 2 others from Chunghwa Picture Tubes participated. This can be confirmed in Chunghwa Picture
Tube’s “Customer Contact Report.”

 It was stated that the current CDT business was very difficult, the excess supply in the overall market
 was serious, and that the price decrease issue had to be strictly resolved based on production control
 by all the companies. (… It was explained that the agreed production control would not be effective
 without strict supervision.)
 Mr. Cho said that he wanted to contact frequently and exchange information and stated that any
 rumors in the market could be mutually confirmed.                                  (Evidence Sogap 3-48)


95      On the same day, Mr. Ra and 3 others from Samsung Display Devices, Jung Lin of Philips, Mr.
Moon of Orion, and Shen-jen Yang and 2 others from Chunghwa Picture Tubes held a multi-party
meeting to agree on the CDT prices. The defendants checked the customer demands and the market
supply and demand situation, and then discussed about the sales prices of the 14”, 15”, and 17” CDT’s
to be applied jointly. This can be confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”

 Mr. Ra said that he wanted the participants to use the following prices as the minimum prices for the
 14”/15” CDT’s.
 14” – USD 53.0/pc                          15” – 65.0/pc
 Mr. Ra wanted SDD and LG to maintain the USD 130.0/pc level.                      (Evidence Sogap 3-49)

The two-party meeting on March 25, 1998

96      Chunghwa Picture Tubes worried about the strong downward pressure on the CDT prices from
the Taiwanese monitor manufacturers as a result of the enhanced price competitiveness of the Korean
monitor manufacturers due to the depreciation of the Korean currency. During this meeting, Mr. Ra of
Samsung Display Devices proposed that all the CDT manufacturers should jointly endeavor to reduce the
price decrease.




        -49-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 52 of 172


Chunghwa Picture Tubes expressed that the company wanted Samsung Display Devices to transfer some
of the supplies sold to Samsung Electronics to Chunghwa Picture Tubes and discussed about such a
possibility. From this, we can see that the share of sales to Samsung Electronics by Samsung Display
Devices depended on the market situation and the supply prices and that the purpose of the adjustment
of order quantities among the competitors was to avoid competition, thereby avoiding decreases in
prices.

97      Lastly, the defendants agreed to hold a top level meeting between the two companies with the
CEO from each company present and to hold a multi-party working level meeting including the
participants from the two companies, Philips, and LG Electronics, on March 30 of the same year.
Samsung SDD’s Mr. Ra and another person and Chunghwa Picture Tube’s Chi-Chun Liu, Shang-jen Yang,
and Ching-wien Du participated in this meeting in order to discuss about how the CDT manufacturers
could carry out joint actions effectively. This can be confirmed in Chunghwa Picture Tube’s “Customer
Contact Report.”

 Due to the enhanced competitiveness of the Korean monitor producers as a result of the depreciation
 of the Korean won… The Taiwanese producers will exert pressure to reduce the price level to USD
 60.0/pc in order to maintain competitiveness against the Korean companies.
 Mr. Ra said that he wanted all the companies to cooperate to limit the price decrease to about USD
 0.5~1.0 in order to prevent the business situation from deteriorating further.
                                                                                 (Evidence Sogap 3-50)


 Director Liu said that if SDD could transfer 5% of the orders (transfer orders from SEC), in other word,
 (namely, SDD’s production utilization rate decreases to about 75%), CPT could provide supplies at
 better prices. He continued that if the CPT production line utilization rate continued this way, the
 need to compete for orders would subside in the current market. Also, he said that this would
 contribute to the stabilization of the price level.
                                                                                    (Evidence Sogap 3-50)


 CEO Sohn of SDD plans to visit Taiwan in mid-April. I hope that there will be an opportunity to
 exchange opinions with CEO Lin regarding the market information and industry situation.
 Also, the working level employees of PH/LG/CPT/SDD were invited to SDD’s Taipei office on March
 30, ’98 at 2:00 PM to exchange information on the market situation and on the price information. I
 hope that a consensus will be reached regarding the price level.                  (Evidence Sogap 3-50)

The multi-party meeting on March 30, 1998

98      The purpose of this meeting was to exchange information on the CDT prices in order to refrain
from engaging in CDT price competition. During this meeting, the participants agreed that the price
differences between Chunghwa Picture Tubes and other participants for the 15” CDT and the 14” CDT
should be adjusted to 2 dollars and 3 dollars, respectively. Also, the participants discussed about setting
the minimum price of the 14” CDT at 50 dollars and the minimum price of the 15” CDT at 63 dollars.



        -50-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 53 of 172


The four companies including Samsung Display Devices, LG Electronics, Orion, and Chunghwa Picture
Tubes held this meeting in the Samsung Display Devices meeting room in Taiwan. During this meeting,
the companies agreed on the prices of the CDT products. The participants from each company were Mr.
Ra, Mr. Ha, and another person from Samsung SDD’s Taiwanese subsidiary company, Mr. Lim and
another person from LG Electronics’ Taiwanese subsidiary company, Mr. Moon of Orion, and Shen-jen
Yang and another person from Chunghwa Picture Tubes. This can be confirmed in Chunghwa Picture
Tube’s “Customer Contact Report.”

 In order to prepare April price guidelines to prevent the CDT prices from decreasing exorbitantly due
 to excessive price competition, the people from CPT/PH/LG/Orion and other related people were
 invited.
 CPT’s proposal to adjust the price difference to USD 2.00/USD 3.00 to reduce 14”/15” was welcomed
 by everyone. SDD also promised to follow this action. Mr. Ha said that SDD wanted to maintain the
 April 14” price level above USD 50.00/pc and the April 15” price level above 63.0/pc.
                                                                                   (Evidence Sogap 3-15)


The two-party meeting on April 14, 1998

99       This top level meeting was held in Taiwan with Representative Director Sohn from Samsung
SDD’s headquarters office, Mr. Ra, the head of the Taiwanese subsidiary company, and 4 others and
Representative Director Chieng-wien Lin and 4 others participating in order to reconfirm the principle of
agreeing on the CDT prices and to strengthen cooperation. During the meeting, the two companies’
representative directors agreed to maintain the price level by reducing the production level as follows.
Also, from the information contained in the evidential materials, we can see that on Saturday of April 14
of 1998 when this meeting was held, the Korean CDT manufacturers LG Electronics and Orion agreed to
hold a multi-party meeting in Korea to agree on the prices. Also, according to the statement made by
Mr. Ra of Samsung Display Devices, we can see that the Taiwanese subsidiary company of Samsung
Display Devices was carrying out the agreements reached with the competitors in accordance with the
directives of the headquarters office. This can be confirmed in the “Visiting Report” indicated as
“confidential” prepared by one of the participants from Chunghwa Picture Tubes.

 If the CDT manufacturers cooperate to reduce the utilization rate to adjust to the market demand
 during the offseason, maintaining the price level will not be difficult. However, if all the companies
 increase the utilization rate, some companies will no longer be able to exist. Also, price wars will not
 be avoided.
                                                                                     (Evidence Sogap 3-52)


 CEO Sohn said that he would invite LG and Orion this Saturday in order to find ways to maintain the
 identical CDT price for everyone’s benefit by discussing about the current market situation.
                                                                                  (Evidence Sogap 3-52)

 Also, President Ra said that he had been dispatched to Taiwan in order to do his best to maintain the
 price level. He wanted to have a dinner meeting with President Lin every month in order to discuss
 about the market situation and to exchange opinions.
                                                                                 (Evidence Sogap 3-52)
        -51-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 54 of 172


The two-party meeting on May 18, 1998

100      During this meeting, Chunghwa Picture Tubes, Philips, and Samsung Display Devices agreed to
set the sales price of the 14” CDT at 46 dollars and the sales price of the 15”CDT at 56 dollars, as they
had discussed on the previous Tuesday. Also, the defendants confirmed to adhere to the agreements
and to draw up a system to check adherence to the agreements. The meeting participants were Mr.
Moon and Mr. Kang of Orion and Chi-Chun Liu, Shen-jen Yang, and Ching-wien Du of Chunghwa Picture
Tubes. This can be confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”

 Director Liu explained that based on the results of the meeting held between President Lin of CPT, Mr.
 David Zhang of PH, and Mr. Ra of SDD, there would be no price decreases for the 14”/15” CDT’s and
 the May prices would be strictly maintained as follows: 14” MPRII: USD 46.0/pc, 15” MPRII: USD
 56.0/pc (If any special prices were offered to the major customers, such prices have to be maintained,
 but no further price decreases should be allowed.)                                (Evidence Sogap 3-53)


 Therefore, everyone should be faithful in maintaining the prices. If we hear from the customers that
 SDD and PH are competing in price in secret in violation of the resolution, this information should be
 provided to CPT. Then, CPT will appeal to SDD and PH.                               (Evidence Sogap 3-53)


The multi-party meeting on June 1, 1998

101     The sales directors and employees from the 4 companies who participated in this meeting
agreed to reduce production as follows in order to jointly maintain the CDT prices, which were falling
due to the reduction in market size. On Saturday of the previous week, the Korean CDT manufacturers
had held a meeting to agree on prices, had planned to discuss further on production cutbacks, and had
planned to meet with Mr. Kim of Samsung Display Devices, Chunghwa Picture Tubes, and Philips on June
3 and June 8 to inform them of the details of the agreements. The meeting participants were Mr. Ra, Mr.
Ha, and another person from Samsung SDD’s Taiwanese subsidiary company, Mr. Moon and another
person from Orion, and Chi-Chun Liu and 2 other people from Chunghwa Picture Tubes. This can be
confirmed in Chunghwa Picture Tube’s “Customer Contact Report.”

 In order to solve the current situation in which the CDT prices are continuing to drop, all the
 manufacturers have to not only maintain their prices but also reduce the production level to change
 the market situation characterized by excess supply to allow the prices to rebound.
 Also, Mr. Ha of SDD and Mr. Moon of Orion believe that the only way to succeed is for the top
 management to start to decide on additional cooperative measures to reduce production to change
 the supply and demand situation regardless of the utilization rate (different from the current situation
 in which production naturally decreases due to the slow market)                    (Evidence Sogap 3-54)




        -52-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 55 of 172




 Last Saturday, SDD, LG, Orion, and other manufacturers held a meeting and have already reached a
 common understanding regarding the price guidelines. Today (June 1, 1998), the companies will have
 a meeting at 2 t to continue to reach agreements on production reduction.
 SDD’s Mr. Lin Kim (top business unit director) will visit Taiwan on June 2, 1998 and will meet directly
 with Mr. Lin on June 3 and with Mr. David Jang of PH on June 8 to explain about the resolution and to
 discuss about it.                                                                  (Evidence Sogap 3-54)


The two-party meeting on July 9, 1998

102     According to Chunghwa Picture Tube’s Customer Contact Report below, we can see that 15” and
17” products started to become major products instead of 14” and 15” products. Also, while the
Japanese manufacturers were cutting back their production, Chunghwa Picture Tubes, Samsung Display
Devices, LG Electronics, and Philips confirmed with each other that they could jointly influence the
market prices, agreeing to check each other in order to prevent any of the four companies from
breaching the details of the agreements.

 The other companies that can impact the market are CPT, PH, SDD, and LG. As long as these 4
 manufacturers cooperate on the price policy, we will be able to lead the market.
 He wanted to be able to communicate with L”G employees fact to face in the future. If LG heard the
 rumor that CPT is offering low prices, you can ask CPT to confirm the rumor. If a close cooperative
 relationship can be formed, they will be able to lead CPT in the right business direction to ensure
 profitability.                                                                     (Evidence Sogap 3-55)


The multi-party meeting on July 18, 1998

103      This meeting was a multi-party meeting held by the sales directors and employees of Samsung
Display Devices, Chunghwa Picture Tubes, LG Electronics, Philips, and Orion in order to agree on the CDT
prices in Korea. According to the report prepared by Mr. Lee of Samsung Display Devices titled “The
Results of the 7th (July 18) CDT Industry Meeting” and inferring from the statements made by the
participants, the following can be confirmed.

 Sales of B products that can distort the market prices should be stopped.
 The prices should be increased for all customers starting August 1 of the same year.
 The 2nd price increase should be implemented within October of the same year.
 Different prices should be applied for major customers and other customers.
 Production should be cut back
 The details of the agreements should be provided to the Japanese companies
 A system to check whether the companies are implementing the agreement should start (production
 volume: once a month, price: once a week)                                         (Evidence Sogap 4-1)




        -53-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 56 of 172


 Answer 19) "Sales stop of class B" among the agreement is below 1% in the output, but sales are to be
 stopped because, in the case that the goods of class B are to be distributed in the market as honest
 goods, it has an adverse effect on the overall market price. The agreement that does not acknowledge
 "Buffer Period" means that it was agreed to increase the price immediately because the company that
 implemented the price increase first can be damaged in the case that puts a grace period by customers
 after the agreement on a price increase is obtained.
 Additionally, we had come to an agreement to review the second price increase around Oct., and I
 remember that actually at the time after the agreement the price was increased. We had come to an
 agreement "to apply Bottom price that is already agreed to main customers and to apply the increased
 price of 1~2 dollar with comparison to Bottom price to the other customers," and this means an
 agreement that applies the bottom price (the minimum agreed price) to main customers to which a lot
 of quantity is supplied but applies a slightly higher price with comparison to the bottom price to the
 customers that are not main customers to their own. …
 Looking the information that estimated the demand/supply of third quarter in 1998, the total supply
 quantity of five companies that were participated in the meeting of cartel was 3,920K and the total
 supply quantity of Japanese companies was 3,500K, and we had underwent a process that reduce and
 adjust by the five(5) companies that participated in the meeting of cartel in order to meeting the
 remaining demand quantity after deducting the supply quantity part of Japanese companies after
 estimating the total demand quantity in order to adjust the supply quantity jointly. (Evidence Sogap
 Number 2-2)

  Mul -party meeting on July 31, 1998

104     This meeting is a multi-party meeting for the price increase agreement of CDT that is conducted
in the office of Philips Taiwan as agreed in the previous meeting by the executives and staff in charge of
CDT sales of Samsung Display Devices, Chunghwa Picture Tubes, LG Electronics, Philips, Orion, and
according to "the result report of 8th (July 31) meeting of CDT business circles" made by ** Lee of
Samsung Display Devices, who participated in the time of meeting, the fact of agreement to the
following is confirmed.

 Agreement of reducing the production of 17” CDT: 25% is reduced during third quarter, 1998
 Maintaining the price of 17” as 93 dollars
 Price is increased to the case that the shipping is also delayed without exception
 Prohibition of class B sales             (Evidence Sogap Number 4-2)


105       Additionally, it is a fact that the defendants compared the production ability, production plan,
size of reducing production by each company by making the following table and came to an agreement
pertaining to the reduction of output. This is applied to the act that reduces the output of each company
artificially by adjusting to the CDT demand in order to prevent price decrease because of an oversupply.
According to the following 17” CDT reduction agreement, it is possible to know that the production
ability (capability) of five companies in the third quarter 1998 was 5.4 million unit but the real
production was adjusted to 3.7million unit, and they have come to an agreement to hold a meeting of
hands-on staff class, respectively, in Taiwan on Sept. 2 and in Seoul on Sept. 20 of the same year.




        -54-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 57 of 172



           CAPA Original Production Plan Reduce Production Production Plan (Unit: 1,000)
    SDD    1,800          1,500                  60                   1,440
     LG    1,830           800                   30                    770
   Orion    100             10                   -                      10
 Chunghwa 900              810                   30                    780
   Philips  840            800                   30                    770
 Total sum 5,470          3,920                 150                   3,770

  Two-party meeting on Aug. 21, 1998

106 In the two-party meeting between Hitachi and Chunghwa Picture Tubes, Liu of Chunghwa Picture
Tubes had confirmed that the CDT manufacturers of China and Korea had succeeded in a price increase
(as in following) according to the previous agreement, and indicated that there was a plan to increase
the price again around October of the same year.

 Director Liu confirmed that the manufacturers of China and Korea had adjusted the price from the first
 quarter to Aug. successfully, as in the following.
 14” MPRE            USD 50.0
 15” MPRE            USD 60.0
 17” MPRE            USD 93.0
  TCD                USD 96.0

 Additionally, there is an intention to increase the price again in October due to market development
 and because the current price is barely maintained with the level of price that does not incur a loss.
 (These can decide the range of price increase in late August or early September.)
                                                                             (Evidence Sogap Number 3-56)

107     The fact of a mutual confirmation as to whether or not Samsung Display Devices had increased
the price targeting Samsung Electronics as the agreement is confirmed from the written contents of "(3)
the other" clause of customer contact report of Chunghwa Picture Tubes, and consequently it is possible
to know that Samsung Electronics is included as one of the objectives to the implementation of the
agreed contents among the CDT manufacturers.

 Therefore, he has a question as to whether or not SDD had already increased the SEC price. Mr. Jang
 said the main concern that he is considering is that Taiwanese manufacturers do not have the largest
 loss because of a small action of Korean manufacturers after this one-time CDT price increase. Based
 on several meetings, Director Liu explained that the position of SDD regarding the price increase is very
 strong. Additionally, he said that he would raise an objection and request to confirm to SDD about the
 matter of the increase in the SEC price. Both of the parties agreed to pay attention to the deployment
 of the market situation and to maintain information exchange. (Evidence Sogap Number 3-56)

  Mul -party meeting on Sept. 2, 1998




        -55-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 58 of 172



108 In this meeting, the defendants, in the same year, agreed to the reduction plan of fourth-quarter
output and confirmed it by making the quantity of reduction by each company with the following table.
It is a fact that it was to be carried out from November of the same year. Also, the participants agreed to
maintain the price of 14” with 52 dollars, which was increased by three dollars, the price of 15” with 65
dollars for an increase of five dollars, and maintain the price of 17” with the same price from Oct. 1,
1998 after grasping the information of increase request by each company with relevance to the price-
increase plan by the standard. This meeting was held in Taiwan by the executives and staff in charge of
sales and marketing of five CDT manufacturers such as Samsung Display Devices, Chunghwa Picture
Tubes, LG Electronics, Philips, Orion, etc. This is confirmed by the "Record of meeting result (Sept. 2,
1998)" of * * Lee, Samsung Display Devices.

 <Capacity Reduction of Q4>
                 Original Adjustment Balance Remarks
        LG        250         200      50
        Philips   420         370      50
  14”   Chunghwa  1450       1420      30
        SDD       1090       1060      30
                                               Japanese companies also need to reduce their
        Total     3210       3050      160
                                             Capacity of 17” Reduction Q’ty 200K/4Q
                  1440       1360      80
        LG
                  750         710      40
        Philips                                The capacity reduction start from Nov. 1998
                  1210       1140      70
  17”   Chunghwa
                  1710       1620      90
        SDD
                  105         105       0
        Total     5215       4935      280

 <Price Increasing System>
                         Original Request
                                                            Agreement
                 14”          15”          17”
  CPT              5          6~7           4
                                                               Agreement 14”: 3USD = 52USD
  Orion          2~3           5          Follow
                                                                15”: 5USD = 65USD
  Samsung        Zero          5           Zero
                                                                17”: “Zero”
  Philips       Follow         5             ?
                                                               From Oct. 1, 1998
  LG            Follow        6~7            ?

  Mul -party meeting on Oct. 9, 1998

109     The defendants confirmed the success or failure of the second price increase that was agreed in
the previous meeting, and they discussed the reduction scenario that Philips had prepared as the center.
This imparted a strong signal about the price increase to customers, specifically through the easy
implementation and establishment of the reduction plan, that monitoring is possible and that the
reduction and composition of sales product is decided by each company, while the price guideline
should be kept.




        -56-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 59 of 172


Additionally, it was agreed that 1) the part of excess supply should be the target of reduction after
comparing demand/supply, 2) adjust the days of operation with a reduction method but to reduce five
days in the total CDT plants, including overseas plants, on Dec. 1998, and seven days on Jan. and Feb.,
1999 with relevance to the reduction scenario. This made it possible to confirm whether or not to carry
out the agreement by making up the monitoring team to comprise several regions, including Korea.

 Answer 23) In the same meeting they shared the reduction background and reduction scenario for the
 reduction agreement, and agreed to stop the operation days of the total CDT plants, including overseas
 plant, for five days in Dec. 1998 and to stop seven days in Jan. and Feb. 1999. Additionally, it was
 agreed to make up a monitoring team by region and to submit a reduction plan for the effective
 carrying out.                                                  (Evidence Sogap Number 2-2)

    1) Reduction background
  Easy Implement G Monitoring
  Sending Strong Signal
  Start Exercise G Fine by Each Company
  Product Mix Manage by Each Company
 However, Price Guideline Stick Follow                                   (Evidence Sogap Number 4-5)

      2) Reduction scenario
   Reduce the part of excess supply by comparison of demand/supply
   Reduce by adjus ng the opera on days
   Dec. 1998: Reduc on for ve days (total CDT plant, including overseas plant)
   Two months of Jan. and June, 1999: Reduc on for seven days
 3) Action item
   Make-up of Monitoring Team by region (Korea, Taiwan, Malaysia, China, England, Austria, Mexico)
                                                                            (Evidence Sogap Number 4-5)
110      Executives and staff in charge of sales and marketing of five CDT manufacturers such as Samsung
Display Devices, Chunghwa Picture Tubes, LG Electronics, Philips, Orion, etc., participated in the meeting.
This is confirmed by "the data of meeting result of CDT business circles" made by * * Lee of Samsung
Display Devices.

  Mul -party meeting on Oct. 20, 1998

111      In this meeting, the executives and staff in charge of sales and marketing of five CDT
manufacturers such as Samsung Display Devices, Chunghwa Picture Tubes, LG Electronics, Philips, Orion,
etc. held a multi-party meeting in Taiwan and agreed to the output reduction of CDT product and sales-
price increase. According to the data of "meeting result of CDT business circles (Oct. 20)" that is made by
* * Lee of Samsung Display Devices, with relevance to the sales price, the defendants agreed to maintain
the price of 14", and to increase the price of 17” by going along with the five companies when Japanese
company increases, and it is possible to know that Samsung Display Devices was to deliver the meeting
result to Matsushita.




        -57-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 60 of 172


 2. Agreement
 1) Price increase of 14”: The price of 14” CDT shall be maintained as the present (52$)
 2) Opinion to the Japan’s price increase of 17”: If Japan increases the price first, the price shall be
 increased by going along with the five companies. The opinion of five companies shall be delivered by
 Samsung (to Matsushita).
 3) Indication of the price in 1999 (the first half): The price of the first half of 1999 shall be maintained
 as the present price.
                                                                               (Evidence Sogap Number 4-6)

  Mul -party meeting on Nov. 4, 1998

112 This meeting is a multi-party meeting that was held in Taiwan by the executives and staff in charge
of sales and marketing of five CDT manufacturers such as Samsung Display Devices, Chunghwa Picture
Tubes, LG Electronics, Philips, Orion, etc., and confirmed CDT reduction plan that was agreed in the
previous meeting and whether or not of carrying out of mutual checking system again, and there is a fact
that exchanged the sales price information. According to the data of business diary that * * Lee of
Samsung Display Devices made the meeting result with memoirs, the fact that it was agreed to make up
a monitoring team comprising several regions, including Korea, and to carry it out was confirmed in the
meeting.

         ACTION (Regional monitoring team -> Malaysia, Mexico, Austria nk, China, tail***, Korea
 -set up monitoring team, to do it the implementation
                                                                      (Evidence Sogap Number 4-7)

  Mul -party meeting on Nov. 23, 1998

113 There is a fact that the executives and staff in charge of sales and marketing of five CDT
manufacturers such as Samsung Display Devices, Chunghwa Picture Tubes, LG Electronics, Philips, Orion,
etc. held multi-party meeting in Taiwan and discussed about the present condition and sales price of
each company. According to the e-mail data that an employee of Samsung Display Devices who
participated in the meeting at the time sent the report of meeting result, it is a report of Taiwanese
cartel meeting result, and it is possible to know the fact that reported the CDT meeting result that was
held in Taiwan and a fact to maintain the present price until adjustment by the top-level meeting.

 The following is the report of meeting result of five CDT companies that was held in Taiwan on Nov. 23.
 “In general, we are in a very difficult situation because the sales quantity of 14” has been rapidly
 reduced, but the situation will not improve with the decrease of price. Therefore, the current price
 shall be kept until there will be a separate adjustment by the top-level meeting, even though the
 situation is difficult.”
                                                                           (Evidence Sogap Number 4-8)

  Mul -party meeting on Nov. 28~29, 1998




        -58-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 61 of 172



114     In this meeting, the executives and staff in charge of sales and marketing of five CDT
manufacturers, namely Samsung Display Devices, Chunghwa Picture Tubes, LG Electronics, Philips, Orion
etc. held a multi-party meeting in Korea for the agreement of CDT price increase, and according to the
data of "CDT business circles meeting result (Nov. 28, 29)" that * * Lee of Samsung Display Devices, who
participated in the meeting, personally made up for the internal report, it is possible to know there was
an agreement that the defendants were to hold a top-level meeting once per quarter and were to held
the next management level meeting in Taiwan on Jan. 20, 1999 and were to increase five dollars
following Japanese business circles with relevance to the price of 17” CDT, and were to establish the
reduction plan of the first quarter of 1999.

    Top-level meeting: One time per quarter, the next top-level meeting: Early Mar. Chunghwa
    (Malaysia)
    The next management meeting: Jan. 20 (Taiwan)
    Case of 17 inch price increase
    Agreement: The five companies are to increase 5$ within one month in the case that the Japanese
    companies increase the price as of Dec. 1, 1998.
         The five companies also discussed again to increase the price within one month but within
    5$ on the premise of the increase by the Japanese companies.
    At the time of top-level meeting, not only 14” but also the reduction plan for the first quarter of 1999
    should be established through information exchange to demand/capa/real production of first quarter
    of 1999, and to be operated as a practical meeting through the attendance of staff in charge.
                                                                             (Evidence Sogap Number 4-9)

(5) Meeting among competitors, 1999

<Table 21>         Outline of CDT cartel meeting during the period of 1999

Serial       Date of                                    Attended
                         Agreement                                           Evidence data
Number       opening                                    company
             Jan. 13,    Increase of 17” price and      Chunghwa, SDI,       Evidence Sogap Number 3-58
1
             1999        time(Jan. 16)                  LG, Orion, Philips   p.983 of evaluation report
                         Confirm the success of 17”
                                                                             p.347 of Evidence Sogap Number 2-2
                         price increase, reduction of
                                                                             p. 1002, p. 1006 of Evidence Sogap
             Jan. 18,    output, the minimum price      Chunghwa, SDI,
2                                                                            Number 3-59
             1999        of 19” ($185), maintaining     LG, Orion, Philips
                                                                             Evidence Sogap Number 4-10
                         the gap of sales price ($10)
                                                                             p. 2773~5 of evaluation report
                         among defendants
                         Include 19” in the object of
             Feb. 10,                                   Chunghwa, SDI,       Evidence Sogap Number 3-60
3                        agreement, output
             1999                                       LG, Orion, Philips   p. 1023, p. 1027 of evaluation report
                         reduction
                                                                             Evidence Sogap Number 3-61
             Mar. 1,     Output reduction, keeping      Chunghwa, SDI,
4                                                                            p. 1045, p. 1047, p. 1056 of evaluation
             1999        confidential                   LG, Orion, Philips
                                                                             report
                         Days operated (25 days                              p.348 of Evidence Sogap Number 2-2
             Mar. 5~6,                                  Chunghwa, SDI,
5                        operated), increase the                             Evidence Sogap Number 4-10-1
             1999                                       LG, Orion, Philips
                         price of 17” $5                                     p. 2777 of evaluation report
                                                                             p.348 of Evidence Sogap Number 2-2
             Mar. 15,    Increase the price of 17”,     Chunghwa, SDI,       Evidence Sogap Number 3-63
6
             1999        plan of operation stop         LG, Orion, Philips   p. 1103~4 of evaluation report
                                                                             Evidence Sogap Number 4-11


        -59-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 62 of 172


                 Monitoring plan of refraining
     Apr. 10,                                                               Evidence Sogap Number 4-12
7                from selling with low price,      Chunghwa, SDI, Philips
     1999                                                                   p. 1781 of evaluation report
                 production reduction
                                                                            p.349 of Evidence Sogap Number 2-2
                 Sales price (17”: $98, 19”:
     Apr. 14,                                      Chunghwa, SDI, LG,       p. 1118 of Evidence Sogap Number 3-64
8                $185),
     1999                                          Orion, Philips           Evidence Sogap Number 4-14
                 Days of operating plant
                                                                            p. 2794 of evaluation report
     Apr. 28,                                      Chunghwa, SDI, LG,       Evidence Sogap Number 4-15
9                Plan of operation stop
     1999                                          Orion, Philips           p. 2803 of evaluation report
     May 12,     Sales price, plan of production   Chunghwa, SDI, LG,       Evidence Sogap Number 3-65
10
     1999        reduction                         Orion, Philips           Evidence Sogap Number 4-16
                                                                            p. 1149, p. 1156, p. 1160 of Evidence Sogap
                 Sales price (15”: $5 increase,    Chunghwa, SDI, LG,
     June 23,                                                               Number 3-67
11               17”: $95, 19”: $170), plan of     Orion, Philips
     1999                                                                   p. 2813, p. 2817 of evaluation report
                 operation stop                    (Top-level meeting)
                                                                            Evidence Sogap Number 4-19
                                                                            Answer 39) of Evidence Sogap Number 2-2
                                                                            p. 1183, p. 1185, p. 1187 of Evidence Sogap
                                                   Chunghwa, SDI, LG,
     July 23,    Price increase, plan of                                    Number 3-68
12                                                 Orion, Philips
     1999        operation stop                                             Evidence Sogap Number 4-20
                                                   (Top-level meeting)
                                                                            p. 2826 of evaluation report
                                                                            Evidence Sogap Number 4-21
                 Sales price (17”: $92~93),        Chunghwa, SDI, LG,       p. 1210 of Evidence Sogap Number 3-70
     July 28,
13               price increase in Korea           Orion, Philips           Evidence Sogap Number 4-22
     1999
                 market, plan of operation stop                             p. 2850~1 of evaluation report
                 Confirm the carrying out of       Chunghwa, SDI, LG,
     Aug. 4,                                                                Evidence Sogap Number 3-71
14               price increase and operation      Orion, Philips
     1999                                                                   p. 1223, p. 1226, p. 1227 of evaluation report
                 stop agreement
                                                   Chunghwa, SDI, LG,
     Aug. 10,    Maintaining sales price and                                Evidence Sogap Number 3-72
15                                                 Orion, Philips
     1999        keeping confidential                                       p. 1240 of evaluation report
                                                                            p. 1250 of Evidence Sogap Number 3-73
                 Maintaining the sales price of    Chunghwa, SDI, LG,
     Aug. 20,                                                               p. 2854 of Evidence Sogap Number 4-23
16               14”, 15””, 17”, 19”,              Orion, Philips
     1999                                                                   Evidence Sogap Number 4-24
                 Plan of operation stop            (Top-level meeting)
                                                                            p. 2859 of evaluation report
                                                   Chunghwa, SDI, LG,
     Sept. 2,    Price increase in the Korean                               Evidence Sogap Number 3-74
17                                                 Orion, Philips
     1999        market                                                     p. 1260, p. 1263 of evaluation report
                                                                            p. 1281 of Evidence Sogap Number 3-75
                 Price increase of 15”, price      Chunghwa, SDI, LG,
     Sept. 20,                                                              Evidence Sogap Number 3-76
18               increase of 17”, plan of          Orion, Philips
     1999                                                                   Evidence Sogap Number 4-26
                 operation stop                    (Top-level meeting)
                                                                            Answer 41) of Evidence Sogap Number 2-2
                 Agreement of supply quantity      Chunghwa, SDI, LG,
     Sept. 28,                                                              Evidence Sogap Number 3-77
19               matching to the demand            Orion, Philips
     1999                                                                   p. 1337 of evaluation report
                 quantity of the whole world
                                                   Chunghwa, SDI, LG,
     Oct. 13,    Output reduction, maintaining                              p. 1351, p. 1357 of Evidence Sogap Number 3-78
20                                                 Orion, Philips
     1999        the minimum price                                          Evidence Sogap Number 3-79
                                                   (Top-level meeting)
                                                   Chunghwa, SDI, LG,
     Nov. 9,     Confirming the result of                                   Evidence Sogap Number 3-80
21                                                 Orion, Philips
     1999        agreement performance                                      p. 1385 of evaluation report
                                                   Chunghwa, SDI, LG,
     Nov. 26,                                                               Evidence Sogap Number 3-81
22               Green meeting                     Orion, Philips
     1999                                                                   p. 1385 of evaluation report




        -60-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 63 of 172


                                                Chunghwa, SDI, LG,
     Dec. 22,   Maintaining the current sales                        Evidence Sogap Number 3-82
23                                              Orion, Philips
     1999       price                                                p. 1397 of evaluation report


  Mul -party meeting on Jan. 13, 1999

115     In this meeting, the defendants discussed about the detailed plan of price increase of 17” CDT
that was scheduled from Jan. 16, the same year, and then decided to increase the price on schedule. The
participants of the meeting were the executives and staff in charge of sales and marketing such as Mr. *
* Ha of Samsung Display Devices and plus one person, Frank Shao of Philips, Mr. * * Mun of Orion, Mr.
Park of LG Electronics, Wen-Chun Cheng, Chun-Mey Sie of Chunghwa Picture Tubes, etc. This is
confirmed by the "visit report" of Chun-Mey Sie of Chunghwa Picture Tubes.

 There is a need to strengthen the effort for the price increase of 17” by several manufacturers. For
 example, SDD did not give an official written notice to its customer. We hope that SDD shall have a
 basis such as something that specifically matches the rate with several manufacturers when customers
 are doing price negotiation with OEM.
 The result of progress that a variety of manufacturers achieved in the price increase of 17” CDT:
 [Underline by hand] Several manufacturers showed a smooth progress and will increase the price
 from Jan. 16.                                            (Evidence Sogap Number 3-58)

  Mul -party meeting on Jan. 18, 1999

116     The defendants confirmed the case of price increase of 17” CDT that is the previous agreement,
and agreed to the output reduction of 14” CDT, and discussed the production quantity and price that is
to be applied to the first quarter 1999 after reviewing CDT supply and demand of the whole world in
1998.

 Answer 29) In the same meeting, confirmed that "the total companies has completed the price increase
 successfully with relevance to the case of price increase of 17-inch," as was agreed in the previous
 meeting, and agreed to sale the normal standard price of 19”(the minimum price) with $185 that is
 decreased 10% in comparison to the price of Japanese company and to get $10 more for the price of
 short length in comparison to the normal price.                      (Evidence Sogap Number 2-2)

117     First, the defendants confirmed that all of defendants increased the price successfully as the
agreement with relevance to the agreement that is to increase the price of 17” CDT two days after the
opening of the meeting. Such information is confirmed also in the data of "case of 17-inch" price
increase => All the companies completed the price increase successfully" that is listed in the report of
meeting result of Samsung Display Devices.




        -61-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 64 of 172


     SDD: All of the customers of SDD accepted the price increase on 17”.
     L/G: The price increase on 17” was achieved smoothly.
     Orion: Most of the 17” is for internal supply, and the quantity for external sales is very small. The
     customers also did not refuse the price increase.
     Result of the price increase of 17” CDT: It was progressed smoothly. Each manufacturer increased the
     price after Jan. 16. [Underline with memoirs]
                                                                            (Evidence Sogap Number 4-10)

118    Second, Discussion that is related to 14” CDT was made with China as the center regionally, the
defendants agreed to reduce all of the output of each CDT plant for the price stabilization.

 SDD: Mr. D. Y. Kim also added that the output was already reduced in order to stabilize the price of 14”.
 In order to promote the price increase of CDT, in the case of necessary, must reduce all of the output,
 and even must close the production line. [Under with memoirs]           (Evidence Sogap Number 3-59)

119     Third, with relevance to the price of 19” CDT, the defendants agreed to the suggestion of
Samsung Display Devices that established $185 as the lowest price, and agreed to increase the price of
short tube $10 in comparison to the normal price, and to get for the product of Chunghwa Picture Tubes
with cheap of %10 in comparison to the agreed price.

 SDD urged to each manufacturers to observe the lowest price of TCO27, $185 in the meeting. In
 addition, SDD requested to CPT to follow the market after the launch of 19”, and to maintain the price
 gap below $10. [Under with memoirs]
                                                                        (Evidence Sogap Number 3-59)

 Normal standard price of 19”(The minimum price): 185USD (0.260, TCO)
 Short length: Normal price + $10                                         (Evidence Sogap Number 4-10)
120      Finally, the participants decided to hold the next working level meeting in Taiwan on Feb. 10 the
same year and to hold the next top-level meeting on Mar. 5~6 the same year together with golf meeting
after discussing to attempt the price increase again in 2/4 quarter 1999.

 Mr. David (of Philips) showed that the opportunity of price increase must be got again in 2/4 quarter.
 Mr. David requested, in order to achieve the control of a more improved production ability than that of
 1998, to each manufacturer to make an effort together continuously for the reduction of output.
 President Lin of CPT said that he hopes everybody can maintain the price together.
                                                                         (Evidence Sogap Number 3-59)




27
  TCO: It is a more strengthened regulation for electronic wave block than MPRII and its base is a numerical value
that is measured at the point of 30cm of monitor surroundings.
         -62-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 65 of 172



 1) The next meeting
   Working level mee ng                               Top-level meeting
 Date: Feb. 10 14:00                                 Management meeting: Mar. 5, 1999 14:00~
 Place: SDD Taiwan branch                              Green meeting: Mar. 6, 1999
 Agenda: Demand/supply 1999
                                                          (Evidence Sogap Number 4-10)


121    This meeting is a multi-party meeting that was held in Taiwan and five companies such as
Samsung Display Devices, LG Electronics, Orion, Philips, Chunghwa Picture Tubes, etc., attended. This is
confirmed by the "contact report" of Chunghwa Picture Tubes and the data of "meeting result CDT
business circles (Jan. 18, 1999)" of Samsung Display Devices.

  Mul -party meeting on Feb. 10, 1999

122     In this meeting, the defendants agreed to adjust the sales quantity by cooperating in advance for
the maintaining and increase of sales price according to the expanding market of 19” CDT. And decided
to do the best in order to maintain the balance of market’s demand and supply, after exchanging the
forecast information with relevance to the supply quantity and demand quantity of CDT in order to
adjust the output in order the CDT supply does not exceed demand.

 The thing that he (Mr. Ha of Samsung Display Devices) fears was the thing that if several manufacturers
 enter into the market of 19” one by one and the control of price and production ability is not
 improved, the decreasing speed of the sales price of 19” will not be slower than that of 17” of last year.
 …There is no need for several manufacturers to suggest too low a sales price. They should avoid
 anything that affects the future price trend of 19”.
 Mr. Lin (of Philips) discussed 19” as a main title of the next information exchange meeting and agreed
 with Mr. Ha on the suggestion to include 19-inch as the formal discussion title of top-level meeting at
 first time from the next meeting, which was to be held in CPTM.
                                                                           (Evidence Sogap Number 3-60)

 Mr. Lin appealed to do the utmost in order to maintain the balance of market’s demand and supply by
 telling several manufacturers to think of something that make progress in terms of a production-line
 change.
 The total sum of CDT supply quantity 1999 (including Japanese manufacturers, for which the supply
 estimates is 27.9M on the basis of a load factor 70%) shall be 104.1M. The output of the five CMT
 manufacturers will be 76.2M.                                       (Evidence Sogap Number 3-60)

123     * * Ha, * * Lee of Samsung Display Devices, Mr. Park of LG Electronics plus one person, Mr. Mun
of Orion plus one person, Mr. Jerry Lin of Philips plus one person, Wen-Chun Cheng of Chunghwa Picture
Tubes plus one person attended. This is confirmed by the "visit report" for the internal report of
Chunghwa Picture Tubes.




        -63-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 66 of 172


  Mul -party meeting on Mar. 1, 1999


124      The information on the delivery quantity and expected order quantity for February of the same
year was disclosed in this meeting, there is a fact that Chunghwa Picture Tubes and Philips complained
that Korean manufacturer should report the whole sales quantity of Korea, etc., to the thing that the
Korean manufacturers reported only information on delivery quantity to Taiwanese customer. From this
it is possible to know that the purpose of the cartel of this case is the control of output and artificial
maintenance and an increase in the price of CDT product that is supplied to the whole world. Also, a
member company (LG electronics), in which the days of production reduction was lacking, promised to
supplement henceforward with discussing about the issue that the agreement of output reduction is
performed well. In order to secure the effectiveness of output reduction agreement performance, Mr.
Lin of Philips showed that he was to personally visit the production lines of the participants.

125     Additionally, the defendants discussed the matter of difficulties in the performance of the
agreement because the information that was agreed at the time of the CDT meeting had been leaked to
customers, so it was decided to maintain security to the agreement of CDT meeting thoroughly. Finally,
the participants decided to hold the next CDT meeting at Chunghwa Picture Tubes, in Taiwan, at 2:00
p.m. on Mar. 8 of the same year.

 Korean manufacturers reported only the sum quantity that was actually delivered to Taiwanese
 customer. CPT and PH respectively claimed that Korean manufacturers also should report the total
 sales quantity of the world.
                                                                   (Evidence Sogap Number 3-61)

 Looking fast performance of CPT than another participated manufacturers and a bigger output
 reduction rate than another manufacturers in production reduction, Mr. Lin expressed admiration to
 the wisdom and devotion of our arbiter for the stabilization of demand and supply in the CDT market.
 However, LG announced that it was ready to supplement the continuous lack days of production
 reduction on the following months (April to June). Mr. Lin said he would check in detail the plan of
 production reduction of production line of several manufacturers by investing time personally from
 Mar. (Underline with memoirs)
                                                                         (Evidence Sogap Number 3-61)

 He asked several participants to pay attention and to confirm whether or not the information had been
 leaked by the staff in charge of sales of several manufacturers. Regardless of it, the communication
 path with customer with relevance to such information must be controlled.
 Date of the next CDT regular meeting-
 It is scheduled to be held at Taoyuan on Mar. 8 (Wednesday) 2:00PM
                                                                         (Evidence Sogap Number 3-61)

126      The executives and staff in charge of sales and marketing such as * * Yun of Samsung Display
Devices, Me. Song of LG Electronics, Justin Park of Orion, Jerry Lin of Philips, Ching-Yuan Du, Chun-Mey
Sie of Chunghwa Picture Tubes, etc., participated in the meeting for the agreement of CDT output
reduction and price increase. This is confirmed by the "visit report" of Chunghwa Picture Tubes.




        -64-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 67 of 172


(5) Multi-party meeting on Mar. 5~6, 1999

127     The defendants decided to reduce 10% of the CDT output from April 1999 and to check it by
making up a monitoring team, and agreed to increase the sales price at least five dollars to 17” from May
1999, and that Philips takes charge the role of single window in order to induce the participation of
agreement of Japanese companies, and that the next management level meeting is to be held by the
supervision of Orion on April 14.

 Answer 31) The same meeting was the first top-level meeting of CDT business circles that was held
 according to the result of agreement on Nov. 28, 1998 and held in a hotel that has a golf course and is
 located in Malaysia. I remember that around four people respectively including the representative
 director level of five companies such as Chunghwa Picture Tubes, LG Electronics, Philips Electronics,
 Orion Electric, etc., participated in the same meeting.
 In the same meeting, "to adjust the operation day with 25 days in order to reduce the output of 17”
 CDT 10% on the next month (April, 1999) and "to increase the sales price five dollars from May 1999"
 and "to induce the participation of agreement performance by unifying the communication window
 with Japanese company to Philips" and "to answer within 24 hours in the case of mutual problem rise",
 etc., was agreed. Additionally, exchanged and shared the present condition with relevance to the sales
 of each company, market information, etc.                             (Evidence Sogap Number 2-2)

 1. Main agreements
 1) Reduction of 17” CDT 10% in April 1999 (Operation of 25 days)
    Adjust/check the production by submitting the reduction plan (operation plan of 25 days) by each
    company and by making up a separate monitoring team.
 2) Increase the price minimum five dollars from May, 1999 (MPRII base $98 -> $103)
 3) Making the communication window with Japanese company to be unified into Philips and transfer
    the mood of business circles and induce participation.
 5) Submit results regarding all items/problems within 24 hours. (Evidence Sogap Number 4-10-1)

128     This meeting was held in Malaysia from Mar. 5 to Mar. 6 and was a meeting that the executives
and staff including CEO of each company such as Chairman * Son, managing director * Kim, * * Kim, * *
Lee, * * Park of Samsung Display Devices, vice chairman * * Jo, * * Jeon, * * Go of LG Electronics,
Chairman Young Nam Kim, managing director * * Mun, * * Gang, * * Kim of Orion, Jang David of Philips,
president Chieng-Yuan Lin, director Chi-Chun Liu, Ching-Yuan Du of Chunghwa Picture Tubes, etc.,
participated. This is confirmed by the data of internal report of Chunghwa Picture Tubes and Samsung
Display Devices and the statement of * * Lee of Samsung Display Devices.

  Mul -party meeting on Mar. 15, 1999




        -65-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 68 of 172


129     The defendants confirmed a fact that transferred to Hitachi and Mitsubishi through Philips as
previously agreed and requested a support because the cooperation of Japanese companies is necessary
condition with relevance to the price increase of17” on May the same year. Additionally, they disclosed
the fact that SDD Headquarters had notified the price increase to Samsung Electronics as per the
agreement of the CDT cartel participants was disclosed to the public. Also, submitted the plan of
operation stop of 17” CDT by production plant of each company and agreed by making it with a table.

 Mr. Ha of SDD said that if the price increase cannot succeed to get a support from Japanese
 manufacturers it would not succeed. Mr. Lin answered that Mr. David Chang disclosed the agreement of
 Malaysia to HTC/MEC and requested support.
 Mr. Ha asserted that the headquarters of SDD had notified of the price increase to SEC. SEC also
 notified the customers that the price is to be increased again.
                                                                           (Evidence Sogap Number 3-63)

 Answer 32) In the same meeting, a specific schedule for the reduction plan in April 1999 that was
 agreed in the previous management level meeting was established and a plan for mutual monitoring
 was established. Each participant distributed the plan of operation stop that the present line conditions
 of the whole world’s CDT plants that each company possesses and the days of operation stop were
 indicated to another participant in the meeting. Additionally, the present condition of sales by model of
 each company at the time was confirmed. Since then, on Mar. 31, 1999, Korean companies like our
 company, LG Electronics and Orion Electric sent the result of discussion with fax to C. C. Liu, M. Du of
 Chunghwa Picture Tubes, Jerry Lin of Philips after discussing the reduction plan and mutual checking
 plan in April 1999.                                                       (Evidence Sogap Number 2-2)

                                                                                                      Unit: Kpcs

                                                                                             990210
                                                                          Total
   Company Plant           Line Non business day                                     Output that is planned in
                                                                         output
                                                                                           2/4 quarter
   CPT         Taoyuan     2      4/4, 4/5, 4/18, 4/24, 4/25
               Yangmei     2      4/4, 4/5, 4/18, 4/24, 4/25
                                                                          810                  2240
               Malaysia    2      4/10, 4/11, 4/28, 4/29, 4/3
                                  0
               Suwon       2      4/4, 4/11, 4/18, 4/25, 4/26
   SDD                                                                    640                  2100
               Busan       2      4/4, 4/11, 4/18, 4/25, 4/26
               Gumi        3      4/4, 4/11, 4/17, 4/18, 4/25
   LG          Changwon    1      4/4, 4/11, 4/17, 4/18, 4/25             630              2040 -> 1850
               Wales       1      4/4, 4/11, 4/17, 4/18, 4/25
   Orion       Gumi        1      4/4, 4/18, 4/27, 4/28, 4/29, 4/30        70                  430
               Chupei      1
                                  Refer to annexed paper for detailed
   PH          Dapon       3                                              278                  950
                                  information
               Lebring     1
                                                                        (Evidence Sogap Number 3-63)

130     In this meeting, * * Ha, * * Lee of Samsung Display Devices, Mt. * * Lim plus 3 people of LG
Electronics, Mr. * * Mun plus one person of Orion, Jerry Lin plus one person of Philips, Yuan-Chun Cheng
plus one person of Chunghwa Picture Tubes participated. This is confirmed by the meeting result report
of Chunghwa Picture Tubes, the internal report and reduction plan of Samsung Display Devices and the
statement of * * Lee.

  Mul -party phone conference on April 10, 1999

        -66-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 69 of 172


131     In the meeting, Chi-Chun Liu of Chunghwa Picture Tubes requested to * * Kim to stop the sales
of low price of LG Electronics, and decided to confirm in the other party’s plant by making up monitoring
manpower after agreeing the closing days of production line and decided to cooperate mutually.

     Chunghwa
     -There is a concern of market price confusion because LG is offering the price of 15” by decreasing
     $3~4 relative to the market price. -> Also wants Samsung to block it.
     Philips
     -Gratitude to the monitoring open of Samsung’s Busan plant: Thank you for Samsung’s active
     cooperation to the monitoring of Philips in difficulties and anticipate the participation of LG (Gumi
     plant’s open).
                                                                             (Evidence Sogap Number 4-12)

132     In the meeting, * * Kim of Samsung Display Devices, Chi-Chun Liu of Chunghwa Picture Tubes ,
Jerry Lin of Philips checked the performance of agreement with relevance to CDT price and output
reduction through phone conference. This is confirmed by the office e-mail data that * * Lee of Samsung
Display Devices reported the result of the phone call internally.

     Mul -party meeting on April 14, 1999

133     The defendants agreed the sales price after discussing the price gap by the detailed specification
of 17” CDT and decided to promote the price increase on around July of the same year, and decided to
maintain the existing agreed price (185 dollars) for the price of 19” CDT because the market situation is
not good.

     Answer 33) In the same meeting, it was agreed to "promote the price increase of 17-inch" CDT that
     was agreed to be increased from May 1999 on around July again," and "to maintain the price of 19”
     CDT with the present level but discuss it the next meeting again," "to make holiday at least five days for
     the CDT plant operation on May 1999."
     CDT product has a variety of standard, and typically there is a gap of about three dollars in price
     according to the quality of coating even though in the same model. Outside of that, we discussed
     standard by departmentalizing it in order to reduce the price gap that is occurred according to model
     that each company produces even in the performance with the agreed standard price category
     because production cost gap was occurred according to frequency, dot, quality of material of mask etc.
     After meeting, in April 1999, I grasped the monitor manpower of other company and date, location and
     informed it to the Busan and Suwon plants of our company and took a step so that the mutual checking
     of whether or not plant operation stop is to be realized smoothly.
                                                                               (Evidence Sogap Number 2-2)

 Agreed price by 17” specification
 -107 MPRII $98.0
 -Non-including of aluminum tape 105 $99.0
 -Including of aluminum tape 105 $101.028
                                                                               (Evidence Sogap Number 3-64)




28
  Including/non-including of aluminum tape. According to whether or not attach aluminum tape for helping the
discharge of static to the outskirt of coated product, difference occurs in sales price as well.
         -67-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 70 of 172


 -The price increase of 17” CDT that was agreed to be increased from May was decided to promote
 again (around July) while observing the later condition.
 -In the case of 19” CDT price: Maintain the current level ($185) but discuss again at the meeting on
 May.
                                                                        (Evidence Sogap Number 4-14)

134     Also, the defendants agreed to make holiday five days of operation days on May the same year,
and to operate during 26 days and decided to submit the operation plan by production line of the whole
world in the meeting that is scheduled to be held in Taiwan on April 28. Finally, the defendants decided
the next management level meeting and the opening date and place of top-level meeting, and this is
confirmed in the report of Samsung Display Devices as the following.

   Operation days on May, 1999: 26 days (holyday during five days)
 Submission of plan at the meeting in Taiwan on April 28 (Including line/present condition of
 production of 2Q, 3Q 1999).
 In the case that there is a change I line operation, inform to each company in advance through fax etc.
   The next top/management mee ng
 Management meeting: May 21 09:30 ~ Chunghwa Taoyan plant
 Top-level meeting: Jun 25/26 (Supervision of LG Electronics)           (Evidence Sogap Number 4-14)

135     In the meeting, the executives and staff in charge of CDT of Samsung Display Devices, LG
Electronics, Orion, Philips, Chunghwa Picture Tubes participated and agreed to the sales price and days
of production operation. This is confirmed by the internal report of Samsung Display Devices and
Chunghwa Picture Tubes, the business diary and statement of * * Lee of Samsung Display Devices.

  Mutual checking whether or not the stop of produc on line on April 18, 1999

136    There is a fact that the participants of this case’s joint action visited personally the other party’s
production facility in order to confirm whether or not the reduction plan is performed as the previous
agreement. This is confirmed in the data of "case of monitoring schedule notice on April 18th" of
Samsung Display Devices.

      1. Monitoring to our company
   Busan plant
 Manpower: Chunghwa Michael Du(Marketing manager)
 Time: 08:00 ~ 09:00 arrival and monitoring
    09:00 ~ Movement to Changwon plant of LG
      2. Monitoring to other company
   Monitoring schedule of Chunghwa Malaysia plant
 Schedule and line; Both days of April 17/18 (#5 line)
 Manpower of our company: Manager Jae Gyeong Kim of production technology department, manager
 Jae Young Shin
                                                                  (Evidence Sogap Number 4-15)

  Mul -party meeting on Apr. 28, 1999




        -68-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 71 of 172


137 In the meeting, it was agreed to reduce the output jointly in order to prevent a price decrease after
forecasting the demand and supply quantity of the CDT market, and it was promised to make a closing
schedule table of the whole world’s production facility of each company and to carry out during May.
The participants in the meeting were * * Yun of Samsung Display Devices, Mr. Lee plus two people of LG
Electronics, Mr. * * Mun plus one person of Orion, Mr. Frank Shao plus one person of Philips, Chi-Chun
Liu plus two people of Chunghwa Picture Tubes. This is confirmed by the report of the meeting results
for the internal report of Samsung Display Devices and Chunghwa Picture Tubes. (Evidence Sogap
Number 3-65, Number 4-16)


     Multi-party meeting on May 12, 1999

138      The defendants shared the information on the sales quantity and sales price of each company
and discussed the setting of the sales price, and it has been confirmed that Chunghwa Picture Tubes,
Philips, Orion, Samsung Display Devices agreed on the sales price to the customer ADC that is selling CDT.
Additionally, the minimum price with $50 was agreed upon in the case of selling to the other customer
besides ADC, and meanwhile it was agreed as the internal transaction with 48 dollars (a decrease of two
dollars). It is possible to know that the transaction price among the affiliates was also the joint-action
agreement object of this case.

 Sales price of ADC MPR2        NOR29            SKD30
 Chunghwa Picture Tubes          $50              $48          $47         O/A TERM
 PHIL/SDD                   $49         $47          $46     L/C OR COD
 The other customer: MPR2 $50(RMB520) is the minimum price. (However, the $2 decrease is permitted in case of
 the internal transaction.)
                                                  (Evidence Sogap Number 4-17)

139      In the meeting, * * Kim, Mr. * * Yun of Samsung Display Devices, Jerry Lin, Rosa Hu, Frank Shao
of Philips, Mr. * * Jo of Orion, Mr. Lin, Mr. Park, Mr. Ru of LG Electronics, Ching-Yuan Du, Chung-Cheng Ye
and Chun-Mei Sie participated and agreed to the adjustment of production days for the output reduction
after exchanging information on output and sales price. This is confirmed by the data of "result report of
competitor working meeting" made by * * Yun of Samsung Display Devices.

     Mul -party meeting on June 23, 1999

140     In the meeting, the defendants exchanged information on customer response, condition of
demand and supply, etc., that each company had collected in order to confirm whether or not the
conditions of price increase of CDT by model had been prepared.




29
  NOR: This means "normal." It refers not to a slim model but to a model of the maximum length.
30
  SKD: This is the abbreviation of Semi-Complete Knock-Down and refers to the product in the state of the
temporary adjustment of ITC.
        -69-       Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 72 of 172


They also discussed the output reduction and the present condition of price increase of each company,
etc.

 CPT emphasized that the production line of 17” should be reduced by an average of 12 days in several
 plants in June. Additionally, the customer demand with relevance to 15”/14” is stable. It is thought that
 Q3 is the optimum period for the price increase of 15”.
 With relevance to the pricing of Japanese manufacturers, it is said that Mr. Kim personally visited HTC(J)
 in order to understand the present condition with relevance to pricing and production/sales.
 Mr. Jo of LG said that the demand of 15”exceeded already supply, and LG hopes to increase the price
 through this opportunity, but on the other hand, there is a concern that it can be an opportunity to
 Japanese companies to start the production of 15” CDT again in the case that the price of 15” CDT is to
 be increased over $70.                                                (Evidence Sogap Number 3-67)

141 And agreed to increase the sales price of 15” CDT 5 dollars from Aug. 1 the same year and Samsung
Display Devices decided to notice the agreement to Toshiba and to request the performance of it. In the
case of 17” CDT, it was agreed to sell with 95 dollars on the base of MPRII, and agreed to maintain the
price of 19” CDT with 170 dollars. On the other hand, agreeing the price of 14”, 15”, 17” CDT and agreed
the internal transaction price ("Internal price") separately, and Additionally, agreed to the operation
day's adjustment of 17” CDT and also to build a hot line that can communicate among competitors
within 24 hours.

 [15”] Result: At the end of extensive discussion, the price of 15” CDT is to be increased $5 from Aug.
 1. Additionally, Mr. Kim of SDD would send a notice to TSB and request to abide by such decision.
 [17”] After having detailed review with manufacturers, Mr. David concluded as the following: 1. 17”
 MPRII - $95, TCD $96 (The price difference reduced to $1); This will put an end to the problem that
 customers choose as they like to their advantage.
 [19”] Mr. David of Philips concluded temporarily to the price condition of 19” as the following: The
 market price of 19” CDT decreased. Several manufacturers must maintain the price of $170 for a
 while.
                                                                          (Evidence Sogap Number 3-67)

 3. Main agreement
 1) With relevance to price adjustment
   14” price: Applied as of Aug. 1
 -Internal price: $2 gap
   15” price: Applied as of Aug. 1
 -Bottom price: $67 (internal price: $65)
   17” price
 -Reference price: $98
 -Actual price: $95 (MPRII base, including internal price)
 2) Operation days adjustment of 17” CDT on July
 -July: Confirm whether or not "the closing of 5 days + additional 1 day of closing" at the meeting in
 Taiwan on June 30.
 3) Composition of hot line: Replay within 24 hours (selecting staff in charge by each company)
                                                                            (Evidence Sogap Number 4-18)




        -70-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 73 of 172


142     Additionally, with relevance to the operation stop for output reduction, the defendants agreed
to reduce the operation days by 12 days during July ~ Aug., including the reduction of 5 days during July
the same year. And it was agreed to hold the next top-level meeting on Aug. 20 the same year, and the
management-level meeting on July 23 the same year in Taiwan from 9:30 a.m.

 Result: According to the recommendation of Korean manufacturers, a external announcement is
 scheduled to state that there will be a reduction of total 12 days in July ~ Aug., including a five-day
 reduction in July.                                                  (Evidence Sogap Number 3-67)

 4) The next top level/management-level meeting schedule
 -Top-level meeting: It is postponed from July 24 to Aug. 20
 -Management-level meeting: July 23 09:30 ~ (Taiwan)                      (Evidence Sogap Number 4-18)

143     In the meeting, * Kim plus three people of Samsung Display Devices, * * Jo plus three people of
LG Electronics, * * Mun plus three people of Orion, Jerry Lin plus one person of Philips, C. Y. Lin plus
three people of Chunghwa Picture Tubes participated. This is confirmed by the "report of business
meeting" of Chunghwa Picture Tubes and the data of "management-level meeting result of CDT 5
companies (June 23)," information that is listed in the business diary of * * Lee, etc.

  Mul -party meeting on July 23, 1999

144      In the meeting, it was progressed with the order that "to check mutually whether or not the
result that is agreed in the previous meeting is performed," "to agree to the price increase of 14-inch,
15-inch CDT," "to agree to the quantity of production reduction necessary in order to increase the price
jointly and arbitrarily after forecasting the demand and supply of the CDT market." The defendants also
confirmed the agreed price by model that was to be applied from Aug. 1 the same year and checked
whether or not the progress of price increase was working.

  Agenda
  Review of last meeting
  Market update - 17” Japanese movement - 14”/15” price-up
  19” pricing position
  Supply and demand
  Output (or capacity) control
  A.D.B.                                                              (Evidence Sogap Number 4-20)

  -Price adjustment: Applied on Aug. 1
  14”: $52, the price increase work is progressing smoothly
  15”: $70 (Bottom price: $67), the price increase work is progressing smoothly
  17”: Official $98, Bottom $95 (TCD: $96)                              (Evidence Sogap Number 4-20)

145     It is a fact that, at the meeting, Orion and Samsung Display Devices referred to the following
with relevance to the market sales in Korea, and it is possible to know that this was openly discussed in
the meeting at the time because there was a need that the sales price to the demanding company in
Korea should be decided as agreed for the smooth realization of agreement of the same cartel organized
among the main CDT manufacturers worldwide.




        -71-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 74 of 172


That is, Chi-Chun Liu of Chunghwa Picture Tubes expressed discontent to the fact that the domestic
demand price of Orion had not increased, which was because it would affect the planned price increase
of Chunghwa Picture Tubes, which provides to Korean buyers.

146     Additionally, it is possible to know that the side of Samsung Electronics had a position that the
external purchase rate must be expanded by 40% to the rate that is provided to Samsung Electronics
from Samsung Display Devices, and from this it is confirmed that the quantity of Samsung Display
Devices that is provided to Samsung Electronics is not set in advance but was variable according to the
market situation and supply price.

 OEC showed that Korean customers are still strongly resistant to the price increase to the 15” product
 for Korean domestic demand . . . . Moreover, Director Liu think that Taiwan manufacturers has doubt
 that the reason that Korean monitor manufacturers cannot increase the price is because it was
 impossible to increase the sales price of CDT in the [Korean] domestic demand market . . . .
 Mr. * Kim and D. Y. Kim of SDD said the supply quantity from SDD to SEC was merely 60% of the
 demand level of SEC. (Originally the internal group transaction is decided at the level of 70%). SEC
 already raised a complaint to top-level management that 40% of SEC demand quantity must be met
 with an external purchase.                                         (Evidence Sogap Number 3-68)

147     The defendants agreed to implement a production stop of at least seven days in August of the
same year, and decided to send the stop plan of each company’s production line to Rosa of Philips one
week prior to the end of the month with relevance to the procedure for the production reduction.
According to the agreement result of the meeting Samsung Display Devices sent the plan of production
day's adjustment to Rosa of Philips on July 29, 1999. Finally, the participants decided to hold a multi-
party meeting together with golf in Korea on Aug. 20 of the same year.

 Finally, reached the resolution to carry out the production stop of at least seven days in Aug.
                                                                          (Evidence Sogap Number 3-68)
 Output (or Capacity) Control Principle
 Earlier notice –stop plan send to Rosa 1 week before month-end           (Evidence Sogap Number 3-69)

 Green meeting (a.m.: meeting; p.m.: golf) on Aug. 20 will be held in Korea as agreed previously.
                                                                          (Evidence Sogap Number 3-68)

148     The meeting was a top-level meeting for the CDT price increase and the agreement of output
reduction, and * Kim, * * Kim, * * Ha, * * Lee of Samsung Display Devices, * * Choi, * * Jeon, Joney Song
(* * Song), * * Go of LG Electronics, * * Mun, * * Gang of Orion, Chang David, Lin Jerry, Rosa Hu of Philips,
Chieng-Yuan Lin, Chichun Liu, Wen-Chun Cheng, Ching-Yuan Du of Chunghwa Picture Tubes participated.




        -72-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 75 of 172


This fact is confirmed by "visit report" of Chunghwa Picture Tubes, the meeting result report that has the
title of "Meeting Agenda” of Samsung Display Devices, the meeting data at the time of Chunghwa
Picture Tubes and Samsung SDI, the statement of * * Lee of Samsung Display Devices, etc.

  Mul -party meeting on July 28, 1999

149      In the meeting, the defendants discussed an adjustment of the price of 17” CDT to match the
market situation and a thing that the price increase of 15” CDT in Korea must be come true immediately,
and it is confirmed in the information on report of the Chunghwa Picture Tubes side that there was a
structure that whether or not the price increase of 15” CDT in Korean market would affect the
agreement performance of other defendants. In response to the discontent suggestion of other
defendants, Samsung Display Devices, LG Electronics, Orion, Korean companies promised to increase the
price immediately.

 1. Summary of working meeting
 1) Adjust the price of 17” practically: The level of $92~93
 2) The price of Taiwanese 15” was increased most but the price increase of Korean companies was not
    completed so discontent is rising high
 3) The price decrease of 17” is to be decided at the time of working meeting of next week after top
    level report (Aug. 4 14:00, Dowon plant, Chunghwa)          (Evidence Sogap Number 4-22)

 Director Liu said that because Korean companies occupy a considerable market share at the time
 worldwide, if the price increase is not progressed successfully in Korean market then it will certainly
 produce a big increase in the current price. Additionally, according to the current understanding, a
 variety of manufacturers announced the price increase, but the price increase was not accepted.
 Director Liu wanted that all of the other manufacturers that participated in the meeting should request
 to Korean manufacturers to accept the price increase. [Underline with memoirs] Otherwise, the big
 action of price increase of Taiwanese manufacturers is also affected. Along with this, the order of
 Taiwanese manufacturers can also go to Korean manufacturers. [Underline with memoirs] Orion/PH,
 Additionally, it was thought that the price increase of Korean manufacturers was not certain until now,
 but if SEC accepts the price increase then the other Korean manufacturers will follow it. Several
 manufacturers agreed to ask the headquarters of their company to progress the same procedure
 strongly for the price increase of Korean manufacturers.           (Evidence Sogap Number 3-70)

 5. Strong discontent to the delay of price increase of 15” of Korean manufacturers
     Immediate increase promise of Korean manufacturers                (Evidence Sogap Number 4-22)

150     Additionally, for the workable agreement price setting, opened the production quantity, sales
quantity, the inventory of each company by the public standard on July and Aug., 1999 and exchanged it
after producing a table, and each company submitted the present condition of the production line stop
of August the same year.




        -73-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 76 of 172


Also, it is a fact that the defendants also agreed to the detailed procedure for mutual checking of
whether or not the production line stopped.

                                    July                                                      Aug.

              14”            15”               17”         19”        14”          15”               17”      19”

             P/S/I          P/S/I             P/S/I       P/S/I       P/S/I        P/S/I             P/S/I    P/S/I

  SDD      280/290/30    810/830/80        650/670/60    90/90/-    300/310/-    860/850/-      700/710/-    90/90/-

  PH        65/50/-      420/340/290       260/280/180   35/20/60    35/45/-     310/420/-      310/340/-    40/30/-


  CPT     330/370/130    880/950/130       650/620/140   14/18/16   340/280/-   1000/1000/-     650/650/-    20/25/-

                                                                     60/90/-
            90/80/30
                                                                    Underline
  Orion    Underline     335/330/40        130/135/75                           345/365/20      125/145/55   10/5/5
                                                                       with
          with memoirs
                                                                    memoirs
  LG        90/95/0      600/620/130       580/540/200   75/70/40     0/10/.     550/650/.      550/530/.    70/60/.
 Date of production stop of 17” CDT to the production line of several manufacturers in August: Several
 manufacturers reported the date of production stop as the attached paper. There was a need for
 manufacturers to verify the inspection plan, and a need to send it to PH for an edition before Friday.
 Additionally, manufacturers must notify employees who are doing visits/preparation and must indicate
 the time of the plant visit in detail two days prior to the performance of inspection.
                                                                             (Evidence Sogap Number 3-80)

151      Five companies of Samsung Display Devices, LG Electronics, Orion, Philips, Chunghwa Picture
Tubes participated in the meeting. This is confirmed by the "visit report" of Chunghwa Picture Tubes and
"result report of competitor working meeting on July 28th" of Samsung Display Devices.

  Mul -party meeting on Aug. 4, 1999

152      The defendants checked mutually whether or not the progress of price increase of 14” and 15”
CDT on Aug. 14, 1999, as agreed in the previous meeting, was occurring. Particularly, Samsung Display
Devices and Orion Electric of Korea increased the transaction price between affiliates successfully, and it
is known that the purpose that the defendants increased the price at the same time was to maximize the
profit without violating the other party’s market share. It is also known that the purpose of the same
meeting was to cope with the consumer jointly by refraining from competition in terms of price and
quality among the defendants and the CDT manufacturer, and opened the fact to the public that they
mutually requested to stop the act that suggested a lower price than the agreed price, and reduced
output for the maintenance of the agreed price. Samsung Display Devices, LG Electronics, Orion, Philips,
Chunghwa Picture Tubes participated in the meeting. This is confirmed through the "contact report" of
Chunghwa Picture Tubes.




        -74-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 77 of 172



 It was mentioned that with relevance to the price increase of 14”/15” that started in August, generally
 speaking, it was progressing effectively with all the manufacturers. All of Mr. Yun of SDD and Mr. Mun
 of Orion asserted, in the case of their internal transaction (SEC and Orion), SDD and Orion progressed
 the price increase effectively because there is their own ultimate will regardless of whether or not the
 other party neglects to implement the CRT cost difference of five dollars in a timely manner. Mr. Yun
 requested to PH to progress an immediate price increase with D/W through Mr. Millan Baton of PH.
 (Mr. Yun referred to that the price was progressed to 67 dollars smoothly in the case of SDD. The price
 to other Korean customer was also increased to 67-68 dollars.)
 All of manufacturers urged to avoid violating the market share of other companies surely by applying
 the price increase at the same time.
                                                                           (Evidence Sogap Number 3-71)

 SDD suggested holding a quasi-top-level meeting in SDD Taipei on the next Tuesday (Aug. 10) 02:00
 p.m. in order to prevent the manufacturers are to be taken to the rumor of market and to prevent the
 customers apply a strategy that makes the situation to be out from the control range by using the low
 price of Japan. This is an intention to make sure promptly the pricing of 17” CDT that all of
 manufacturers can follow.
                                                                        (Evidence Sogap Number 3-71)

 Manager Cheng of CPT requested to Orion that “Do not compete to the order of 17” with customer
 who is not the original (14”/15”) Taiwanese customer. This is to prevent general practices that cause
 confusion by suggesting a slightly lower price than that of other manufacturers with the reason being
 the low quality of Orion. Additionally, manager Cheng said that CPT stopped the operation of 2 lines to
 maintain the fixed price (an average of 12 days' closing).
                                                                         (Evidence Sogap Number 3-71)

  Mul -party meeting on Aug. 10, 1999

153     During the meeting, the defendants confirmed the price increase in Korea with relevance to 15”
CDT and agreed the sales price of 17” CDT again, and decided to maintain the secret to the fact of the
same meeting to customers more thoroughly. Samsung Display Devices, LG Electronics, Orion, Philips,
Chunghwa Picture Tubes participated in the meeting. This is confirmed by the "visit report" of Chunghwa
Picture Tubes.

 When Chunghwa Picture Tubes asked whether or not the same price increase in Korea market,
 Samsung SDI said, Samsung Electronics, Hyundai, Daewoo had accepted, and said it would take some
 time to shift the price increase from the monitor companies to PC manufacturers.
 Mr. Mun of Orion urged that the price increase of 15” in Korea market was successful. Philips pointed
 out that the price increase to Samsung Electronics, Daewoo Electronics had not yet been performed
 and said it would not ship without the acceptance of a new price.
 Jerry Lin of Philips suggested to use the lowest price of 17” to $93, and Samsung Display Devices and
 LG Electronics agreed.
                                                                          (Evidence Sogap Number 3-72)

  Mul -party meeting on Aug. 20~22, 1999 and inspection of production line




        -75-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 78 of 172


154     The defendants checked the situation of performance of the agreement in the previous meeting,
and set the agreed price after confirming whether or not the price increase of CDT according to the
market situation and discussed also about the control plan of supply quantity. Moreover, it has been
confirmed that they checked the performance condition of agreed price of CDT by standard and agreed
on the sales price that was to be applied henceforth.

 Agenda
 Review of last meeting
 Market update
 -14”/15” price increase - 17” price development - 19” status
 Capacity (or output) control
 Glass supply and demand update
 Green meeting
 A.O.B.
                                                                             (Evidence Sogap Number 4-24)

   1. Agenda
 14”/15” price increase – Oppose to the additional price increase
 17” price development – Maintain the level of $93. It is necessary to maintain the piece even though
 the days of closing would have to be adjusted.
 19” status: Difficulty continues according to the delay in demand recovery, but maintain the agreed
 price level.
                                                                        (Evidence Sogap Number 4-23)

155     Looking at the contents of the related meeting result report of Chunghwa Picture Tubes, the
defendants confirmed the fact of price increase to consumers in Korea, and decided the place and date
that the next meeting would be held after agreeing on the sales price by standard and days of operation
stop. Additionally, it has been confirmed that * Kim of Samsung Display Devices delivered the discussions
with relevance to the setting of the sales price, which was done together with Matsushita management
before the opening of the meeting to other participants. It is a fact that on Aug. 22, 1999, two days after
the above meeting, Ching-Yuan Du and Chu Ciangguo of Chunghwa Picture Tubes visited the Gumi plant
of LG, the Suwon plant of Samsung Display Devices and Gumi plant of Orion, and confirmed personally
whether or not the stop of production line as agreed during the previous meeting.

 According to OEC, it said that customers are still resistant to the price increase of 15” tube of Daewoo.
 However, OEC reduced the supply quantity 20% by sticking to the position. SDD said that the increase
 in the supply quantity to Daewoo was successful. Orion got requests to stick to the position of price
 increase by mobilizing all means for success.
 In order to prevent the continuous decrease of market price, all agreed to maintain the lowest price of
 93 dollars [in the case of 17” CDT].
 The participants agreed to maintain the price of [19” CDT] with 160 dollars and 150 dollars and must
 keep an eye on the change of market demand continuously.
 The participants in the meeting said that the period of 17” tube production stop should be at least
 five days in September in order to guarantee the price level effectively.
 It was agreed that the next glass meeting is to be held at Taoyuan plant, CPT on Sept. 20 at 9:30 a.m.
 Mr. * Kim explained the result of meeting with top MEC management.
                                                                             (Evidence Sogap Number 3-73)




        -76-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 79 of 172


156     The meeting was a top-level CDT multi-party meeting, and * Kim, * * Kim, * * Lee, * * Ha of
Samsung Display Devices, * * Choi, * * Jeon, * * Go of LG Electronics, * Mun, * * Jo, * * Gang, * * Kim of
Orion, David Chang, J.M. Smith, Jerry Lin, Jae Ho Bae of Philips, Chieng-Yuan Lin, Chi-Chun Liu, Ching
Yuan Du of Chunghwa Picture Tubes participated. This is confirmed by the result report that has the title
of "top-level/management meeting (Aug. 20)" of Samsung Display Devices, the "visit report" of
Chunghwa Picture Tubes, the meeting data of Samsung SDI at the time, etc.

  Mul -party meeting on Sept. 2, 1999

157     In the meeting, the defendants show the structure where the sales price applied by Korean CDT
manufacturers to Korean buyers has an important effect on the profit of other participants very well.
That is, in the case that Samsung Display Devices cannot increase the price as agreed to Samsung
Electronics, affiliate, it was concerned that a large customer, including Samsung Electronics, becomes to
request the price decrease to other companies that are participating in the cartel. Additionally, with
relevance to sales quantity, the defendants were reluctant to change the market share that was
maintained by customer at the time, and this is because that in the case that Samsung Display Devices
provides to Samsung Electronics over the fixed rate, it then affects to Toshiba, other supplier, and if
Toshiba provides the remaining quantity to other customer then competition is to be triggered among
the total CDT manufacturers. * * Yun of Samsung Display Devices, * * Lim, * * Song of LG Electronics, * *
Mun of Orion, Jerry Lin of Philips, Chi-Chun Liu, Wen-Chun Cheng, Ching-Yuan Du, Chun-Mei Si of
Chunghwa Picture Tubes participated in the meeting. This is confirmed by the "visit report" of Chunghwa
Picture Tubes.

 b) [* mark with memoirs] Price increase issue of 15” in Korea
 CPT and PH inquired respectively to Orion whether or not Orion increased the price successfully to
 Korean monitor manufacturers such as D/W. Director Liu said as follows that the message that we got
 through the transaction with Korean customers such as D/W, Hyundai was that they would not
 purchase if we increase the price. If Korean CRT manufacturers cannot increase the price successfully
 to the Korean monitor manufacturers, it will affect severely to the Taiwanese monitor
 manufacturers, particularly in the off-season (when supply exceeds demand). They will worry about
 suffering difficulty as a result of being deprived of orders to the large-scale system manufacturers.
 Ultimately, it will be impossible for Taiwanese manufacturers experience pressure from our price
 increase. I hope that Korean CRT manufacturers will face such matters and quickly eliminate the
 rumor in the market that the price increase of 15” in Korea will not yet come true.
                                                                          (Evidence Sogap Number 3-74)




        -77-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 80 of 172


 CPT – Director Liu inquired as to why the decrease part of supply to D/W was not changed to an
 increase of supply to SEC. Mr. Yun replied as follows: It is not difficult to increase the supply to SEC, but
 a lot of problems may be caused. For example, such increase will directly affect the Japanese
 manufacturer (TSB), and this will make TSB switch to the Taiwanese manufacturer or other
 customers for SEC supply.
                                                                               (Evidence Sogap Number 3-74)

  Mul -party meeting on Sept. 20, 1999

158     This meeting was progressed with the order of "checking whether or not the performance of the
agreement of the previous meeting" -> "checking the market situation and demand and supply quantity
of the whole world" -> "agreement of the price increase" -> "agreement of output control" etc., and the
defendants decided to maintain the previous agreed price for 14” CDT after sharing information with
relevance to the market situation and the response of customer that were collected respectively. In 15”
CDT, the fact that the increase of five dollars that is the previous agreement was come true successfully
and the fact that Korean manufacturers increased the price to Korean customers were confirmed.
Additionally, agreed to decrease the price of 17” CDT in order to promote the demand relocation to the
17” CDT, and decided to stop the production line of 17” CDT during at least seven days in October of the
same year with relevance to output control, and decided to report the plan of production stop by
Chunghwa Picture Tubes on Sept. 28 of the same year 2:00 p.m. This meeting is a top-level meeting that
was held in Taoyuan, Taiwan, and * Kim, * * Kim, * * Lee, * * Ha of Samsung Display Devices, * * Choi, *
* Jeon, * * Lim, * * Go of LG Electronics, * * Jo, Jimmy Kim, * * Gang, * * Gang, * * Mun of Orion, Jim
Smith, Jerry Lim, Losa Hu of Philips, Chieng-Yuan Lin, Chi-Chun Liu, Wen-Chun Cheng, Sheng-Jen Yang,
Ching-Yuan Du of Chunghwa Picture Tubes participated. This is confirmed by the "visit report" of
Chunghwa Picture Tubes, the business diary of * * Lee and statement of Samsung Display Devices,
meeting data that was distributed at the time of meeting, etc.

 1. 14”: Must pay close attention to the problem that increases the price of 14” henceforward. Mr. *
    Kim of SDD also agreed to it. Therefore the price increase of 14” was not considered in this
    meeting.
 2. 15”: Market demand to 15” tube is maintained strongly. All of manufacturers are still in good state
    at present production and sales quantity and revealed that the price of Aug. also increased
    without problem according to the agreed price. All of manufacturers are believe that the demand
    to 15” product is to be weak from Dec., President Lin also revealed that the price of 15” tube would
    be increased, and would decrease the price of 17” tube slightly from August in order to narrow the
    price gap between two products and promote that the market demand is to be moved to 17”. …All
    of SDD/LG/Orion revealed that they increased the price to Korean Manufacturers according to
    the agreed price.
 3. 17”: With relevance to the control of production ability of 17” in October, all of PH/SDD/CPT
    suggested that there is a need for production line to be stopped during at least seven days…
    Additionally, LG and Orion prepared the agreement to stop production during seven days at first
    time after a long discussion. ..Additionally, it was decided that the report to the plan of production
    stop that each manufacturer does would be done in CPT on Sept. 28 at 2:00 p.m.
                                                                            (Evidence Sogap Number 3-75)

  Mul -party meeting on Sept. 28, 1999




        -78-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 81 of 172


159     During the meeting, the defendants opened the predictive value of each company’s supply
quantity and demand quantity of the whole world 2000 to the public and exchanged opinions to the
market situation, and then estimated the demand quantity of CDT monitor by standard as the following,
and agreed to stop the production line of 17” CDT that is the main items at the time during seven days in
October 1999 in order to adjust the production quantity according to it. Explaining concretely, because
the total demand of the year 2000 is forecasted with 111,500,000(“111.5M”) the defendants decided
the supply quantity with 117,000,000(“117.15M”) according to it and agreed the operation rate by inch.
* * Kim, * * Yun of Samsung Display Devices, * * Jeon, Mr. Park, * * Go of LG Electronics, * * Mun, * *
Gang, * * Kim of Orion, Jerry Lin, Losa Hu, Li Mei of Philips, Wen-Chun Cheng, Ching-Yuan Du, Chun-Mei
Ci of Chunghwa Picture Tubes participated. This is confirmed by the "contact report" of Chun-Mei Ci of
Chunghwa Picture Tubes.


 Each manufacturer agreed to use the quantity of 111.5M as the criteria of total demand quantity of
 C-monitor 2000. Demand situation prospect by each size is as the following:
 14” 6.35M (5.7%), 15” 43.15M (38.7%), 17” 51.3M (46%), 19” 8.35M (7.5%), 21” 2.35M (2.1%)
 Scheduled production quantity by size 2000 of 5 manufacturers will follow the operation plan of
 14”/15” 90%, 17”/19” 85% according to the prospect of market demand. The prospect of the total
 output of 5 manufacturers 2000 is 91.15M, and 14” is 5.25M, 15” is 37.0M, 17” is 41.65M, and 19” is
 7.25M among the total.
 Supply/demand 2000
 5 manufacturers & Japan supply = 91.25M + 26M = 117.15M
 Manufacturers agreed to reduce production to 17” continuously through the line stop during 7 days
 in October. … Manufacturers must suggest the inspection plan to each other in order to promote the
 inspection performance of each manufacturer.                      (Evidence Sogap Number 3-77)

  Mul -party meeting on Oct. 13, 1999

160     In the meeting, the discussion was progressed with the following order: 1. market update; 2. 17”
price problem; 3. demand/supply 2000; 4. Other problems; and with relevance to "market update," it is
possible to know that the defendants discussed that the price of CDT in Korea is not performed as the
agreed price, and arrived at the result of urging the performance in order to correct it and meanwhile
reducing the output because other companies are consequently suffering damage. Also, with relevance
to the price problem of 17” CDT, there is a fact that the defendants agreed to the suggestion of Chieng-
Yuan Lin of Chunghwa Picture Tubes to interrogate the responsibility to a seceder and to find solution at
top-level meeting after pointing out the previously agreed price was not abided by, and deciding the
agreed price at top-level meeting henceforward and reviewing the market price actually by working
employees.




        -79-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 82 of 172


This meeting is a CDT top-level meeting, and * * Lee of Samsung Display Devices, Mr. Lin, Mr. Charles Lu
of LG Electronics, * * Mun of Orion, Jerry Lin, Limei Liu of Philips, Chieng-Yuan Lin, Chi-Chun Liu, Ching-
Yuan Du, Chun-Mei Sie of Chunghwa Picture Tubes participated. This is confirmed by the "contact
report" of Chunghwa Picture Tubes and the meeting data at the time.


 There was suspicion as to whether or not the CDT price in Korea was the rational price [Underline with
 memoirs] that is agreed by each manufacturer. If not so, the actual situation will be that the CDT price
 of Taiwanese monitor manufacturers is higher than the price of Korean monitor manufacturers. Mr.
 Lin said with a disappointed image that “I hope that the glass meeting will not be a destructive factor
 that induces a loss in the market competitiveness of Taiwanese manufacturers.” At the same time as
 the chairperson of the glass meeting, I could not acknowledge the fact that it was impossible to
 stabilize the original delivery quantity that was supplied to local customers in Korea by Philips.
 b) CPT: Some production line must be stopped for a long period . . . . However, because of the above
 factors (the strong situation of Korean monitor manufacturers) that Jerry pointed out, the sales
 expansion is not so much admirable with a continuous disturbance situation because of an unknown
 low-price attack that is suggested to Taiwanese monitor manufacturers. In order to contribute to the
 market price stabilization, CPT has been reducing the production of 17” the maximum for quite a long
 time. Each manufacturer must strictly abide by the minimum price. (Evidence Sogap Number 3-78)

 It was revealed that working employees must review the market price situation actually every meeting
 and must find the actual price when an abnormal point is appeared after arriving at the result in top
 level to price problem. The destroyer will be investigated thoroughly. The problem will be reviewed in
 the top-level meeting in order to find a solution.
 Manufacturers expressed agreement to the request of president Lin. Additionally, they decided
 unanimously to review and discuss once again the actual price of 17” at CPT tomorrow (Oct. 14 17:00
 p.m.) by director Liu of CPT, Mr. Lin or Mr. Park of LG, Mr. Ha of SDD, Mr. Lin of PH, Mr. Mun of Orion,
 etc.
                                                                          (Evidence Sogap Number 3-78)
                                       31
  Mul -party meeting on Nov. 9, 1999

160 The defendants exchanged information on the sales price and quantity of CDT by standard of Oct.
and Nov. 1999, and confirmed the point that they enjoyed profit because of the same cartel meeting and
decides to strengthen contact by holding a timely cartel meeting during the off-season, and decided to
hold a meeting including golf (green meeting) at Chunghwa Picture Tubes of Taoyuan, Taiwan on Nov. 22
the same year. In the meeting, * * Ha, * * Yun of Samsung SDI, * * Lim, Mr. Charles Lu of LG Electronics,
Milan Baran of Philips, Chi-Chun Liu, Ching-Yuan Du of Chunghwa Picture Tubes participated. This is
confirmed by the "visit report" of Chunghwa Picture Tubes.




31
  Samsung Display Devices exchanged its company name with Samsung SDI on Nov. 1999, so it is listed as
Samsung SDI in the evidence data after this meeting.
       -80-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 83 of 172


 Review the practice method of weekly working level meeting. Each manufacturer revealed that all had
 enjoyed this year’s sales because of the success of glass meeting. According to this, the weekly
 meeting must be held in a timely manner. The next meeting was tentatively scheduled to be held on
 Nov. 22.
 1. Schedule: Meeting in morning, green meeting in afternoon
 2. Place: CPT Taoyuan plant. For the place of green meeting, CPT will hold at this time and will
     prepare for it.
                                                                     (Evidence Sogap Number 3-80)

  Mee ng on Nov. 26, 1999

162     The meeting is a CDT top level multi-party meeting and golf meeting that was held at Taoyuan,
Taiwan, and top level executives and staff in charge of CDT of Samsung SDI, LG Electronics, Orion, Philips,
Chunghwa Picture Tubes participated. This is confirmed by the document that was made by Philips that
conducted the meeting at the time for the confirmation of whether or not of participation to other
participating companies before meeting.

  Mul -party meeting on Dec. 22, 1999

163     In the meeting, the defendants exchanged mutually the closed business information such as the
delivery quantity and the price and the current condition of inventory by standard, by customer, and
discussed to refrain from the low price attack among defendants and agreed to maintain the present
price. Additionally, they looked for the consent of applicable company in advance in the case of
expanding the supply quantity to the existing customers of other defendants, and decided to adjust the
price downward only in the case of not affecting to other member company in the case of supplying CDT
to one customer by plural supplier. Such agreement was done for the purpose of the participants of the
meeting to prevent the decrease of CDT price and to maintain the market share by the member
company artificially by adjusting the supply quantity of adequate amount. Working-level employees of
Samsung SDI, Philips, Orion, LG Electronics, Chunghwa Picture Tubes participated in the meeting. This is
confirmed by the "visit report" of Chunghwa Picture Tubes.




        -81-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 84 of 172


 1. The current condition of product delivery of several manufacturers Dec.
       a) SDI: Additionally, it is said that Mr. Yun said that some customer such as Sampo requested to
           decrease the price of 15”/17” $1 respectively recently, and said that it is hoped that LG would
           not suggest a low price by approaching too hurriedly.
       b) CPT: With relevance to the problem that some customers recently repeatedly hints to us that
           if the price in not good then we will not order henceforward, we hope to maintain the price
           in a stable manner together with several manufacturers that provide product.
 2. Price problem
  The result of several manufacturers: The most important thing is to make sure the current price
  maintaining by several manufacturers.
  L/G: In this stage, there is no product to supply actually even though they suggest the low price of $88.
  Therefore there is no concern that this may affect to the product supply of CPT and SDI before
  February.
  SDI: Mr. Yun answered that CPT could not meet Compal's demand on the delivery of 15" one or two
  months ago, and Mr. Ha increased the delivery quantity to Compal by obtaining the consent of CPT.
                                                                            (Evidence Sogap Number 3-82)

(6) Meeting among competitors in 2000

<Table 22>                Outline of CDT cartel meeting in 2000 32

 Serial
          Date of opening    Agreement                           Participated company      Evidence data
 No.
                                                                                           p.1413, p. 1416, p.1417 of
                                                                 Chunghwa Picture Tubes,
                             Price increase of 17”($90), plan                              Evidence Sogap Number 3-83
 1        Jan. 24, 2000                                          SDI, LG, Orion, Philips
                             of operation stop                                             Evidence Sogap Number 4-27
                                                                 (top-level meeting)
                                                                                           p.2875 of evaluation report
                                                                                           p.1432, p.1434, p.1436 of
                                                                 Chunghwa Picture Tubes,   Evidence Sogap Number 3-85
                             Sales price(15”: $67/66, 17”:
 2        Feb. 24, 2000                                          SDI, LG, Orion, Philips   Evidence Sogap Number 3-84
                             $90/89), plan of operation stop
                                                                 (top-level meeting)       Evidence Sogap Number 3-86
                                                                                           Evidence Sogap Number 4-28
                                                                                           Evidence Sogap Number 3-87
                             Control and inspection        of    Chunghwa Picture Tubes,
 3        Apr. 2000                                                                        p.1456 of Evidence Sogap
                             production quantity                 SDI, LG, Orion, Philips
                                                                                           Number 3-88
                                                                                           p.1473, p.1475 of Evidence
                             Sales price(15”: $67, 17”: $88,     Chunghwa Picture Tubes,   Sogap Number 3-89
 4        May 26, 2000       19”: the present price), plan of    SDI, LG, Orion, Philips   Evidence Sogap Number 3-90
                             operation stop                      (top-level meeting)       p.2888 of Evidence Sogap
                                                                                           Number 4-29
                             Sales price(14”: $54, increase of                             p.1503, p.1505, p.1507 of
                                                                 Chunghwa Picture Tubes,
                             $2, 15”: $67, increase of $2,                                 Evidence Sogap Number 3-92
 5        June 20, 2000                                          SDI, LG, Orion, Philips
                             17”: The present price), plan of                              p.2893 of Evidence Sogap
                                                                 (top-level meeting)
                             operation stop                                                Number 4-30
                             Confirm whether or not the          Chunghwa Picture Tubes,   p.1516 of Evidence Sogap
 6        June 28, 2000
                             performance of price increase       SDI, LG, Orion, Philips   Number 3-93
                                                                                           p.1537 of Evidence Sogap
                             Price increase in Korea market,     Chunghwa Picture Tubes,
 7        July 13, 2000                                                                    Number 3-95
                             plan of operation stop              SDI, LG, Orion, Philips
                                                                                           Evidence Sogap Number 4-32~3




32
  In the CDT cartel meeting by month from 2000 to April 2001 hereinafter, the agreement is a thing by the
meeting that only 5 companies of Chunghwa Picture Tubes, SDI, LG, Orion, Philips participated, and do not write it
on the resolution on duplication because they are the same participated companies and participants.
         -82-     Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 85 of 172


                                                                                               p.1553~4 of Evidence Sogap
                                                                                               Number 3-96
                           Estimating the size of CDT market
                                                               Chunghwa Picture Tubes,         Evidence Sogap Number 3-
 8        Sep. 21, 2000    with comparison to LCD, plan of
                                                               SDI, LG, Orion, Philips         97
                           operation stop
                                                                                               Evidence Sogap Number 4-
                                                                                               34
                           Plan of operation stop       and    Chunghwa Picture Tubes,         p.1573 of Evidence Sogap
 9        Sep. 27, 2000
                           inspection method                   SDI, LG, Orion, Philips         Number 3-98
                                                                                               p.1588, p.1592, p.1593 of
                                                                                               Evidence Sogap Number 3-
                                                                                               99
                                                               Chunghwa Picture Tubes,
                           Setting of the bottom price of                                      Evidence Sogap Number 3-
                                                               SDI, LG, Orion, Philips
 10       Oct. 25, 2000    sales(15”: $66, 17”:$85), plan of                                   100~2
                                                               (Management             level
                           operation stop                                                      p.2934 of Evidence Sogap
                                                               meeting)
                                                                                               Number 4-35
                                                                                               p.354 of Evidence Sogap
                                                                                               Number 2-2

  Mul -party meeting on Jan. 24, 2000

164     In the meeting, * Kim of Samsung SDI requested that all of the participants should abide by the
agreement and suggested also to Matsushita, Hitachi to persuade the abidance of agreement, and the
defendants collected the price increase requests that was received from the glass suppliers and then
agreed to maintain the basic price of 17” CDT with $90 and agreed to maintain also the sales price
targeting main customer with $90 from Mar.

 Mr. Inn Kim requested to show the faith of the main 5 companies by abiding by the agreed price.
 Japanese manufacturers are to be cooperated to the price maintaining naturally through this. Mr. Inn
 Kim requested that anyone who visits Malaysia should seek the opportunity to have conversation with
 managers who are the staff in charge of sales of MEC Malaysia by obtaining a schedule. He has a
 schedule to have additional conversation with MEC members on Mar. by opening a meeting again.
 Additionally, Me. Choi requested to chairperson to get the meeting schedule with HTC top-level
 management.                                                      (Evidence Sogap Number 3-83)

 Working employees suggested adjusting the basic price of 17” tube to $89 downward. But, they
 consented to maintain the lowest price of $90 as the idea of president Lin after discussion among
 meeting participants. It is scheduled that the price that is to be suggested to main customers is to be
 increased to $90 because of the increase of glass price from Mar.
                                                                           (Evidence Sogap Number 3-83)

165     Additionally, during Feb. 2000, with relevance to the production reduction days of 15”, 17”, it
was agreed to stop production with 9 days of Chunghwa Picture Tubes, seven days of Samsung SDI,
Orion, Philips. Finally, it was decided to hold the schedule of the next multi-party meeting at the office of
Korea Orion on Feb. 24 at 2:00 p.m. the same year and decided to get golf meeting on Mar. 25.




        -83-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 86 of 172


 All manufacturers agreed to reduce the production of 15”/17” continuously in February.
 Chunghwa Picture Tubes decided to put nine days of production reduction period, and all of
 SDI/OEC/PH decided to plan production reduction period of at least seven days.
 Date of the next CDT CSM: Feb. 24 02:00 PM (Thursday). Place: OEC office, Seoul. Agreed temporarily
 to hold a green meeting in Seoul on Mar. 25.
                                                                       (Evidence Sogap Number 3-83)

 <Samsung SDI>
 LG: 4 days' closing (New Year) -> five days 17”/15”
 Orion: 4 days (New Year) -> seven days okay
 S/S: Seven days (5 days)
                                                                              (Evidence Sogap Number 4-27)

166 The meeting is a top-level meeting and * * Kim, * * Kim, * * Ha, * * Ha of Samsung SDI, * * Choi, * *
Lee, * * Go, * * Lim of LG Electronics, * * Jo, * * Lee, * * Lee, * * Mun, * * O of Orion, Jim Smith, Jerry Lin,
Limay Liu of Philips, Chieng-Yuan Lin, Chi-Chun Liu, Wen-Chun Cheng, Ching-Yuan Du of Chunghwa
Picture Tubes participated. This is confirmed by the "visit report" of Chunghwa Picture Tubes and the
business diary of * * Lee of Samsung SDI.

  Mul -party meeting on Feb. 24, 2000

167     The defendants opened the information of first-quarter production quantity of 14”, 15”, 17”, 19”
CDT the same year and confirmed by making it with a table whether or not the adequate supply quantity
is maintained. It is also a fact that Chunghwa Picture Tubes and Philips, among the defendants, raised
discontent about the fact that they were being pressured into a price decrease by Taiwanese monitor
companies based on the fact that Korean companies such as Samsung SDI, Orion, LG Electronics, etc.,
supplied CDT to Korean monitor manufacturers at a lower price than was agreed. It is possible to know
from this that the transaction price in Korea, which would mutually affect other defendants as well as
the sales quantity and sales price worldwide, including Korea, was the target of agreement of the same
cartel. Additionally, it is possible to know that the meeting among Korean CDT manufacturers was
continued in Korea, also agreed to deliver the meeting result that was held in Korea to the CDT working-
level meeting of Taiwan for the effective agreement performance. Also, the defendants agreed to decide
the price of Mar., 2000 with 66~67 dollars for 15”, 89~90 dollars for 17” after the end of the discussion
and, with relevance to the days of operation stop, agreed to do with 10 days for 15”, five days for 17” in
March 2000. Finally, agreed to hold the next meeting including golf meeting on Mar. 25 of the same year
in Seoul with the hosting of Samsung SDI.




        -84-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 87 of 172


 PH and CPT referred that Korean monitor manufacturers are in better condition than Taiwanese
 manufacturers, and Taiwanese customers raised discontent that Korean companies had more
 competitiveness than Taiwanese manufacturers because they receive a special support from Korean
 CDT manufacturer. Jerry insisted that PH had no sales in Korea. (The original production quantity was
 approximately 140k/m.) (Evidence Sogap Number 3-85)

 Additionally, CSM of Korea side working employee is opening from time to time. The employees of PH
 and CPT also can get invitation to participate regularly in the case of necessary. In order to report at the
 working employee level meeting that is held in Taiwan, the plan to have Korean manufacturers deliver
 the related market information to the employee who is in Taiwan was decided later.
                                                                             (Evidence Sogap Number 3-85)

 After the end of an extensive discussion among the meeting participants, the price of March and
 message were decided to be done as follows: 15” 67/66 USD, 17” 90/89 USD
 Reduction of operation days: On Mar., 2000, the meeting participants decided as follows:
 17” five days, 15” 10 days                                     (Evidence Sogap Number 3-85)

 Green meeting was decided to be held in Seoul on Mar. 25 (Saturday) by SDI.
 AM 8:30-11:30: High-level management meeting
 AM 12:00: Start of green meeting                               (Evidence Sogap Number 3-85)

168      The meeting is a top-level CDT multi-party meeting that was held in Korea, and * Kim, * * Kim, *
* Lee of Samsung SDI, S. Y. Choi, S. K. Lee (* * Lee), K. Y. Go (* * Go), Mr. Lim (* * Lim) of LG Electronics, *
* Jo, J. H. Mun (* * Mun), S. G. O (* * O), Jimmy Kim of Orion, Jim Smith, Jerry Lin, J. K. Park of Philips,
Chi-Chun Liu, Ching-Yuan Du of Chunghwa Picture Tubes participated. This is confirmed by the "visit
report" that was made by Ching-Yuan Du of Chunghwa Picture Tubes, meeting data that was distributed
at the time of meeting, the ‘application form of leaving a country’ of participants of Chunghwa Picture
Tubes, the information of business diary of * * Lee of Samsung SDI, etc.

  Control inspec on of produc on quan ty on April, 2000

169    It is a fact that Samsung SDI, LG Electronics, Orion, Philips and Chunghwa Picture Tubes shared
the production control and inspection plan of 15” and 17” CDT at the each company’s plant worldwide
by making a table by date, and agreed to confirm the operation stop by having an employee of each
company personally visit the other party’s production facility. This is confirmed by the internal approval
document and the table of control and inspection of Chunghwa Picture Tubes, which dispatched its
employee to confirm the stop of the Samsung SDI production line in Shenzhen, China.




        -85-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
         Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 88 of 172


    Plan of 15” CMT production control & inspection –April, 2000 (X10)
          CPT X 6                   SDD X 5.5                    LG X 4                    ORION X 2.75                PHILIPS X 5
          Place        Inspection   Place           Inspection   Place        Inspection   Place          Inspection   Place           Inspection
          CPTT #1 #2                Suwon #4                     Changwon                  Kumi 09                     Chupei #3, 4,
  Sat     CPTY #3                   Pusan #3 #6                  #H3 #5                    BSA                         5
  4/1     CPTM #8                   M’sia #6                     Wales #1                  Mex #2                      (Relocated to
          CPTM #2                                                                                                      China)
          CPTT #1 #2                Suwon #4                     Kumi #G1                  Kumi 09                     Chupei #3, 4,
  Sun     CPTY #3                   Pusan #3 #6                  Changwon                  BSA                         5
  4/2     CPTM #8                   M’sia #6                     #H3 #5                    Mex #2                      (Relocated to
          CPTF #2                                                Wales #1                                              China)
          CPTT #1 #2                                                                                                   Chupei #3, 4,
  Mon     CPTY #3                   Suwon #4                     ChangwonH3                                            5
  4/3     CPTM #8                   Pusan #3 #6                  H3                                                    (Relocated to
          CPTF #2                                                0.5 days                                              China)
                                                                                                                       Chupei #3, 4,
  Tue     CPTT #1 #2                                                                                                   5
  4/4     CPTY #3                   Pusan #3 #6                                                                        (Relocated to
          CPTM #8                                                                                                      China)
                                                                                                                       Chupei #3, 4,
  Wed     CPTT #2                                                                                                      5
  4/5     CPTY #3                   Pusan #3 #6                                                                        (Relocated to
          CPTM #8                                                                                                      China)
                                                                                                                       Chupei #3, 4,
  Thur    CPTT #2                                                                                                      5
  4/6     CPTY #3                   Pusan #3 #6                                                                        (Relocated to
          CPTM #8                                                                                                      China)
                                                                                                                       Chupei #3, 4,
  Fri     CPTT #2                                                                                                      5
  4/7     CPTY #3                                                                                                      (Relocated to
          CPTM #8                                                                                                      China)
                                                                                                                       Chupei #3, 4,
  Sat     CPTT #2                   [Illegible]                                            Kumi 09                     5
  4/8     CPTY #3                    #2             PH                                     BSA                         (Relocated to
          CPTM #8                                                                          Mex #2                      China)
          CPTT #2                   Suwon #4                     Kumi #G1                                              Chupei #3, 4,
  Sun     CPTY #3                   Pusan #3 #6     PH           #G2                       Kumi 09                     5
  4/9     CPTM #8                   T {illegible}                Changwon                  Mex #2                      (Relocated to
                                    #2                           #H3 #5                                                China)
                                    Pusan #3 #6                  ChangwonH3                                            Chupei #3, 4,
  Mon     CPTY #3                   T {illegible}   PH           /H5                                                   5
  4/10    CPTM #8                   #2                           0.5 days                                              (Relocated to
                                                                                                                       China)



  Mul -party meeting on May 26, 2000

170 The defendants agreed to the sales price as the following and decided to notice the price increase to
customers immediately, and the defendants agreed to stop the production line of 15” and 17” CDT at
least over six days for the production quantity reduction and decided to submit the plan until May 30 the
same year. The defendants decided to limit the number of participant to two or three people per each
company for the way to maintain the confidential of the meeting, and agreed to hold the next meeting in
Malaysia on June 20 the same year including golf meeting. This is confirmed by the "visit report" of
Chunghwa Picture Tubes and the information that was written with hand on the hotel memo pad of
Shanghai international convention center.

 With relevance to the price problem, there was a review to the market condition and the price of
 Japanese manufacturer. The participants decided as the following after discussion.
 Date of enforcement: July 1, 2000
 Guideline of price: 15” MPRII: $67 (Core item:$66), 17” MPRII: $88 (Core item: $87)
 There was a decision that the price of 19” is necessary to be maintained with the previous agreed
 price.
 All manufacturers will deliver the agreed price to each customer immediately in order to gain time and
 to give lead time to customers for a smooth start after July 1.
                                                                         (Evidence Sogap Number 3-89)

 The participants decided to follow the suggestion of director Liu at the end of discussion.
 -17” and 15”: At least six days respectively; submittal of the plan by May 30
                                                                            (Evidence Sogap Number 3-89)




        -86-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 89 of 172


 1) Jerry requested to all participants not to make a minutes but to keep only the related marketing
     investigation data because the information of CSM meeting is frequently leaked to outside . . . . All
     the participating manufacturers agreed to reduce the number of participant from four people to
     two or three people after discussion.
 2) Resolution that green meeting is to be held in Malaysia on June 20 (Tuesday) was passed. The
     meeting schedule is as the following.
 07:30-12:00 Golf game (Limited to four people per each manufacturer)
 12:00-13:00 Lunch (Brief lunch at Jin Ma Palace)
 13:00-14:30 Report of SDI marketing investigation
 14:30-17:30 All the participating president shall visit CPTM that president Lin hosts
   CDT management meeting
 17:30-18:00 Dinner (brief dinner at Jin Ma Palace)
 18:00-21:00 CDT management meeting                        (Evidence Sogap Number 3-89)

171      On the other hand, the defendants agreed to increase the price by two dollars for 14” CDT, 3
dollars for 15” CDT respectively and to do 87~88 dollars for the sales price for 17” CDT. Additionally, with
relevance to the notice of price increase, agreed to increase to customers until the late May and to
decide the production quantity reduction plan until the following week. This is confirmed by the
business diary of * * Lee of Samsung SDI.

 Notice of the price increase until the late May capacity control next week confirm
 Price: +2$ 14”, +3$ 15”, 17”: 88$~87$
 Day off: Philips seven days, LG 4 days, Orion & days, Chunghwa six days
                                                                           (Evidence Sogap Number 4-29)

  Mul -party meeting on June 20, 2000

172      The defendants checked mutually whether or not of the possibility of price increase through the
sales quantity and increase or decrease rate by each company of 14”, 15”, 17”, 19” CDT, and LG
Electronics confirmed that it had noticed the price increase on May including the customers within the
Group, and Philips confirmed that it had sent the price-increase letter to the customer. Additionally,
Samsung SDI also revealed that the order condition became good because Samsung Electronics
demanded a quick delivery because of the price increase and referred that the price increase will be
successful in the case of not attempting to expand the market share among the participating company.
Also, the defendants agreed to the guideline of CDT price by standard, and decided to submit the plan
until June 28 the same year after deciding the days of production stop on July, 2000 at least six days in
the case of 15”, 17” CDT, and agreed to hold the next management level meeting on July 13 the same
year by LG Electronics. This is confirmed by the "visit report" of Chunghwa Picture Tubes and the
business diary of * * Lee of Samsung SDI.




        -87-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 90 of 172


 LG notified the price increase of May to customers (Customers local and within Group).
 PH sent a letter that informs the price increase to customers already. On the base of the negotiation condition of
 customers, there may be no problem to increase the price of 14”. There is also no severe opposition to 15” . . . . In
 the case of 17”, the situation is not as optimistic.
 SDI explained that the order of June is a little better than reservation because SEC requested a quick delivery last
 week because of the problem of price increase mainly. Customers (Including Korean companies) received notice
 already about price increase, and [SDI] believes that the price increase will be successful surely unless to
 attempt to touch other company’s customers or to attempt to expand the market share, and when it is firm in
 regard to the price increase.
                                                                                      (Evidence Sogap Number 3-92)

 The meeting participants decided as the following after considering the market condition and the current and
 actual enforcement price, the acceptability of customers with relevance to price adjustment, the original market
 share balance:
 (1) Guideline of 14”/15” price:
 14” MPRII: $54 (Core quantity:$53) and increase at least $2.0/pcs.
 15” MPRII $67 (Core quantity:$66) and increase at least $2.0/pcs.
 Date of effect generation: July 1, 2000
 (2) Price of 17” normal tube: Maintain the present price. The originally agreed price is delayed by one month
     and will be enforced from Aug. 1.
                                                                                   (Evidence Sogap Number 3-92)

 Reduction of business day: July 2000
 All of LG, PH, CPT requested the production stop of 15”/17” of six days. SDI suggested five days. OEC hoped five
 days for 15”, seven days for 17”. The meeting participants decided as the following after discussion: At least six
 days for 17”/15” respectively, -submit the plan until June 28.
 Additionally, the manager-level meeting would in Seoul on July 13 (Tuesday), and it was decided that LG would
 prepare.
                                                                                   (Evidence Sogap Number 3-92)

173     The meeting participants agreed to apply the price of 14”, 15” CDT with the price that was
agreed on July, 2007 and to delay the price of 17” one month by saying, "Let’s abide by the agreement
and delay the time of increase and do not trust the word of customer." This is confirmed by the business
diary and statement of * * Lee of Samsung SDI.

 SDI: Keep agreement --> delay price increase do not trust
 14”/15” July and agreed price, 17” delay of one month
          Monitoring system: July/Aug.                                            (Evidence Sogap Number 4-30)

  Mul -party meeting on June 28, 2000

174     The defendants checked mutually whether or not of customer notice of the agreed price
increase and checked the response of customer with cross. It is possible to know from such fact that the
purpose of the meeting was to draw the agreed price after checking whether or not of the price increase
on the basis of the information on market demand and supply, which was not to be opened to the public,
and to make the performance of agreement to be come true effectively by doing mutual confirmation of
the competitor supply price that the customer suggests while also urgently requesting performance from
the companies that were delaying the performance of the agreement.




        -88-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 91 of 172


This is confirmed by the "visit report" of Chunghwa Picture Tubes.

 According to Mr. Ha of SDI, …all of Compal/Delta/KFC/ADI argued that the estimated value of LG is
 lower. Because of the high price of SDI the above customers canceled the order of SDI.
 Mr. Lim of LG made it clear that the total order quantity of LG on June is the same with the numerical
 value (15” – 682k, 17” – 711k, 19” - 175k) that was opened to the public in the meeting of last week. LG
 has confidence that SDI was competing with a low price and so LG lost its order, and raised an
 objection . . . . LG did not win a contract clearly because of a low price.
 According to the PH sales information of China, SDI Shenzhen was hesitating and did not show any
 movement of increasing domestic customer price. Mr. Ha was supported to do investigation and
 checking work, and was requested to press for the price increase.
                                                                             (Evidence Sogap Number 3-93)

  Mul -party meeting on July 13, 2000

175 In the meeting, with relevance to the Korean market, the participant from Philips discussed with
other participants the matters related to the price increase that was requested to Samsung Electronics
and Daewoo Electronics, the possibility of price increase through a control of supply quantity, etc. This is
confirmed by the "visit report" of Chunghwa Picture Tubes, "meeting preparation data on July 13" that
was made just before the meeting opening in the business headquarters of Samsung SDI Digital Display,
the meeting data that was distributed at the time of meeting.

 According to each resolution of the last meeting, PH and Hwafei will attempt to adjust the price with
 $53 (itc/cif) from Aug. 1. Mr. Park of PH said that he demanded the price increase to SEC and Daewoo
 respectively but had not yet received a definite answer…. The recent supply quantity to SEC/Daewoo
 is 20-25k/m respectively, and the total sum is about 50k/m. SDI and OEC answered that there may be
 no other supplier that can supply the above 50k to themselves. PH can ease suppression and can
 increase the price.
                                                                         (Evidence Sogap Number 3-95)

  Mul -party meeting on Sept. 21, 2000

176     The defendants collected and shared the information that is related to the demand and supply
condition of CDT (14”, 15”, 17”, 19”) by standard in the worldwide market and sales trend and discussed
the sales quantity and setting plan of sales price henceforward. Additionally, one can conclude,
according to the substitution of CDT monitor with TFT-LCD, that Samsung SDI explained on the price plan
which could be acceptable to Samsung Electronics, and agreed to set the CDT price with the level that
can have competitiveness according to the price change of TFT-LCD.




        -89-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 92 of 172


177      One can conclude from this that the purpose of each company was not to set the production
and price by the independent judgment but to adjust the supply quantity jointly and artificially and to
adjust also the sales price jointly according to the supply expansion condition of alternative product. The
defendants decided to stop the production line of 15”, 17” CDT during 14 days on Oct., 2000, and agreed
to hold the next meeting in Seoul on the afternoon of Oct. 25 for the CDT meeting and on the morning
of Oct. 26 for the green meeting, meaning a golf meeting. This is confirmed by the "visit report" of
Chunghwa Picture Tubes as well as the meeting data and the business diary of * * Lee of Samsung SDI.

 (C ) Rational price and TFT substitution trend of 17” flat tube:
 The following is a prospect data that * * Kim of SDI has provided with relevance to the competitiveness
 of 17” flat monitor and the market price expected to 15” TFT LCD:
  15” TFT monitor                                      17” CDT flat monitor
  Item               Present         Prospect          Item              Present         Prospect
  Module cost            $450~480              $300 CDT cost                     $110               $90
  Other cost                  $100              $90 Other cost                     $80              $75
  FOB price              $550~580              $390 FOB price                    $190              $165
  Whole price                                          Whole price
                         $660~725              $470                          $247~260         $214~231
   (FOB*1.2~1.3)                                        (FOB*1.3~1.4)
  Retail price                $799             $499 Retail price             $249~279         $216~250

 Currently $799 is higher about 3.2 times than $249 with comparison to the retail price. If we use 2.5 as
 a factor instead of it, and the price of 15” TFT monitor is $499, then the price of 17” CDT monitor
 should be $499/25 = $199. Therefore, SEC judges that the price of 17” flat tube should be low than $80,
 and if not so nobody will purchase it . . . . Therefore, SEC judges that $350 is the ultimate target price
 to the monitor . . . . However, if the price of TFT is to be decreased, then the price of CDT should also
 be decreased in order to maintain competitiveness.             (Evidence Sogap Number 3-96)

 Reduction of operation days: Qct [as the writing of the original] 2000
 Resolution: 14 days stop of 15”/17” production line (17” 8 days, 15” 6 days, 15”/17”: seven days
 respectively)
 Resolution: The next meeting shall be held in Seoul, Korea.
 Oct. 25 PM Management level meeting (AM CPT meeting), Oct. 26 AM Green meeting
                                                                        (Evidence Sogap Number 3-96)

  Mul -party meeting on Sept. 27, 2000

178     In the meeting, the defendants agreed to make a stop plan of 15”, 17” production line that is in
the plant of the whole world during Oct. 2000, and to notice the inspection method to the other party
two days prior to the inspection day. Additionally, decided to hold the next meeting at the Taiwanese
Taoyuan office of Chunghwa Picture Tubes from 2:00 p.m. on Oct. 4 of the same year. This is confirmed
by the "visit report" that was made by Pang-Yi Lin of Chunghwa Picture Tubes.




        -90-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 93 of 172


 Plan of line stop and inspection that each manufacturer reported is annexed. Two days before the
 inspection day, it was agreed that the manufacturers must provide notice to the other party and to the
 one that would visit/sponsor.
 Mr. Ha said that he hopes that top level management of each manufacturer can participate in the next
 meeting to discuss the price of Oct. The date of the next meeting is 2:00 p.m., Oct. 4 (3) at the CPT
 Taoyuan plant.
                                                                        (Evidence Sogap Number 3-98)

  Mul -party meeting on Oct. 25, 2000

179      During the discussion of the agreement of the previous meeting by the defendants, the
participant of Chunghwa Picture Tubes raised an objection at the point that the operation stop was not
performed as the agreement that was agreed at the Wales plant, England, and Mr. Choi of LG Electronics
answered that he would reply after confirmation, and the defendants agreed to control the supply and
stabilize the price by cooperating to the price decrease request of customers. Additionally, the
defendants, in order to prevent the nonperformance of the agreement, agreed to set the price guideline
after submitting the minimum price, the average price that were applied to 15”, 17” CDT product by each
company and to produce a table for comparison. They agreed that there was a need to more strictly
control the production quantity for the stabilization of price of Nov. 2000 and decided to stop the
operation of production line over nine days. Additionally, agreed to hold the next meeting, CDT multi-
party meeting at Chunghwa Picture Tubes Malaysia from 9:00 a.m. on Nov. 29 of the same year. This is
confirmed by the visit report" and meeting data of Chunghwa Picture Tubes, the application form of
leaving a country and a statement of accounts for business trip, a receipt for hotel accommodations at
the time of business trip in Korea of the participant of Chunghwa Picture Tubes, the information that is
written in the business diary and statement of * * Lee of Samsung SDI, etc.

      (A) Checking after the last meeting:
 Inspection control: CPT looked back on the inspection to the condition of production stop at the LG
 Wales plant. CPT employees found that LG had not performed the production stop according to the
 original plan. Mr. Choi of LG answered that he would answer after their inspection and LG had stopped
 the production over eight days due to the negative condition of obtaining orders in that month.
 The five main companies must control the balance of demand and supply through close cooperation
 in order to maintain stable pricing.
                                                                         (Evidence Sogap Number 3-99)




        -91-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 94 of 172


 (C ) Price guideline:
 All manufacturers anonymously provided the current prices of 15”/17” as follows:
                    Lowest price                    Average price                     Price guideline
                         15”            17”               15”               17”          15”          17”
   1                             $63          $82               $64              $83       $64             $83
   2                             $63          $83               $64              $84       $63             $83
   3                             $64          $84               $65              $85   $63-64           $83-84
   4                             $63          $82               $64              $83       $64             $83
   5                             $62          $81               $64              $83       $64             $83
  Average                      $63        $82.5              $64.2              $83.6
  Lowest price                 $62        $81                $64                $83    $63               $83
  Japan                        $58        $76                $60                $81

 After an extended discussion, all the participants agreed that the price must not decreased more on the original
 price guideline in order to prevent a continuous price decrease: 15” - $66, 17” - $85. Until now the price
 decrease of two dollars each could be permitted. [Written with memoirs] To the main customer (key account),
 everybody agreed to the point that increasing the price discount was inappropriate.
                                                                                    (Evidence Sogap Number 3-99)

  Answer 49) It progressed with a similar method as that of the previous management-level meeting in the
  meeting too. Peculiarity was, at the time of setting price guideline, that one person among the participants who
  judged that the cheating of participants was disturbing the effective price agreement and its performance
  suggested to write the current sales price by model without names and to submit those and drew the "lowest
  price – average price – guideline" on the basis of the result. As a guideline by model, it was agreed at $66 for
  15”, $85 for 17”. Additionally, the number of operation stop days of Nov. 2000 was agreed at nine.
                                                                                        (Evidence Sogap Number 2-2)

  Resolution: The market demand of Nov. is worse than that of Oct., and for the maintenance of price stability
  there is a need to control the production quantity more strictly. Therefore, the days of production stop to the
  production line of 15”/17” must be increased to nine days from seven days on Oct.
  The next meeting is scheduled to be held at CPTM: 3:00 p.m. Nov. 28 – CPT management meeting, Nov. 29 a.m. )
  (:00 CDT management meeting
                                                                                    (Evidence Sogap Number 3-99)

(7) Meeting among competitors on 2001

<Table 23>                Outline of CDT cartel meeting, 2001

 Serial
          Date of opening     Agreement                                   Participated company           Evidence data
 No.
                              Price guideline by each company (15”:
                                                                          Chunghwa Picture Tubes, SDI,   p. 2940 of Evidence Sogap Number
 1        Feb. 23, 2001       59±2, 17”: 76±2, Flat: 91±3, 19”: 108±3),
                                                                          LG, Orion, Philips             4-36
                              plan of operation stop
                                                                                                         p. 1643, p. 1645 of Evidence Sogap
                              Price guideline by each company, plan of    Chunghwa Picture Tubes, SDI,
 2        Mar. 19, 2001                                                                                  Number 3-103
                              operation stop                              LG, Orion, Philips
                                                                                                         Evidence Sogap Number 4-37
                              Confirmation of current price, exchange     Chunghwa Picture Tubes, SDI,   p. 1656 of Evidence Sogap Number
 3        Mar.28, 2001
                              of information                              LG, Orion, Philips             3-104
                              Price guideline by model (14”: 47±1,                                       p. 1666 of Evidence Sogap Number
                                                                          Chunghwa Picture Tubes, SDI,
 4        Apr. 19, 2001       15”: 57±2, 17”: 74±2, 19”: 100±3), plan                                    3-105
                                                                          LG, Orion, Philips
                              of operation stop                                                          Evidence Sogap Number 4-38
                                                                                                         p. 1682, p. 1685 of Evidence Sogap
                              Refraining from selling with low price,     Chunghwa Picture Tubes, SDI,
                                                                                                         Number 3-106
 5        June 27, 2001       price guideline by model, plan of           LPD, Orion
                                                                                                         Evidence Sogap Number 3-107
                              operation stop                               (Management level meeting)
                                                                                                         Evidence Sogap Number 4-39




        -92-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 95 of 172

                                                                                                 p. 1721 of Evidence Sogap Number
                                                                  Chunghwa Picture Tubes, SDI,   3-108
                      Price guideline by model, plan of
 6    July 24, 2001                                               LPD, Orion                     Evidence Sogap Number 4-40
                      operation stop
                                                                                                 Evidence Sogap Number 2-2
                                                                                                 Answer 50)
                                                                  Chunghwa Picture Tubes, SDI,
                                                                                                 p. 1731 of Evidence Sogap Number
 7    Aug. 13, 2001   Refraining from selling with low price      LPD, Orion
                                                                                                 3-109
                                                                  Chunghwa Picture Tubes, SDI,
                      Price guideline by model, plan of                                          p. 1731, p. 1739, p. 1741, p. 1744
 8    Oct. 15, 2001                                               LPD, Orion
                      production line stop                                                       of Evidence Sogap Number 4-41
                                                                  Chunghwa Picture Tubes, SDI,
                      Price increase (Oct. 1: $10, Nov.:$15,
                                                                  LPD                            p. 1731, p. 1739, p. 1741, p. 1744
 9    Oct. 23, 2001   Dec.: $5), refraining from selling with
                                                                   (Top level meeting)           of Evidence Sogap Number 3-110
                      low price
                                                                                                 p. 1759 of Evidence Sogap Number
                                                                  Chunghwa Picture Tubes, SDI,
                      Price guideline by model (15”: 44, 17”:                                    3-111
 10   Dec. 17, 2001                                               LPD, Orion
                      58, 17” Flat: 67, 19”: 85, 19” Flat: 100)                                  p. 2970 of Evidence Sogap Number
                                                                                                 4-42
                      Sales price by model, price difference by   Chunghwa Picture Tubes, SDI,   p. 1768~1770 of Evidence Sogap
 11   Dec. 28, 2001
                      detailed specification                      LPD                            Number 3-112
  Mul -party meeting on Feb. 23, 2001

180      It is a fact that the defendants set the price guideline after comparing the application price of
15”, 17”, 19” CDT product by each company at the time, and agreed to stop the operation of production
line during 12 days on Mar. the same year. This is confirmed by the business diary of * * Lee of Samsung
SDI.

 Price Guide Line
                  Orion SDI LG CPT Philips
 15”              60     59   57     57    57            59±2
 17”              76     75   75     74    75            76±2
 Flat              -     15   10 (?) 15 15 13            91±3
 19” Con          -    *108 108 103 (105±5) S/L 108±3
 Capa control
 Chunghwa Picture Tubes: 15 days, LG: 14 days, Philips: 14 days, Orion: 6~7 days, SDI: 10 days
 12 days (Circle)                     (Evidence Sogap Number 4-36)

181     The defendants exchanged the sales result of Feb. and the estimation of Mar.,2001, and
exchanged the information of production change plan of each company. It is possible to know the
relationship of Samsung SDI and Samsung Electronics from the statement of the participant of Samsung
SDI. That is, it is grasped that Samsung Electronics was being provided 40% from CDT manufacturer
besides Samsung SDI, and in the case of not keeping the agreement of CDT multi-party meeting,
Samsung SDI may take away the quantity that is provided to Samsung Electronics.




        -93-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 96 of 172


In the meeting, the defendants drew the agreed price by putting together the opinion of each company
to the price of 14”, 15”, 17”, 19” CDT product on Apr. 2000, and agreed the days of operation stop of the
production line during April 2001 with 14 days.

182      Additionally, the defendants decided to hold the next meeting in Shanghai, China on Apr. 19 the
same year, and decided to hold green meeting, that is a meeting for golf, on Apr. 20. This is confirmed by
the "visit report" of Chunghwa Picture Tubes and the information that is stated in the business diary of *
* Lee of Samsung SDI.

 Currently, SDI is delivering 60% to SEC, and Taiwanese companies are occupying 20%, and the other
 Korean companies and the companies of Asia Pacific region are occupying 20%. SDI referred that the
 internal transaction quantity became o actually because TSB sold 15” Minineck to SEC with a low
 price.
                                                                     (Evidence Sogap Number 3-103)

(B) New price guideline of Apr.
Opinion and resolution of each manufacturer to the price decision for Apr. is as follows:
                     CPT            LG             Orion             PH              SDI         Conclusion
  14”                47±1            --            47±1             47±1            48±1            47±1
  15”                58±2          57±2            57±2             58±2            58±2            57±1
  17”                75±2          75±2            75±2             75±2            75±2            75±2
  17” RF             89±2          89±2            89±2               --            89±2            89±2
  19” 85khz         101±3          100±3           101±3            103±3          101±3           100±3
  19” 95khz         106±3          105±3           106±3            108±3          106±3           105±3
(E) Days of line stop of Apr.
Each manufacturer reported to the planned days of operation stop: CPT – 14 days, Philips – 14 days, LG
– 14 days, SDI – 12 days. It was finally decided to make the days of operation stop during one month of
Apr. to be 14 days.
                                                                        (Evidence Sogap Number 3-103)

  Mul -party meeting on Mar. 28, 2001

183     The defendants exchanged the information that is related to the sales quantity of 14”, 15”, 17”,
19” product and the customer response in market. Especially, there is a fact that other participants
requested for the participants of Samsung SDI to report and correct to the thing that Samsung
Electronics and Hansol Electronics, the customers of Korea suggested a low estimated value. This is
confirmed in the "visit report" of Chunghwa Picture Tubes.

 SEC suggested a low price of $111 for 17” at the international information communication fair, and
 Hansol suggested an estimated value of $108 for 17” in order to obtain order. With relevance to the
 irrational pricing such as that SEC suggests $80 to 17” RF tube for the obtaining order, all companies
 want that SDI Taipei should report to headquarters the above act that disturbs the market practices.
                                                                        (Evidence Sogap Number 3-104)




        -94-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 97 of 172


  Mul -party meeting on Apr. 19, 2001

184     The defendants exchanged the information that is related to the changes of sales quantity, the
sales price by standard and the trend of customers, the present condition of production line change
before the opening of meeting. Additionally, agreed to the new guideline of May 2001 as follows and
decided the days of operation stop of production line during May for 14 days. And, they decided to hold
the next meeting at Chunghwa Picture Tubes of Taoyuan of Taiwan from May 22 the same year AM 09.
The above information is the same with the information that was stated in the business diary of * * Lee
of Samsung SDI. This is confirmed by the ‘interview report’ that was made by Ling-Yun Cheng of
Chunghwa Picture Tubes and the information of the business diary of * * Lee of Samsung SDI.

 (B) New price guideline:
 All manufacturers….were wanting to put every effort to maintain the price in order to avoid a condition
 of big scale adjustment that can disturb market. Manufacturers decided to the price of May as follows.
                                                                       Result
     14”                                                                47±1
     15”                                                                57±2
     17”                                                                74±2
     17” RF                                                             87±2
     19” 85khz                                                         100±3
     19” 95khz                                                         105±3
 (E) Days of line closing on May
 Manufacturers decided to the days of line closing on May with 14 days.
 (F) AOB:
 It was decided to hold the next meeting at CPT of Taoyuan. (May 22 9:00 AM) CPT will preside the
 meeting.
                                                                       (Evidence Sogap Number 3-105)


  Mul -party meeting on June 27, 2001

185     The defendants exchanged information to the present condition of CDT sales before the opening
of meeting. The participant of LG Electronics expressed complaint to the point that Orion intercepted the
CDT order of its own company’s inside with a low price, and Chi-Chun Liu (chairperson) of Chunghwa
Picture Tubes requested to refrain from an aggressive act because such act only expands the loss of
member companies.

186     Additionally, the defendants agreed with the sales price guideline of 14”, 15”, 17”, 19” CDT and
the days of production line stop (14 days) on July, 2001, and agreed to hold a meeting at Taiwan
Samsung SDI on June 29 the same year for the inspection of production line stop, and agreed to hold the
next meeting at Taiwan LPD on July 24 the same year.




        -95-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 98 of 172


Each company agreed with the regulation that the plan of stop by specific production plant, including
Suwon, Pusan, Gumi of Korea, and inspection are to be implemented always before 3 days after notice. *
* Kim, * * Park, * * Lee of Samsung SDI, * * Choi, * * Lee, * * Go of LPD 33, * * Jo, * * Gang of Orion, Chi-
Chun Liu, Sheng-Jen Yang, Wen-Chun Cheng, Ling-Yun Cheng of Chunghwa Picture Tubes were
participated in the meeting. This meeting is confirmed by the "visit report" of Chunghwa Picture Tubes,
the meeting data that was distributed at the time of meeting, the ‘business diary’ of * * Lee of Samsung
SDI.
 LG expressed a strong complaint to Orion to the point that Orion intercepted the order from LG monitor
 by using the low price of $58 in 17”. Orion denied such suspicion and argued that Orion has concrete
 evidence that LG suggested estimated value to Taiwanese customers with $61. VP Liu, chairperson said
 that in the case that market is poor, to decrease the price to attract sales does not increase sales, and
 this only expands each company’s loss. .. It is hopes that Orion should refrain from aggressive act of
 intercepting order from LG.                                            (Evidence Sogap Number 3-106)

 (D) Price guideline
 Several companies agreed to adopt a numerical value that is close to the present condition as a
 guideline to price estimate.
     14”                                                  $43
     15”                                                  $49
     17”                                                  $65
     17” Flat                                             $78
     19” 85khz                                            $90
     19” 95khz                                            $95
 (E) Days of Jul(Quoting the original word as it is) line stop
 Several companies agreed to maintain 14 days of line stop on July, and several manufacturers will hold
 a meeting at SDI Taipei on June 29 PM 02:00 in order to confirm and investigate the implementation of
 plan.
 (F) The next meeting will be held at LG Philips Taipei. (July 24, 13:30)
                                                                          (Evidence Sogap Number 3-106)
  Mul -party meeting on July 24, 2001

187      The defendants agreed to do the days of CDT production line stop during Aug. 2001 with 15 days
and set the standard price of 14”, 15”, 17”, 19” CDT. Additionally, agreed to hold the next meeting at the
office of Korean Samsung SDI from Aug. 21 PM 01:00 the same year. * * Kim, * * Park, * * Lee of
Samsung SDI, * * Choi, * * Lee, * * Go of LPD34, * * Jo, * * Gang of Orion, Chi-Chun Liu, Sheng-Jen Yang,
Wen-Chun Cheng, Ling-Yun Cheng were participated in the meeting, and held CDT multi-party meeting
at the LPD office of Taipei, Taiwan according to the agreement of previous meeting. This is confirmed by
the "visit report" that was made by Ling-Yun Cheng of Chunghwa Picture Tubes and the information of
business diary and statement of * * Lee of Samsung SDI.




33
   LG Electronics and Philips combined the CRT business part of each company as of July 1, 2001 and established a
joint venture of LG Philips Display(LPD), and after the time, the executives and staff in charge of CDT sales and
business of LG Electronics and Philips were participated in the cartel meeting on behalf of LPD.
34
   LG Electronics and Philips Electronics established LPD (LG Philips Displays Korea Co., Ltd) on June 11, 2001 by the
LPD Holdings that was established as a joint venture of CRT business part of each company, and acquired CRT
business part from LG Electronics on June 30, 2001 and from Philips Electronics on July 1, 2001 by transfer. After
this time, the executives and staff in charge of CRT sales and business of LG Electronics and Philips were
participated in the cartel meeting on behalf of LPD.
         -96-      Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 99 of 172


 (C ) Days of production stop during Aug.
 Several manufacturers decided to do the days of production stop during Aug. for the adjustment of
 production quantity instead of implementing plant closing.
 (D) Price guideline: Manufacturers agreed to do the standard price as follows.
   14”                                              $42
   15”                                              $48
   17”                                              $64
   17” Flat                                         $76
   19” 85khz                                        $87
   19” 95khz                                        $92

 (E) AOB. The next meeting is decided to be held at SDI, Korea. (Aug. 21 PM 01:00)
                                                                          (Evidence Sogap Number 3-108)

  Mul -party meeting on Aug. 13, 2001

188     Chunghwa Picture Tubes requested to Samsung SDI to stop to supply with a low price in the
meeting, and about it Samsung SDI denied this fact. This is confirmed by the "visit report" of Chunghwa
Picture Tubes.

 CPT revealed that the current sales quantity increased and requested to SDI not to expand market share
 by suggesting a low price. If not so, all manufacturers will decrease the sales price henceforward in
 order to maintain market share and then such vicious circle will damage market severely. SDI argued
 and protected itself that it did not suggest a low price to new customers and now is transacting
 business with Philips/AOC of only 19” flat and do not have relationship absolutely to the product of
 other size.
 Two manufacturers(Samsung, LPD) were urged to lead to protect the price decrease and to adjust the
 price of each company.
                                                                        (Evidence Sogap Number 3-109)

  Mul -party meeting on Oct. 15, 2001

189     The defendants checked the plan of line operation stop of the production facility(“shutdown
plan”) of each company in the whole world and agreed with the price guideline of 14”, 15”, 17”, 19” CDT,
after exchanging of information such as the increase or decrease of sales-production quantity. This is
confirmed by the ‘business diary’ of * * Lee of Samsung SDI.




        -97-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 100 of 172


 Shutdown plan
 SDI – 2nd stage Suwon - #1 O.K. Malaysia - #4 not yet - 3rd stage: Pusan #5 scheduled
 LPD – 3rd stage O.K. Lebring & Hwafei – 1 line stop
 Orion: Time is necessary for 3rd stage
 CPT: FOLLOWED THE SKDL
 Price guideline
 14” $42 15” $43-45 17” $58 Flat $68 19” FST 35 $85       (Evidence Sogap Number 4-41)

     Mul -party meeting on Oct. 23, 2001

190      According to the sales price increase of TFT-LCD that is the replacement product of CDT, the
defendants judged it for the opportunity of price increase and agreed to increase the CDT price with 10
dollars for Oct., 15 dollars for Nov., 5 dollars for Dec. the same year respectively. Additionally, they raised
objection to the thing that Samsung SDI expands market share and takes other participants’ order
quantity by leaving from the agreed price and supplying with a low price in the time of transaction with
Samsung Electronics. About to this, Samsung SDI suggested a specific numerical value and denied the
fact that secured the order with a low price.

191     Additionally, it is confirmed that the defendants decided the price that is supplied to main
customer with a certain rate(2.5 ~ 4%) of low level than the agreed price, and it is possible to know that
the price is to be changed connecting with the agreed price. This is confirmed by the "visit report" of
Chunghwa Picture Tubes.

 The part that was reached to a common agreement was to increase $10 on Oct. 1 and to increase $15
 on Nov. and to increase $5 again on Dec.
                                                                   (Evidence Sogap Number 3-110)

     The information that CPT raised objection was that Samsung occupied a high market share in a
     downward market by doing a supportive internal transaction with a low price, and especially tries to
     secure the order of Taiwanese company with a low price. SDI refuted it strongly by saying that its own
     company is not securing the order with a low price but rather losing market share to Taiwanese
     company is a fact.
     SDI revealed about the internal transaction of group that it was implemented at the level of 3% low
     than market price, and CPT also revealed that discount rate is 3%. LG discounted 4%, and PH expanded
     the discount rate from 1% to 2.5%.                                   (Evidence Sogap Number 3-110)

192     And, Samsung SDI informed the price of 17”, 19” CDT that is to be applied henceforward to the
participants and urged to refrain from the price decrease competition even though losing order, and
about this, the participants decided to grope a method that can stop competition.




35
  FST is the abbreviation of Full Square Tube, and means a product that the corner part of Braun tube display is
not round but square.
          -98-    Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 101 of 172


With relevance to the selecting standard of supply line of CDT customer, it is possible to know that the
transaction relationship is maintained in the case that the price gap among suppliers is feeble but it can
be changed anytime to the lowest supplier in the case that the price gap among suppliers is big. This is
confirmed by the "visit report" of Chunghwa Picture Tubes.

  He requested to all companies to devise a method to improve the current condition and to stop
  improper competition. LPD agreed and…
  SDI revealed to maintain market with the following price. 17”: $55-57, RF: $66-68, 19”: $85-88.
  Additionally, SDI urged, in order to avoid a situation that is to be fighting each other by customers, to
  three manufacturers to agree to a thing that instructs a prohibition of price decrease for obtaining
  order even though losing order.
                                                                            (Evidence Sogap Number 3-110)

  Visited AOC after the meeting. The employee of AOC said with laugh that if the gap of price is small we
  can purchase CPT tube more but if the gap of price is big we of course will purchase from the place
  that offers the lowest price. Which executive in charge of purchase is not looking for the lowest price
  and is to waste money intentionally! Chen Wei of Compal, not giving any commitment, revealed that
  every assignment should be done according to the price.
                                                                        (Evidence Sogap Number 3-110)

  Mul -party meeting on Dec. 17, 2001

193     It is possible to know that the defendants sympathized on the thing that CDT market is to be
deprived by LCD and agreed to increase the price with a joint action among CDT manufacturers, and the
guideline of 15”, 17”, 19” CDT that are to be applied henceforward is listed in the business diary of * *
Lee of Samsung SDI, and discussions (‘internal price increase’) to the price increase of internal
transaction is also listed in it. This is confirmed by the "visit report" of Chunghwa Picture Tubes and the
information of business diary of * * Lee of Samsung SDI.

  The price increase of CDT will accelerate the CDT replacement by LCD, and it may be difficult to
  acquire it. CPT pointed out the fact that there will always be a lack of time without immediate action
  and said that the price of the LCD had increased 30 dollars and the CDT plants suffered loss with
  production.
                                                                          (Evidence Sogap Number 3-111)




        -99-   Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 102 of 172


 LPD
 -Internal: Price increase of 60% for Philips, 95% LG monitor on Dec. 27
 Response to price increase: The price increase depends on our response.
 Price guideline
              Market      New guideline
 15”           41-42       44
 17”           56-57       58
 17” Flat     64-65        67
 19”           82-84       85
 19” Flat       98         100
 Internal price increase                                     (Evidence Sogap Number 4-42)

  Mul -party meeting on Dec. 28, 2001

195 In the meeting, the defendants sympathized to the point that the price should be increased
according to the price increase of LCD that is the substitutes of CDT, and discussed to the time of price
increase. They discussed the price increase to the internal transaction line and agreed also to the level of
price application. To put it concretely, LPD informed the fact that notified the price increase to Philips to
other participants, and Samsung SDI revealed the plan to increase the supply price for Samsung
Electronics in the case that other member companies agree to the price increase. Searching it concretely,
the unit price of transaction within group was agreed to decide at the level that is discounted 2.5% than
the agreed price, and agreed to the price difference of tube kinds and terms of payment in order to
make the agreement of price increase to be performed effectively. This is confirmed by the "visit report"
made by Ling-Yun Cheng of Chunghwa Picture Tubes.

 The price of LCD increased with 3 times since Oct. and it is scheduled to be increased $10 additionally
 on the next month. There must be an opportunity to increase the price during the market condition of
 CDT is in the state of sustainability still. Besides, because newspapers in Taiwan had already reported to
 the schedule of price increase of CDT, if failed to increase the price this time, the weak point of CDT
 manufacturers is to be revealed, and finally the wind of sales price decrease is to blow once more.
                                                                            (Evidence Sogap Number 3-112)




        -100- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 103 of 172


 LPD said that the price increase was a policy that was decided according to the instruction of CEO,
 and LPD already noticed to AOC/Philips that the price is to be increased.
 SDI implied that it is expected that difficulties may follow to the performance of actual increase plan
 because SEC and other customers do not want to accept the price increase of CDT. However, if
 manufacturers are to agree to the price plan, then SDI will perform it at the same time…. All the
 manufacturers agreed to abide by the following principle of estimated value.
 (2) Principle of CDT estimated value:
 (a) Date of effectuation: Feb. 1, 2002
 (b) Unit price of CDT: (Net-back price, excluding rebate)

                                                                                      Unit price of transaction within group
                  Kind of CDT                                Unit price
                                                                                                (Discount of 2.5%)
                 15” MPRII ITC                                  $44                                   $42.9
               17” FST MPRII ITC                                $57                                   $55.6
                17” Flat TCO ITC                                $67                                   $65.3
                19” FST TCO ITC                                 $82                                   $80.0
                19” Flat TCO ITC                                $98                                   $95.6
                                                                                       (Evidence Sogap Number 3-112)


 Price difference by tube kind
                                  Non ITC ITC                            MPR II TCO
            15”                         +1                                     --
       17” & 17 Flat                   +1.5                                    +1
            19”                         +2                                     +2
 Terms of payment: Local delivery OA 45 days (end of month), Export delivery: L/C or D/A 60 days
 The next top management level meeting will be held at CPT Taoyuan on Jan. 24 12:00.
                                                                      (Evidence Sogap Number 3-112)


(8) Meeting among competitors in 2002

<Table 24>             Outline of CDT cartel meeting in 2002
 Serial No.   Date of opening      Agreement                              Participating company      Evidence data
                                   Confirm      whether     or     not    Chunghwa Picture Tubes,    p. 1778 of Evidence Sogap
 1            Jan. 11, 2002
                                   performing the agreed price            SDI, LPD, Orion            Number 3-113
                                   Confirm the performance of price       Chunghwa Picture Tubes,    p. 1788 of Evidence Sogap
 2            Jan. 18, 2002
                                   increase again                         SDI, LPD, Orion            Number 3-114
                                   Confirm the performance of price       Chunghwa Picture Tubes,    p. 1795 of Evidence Sogap
 3            Jan. 23, 2002
                                   increase, increase of sales price      SDI, LPD, Orion            Number 3-115
                                   Agreement of price increase (Apr.      Chunghwa Picture Tubes,    p. 1798 of Evidence Sogap
 4            Jan. 30, 2002
                                   $3)                                    LPD                        Number 3-116
                                                                                                     P.1804, p. 1806 of
                                                                                                     Evidence Sogap Number
                                                                          Chunghwa Picture Tubes,
 5            Feb. 22, 2002        Increase of sales price                                           3-116-1
                                                                          SDI, LPD, Orion
                                                                                                     p. 1822 of Evidence Sogap
                                                                                                     Number 3-117
                                   Increase of sales price targeting      Chunghwa Picture Tubes,    p. 1826 of Evidence Sogap
 6            Mar. 20, 2002
                                   Korean customer                        SDI, LPD, Orion            Number 3-118
                                   Maintaining the current sales          Chunghwa Picture Tubes,    p. 2971 of Evidence Sogap
 7            Apr. 22, 2002
                                   price                                  SDI, LPD, Orion            Number 4-43




        -101- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 104 of 172


                               Maintaining the current sales                               p. 2974 of Evidence Sogap
                               price, assignment of market       Chunghwa Picture Tubes,   Number 4-44
 8          Nov. 28~29, 2002
                               share by customer, penalties in   SDI, LPD                  p. 314 of Evidence Sogap
                               the case of nonperformance                                  Number 2-1
                               Information           exchange,
                                                                 Chunghwa Picture Tubes,   Evidence Sogap Number
 9          Dec, 2002          maintaining the system of
                                                                 SDI, LPD, Orion           4-45
                               cooperation

  Mul -party meeting on Jan. 11, 2002

195     The defendants confirmed mutually whether or not of the performance of price increase that
was agreed just before. In the case of Samsung SDI, informed to the participants to take a step to accept
the price increase of Samsung Electronics with rapidity, and there is a fact that confirmed whether or not
of performance to the participants of LPD who were succeeded to the price increase in the same
condition of internal transaction. This is confirmed by the "visit report" of Chunghwa Picture Tubes.

 SEC cannot accept the increase of CDT price. Therefore, SEC is still facing a condition that the price
 increase is difficult. Additional discussion shall be held for a rapid acceptance of price increase.
 Additionally, SDI raised a question to LGE that had obtained the order of Gateway 17” F/19” F with a
 very low price. How is it possible for LPD to increase the price successfully to LGE.
                                                                           (Evidence Sogap Number 3-113)

  Mul -party meeting on Jan. 18, 2002

196      The defendants exchanged the information of the present condition of production and sales and
the response of customer, and then promised to perform the plan of price increase that was agreed, and
decided to review the information of price increase again on Jan. 23 the same year. This is confirmed by
the "visit report" of Chunghwa Picture Tubes.


 (B) Problem of CDT price increase: In spite of the continuous objection of customers to the price
 increase of CDT, customers started to understand that such increase is inevitable. With the volition
 and trust of each CDT manufacturers that are participating in the meeting. The price increase of
 monitor plant should be progressed without problem this time. Each manufacturer is to participate in
 the meeting that is scheduled to be held at SDI Taipei on Jan. 23 a.m. 09:30 and will update the
 information of price increase and review it.
                                                                     (Evidence Sogap Number 3-114)


  Mul -party meeting on Jan. 23, 2002

197     The defendants checked mutually the condition of progress of price increase agreement on Feb.,
and especially, Samsung SDI confirmed the progress status of the price increase to Samsung Electronics
for other participants. Additionally, decided to increase the price of CDT 3 dollars on Apr. the same year
because demand exceeds supply. This is confirmed by the ‘report of meeting result’ of Chunghwa Picture
Tubes.




        -102- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 105 of 172


 (A) The price increase and the present condition of manufacturers on Feb. was reported as the
     following respectively.
 (a) SDI
 1. SEC: SDI revealed that it would follow the result of discussion that increases the price to SEC, and
     said that it knows well that all manufacturers are worrying about this issue. Besides, the original
     estimated value is already higher 60% than the discussed price. (The price within group is
     discounted 2.5%); There may be no problem to the price increase.
 (B) Subject of 2nd price increase of CDT:
 In order to shift the price increase of CDT for monitor plant to customer more efficiently in the
 situation that demand exceeds supply, it is said that CPT would increase the price one more time on
 Apr. The first stage is to decide with 3 dollars temporarily.       (Evidence Sogap Number 3-115)

  Two-party meeting on Jan. 30, 2002

198    The participants of the meeting discussed to perform the agreement of the previous meeting,
and especially confirmed mutually again to the agreement of ‘increase of 3 dollars on Apr.’ This is
confirmed by the "visit report" that was made by Ling-Yun Cheng of Chunghwa Picture Tubes.

 LPD will follow certainly the agreement to the overall price increase. Amid demand shows a strong
 shape, an opinion that the intention should be a thing that increases the price of the models of a
 variety of size with 3 dollars respectively on Apr. once more again in promoting the monitor
 manufacturers to shift the part of price increase of CDT to customers effectively was suggested in the
 meeting of last week (Jan. 23). LPD said that it agrees to the opinion basically.
                                                                           (Evidence Sogap Number 3-116)

  Mul -party meeting on Feb. 22, 2002

199      It is confirmed that, in the meeting, Samsung SDI discussed with other defendants to the
transaction of main customer, and then decided to adjust the sales price of 17” CDT for Samsung
Electronics upward 2 dollars. Additionally, agreed to increase the sales price of a certain CDT size 3
dollars respectively on Apr. the same year and decided to do a final decision about whether or not of
performance in the next top level meeting. And, decided to hold the next meeting at the office of Seoul
LPD on Mar. 20 p.m. 01:30 the same year. And, as the following, the plan of operation stop of production
line (“CDT Line Shutdown Plan”) that was established to reduce the supply quantity of CDT jointly was
suggested by region. With relevance to Korea market, it is confirmed that the plan of production line
stop of the plant of Suwon, Pusan, Gumi of member company is reflected. This is confirmed by the "visit
report" that was made by Ling-Yun Cheng of Chunghwa Picture Tubes and the data that was distributed
at the time of meeting.




        -103- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 106 of 172


 SDI shipped 2-3k of 17” high definition flat tube to SEC. Currently SDI has no other customers. After
 discussion of manufacturers, SDI agreed to use the estimate value that is higher $2 than the original
 price of 17” flat tube.
                                                                     (Evidence Sogap Number 3-116-1)

 CPT said that the price increase of $2 this time was a thing that the monitor manufacturers can shift the
 part of price increase of CDT to customers. CPT will increase the price of a certain size $3 respectively
 again on Apr. CPT hopes that manufacturers prepare a base of mutual understanding and to perform
 according to it. All of SDI/LPD did not object, but CPT hopes to progress through discussion and can
 make a final decision at the CEO meeting that is to be held on the next month.
 The next meeting will be held at Seoul LPD on Mar. 20 p.m. 01:30.
                                                                        (Evidence Sogap Number 3-116-1)

                            CDT Line Shutdown Plan                       GSM/Feb. ‘02
           Total
   Maker             Shutdown line   Original plan                Current situation         Remarks
           line
                                                                  Suwon #4, #5, Busan
                                     Suwon #4, #5, Busan #6                                 *Suwon #4 (17F) restart in
                                                                  #6
                                     Malaysia #4 (0.5 line),                                SZ (02, 2Q)
   SDI     16.5      5                                            Malaysia #4 (0.5 line),
                                     Suwon #1 (0.4 line)                                    *M’sia #4 plan to shut down
                                                                  Suwon #1 (0.4 lines)
                                     Busan #5                                               *Plan to shut down
                                                                  Busan #5
                                                                  Gumi G1
                                     Gumi (G1, G2), Dapon (4      Dapon 2.5 line (5         *LPD T line plan to shut
                                     lines)                       lines)                    down
                                     Dapon (1 line), Wales #2     Wales 0.5 lines
   LPD     19        6
                                     (0.5 lines)                  Lebring 0.5 lines (1
                                     Wales #2 (0.5 lines),        line)                     *Lebrig (?)
                                     Lebring 0.5 lines (1 line)   Hwafei 0.5 lines (1       *Hwafei plan to shut down
                                                                  line)
                                     Mexico 1 line                MXC 1 LINE
   Orion   5         1.5
                                     Kumi BSA                     Kumi 1 line
                                     CPTT #3, #4                  CPTT #3/#4, CPTY
                                                                                            *CTTT #3/#4 will restart in
                                     CPTM #2 (0.5 LINES), #7      #1/#2
                                                                                            the end of ‘02
   CPT     16        5               (0.5 LINES), CPTM #6         CPTM #2 (0.5 LINES),
                                     CPTM #7 (0.5 LINES), CPTY    #7 (0.5 LINES), #8 (1
                                     #1 (0.5 LINES)               LINE)


  Mul -party meeting on Mar. 20, 2002

200      The defendants checked the present condition of production and sales by standard and the
performance condition of price increase that was previously agreed. Samsung SDI imparted the
information that 250,000 units among Toshiba’s current sales quantity of 300,000 units are supplied to
Samsung Electronics to other participants and Toshiba also informed the plan to increase the price 1
dollar for 17” CDT, 0.5 dollars for 15” CDT from Mar. 2002. This is confirmed by the "visit report" of
Chunghwa Picture Tubes.

 SDI says that the present sales quantity of TSB is 300K and 250K among it is a thing that was supplied to
 SEC. TSB also will increase the price of CDT $1.0 for 17”, $0.5 for 15” from Mar.
                                                                           (Evidence Sogap Number 3-118)

  Mul -party meeting on Apr. 22, 2002




        -104- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 107 of 172


201     The defendants agreed to maintain the previously agreed price to the price of 3/4 quarter 2002
after exchanging the information of market condition. Additionally, the fact that to induce Thai CRT to
participate in the CRT multi-party meeting and discussed to establish a consultative group for the large
CDT price discussion apart from the 3 CDT company of Korea is also confirmed. This is confirmed by the
data that Seong Deok Park of Samsung SDI transmitted the meeting result through the office e-mail
("secret").

 3. Plan of 3Q price
 -Each company agrees to the idea that should raise the price, but it seems difficult to increase the
 price actually. Therefore, the opinion is that maintaining the present price may be the best.
 4. A.O.B
 -Controlling Thai-CRT: Induce to participate in the meeting continuously to Thai-CRT
 -Request to establish a consultative group that includes Large/FLAT apart from domestic three
 companies of CRT
                                                                           (Evidence Sogap Number 4-43)

(8) Multi-party meeting on Nov. 28~29, 2002

202     In the meeting, there is a fact that Chunghwa Picture Tubes urged to reduce the production
quantity as the agreement because the market share of Samsung SDI 2002 increased, and Mr. Jo of LPD
urged to maintain the present price (“Let’s keep the price”). Additionally, agreed to set a targeting
market share by main customers and to check performance every week or every month, and the staff in
charge and manager shall be replaced in the case of not performing the agreed price and to put penalty
of a content that other two companies attack the main customer of the member company that does not
perform according to the suggestion of LPD. This is confirmed by the business diary and statement that
recorded the information of the meeting by * * Song of Samsung SDI.

 CPT: Only Samsung didn’t reduce lines. Only Samsung saw an increase in M/S in ’02 against ’01.
 LPD: Mr. Cho, “Let’s keep the price”
 LPD Proposal
 -Negotiate on the target M/S and fix it for important customers
 -Review every month or week
 -Penalty: If company cheat the agreed price
 Person in charge and his/her manager will be dispelled.
 Other two companies will attack trouble maker’s major customers with a low price.
                                                                        (Evidence Sogap Number 4-44)




        -105- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 108 of 172


 Answer 28-1) "Only Samsung didn’t reduce lines" is a thing that lists the contents stated by the
 representative of Chunghwa Picture Tubes, and it is a content of discontent that only Samsung SDI is not
 performing the previous agreement to reduce a production line. "Not fair to CPT" that was recorded in
 succession is a content that such act of Samsung SDI is not fair in the position of Chunghwa Picture
 Tubes (CPT) that performed the reduction agreement of production line.
 And, "CPT: Each company sets a reduced share target in troubled customers’ is a content that Chunghwa
 Picture Tubes referred, and its meaning is to reduce sales quantity to customers that maximized
 negotiating power by comparing the price among CDT suppliers. (Evidence Sogap Number 2-1)
     Mul -party meeting on Dec. 26 or 29, 2002

203    The fact that the defendants shared the information of 17”, 19” CDT sales quantity by each
company from May, 2002 to Dec., 2002, and established the sales plan of 2003 jointly, and on the other
hand decided to have more discussion at the meeting of Taiwan working level (“Need more discussion in
Taiwan Working Level MTG”) is confirmed in the meeting data.

(9) Meeting among competitors 2003
                           <Table 25>                     Outline of CDT cartel meeting36

 Serial   Date of                                                           Participated
                     Agreement                                                                      Evidence data
 No.      opening                                                           company
                     Refraining from the price decrease, assignment of      Chunghwa Picture
          Jan. 2,    market share by each company (Chunghwa Picture         Tubes, SDI, LPD
 1                                                                                                  p.1839 of Evidence Sogap Number 3-119
          2003       Tubes: 25%, LPD: 305, SDI: 34%), prohibition of the     (Working       level
                     option price                                           meeting)
                                                                                                    p.1848 of Evidence Sogap Number 3-120
          Feb.       Agreement of market share assignment and checking      Chunghwa Picture
 2                                                                                                  p.2985 of Evidence Sogap Number 4-46
          2003       its performance                                        Tubes, SDI, LPD
                                                                                                    p.2993 of Evidence Sogap Number 4-47
                                                                            Chunghwa Picture
          Mar. 21,   Agreement of market share assignment and checking
 3                                                                          Tubes, SDI, LPD,        p.1857 of Evidence Sogap Number 3-121
          2003       its performance
                                                                            Orion
          Apr. 29,   Agreement of production quantity reduction, market     Chunghwa Picture        p.1863, p.1866   of   Evidence   Sogap
 4
          2003       share by customer                                      Tubes, SDI, LPD         Number 3-122
          May,       Refraining from the price decrease targeting Korean    Chunghwa Picture
 5                                                                                                  p.1871 of Evidence Sogap Number 3-123
          2003       customer                                               Tubes, SDI, LPD
          May 20,    Agreement of market share assignment and checking      Chunghwa Picture        p.3006 of Evidence Sogap Number 4-48
 6
          2003       its performance                                        Tubes, SDI, LPD         p.318 of Evidence Sogap Number 2-1
                     Agreement of market share assignment and checking
          May 30,                                                           Chunghwa Picture        p.1884, p.1889, p.1893 of Evidence
 7                   its performance, surveillance plan of whether or not
          2003                                                              Tubes, SDI, LPD         Sogap Number 3-124
                     performing the agreement of production reduction
          June       Agreement of the sales price by Korean customer of     Chunghwa Picture
 8                                                                                                  p.1896 of Evidence Sogap Number 3-125
          2003       17” CDT                                                Tubes, SDI, LPD
          June 12,   Refraining from the price decrease targeting Korean    Chunghwa Picture        p.3014, p.3016   of   Evidence   Sogap
 9
          2003       customer                                               Tubes, SDI, LPD         Number 4-49
                     Agreement of market share assignment and checking
                     its performance, assignment of market share            Chunghwa Picture
          June 17,                                                                                  p.1912, p.1915, p.1919 of Evidence
 10                  targeting Korean customer, maintaining the             Tubes, SDI, LPD
          2003                                                                                      Sogap Number 3-126
                     difference of sales price among customers of major      (Top level meeting)
                     and small scale
                                                                            Chunghwa Picture        p.1937, p.1939 of Evidence Sogap
                     Agreement of market share assignment and checking
          July 29,                                                          Tubes, SDI, LPD         Number 3-127
 11                  its performance, assignment of market share
          2003                                                               (Management level      Evidence Sogap Number 4-50
                     targeting Korean customer
                                                                            meeting)                p.1951 of Evidence Sogap Number 3-128




36
  Hereinafter, in the cartel meeting by year and by month, do not list most of the participated companies and
participants separately because only three companies of Chunghwa Picture Tubes, Samsung SDI, LPD, the
defendants of this case participated in the meeting and agreed.
         -106- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 109 of 172

                                                                                                 Evidence Sogap Number 3-129
         Aug.    28,   Agreement of market share assignment, closing      Chunghwa Picture
 12                                                                                              p.1991, p.1974 of evaluation report
         2003          of production line                                 Tubes, SDI, LPD
                                                                                                 p.1997 of Evidence Sogap Number 3-130
                                                                                                 p.2036, p.2038 of Evidence Sogap
         Sep.    24,   Price difference by detailed specification,        Chunghwa Picture
 13                                                                                              Number 3-131
         2003          refraining from obtaining order with a low price   Tubes, SDI, LPD
                                                                                                 Evidence Sogap Number 3-132
                       Refraining from the price decrease targeting
                                                                          Chunghwa Picture       Evidence Sogap Number 3-133
 14      Oct., 2003    Korean customer, price difference by detailed
                                                                          Tubes, SDI, LPD        p.2077, p.2079 of evaluation report
                       specification
                                                                          Chunghwa Picture       p.356 of Evidence Sogap Number 2-2
         Oct.    28,   Agreement of market share assignment and
 15                                                                       Tubes, SDI, LPD        Evidence Sogap Number 4-51~3
         2003          checking its performance
                                                                           (Top level meeting)   Evidence Sogap Number 3-134
                       Agreement of market share assignment and
         Nov.    12,                                                      Chunghwa Picture
 16                    checking its performance, closing of production                           p.2100 of Evidence Sogap Number 3-135
         2003                                                             Tubes, SDI, LPD
                       line
         Nov. 26~27,   Sales price by major customer, including Korean    Chunghwa Picture       Evidence Sogap Number 3-136
 17
         2003          customer                                           Tubes, SDI, LPD        p.2123 of Evidence Sogap Number 3-137
         Dec.     2,   The whole world market and market share by         Chunghwa Picture       p.2125, p.2127, p.2128 of Evidence
 18
         2003          customer                                           Tubes, SDI, LPD        Sogap Number 3-138


  Mul -party meeting on Jan. 2, 2003

204 The defendants agreed to improve the rate of return by taking action jointly against the request of
monitor companies’ price decrease after exchanging the information of rate of return of each company.
Additionally, assigned market share on the basis of the information of sales quantity of each company
2002, and decided the sales quantity by applying market share that was assigned to the total demand
quantity of CDT in the whole world 2003 that was expected according to it.

205 And, the fact that the defendants agreed to the lowest price to the main customer unanimously,
and that the defendants decided to maintain the agreed price to the request of customer’s price
decrease for the achievement of yearly profit target is confirmed. This is confirmed by the report of
meeting result of Chunghwa Picture Tubes that has the title of "CDT market analysis."

 With comparison to the situation that the monitor manufacturers of downward industry part are still
 getting a considerable profit in the production of CRT monitor (For example, the business profit of AOC
 is about USD 40M in 2002), the sales of CDT is facing loss. This is harmful to the business circles
 extremely. Henceforward, can it be possible that how 3 manufacturers show their earnestness
 mutually, and remove the extreme price competition and resist jointly to the price decrease of PC
 brand manufacturers and monitor OEM manufacturers. Getting profit as a business target is the
 focal point of our cooperation henceforward.                  (Evidence Sogap Number 3-119)




        -107- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 110 of 172


  The market share of 3 manufacturers is to be 28%, 32%, 24% respectively, in the case that the total
  quantity of CDT in the whole world this year is 82.5M, after classifying the data of real delivery of
  several manufacturers with 23.2M for LPD, 26.2M for SDI (Excluding 21”), in spite of the response by
  CPT in the meeting that there is a difference between the real result of the total sales quantity of each
  manufacturer 2002 and the numerical value that was reported at the CEO meeting on Nov.
  Additionally, according to the resolution of CEO, sales is to be reduced 7% respectively in 2003, and
  LPD is to be 21.5M, SDI is to be 24.4M, CPT is to be 18.2M, and among it, the total quantity of CPT in
  2003 will be low 400K than the quantity that was decided by CEO. Therefore, it was suggested that the
  total system must be changed. However, LPD/SDI argued that it must follow the criteria that CEO had
  decided on Nov., and the result was not changed. This means that market share of each manufacturer
  of the next year is to be 25% for CPT, 30% for LPD, 34% for SDI.
                                                                         (Evidence Sogap Number 3-119)

 Each manufacturer, openly between each other, came to an agreement unanimously about the level
 of lowest price to the main customer.
 Assuming that the goal of 3 manufacturers is getting profit, the attitude of them is firm very much to
 the customer’s price decrease request. All of them must keep their own price, and have the same
 interest that should not have an option price more to each customer.
 3 manufacturers must keep the price together in order to achieve the yearly profit goal of each
 manufacturer.
                                                                         (Evidence Sogap Number 3-119)

  Mul -party meeting during Feb. 2003

206      In the meeting, according to the following data of sales result of Samsung SDI, Korean monitor
manufacturers like Samsung Electronics, LG Electronics, Hansol Electronics, and Hyundai Electronics are
included in the 12 big customers, it is possible to know that it is a main target of collusion through a
cartel meeting from it.
  3. Sales result by customer (Suggestion)
                                                                                             (Unit: 1,000)
                               2002                                                    2003
                               1Q        1Q           3Q           4Q       Total      Jan.           Feb.
                    AOC            186          188          203      230       307              65             45
                    BenQ           248          155          151      146       700              23             22
                    Compal         151          108          132      201       592              49             46
                    Delta          328          118          182      232       860              34             65
                    Lite-On        184          102          146       92       524              68             20
                    Philips        310          265          460      116     1,151              46             30
  12        big
                    Proview        658        1,010        1,077      972     3,717             305            325
  customers
                    Tatung          33           14           28       22         97             10              6
                    SEC          3,373        3,269        3,343    3,816    13,801           1,107          1,080
                    LGE             28           31            -       15         72              -              -
                    Hansol         104           85           85       85       359              35             27
                    Hyundai        207          141          186      209       823              52             50
                    Total        5,808        5,406        5,993    5,216    23,503           1,794          1,716
  8 Customers                      516          405          468      598     1,987             165            147
  Other companies                  159          161          143      313       777              49             40
  G. total                       6,483        6,052        6,604    7,128    26,257           2,008          1,905
 Note) Detailed breakdown by customer/model is annexed

         Moreover, we know the fact that the participants of Samsung SDI had decided to instruct to the
internal employees not to sell at lower price to Korean customers.



        -108- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 111 of 172


We also know that since 2003, the defendants of this case had assigned the worldwide market share
based upon the sales data, and during the year of 2003, they checked out each other if there were any
occurrences of differences between the monthly sales and the agreed market shares by each company.
This has been confirmed by “Meeting Preparation Material” of Samsung SDI and the result report of
“CDT Market Review” by CPT (Chunghwa Picture Tubes Ltd).

Additionally, Samsung had instructed to its internal employees arbitrarily not to sell bare tubes to the
domestic customers or offer the estimate at lower prices.    (Evidence Sogap number 3-230)




                                                                                      (Evidence Sogap 4-47)
Multi-party meeting on March 21, 2003

207      In this meeting, it is a fact that each company had coordinated the sales information on 14 , 15 ,
17 , and 19 CDTs, and they confirmed if the worldwide market share by each company had been
enforced, which was agreed based upon the sales of the year of 2002. It is also true that they checked
out each other if they enforced the agreed matters. This is confirmed by the meeting data, which were
distributed to the participating companies before the meeting was held.




                                                                                    (Evidence Sogap 3-121)
Multi-party meeting on April 29, 2003

208     After the defendants had made and exchanged the sales result table of each company, they had
modified 72 million CDTs (Color Display Tubes) which were agreed upon by the CEOs of each company in
November 2002 regarding on the worldwide CDT demand to 68 million. They also agreed to cut the
production lines and the days operated in order to meet the supply. Moreover, they had checked
whether they were abided by till the first quarter of 2003 before the meeting with the table of market
share of each company (CPT 28%, LPD 34%, Samsung 38%), which was agreed to apply in 2003.




        -109- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 112 of 172


The included Korean customers among those major 12 companies are Samsung Electronics Co. Ltd.
(SEC), LG Electronics Co. Ltd. (LGE), Hansol Electronics Inc, and Hyundai Electronics Industries Co. Ltd.,
and it has been confirmed that there was a formation of understanding that they do not violate each
other with the major customers by each company in the checked-up contents on whether the share per
each client company was enforced, which was agreed upon in the CEO meeting. This has been confirmed
by the meeting data, which was recorded as the meeting held date (“04/29/2003”) and “confidential” in
CPT.

03 CMT demand lower than previous estimation: 72M (Nov. 2002 CED)           68M
Suggestion:
    Reduction of each maker’s sales target to match the reality:
    Reduce 7% of CEO decision (Reduce 7% of CEO decision)
    3 Makers Supply Control: (Makers supply control)
    Shutdown 0.5 or 1 line in 2H 03 (Shutdown 0.5 or 1 line in 2H 03)
    Decrease working day (Decrease working day)
                                                                                   (Evidence Sogap 3-122)

M/S by CEO MTG Decision (NOTE: Compiled mainly with regard to the Korean customers)




Multi-party meeting during May

209 In this meeting they mutually exchanged information on the markdown requests of their customers,
thus the fact has been confirmed that Samsung SDI had declined the request for lower price supply of
SEC in order to avoid short revenues. This can be confirmed by the result report under the title “CDT
market review” of CPT.
SDI mentioned that SEC had made inquiries on the willingness of acceptance for lower price orders. SDI
had declined the SEC’s request due to the fact that 17 FST had no comfortable production capability
and Korea was not acquiring profits from the production of regular tubes. If SDI had accepted the lower
price, for instance, $40 USD (at the current level, $46 ~ $47 USD were offered as estimates), SDI would
have shut down earlier than that of the production lines as well as a lot more losses.
(Evidence Sogap 3-123)




        -110- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 113 of 172


Multi-party meeting on May 20, 2003
210 The defendants had confirmed the assigned market share to each company in 2003, and they
checked out if they were abided by the agreement based upon the sales result values of May of the
same year. They held the next meeting on May 27 of the same year, and assured the restriction plan for
production in the next meeting. They also decided to discuss on revealing the price and quantity
information in a transparent fashion, and organizing to conduct surveillance on deviation of the
agreement. This can be confirmed by business handbook and statement of Mr.     Song of Samsung SDI.

* Quantity of May
                                                   (Agreed Market Share)




                                                                                      (Evidence Sogap 4-48)

* Tuesday of Next Week MTG 5/27 09:00
1) June capacity reduction confirmation (June capacity reduction confirmation)
2) Price/quantity record open under sun (Price/quantity record open under sun)
3) Committee
   Financial person check retired people     Making a policing organization
                                                                                      (Evidence Sogap 4-48)

Answer 35) Next, CPT had informed in advance regarding on the meeting topic of next Tuesday 1) June
capacity reduction confirmation" was the content for confirming whether the contents of production
reduction agreement were executed; 2) "Price/quantity record open under sun" was the contents of
revealing in a more transparent fashion than the revealing price/quantity by each participant in the
same meeting. Finally, 3) "Financial person check" was presenting the scheme to guide employees in
financial affairs division to reveal more accurate information by making them to confirm mutually and
"Making a policing organization" was the contents discussed as one of the measures, which guarantee
reliably in terms of the enforcement of the agreed contents.
                                                                                  (Evidence Sogap 2-1)

       Multi-party meeting on May 30, 2003

211 This meeting was proceeded in the order of "sales updates of the three companies -> the market
share by the group members between January and May in 2001 -> prediction on monitor demands -
>discussion on the meeting results of working group from Taiwan -> suspension plan of production lines
-> other matters.” While they were doing so, the defendants had compared the values of sales results
between January and May in order to confirm whether the market shares were abided by, which were
agreed upon in 2003. Based upon those results, it was confirmed that CPT had decreased to 1.2%, in
case of LPD, the decrease was 0.1%, and Samsung had 1.4% of increase. Moreover, the defendants had
agreed upon to assign the market shares by the 12 major CDT customers including SEC, LGE, Hansol
Electronics Inc, and Hyundai Electronics Industries Co. Ltd., and




        -111- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 114 of 172


Henceforth, the persons who were in charge of financial affairs of each company had proceeded the
auditing, and consolidated the production regulation determining the price tags to assure. This can be
confirmed by meeting data reported as held date (“05-30/2003”) and “confidential” at that time of the
meeting.




 Further Discussion
 - Policy to made:
 a) Audit (audit): suggested by Financial personnel in each company
 b) Capacity control (capacity control)
 c) Settle price matrix (settle price matrix)                                 (Evidence Sogap 3-124)

212 The defendants as they had discussed in the previous meeting, had adjusted by decreasing the
sales target in 2003, which was targeted at the outset, reflecting the reality. Hence, they agreed upon to
shut down the production lines or cut down the days operated. According to the specific "shutdown
plan," it has been confirmed that Samsung SDI had submitted the plan for shutting down 2 of Korean
production lines during June in 2003. Finally, the next multi-party meeting by Top management will be
held on June 17 in Malaysia, in this meeting, they decided to discuss matters such as the production
suspension plan, audit method, and market share finalization.
 SDI: Jun. 2003 Korea: 2-line
 TOP Meeting (TOP Meeting) – 17th. June in Malaysia
 Issues to decide:
   a. Shut-down Plan (Shut-down Plan)
   b. Audit Method (Audit Method) c. Market Share Finalize (Market Share Finalize)
                                                                                  (Evidence Sogap 3-124)

  Multi-party meeting during June, 2003

213 The defendants had agreed to adjust the market share by each company in the CDT market, which
was agreed upon at the early 2003, partly reflecting the reality. It has also been confirmed that they
agreed upon reflecting the modified values with the shares of each of 12 customers agreeing to maintain
the June price fundamentally relating to the July price of the same year, and targeting to maintain the
existing market shares, they agreed the prices specifically on the major supply lines.




        -112- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 115 of 172


They also agreed upon to increase the price as much $0.5 USD on the secondary supply line. This can be
confirmed by the "CDT market report" of Chunghwa PT.
    The price was maintained as the June price basically. The prices on the major suppliers were
determined, and to the secondary suppliers, it was maintained by adding $0.5 USD. This is for the
purpose of strengthening the existing market shares.
    Newly negotiated prices of each manufacturer in July are as follows.[NOTE: Edited to be centered
around the Korean customers]
 - 17 FST
     Customer             Type                 CPT               LPD                SDI
        SEC             MPR, ITC                                                     ?
                         TCO, ITC                                                    ?
        LGE             MPR, ITC                                  47
 - 17 Flat
     Customer             Type                 CPT               LPD                SDI
        SEC             MPR, ITC                                                     ?
                         TCO, ITC                                                    ?
                         HBT, ITC                                                    ?
        LGE              TCO, ITC              54.0              54.0
       Hansol         85K, TCO, ITC                              53.5               55.0
      Hyundai           MPR, ITC                                 53.5               54.0
                                                                              (Evidence Sogap 3-125)

  Multi-party meeting on June 12, 2003

214 The defendants had exchanged the related information on the sales and the prices, and the
customers’ responses by each customer, and in particular, Samsung SDI relating to the Korean demand
vendor, SEC and the participants of CPT had discussed mutually and decided to propose the prices.
Moreover, in case of LPD supplying to SEC, there was a danger of the agreed price for SEC being
collapsed. Thus, they discussed to refrain from the supplying. Moreover, relating to the general prices,
Tony Cheng of CPT had proposed his opinion that at the time of price increase, it should start from the
customers with smaller market shares and on the other hand, at the time of price decrease, it should
begin from the customers with larger market shares. The defendants proposed the opinion if the price
difference was set as $0.2 USD between the major and small scale customers, it would be adequate. This
can be confirmed in the recorded contents in the business handbook of Mr.      Song of Samsung SDI.

  SEC
- Chunghwa: First, we will follow SDI's price for SEC for now. – Do not come LPD. SEC is tricky. There is
   a danger of price collapse.
                                                                                 (Evidence Sogap 4-49)




        -113- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 116 of 172


* The price increase can start from smaller M/S, and the price decrease should be done in a bigger M/S,
then M/S can be adjusted. (Tony Cheng’s opinion)
   How are we going to do with the price differences?
   - It is reasonable to set the price differences as $0.20 between major and minor ones.
                                                                                   (Evidence Sogap 4-49)
   Multi-party meeting on June 17

215 This meeting was the TOP management meeting, which was attended by the persons in charge of
CDT sales, and the defendants had confirmed the market share differences reflected the actual sales
between January and June during the same year with the assigned market share by each company in
2003. CPT had decided to shut down the production lines in Malaysia regarding on the shut-down of the
each production line during the third quarter of the same year, and Samsung SDI decided to shut down
the production line of Korean Plant. Consequentially, they had predicted that the excessive supply of CDT
products in the second half of the year of 2003 would be reduced. Moreover, relating to the agreement
on the market share by the 12 major customer companies, they agreed upon to follow the principle of
the agreed results among the TOP management and they also made the market share possible by the
supply company to adjust.

Capacity in 2nd half after line shutdown
- Total supply 34.3M > demand 32.5M
Principle: Obey the agreement of TOP management decision (Principle: Obey the agreement of TOP
management decision)
(1) Global M/S CPT:LPD:SDI = 27.8%:34%:38.2%
(2) M/S in individual customer is revisable.
                                                                     (Evidence Sogap 4-49)

216    Moreover, the defendants had submitted the opinions of each company regarding on the
assignment of the market shares by each customer company. We can see that this had made the
suppliers simplified on one customer company (“simplify suppliers in one customer”) to avoid from
competition. After they did coordinate the opinions of each company, five customer companies including
SEC and LGE, etc. with the occurrence of different views, they agreed upon the supply ratio by each
company after they did tuning the opinions. According to the results, in case of SEC, Samsung SDI would
supply 80%, and CPT would do that with 10%, 3% by LPD, in case of LGE, LPD was 96%, and Samsung SDI
decided to supply 2%. The defendants empathized that it was necessary to have the differences of
market shares between the main force company and small scale supplier for price stability; therefore,
they decided to put differences of minimum $0.5 USD. This is confirmed in the meeting data of CPT.




        -114- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 117 of 172




Concept: (1) to simplify suppliers in one customer (to simplify suppliers in one customer)
(2) Major with high portion (above 80%), minor with low portion (below 20%)
(3) less noise & price trouble (less noise & price trouble)                 (Evidence Sogap 3-126)

-In order to have stable price it is necessary to have big difference of share and reasonable price gap
between major and minor suppliers
-At least US$0.5 price gap between Major & minor supplier. (At least US$0.5 price gap between Major &
minor supplier)                                                            (Evidence Sogap 3-126)

  Multi-party meeting on June 29, 2003

211 The defendants had exchanged the related information to the sales status and operation status of
production lines, and they discussed the necessity of consolidating the regulation of the market shares.
In particular, in case of the defendants supplying at a lower price than an agreed price on one customer,
we can see the structure, which can be influenced by the entire CDT market prices. That is, CPT said they
would supply at a lower price to LGE and Phillips on the fact that LPD had supplied at a lower price on
Compal. There is also the fact that SEC had pressured Samsung SDI for price decrease by citing the price
for Compal.

UPD had insisted that the estimation offered to the HP project by Compal was $40.5 USD. If we all
considered the price gap among ITC, Glare/Mpr2, and canceling coil, the above price is not at the level of
massively low level than that of the current market prices. CPT insisted that glare (in terms of price cut)
should be considered only as $2.0 USD. They criticized that canceling coil should not be used as the
cause of price cut and that point was a debated matter at numerous times already. The calculated price
by this method is at the comparable level to that of AOC as $44.0 USD. If this is the market price, CPT
will propose the above price as an estimate to LGE/PHS. SDI also showed their quite discomfort on this,
and it had been criticized for a long time for this in Korea. Perhaps, it seems like SEC had used the
Compal price to receive the equal treatment from SDI. After all, LPD made clear that they would try to
increase the price, and report it hereafter again.
                                                                                   (Evidence Sogap 3-127)

218 Moreover, relating to the sales for SEC, Samsung SDI let the participants of CPT know that Toshiba
did appreciate for the smooth supply on SEC resulted from the price support by CPT.




        -115- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 118 of 172


Moreover, regarding on the 7% upward adjustment of sales market share for SEC by CPT, they agreed to
achieve the 7% market share in the next meeting at the working level.

 TSB will continue to produce through September. For SEC supply, it will be continued during December.
 Hence, we appreciate for having the smooth supply to SEC by the price support of CPT. Relating to the
 market share request of 7% by CPT, in the next meeting at the working level; we will propose the plans
 to determine the assignment by plant and model to let CPT achieve the market share of 7%.
                                                                                 (Evidence Sogap 3-127)

219 Also, the defendants had agreed upon CPT to shut down one line of plant located in Malaysia, and
Samsung SDI to do so with one production line of plant located in Korea till the third quarter of 2003.
Moreover, it is a fact that they agreed upon the market shares by each major customer company at the
second half of 2003.




220 This meeting was a CDT multi-party meeting at the management level, which was held in Samsung
SDI office in Seoul, and attended by Chun Cheng Ye from CPT, and employees in charge of CDT sales-
marketing of Mr.      Lee from Samsung SDI. This can be confirmed by the “CDT market report” of CPT,
and business handbook of Mr.        Lee of Samsung SDI, and the distributed data at that time of the
meeting.

  Multi-party meeting on August 28, 2003

221 In this meeting, resulted from checking out if it was executed in terms of the market shares by each
company agreed upon at the second half of 2003 (Samsung SDI 37.3%, LPD 34.1%, CPT 28.7%), the
participants had agreed upon to add or subtract the market shares reflecting the amount of materials,
which was not meet or exceeded portion, relating to the sales plan in 2004 on the facts that Samsung
SDI had exceeded 0.5%, and LPD and CPT had the shortages of 0.1% and 0.4%, respectively. Moreover,
the defendants had decided to assign the sales of each company to adapt the predicted 2004’s demands
based upon the market survey institutions and the market analysis data of each company, and




        -116- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 119 of 172


they agreed upon the shut-down schedule during the 3rd quarter of 2003. Relating to the same shut-
down schedule of the production lines, we can see that Samsung SDI decided to continually apply
pressure to decide upon the shut-down schedule of LPD production lines.

                                                   2003                   Sales plan for 2004 – sales
      M; %          Sales target      Achievable            gap          target + 2003’ gap failing to
                                       quantity                               achieve the target
  CPT (27.8%)           16.8              X               A=X-16.8                 14.5 + A
  LPD (34.0%)           20.6              Y               B=Y-20.6                 17.7 + B
  SDI (38.2%)           23.1              Z               C=Z-23.1                 19.9 + C
    Others              6.5                                                            2
     Total                                                                            54
                                                                                    (Evidence Sogap 3-129)




It is difficult to deal with the line shut-down schedule of LPD in Hwafei due to the fact that there has
been the exchange of opinions between internal divisions, although the LG group, PH group, and the
venture partner in the actual place in Mainland China were all related. SDI will continually put pressure
on them.                                                                         (Evidence Sogap 3-130)

  Multi-party meeting on September 24, 2003

222     In this meeting, the participants from LPD had informed other participants that they would
determine the sales price of 17 CDT in accordance with the agreed rules in the previous meeting, and
they also agreed upon the price difference by detailed items of 17 CDT products. Furthermore, the
defendants decided to share the information related to the precedent supply at the lower price breaking
away from the agreed items of understanding, and refrain from the lower orders, which cause confusion
of market price.




        -117- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 120 of 172


   PD had explained that the 17 regular tube had been developed, and the amount of cost reduction
was approximately $3.00 USD (DY said that it was approximately $1.00 USD). They can enter into mass
production in October. The proposed price will follow the rules agreed on in the previous meeting, and
this is only $1.00 USD lower than the price of old model.
   The price difference between ITC and N-ITC37: LPD had proposed to decrease from at the outset of
$1.50 USD to $0.50 USD in terms of the price gap between 17 ITC and N-ITC. However, the sudden
decrease of the $1.00 USD gap could be the actual price increase to the customers; therefore, would
there be any difficulty in implementation? SDI did hint that this may be successful if we notify the
customers regarding the US SI increase. It was decided to start the run.
                                                                                (Evidence Sogap 3-131)

Lastly, the Chairman of the meeting pressed everyone not to try to secure at the scene of the OEM
orders, and they said that this kind of behavior would give rise to the confusion of the market prices.
                                                                                (Evidence Sogap 3-131)

     Multi-party meetings around October, 2003

223      In this meeting, Samsung SDI had been concerned that the behavior of CPT supplying at lower
prices to SEC could have effects on the pressure of price cuts in their company, and CPT had promised
not to break away from the agreed on prices regarding this. Furthermore, they had judged that the price
differences, which can occur following the detailed specification of CDP products, could obstruct the
execution of the agreed prices; therefore, we can see the fact that they decided to allot the prices as a
collaboration regarding the detailed price difference by agreeing to make a table of price differences by
detailed specification. It was agreed that the next meeting would be the meeting of TOP management
on November 26 under the supervision of LPD in Korea.

SDI is very concerned with the matter of price and delivery conditions agreed upon between SEC and
Chunghwa on the 17 FS N-ITC. SDI and SEC have been in transactions of ITC tubes only; therefore, if
the ITC price becomes cut to $0.50 USD lower than that of the standard price on SEC by CPT, there is
no doubt that this is another tactic for the price cut for SEC. As a result, because it could have an
effect on the sales price of SDI to SEC, CPT requests strongly not to adjust to $0.50 USD with the price
difference to SEC or make the delivery of goods of N-ITC. Our reply was that we could follow the
resolution of the meeting, and we had already replied verbally that the $1.50 USD difference will be
decreased to $0.50 USD. We also guaranteed that it would not break away from the agreed on price.
                                                                                   (Evidence Sogap 3-133)




37
  ITC means that it is a product of complete adjustment in terms of its purity and convergence to make the quality
of Braun Tube as in optimal condition, and in the case of N-ITC, it means that it has not been adjusted to the ITC
condition.
         -118- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 121 of 172


          Item                                 Current Price Standard      New Price Standard         Note
      TCO -> MPR2        15                   0                         0
     (TCO standard)      17                   -1                        -0.5
                         17 F                 -1                        -0.5
                         19                   -2                        -1
                         19 F                 -2                        -1
  MPR2 -> glazing/non-   15                   -2                        -1/0.5
      reflective         17                   -2 ~3                     -1/0.5
   (MPR2 standard)       17 F                 -2 ~3                     -1/0.5
       ITC -> N-ITC      15                   -1                        -0.5
     (ITC standard)      17 /F                -1.5                      -1                      Besides SEC – 0.5
                         19 /F                -2                        -1.5
       Frequency         15 (48K -> 57K)      +1                        +1
                         19 /F (95K -> 85K)   -2 ~3                     -1.5




III. TOP meeting
  - Time: The meeting will be held in the afternoon of November 26th, and golf will be played in the
morning of November 27th.
- Location: Jeju Island, Korea
- LPD will host the meeting
Main agenda:
A. To determine the worldwide market shares in 2004 regarding the 3 companies and manufacturers
for individual major monitors. (SEC/LG/ADC/PHS/EMC, etc.) percent.
B. The market demand situations and plans for enforcing the production line suspension.
                                                                             (Evidence Sogap 3-133)

  Multi-party meeting on October 28, 2003

224        The defendants had checked out by making a table if the agreed market shares were well
implemented, which were agreed upon by each company at the 2nd half of 2003, and they also agreed
upon the option prices by detailed specifications. Relating to the worldwide market scale in 2004, they
agreed upon 54 million, and they decided to discuss this by taking the submission of the market shares
(proposals) by the customer until the next meeting regarding the 51 million besides the remaining 3
million of customers’ demands, with the exception of the 12 major customers. They also decided to hold
the next TOP multi-party meeting in Jeju Island on November 26 of the same year. This can be confirmed
by the meeting materials of CPT and Samsung SDI, the business handbook and statement of Mr.         Lee
of Samsung SDI, and “The result report of the CDT Glass Meeting.”

Reply 53) In the same meeting, they checked on how well they had been following the market shares in
2003 (SDI: 24.4%, LPD: 21.7%, CPT: 17.8%) agreed upon by each company. Furthermore, in the same
meeting, the participants discussed the option prices, and they then consulted to show the effects of
the increased prices by decreasing the price gap according to coating, DY attachment, and frequency,
etc.
                                                                                 (Evidence Sogap 2-2)




        -119- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 122 of 172


  Multi-party meeting on November 12, 2003

225 The defendants discussed ‘the present sales conditions by each company in 2003 -> pre-estimate
of worldwide CDT demands -> quota simulations of the market shares -> shut-down schedules for
production lines,’ and decided upon the market shares in 2004 as Samsung SDI 37.7%, LPD 34.0%, and
CPT 28.3% after reflecting the actual sales as standards Samsung SDI 38.2%, LPD 34.0%, and CPT 27.8%
relating to specifically the market share quota in 2004. They also agreed upon the line shut-down
schedule for production lines in 2004 in order to dissolve the excessive demands fitting to the predicted
demands of the markets. This can be confirmed by the distributed data at the time of the meeting.




                                                                                    (Evidence Sogap 3-135)

  Multi-party meeting between November 26th and 27th, 2003

226 In this meeting, they discussed the quota of market shares to the major customer companies (SEC,
AOC, BenQ, and Compal, etc.), which could not be agreed upon in the minutes before the meeting on
the date of 11.12.2003, and relating to the price of the 17 flat CDT, the member companies, which were
agreed upon as the major supply line of large size customers including SEC, had agreed upon the prices,
which would be proposed by each company by the customer companies to be enable to propose them
as cheaper prices than the supply price of other member companies. This fact can be confirmed by the
meeting hosting plan and the meeting data.




        -120- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 123 of 172




                                                                                    (Evidence Sogap 3-137)

  Multi-party meeting on December 2, 2003

227     After exchanging the information of the current sales situation at the time of the meeting, while
the defendants were discussing the decrease of production lines, they reported that LPD decided to shut
down 5 lines in Hwafei in Chia until the first half of 2004, and Samsung SDI also announced the facts that
they had shut down 1 production line in Suwon and Busan at the beginning of 2003, and at the
beginning of 2004 they would shut down 1 production line in Busan.

   PD explained that they decided to shut down at the 1st quarter of 2004, during the beginning of the
same year, 5 lines in Hwafei in China (approximately 80K/m of the production capability of each line)
   DI already shut down one production line in Suwon and another Busan at the beginning of this year,
and in the 3rd quarter they converted 1/2 lines in Shenzhen into 21 F CPT production according to the
new TV tube demand. Currently, there are a total of 9 lines, and they have internal plans to decrease the
production capability by converting 1 line in Busan for TV tube production at the beginning of the year.
              (Evidence Sogap 3-138)

228 Furthermore, it has been confirmed that Samsung SDI had agreed on the market shares by each
company by subtracting the exceeding market shares in 2004 regarding the exceeding fixed market
shares in 2003, and they agreed as below in the market share quota by each customer. By the
defendants agreeing upon the prices by option, it seems that they tried to prevent the effects of an
actual price cut. This can be confirmed in the ‘CDT market report” of CPT.

However, this year, the total performance record exceeded 39.1%, which was a quota from SDI.
According to the previous proposal, the quantity of SDI sales for next year should be restricted with
this year’s excess quantity. Therefore, regarding the quantity as indicated clearly in the following table,
it became CPT 15M (28.3%), LPD 18M (33.9%), and SDI 20M (37.8%).
                                                                                  (Evidence Sogap 3-138)




        -121- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 124 of 172



     M/S %           CPT              LPD             SDI                         Others            Total
      SEC             7%               4%             82%                          7%              14,500
      LGE              -              98%             1%                           1%              10, 958
    Hyundai            -              20%             55%                          25%               717
    Hansol             -              40%             10%                          50%               461
[Note: Compiled mainly with regard to the Korean customers]                                  (Evidence Sogap 3-138)

The aim is maintaining the ITC conversion costs of the CDT manufacturers. In principle, LPD/SDI had
agreed upon this aim. However, the supply products of SDI -> SEC and LPD -> LGE are mainly ITC tubes.
That kind of measure would apply correspondingly to the price cuts on each customer within the
group. Even if in the case of CPT, which could not manage its internal production capability, the method
of sales as the form of B + D tubes is possible. Consequently, they emphasized that this would not have
any effect on the prices, and they urged a review of the possibility of execution.
                                                                                   (Evidence Sogap 3-138)

(10) Assembly between competitors in 2004

< Table 26>            Summary of the CDT Cartel Meeting in 2004
 Series    Holding               Agreed Contents                Participating                 Evidence Data
Number       Date                                                Companies
   1      01.27.2004    Maintenance of the current sales        CPT, SDI, LPD    Evidence Sogap 3-138 Page 2155
                         price, agreement on the market                          Evidence Sogap 3-140 Page 2181
                       shares by each company and check-                         Evidence Sogap 4-54~5
                             up on the enforcement

   2      02.23.2004   Agreement on the market shares by        CPT, SDI, LPD    Evidence Sogap 4-56 Page 3047
                       each company and check-up on the                          Evidence Sogap 4-57
                                enforcement
   3      03.02.2004   Agreement on the market shares by        CPT, SDI, LPD    Evidence Sogap 3-141
                       each company and check-up on the                          pages 2180, 2181, 2184
                       enforcement, production reduction                         Evidence Sogap 4-58
                                                                                 Pages 3053, 3054, 3057
   4      03.15.2004       Increase in the sales price (5%      CPT, SDI, LPD    Evidence Sogap 4-61 Page 3074
                       increase after notifying 10% increase)                    Evidence Sogap 2-1 Page 324
   5      03.25.2004      Increase in the sales price (every    CPT, SDI, LPD    Evidence Sogap 3-142
              ~         customer, every kind of machine: $2                      Pages 2186, 2192
          03.27.2004        ~ 3 USD), price differences by                       Evidence Sogap 3-143
                        detailed specifications, schemes for                     Pages 2197, 2200
                                 specific price increase                         Evidence Sogap 4-62 Page 3078
   6      04.26.2004    Agreement on the market shares by        CPT, SDI, LPD   Evidence Sogap 3-144
              ~         each company and check-up on the        (TOP meeting)    Pages 2229, 2234
          04.27.2004       enforcement, price increase by                        Evidence Sogap 3-145 Page 2226
                          machine type (15 , 17 , 19 CDT)                        Evidence Sogap 4-63
   7      05.06.2004      Check-up on price the increase in     CPT, SDI, LPD    Evidence Sogap 4-64 Page 3085
                        April and increase plan in May (15 ,
                             17 : $2, 19 : $3), the price
                          differences between 6 large and
                         other transaction lines ($1.00 USD)
                              st      nd
   8      05.24.2004        1 and 2 price increases by          CPT, SDI, LPD    Evidence Sogap 4-65 Page 3088
                                     machine type                                Evidence Sogap 4-66 ~7
                                                                                 Evidence Sogap 3-146 Page 2254




        -122- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
       Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 125 of 172


   9      06.02.2004     Transactions between affiliates and    CPT, SDI, LPD    Evidence Sogap 3-147 Page 2257
                         regular increase in the sales prices
                                   rd
  10      06.28.2004 ~            3 price increase               CPT, SDI, LPD   Evidence Sogap 3-148 Page 2267
           06.29.2004                                           (TOP meeting)
  11      07.26.2004 ~    Agreement on the market shares         CPT, SDI, LPD   Evidence Sogap 3-149 ~ 50
           07.27.2004    by each company and check-up on        (Management      Evidence Sogap 4-69 Page 3105
                         the enforcement, maintenance of           meeting)      Evidence Sogap 4-68
                             the current sales price, and
                           maintenance of confidentiality
  12      08.17.2004 ~   Maintenance of transaction prices      CPT, SDI, LPD    Evidence Sogap 3-152 Page 2300
           08.18.2004    among the affiliates, maintenance                       Evidence Sogap 3-151
                           of the current sales price, and                       Evidence Sogap 4-70 Page 3115
                                production reduction
  13      09.21.2004      Agreement on the market shares         CPT, SDI, LPD   Evidence Sogap 3-153 Page 2313
                         by each company and check-up on        (Management      Evidence Sogap 3-154 ~ 6
                            the enforcement, production            meeting)
                                      reduction
  14      10.26.2004      Agreement on the market shares         CPT, SDI, LPD   Evidence Sogap 3-157
                         by each company and check-up on        (Management      Evidence Sogap 4-71 Page 3120
                            the enforcement, supply cut,           meeting)
                          maintenance of the current sales
                                        price
  15        11.2004      Sales prices by each company with      CPT, SDI, LPD    Evidence Sogap 3-158 Page 2356
                          the Korean customers as subject
  16      11.15.2004          Schemes for maintaining           CPT, SDI, LPD    Evidence Sogap 3-159
                           confidentiality, promoting the                        Evidence Sogap 3-160
                          enforcement of previous agreed                         Pages 2375, 2378, 2381
                          upon matters, agreement on the
                          market shares by each company
                         and check-up on the enforcement,
                              and production reduction
  17      11.24.2004     Prevention schemes for price cuts      CPT, SDI, LPD    Evidence Sogap 3-161
                                                                                 Evidence Sogap 3-162
                                                                                 Pages 2406, 2410
  18      12.01.2004      Agreement on the sales prices by      CPT, SDI, LPD    Evidence Sogap 3-163
                           each company and the quota of                         Pages 2435, 2430
                                  the market shares
  19      12.29.2004      Agreement on the sales prices by      CPT, SDI, LPD    Evidence Sogap 3-164
                            each company and shut-down                           Pages 2452, 2455
                             scheme for production lines                         Evidence Sogap 4-72



  Multi-party meeting on January 27, 2004

229     In this meeting, we can see that the defendants exchanged information on the current sales and
the present operational conditions, and they had agreed to maintain the prices. This resulted from the
confirmation of whether or not the market shares by each company in 2004 had been abided to by
comparing with the actual sales, it had appeared that Samsung SDI and LPD had exceeded by 0.5% and
1.2%, respectively and that CPT could not achieve 1.7%. Furthermore, it has been confirmed that they
had been operating the numbers of the worldwide production lines of each company at the time of the
meeting, as Samsung SDI 9, LPD 11.5, and CPT 8 lines, and agreed to cut the lines by 7.5, 8.5, and 7 lines
each relating to the agreement on the production cuts. They decided to hold the next meeting by the
supervision of LPD in Taiwan on May 2 of the same year. This can be confirmed with the ‘report for
overseas business trips’ of CPT, the business handbook of Mr.           Lee of Samsung SDI, and the
presentation data at the time of the meeting.



        -123- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 126 of 172


   LPD mentioned that they have still been making a business loss, and hope to maintain the original
conditions with all the prices. SDI also insisted on the importance of the price maintenance
  Relations between the partners was very good. Considering the price rise of the raw materials, the
tube prices should be maintained for the time being.              (Evidence Sogap 3-139)




  Multi-party meeting on December 23, 2004

230 In this meeting, with resulted from checking out the enforcement matters of the market shares by
each company, which were agreed upon in the previous meeting, the defendants have no differences of
opinion approaching closely to the agreed upon numerical values of the sales. They had agreed upon the
adjustment after reconfirmation of the numerical values of the sales of the transactions lines, which
were problematic until February 26th of the same year, and they held the next meeting in the LPD office
between March 2 and March 3 of the same year. This can be confirmed by the data from “the DDM’s
working level meeting result report of Samsung SDI, and ‘3 company meeting at 14:00 on 02.23.2004
(LG)’ recorded in the schedule of Mr.    Song of Samsung SDI.

3. Meeting Contents
 - Overall, there was no loud noise as M/S had come close to the agreed value and the 3
companies are in fact showing favorable sales performance, and also there was no loud noise as
M/S had come close to the agreed value.
1) January results and forecast for February
                     CPT      LPD        SDI     TOTAL
  January result 1,284       1,644      1,793    4,721
       M/S          27.2% 34.8%         38.0%
 February result 1,370       1,694      1,900    4,964
       M/S          27.6% 34.1%         38.3%
=> Decided to adjust after re-checking on the figures of the problematic accounts by 2/26 (AOC,
EMC, SEC, COMPAL)
                                                                           (Evidence Sogap 4-56)

   Multi-party meeting on March 2 ~ 3 in 2004

231     The defendants checked out mutually how great the differences of sales results were between
January and February of the same year, against the market shares of each company (Samsung SDI 37.7%,
LPD 34.0%, CPT 28.3%), which were agreed upon in 2004.




        -124- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 127 of 172


As a consequence, it was confirmed that Samsung SDI and LPD exceeded 0.3%, and 0.4%, respectively,
and CPT were unable to achieve 0.7%. In addition, relating to the agreement “04’s Line Control Plan” for
production lines, they agreed upon cutting the fixed numbers of lines additionally in order to maintain
the optimal production lines by each company during the 1st quarter of 2004. After agreeing upon those
market shares and the production cuts, the defendants had agreed upon the CDT prices from the 2nd
quarter of 2004 in order to prevent the profit decreases. This can be confirmed by the presentation data
from CPT and Samsung SDI, ‘CDT Top Meeting (3/2)’ prepared by Mr.           Lee of Samsung SDI, and the
business handbook of Mr.      Lee of Samsung SDI.




                                                                                    (Evidence Sogap 3-141)


 Company                     Additional Line Shutdown Plan (Additional Line Shutdown Plan)




                                                                                    (Evidence Sogap 3-141)




  Multi-party meeting on March 15, 2004

232     We can see that the defendants had exchanged the sales information at the time of the meeting
and agreed to increase the prices from the shipment of April 1st of the same year and notify the
customers of the 10% increase in collaboration, pushing through to a 5% increase. This can be confirmed
by the business handbook of Mr.      Song of Samsung SDI.




        -125- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 128 of 172


- CPT’s opinion Even if we lower the prices, we cannot prevent the CDT market decreases.
    If we lose this opportunity, then it would be more difficult.
 - LPD’s opinion Price increase
    How are we going to cooperate for price decrease after increasing it? -> It is necessary to prepare
for the method of avoiding this
    Timing wise: The only option is doing it as soon as possible (ASAP)
4. The method for price increase
- Say we will increase by 10%, but increase by 5% (LPD)
- Everyone announces to our customer at the same time.
- April 1st Shipment increase price
                                                                                  (Evidence Sogap 4-61)

Reply 43) We discussed the method of the price increase, where it says "say we will increase by 10%,
but increase by 5%," it meant that will notify the customers of 10% price increase, but will actually
increase only by 5%. ‘Everyone announces to our customer at the same time’ is the record of the
agreed contents to set equally between the participating companies in terms of the notifying time for
the price increase, which the customer companies try to avoid. As far as I remember, there was a
forecast that in the wider markets at that period of 2004, the prices would go up. Therefore, the feeling
was that increasing the prices altogether among the participating companies would not be that
difficult. Relating to the time point of the price increase, “April 1st shipment increase price’ was the
record of the discussions for increase to be applied from the shipment of April 1st.
                                                                                     (Evidence Sogap 2-1)
     Multi-party meeting on March 25th ~ 27th, 2004

233     We can see that the defendants had discussed increasing the price of CDT to $2~3 USD with
every type and size, and they had decided to proceed with the preparation work in collaboration in order
to succeed with the price increase. The defendants had agreed upon the specific prices of 15 , 17 , and
19 of CDTs by 6 big customers and other customers, and it has been confirmed that they asked the
enterprises, which were not the major suppliers regarding the 6 big customers, to offer the price of
$0.50 USD higher than that of the major suppliers, and agreed upon the new optional prices.
Considering the price increase of the major materials and flexibility of the glass supply, we have a plan
to increase the prices of every type and size to $2-3 USD for all the customers. Each applicable
account manager will submit the proposals for the price set-up for each customer. Furthermore, with
the responses from the customers, we should closely scrutinize the movements of the competing
brands, and should determine if we are going to take the venture opportunity of the 2nd price increase.
On the market situations, we recommend submitting the suitable news data.
                                                                                   (Evidence Sogap 3-142)

On April 1, the prices of the current new standards will be adjusted.
Size    Tube Type The customers of the world’s 6 large CDT monitor           Other customers




Those 6 large major customers are AOC, Philips, ECM, LightOn, SEC and LGE.
                                                                         (Evidence Sogap 3-143, 4-62)



        -126- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 129 of 172


To the large customers, the 2nd-rank suppliers should propose higher prices of $0.50 USD. This is aimed
at stabilizing the market shares, and this is to utilize the opportunities to emphasize the price
differences between the large and small scale customers. Because the series of price increases can occur
without any warning, the price will rise by only $2-3 USD at the 1st step. We also have to inform the
customers on the Z steps of potential price increase. Thereupon, we must give DEM customers a certain
amount of delivery time. In addition, the simultaneous option prices will be enforced. The specific items
will be as follows:
Item           Size    Current Price      Adjusted Price




   [prepared as a note: “B+D”]
   N-ITC ITC




234       Furthermore, according to the presentation data at that time of the meeting, they had also
agreed upon the enforcement plan for the price increase by the specific time points. Specifically, on
March 29, 2004, they had notified the customers about the official price increase, and they decided to
distribute news materials of the price increase between March 30th and 31st of the same year. In
addition, they decided to explain the background for the price increases and the reasons by having
contact with the customers between April 1st and 10th, and after that time, to check out the enforcement
situations in the meeting in Taiwan. The next TOP meeting was decided to be held on April 26, 2004 in
Shanghai in China under the supervision of Samsung SDI. This can be confirmed in the “report for
business trips’ of CPT, the business handbook of Mr.     Lee of Samsung SDI, and the presentation data,
which was distributed during the meeting.

 ///. CDT Price Increase
   Date              Acts                                                                       Note
  March 26 Meeting of the management - discussion
              - Price differences?
                The price gap by size and type including the new option prices
              - When?
                The starting point for applying the new prices
              - Who will notify to whom?
                The major and minor market sharers

 March 29        Sending out the official letters to the customers

 March 30 ~ 31 News materials
            - CPT of Taiwan, LPD of Korea, SDI

 April 1 – 10      Meeting with the customers
                - The explanations on the backgrounds and the reasons for the price increase

 April -        Talk at the working level in Taipei - confirm
                 - Feedback from the customers                                                 Twice/Monday
                                                                5/10


        -127- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 130 of 172




                                                                                  (Evidence Sogap 3-142)

         Multi-party meeting on April 26th ~ 27th, 2004

235      The defendants had checked out, based on the actual sale information, if the market shares of
quota by each company in 2004 were abided by after sharing the information on the sales data and the
current increase and decrease situations of each company at that time of the meeting. They agreed
upon the guidelines for the price increases in April in 2004 with 15 , 17 , 19 CDTs allowing the supply at
lower prices of the 1 US dollar difference to the main force supplier to the main customers (“1st Tier”)
including SEC and LGE. Furthermore, it has been confirmed that they decided in collaboration by making
a table of the applicable prices to the new optional prices. This can be confirmed by the presentation
data, which was distributed at the time of the meeting, ‘4/26 (Monday) CDT TOP MTG in Shanghai’
among the business handbooks of Mr.           Lee of Samsung SDI, and the emails exchanged among the
participants before the meeting.




                                                                                       (Evidence Sogap 3-144)

                                                                                        Suggested increase




                                                                                       (Evidence Sogap 3-144)
38




38
  This means that the products with the horizontal frequencies are a maximum of 85khz and 95khz, respectively
among the individual monitors of the 19” 85khz and 19” 95khz, and the horizontal frequencies are the numerical
values showing how many times per 1 second it can display the horizontal lines. The higher the horizontal
frequency support is, the higher the technology that has been applied to the product.
         -128- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 131 of 172


  Multi-party meeting on May 6, 2004

236     The defendants at the time of the check-up of whether there was any price increase in April
during the same year, LPD had confirmed whether or not Samsung SDI had enforced the price increase,
and after discussing the price increase in May after that time, the defendants had increased by 2 dollars
with 17 CDT and 3 dollars with 19 CDT, and they had determined the quantity of the goods by
company and agreed to maintain the 1 dollar price difference with 6 big transaction lines including SEC
and LG, and other transaction lines. This can be confirmed by the report for the meeting results
prepared by Mr. Hoon Choi of Samsung SDI.

3. Relating to the price increase in April and May
 (1) The price increase review in April
   - LPD: Challenged SDI by mentioning one after another specifically saying that SDI did not maintain
the price
increase in Delta, Compal, ADC, and SEC
   - SDI: Explained that prices were actually all increased by explaining on the price difference between
DFT/DF and the unchanged L/C prices which were already opened for some accounts
  (2) The price increase in May
   - LPD: At the time of the price increase in April, there was a part that SDL did not abide by. In the
case of May, we will increase when we confirm whether or not SDI and CPT has increased.
   - CPT: The price increase of the 19 Flat is difficult. It can kill the 19 Flat market. In the case of the 19
FST, let’s increase it by +$2 USD, and keep the Flat.                                 (Evidence Sogap 4-64)

    Proceeding scheme for the price increase in May
     The price increase in May (15 /17 +$2 USD, 19 +$3.0)
     The quantity of the price increase
  - CPT: 6 big transaction lines + BenQ, the amount of materials in May 50%
  - LPD: 6 big transaction lines + Delta, the amount of materials in May 50%
     The price difference of 6 big transaction lines (9SEC, ADC, PHS, LGE, Proview, L/on) and other
transaction lines: $1.00 USD
                                                                              (Evidence Sogap 4-64)

  Multi-party meeting on May 24, 2004

237      In this meeting, they had debated that CPT would stop the shipment before the price increase for
SEC of Samsung SDI, or the price increases of Phillips and LGE should be returned for protection of the
affiliates. Hereof, Samsung SDI had promised to increase the price at the earliest stage possible, and at
the time of the next price increase, they had agreed that they would increase the price for SEC going first
and do that for the other customers. Furthermore, we know that they had checked out whether they
had enforced this after the defendants had confirmed by making a table to see if the assigned market
shares had been abided by at the time of the meeting by each company in 2004 and they had confirmed
the prices of 15 , 17 , and 19 CDTs, which were agreed upon to increase in April and May in 2004,
respectively.




        -129- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 132 of 172


This can be confirmed by the report for meeting results, which were reported to the Headquarters
through SDI Mr. Hoon Choi’s emails, the business handbook of Mr.       Song of Samsung SDI, and the
‘CDT Management Meeting (5/24)’, which was prepared in order to help them to decide their stance
before the meeting at the Sales Headquarters, and the presentation data distributed at the time of the
meeting.

3. Relating to the SEC 2nd price increase
   - CPT: The new P/O(6/11) price on 60K of non-shipped quantity among the total quantity of 90K in
June
 did not reflect the 2nd increased prices -> The suspension of the shipment from 6/14
    While they were requesting to SDI for the settlement at the early stage for the 2nd price increase,
simultaneously, they had requested to LPD to suspend all the shipments with CPT
   - LPD: According to the market survey of LGE, there was no increase of the set street price of SEC. In
accordance with this, they are pressuring LPD. If the price of SEC does not increase, in order to protect
the Captive customers, plans to pay back the increased price of PHS and LGE at the second price
increase on 6/1
   - SDI: 6/15 coerced closing (15 /17 + $2.0 USD). They had explained that they are in the process of
continually negotiating with SEC, and would settle at the earliest possible stage
4. Relating to the 3rd price increase
   - They said that as long as the price increase of SEC has not been accomplished, the 3rd price increase
would be difficult, and they made it clear that from the 3rd price increase, after SEC’s price increase
first, they would push forward with the price increase with other transaction lines
                                        (Evidence Sogap 4-65)




  Multi-party meeting on June 2, 2004

238 In this meeting, the participants of the CPT side criticized that both Samsung SDI and LPD delayed
the supplying price increase to the affiliates, saying that this is not keeping up with the agreement, and
the defendants had agreed to increase by 1 dollar to the 6 top-tier companies, and 2 dollars each to
other customers regarding on the product prices of 15 and 17 CDTs from July 1 of the same year. This
can be confirmed by the ‘CDT market report” prepared by Ibon Yun of CPT.




        -130- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 133 of 172


3. We have had criticism pointing out in the meetings at numerous times that such delaying behaviors
are unfair to our major customers of both SDI and LPD regarding delaying the price increase to the
internal customers of the groups.
4. When we analyze the supply and demand situations, it seems that the market will maintain fertile
continually, and this is also another opportunity for the price increases. The 3 companies had taken the
shared stances with July 1 as the enforcement date. It is scheduled that the price increases for 15 and
17 regarding the 6 top-tier companies as $1.00 USD, and $2.00 USD on the other customers. By doing
this, the differences between the 1st and 2nd class customers will become bigger. (Evidence Sogap 3-147)

  Multi-party meeting between June 28 ~ 29, 2004

239 We can see that the defendants had confirmed by making a table of the gap among the market
shares in 2004 by coordinating the actual sales information, which was achieved in the first half of 2004.
Furthermore, they had checked out if the agreements on the 1st price increase in April and the 2nd price
increase in May of the same year had been enforced on the CDT products of 15 , 17 , and 19 , and they
agreed to increase the prices of 15 and 17 CDT products by 1 dollar from July 15 of the same year after
executing the 2nd price increase regarding SEC by Samsung SDI. This can be confirmed by the
presentation data at the time of the meeting.
3. 3rd Price-up (3rd Price-up)
- Conclusion: Only increase 15”, 17”F
(Effects from July 15 th after succeeding from SDI to SEC 2nd time price-up)
- Price Difference: 15” + USI, 17” + USI
                                                                                (Evidence Sogap 3-148)

240 The defendants had agreed to hold the next CDT Management meeting on July 26~27 in Shanghai
in China under the supervision of Samsung SDI, and the TOP meeting on August 19~20 in Gonmyung in
China under the supervision of CPT.

  Multi-party meeting between July 26~27, 2004

241    In this meeting, the employees in charge of CDT business-marketing for Samsung SDI, LPD, and
CPT held the CDT multi-party meeting at the management level as they had agreed in the previous
meeting. Furthermore, according to the ‘Report for the CDT Meeting Results” of Samsung SDI, the
defendants had agreed to maintain the CDT sales prices at the level at that time and the sales in August
of 2004 at the level of June preparing for the LCD price falls, and they also discussed taking care not to
get caught in the investigation regarding on the Anti-Trust Law.




        -131- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 134 of 172



This can be proved by the agreed fact in terms of the items mentioned in the “CDT market report” of CPT.
This can be confirmed by the business handbook of Mr.         Lee of Samsung SDI, ‘CDT Meeting Result
Report’ reported to the Headquarters of Samsung SDI, ‘CDT market report’ of CPT, and the presentation
data at that time of the meeting.

2) Agreed items
    LCD price is falling sharply, but even if price gets reduced, the effect on the CDT demand will be small
-> watch the LCD price situation, but maintain the current price level for a while
    Maintain sales in August to the level of June
    We should make an effort not to conflict with the Anti-Trust Law (rumors of an LCD investigation)
with Glass MTG
                                                                                       (Evidence Sogap 4-69)

  Multi-party meeting between August 17~18, 2004

242 It has been confirmed that the defendants had agreed to stabilize the CDT prices in collaboration
due to the fact that CPT would become pressured for price cuts from the customers and they could
influence the same effect on other defendants. This can be confirmed by the email that notifies the
location change by        Kim of LPD before the meeting, and the “returning report from overseas
traveling” prepared by Cheng Chun of CPT, etc.

   We could have made the market prices reasonably and uniformly by the price adjustment at the 2nd
quarter. However, SDI/LPD did not state the market prices to the internal customers for the groups
(that is, SEC/LGE). When they compared the market prices, the current prices are $2.00~$3.00 USD
lower per product.
   The CPT price is relatively higher than the price of SDI/LPD. When the market falls, the pressure from
the customers will be the greatest. To make a profit, CPT will endeavor to find a suitable method of
market price stability. The first thing we have to do is request SDL/LPD to regulate their yield.
Otherwise, after supply exceeds demand, it would be difficult to maintain the prices.
   Due to the fact that SEC has been seeing the loss, if rumors circulate of the CDT price cut, then
obviously, SDI will receive the request for big price cuts in that year and it will have more effect on
SDI. Consequently, SDI agrees to make the price stability their priority.      (Evidence Sogap 3-152)

243     Furthermore, the defendants had decided to maintain the current prices in August in 2004 while
they were debating the price adjustment scheme in the second half of the year in 2004 and 2005, and
after September to adjust the price guidelines. In addition, it has been confirmed that they would take
the method of the main force supplier leading and other defendants following for the price control
during off-peak, and checking on the prices weekly; however, they decided to introduce a penalty system
for the time of defaults. The defendants had also recognized that it would be necessary to reduce
production, and as a short term measure they decided to reduce the manufacturing days, and for the
long term to shut down the production lines. This can be confirmed in the presentation data of Samsung
SDI.
        Aug. ’04: Maintain the current price (maintain the current price)
        From Sep. ’04: Adjustment of Price Guideline (From Sep. ’04: Adjustment of Price Guideline)
        How to control in slow season




        -132- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 135 of 172


   Multi-party meeting on September 21, 2004

244      The dependents examined the differences in the market share of 2004 for each company
individually by the third quarter of 2004, which was previously agreed upon, based on the sales reports
made by them. Regarding the reduction of output, they agreed to reduce additionally one production
line of each company, respectively in the fourth quarter of 2004 and the first quarter of 2005 on the
basis of the production lines of each company agreed upon in June 2004. This resulted from their
intentions to reduce the production lines artificially in order to minimize the excessive supplies of Color
Display Tubes (CDTs), assuming that the demands of CDT worldwide in 2005 would be approximately 50
million. This can be verified through documents such as, ‘Market Report on CDTs’ made by Chunghwa
Picture Tubes, Ltd., the hotel receipts for Chunghwa Picture Tubes and the documents on travel expenses
to Korea.




                                                                           (Evidence Sogap number 3-153)

   Multi-party meeting on October 26, 2004

245      It is found that the defendants examined documents to see if the sales volume of each company
matched up with the market share assigned for each company in October 2004, and they discussed the
agreement on reduction of the market share and additional production line in the market of CDT for the
future. In addition, they agreed to reduce the supplies from November 2004 and to maintain the sale
prices until the end of the year. This can be verified through the presentations at meetings at that time
and the ‘Report on CDT MTG’ by Samsung SDI.

2. Prospects and countermeasures for November
- In November, they agreed to reduce the supplies for each company (100K/month individually in
comparison with the previous month)
   3 Company Total 5.5M in October, 5.2M in November, 4.8M in December and to 4.5M in January.
3. Agenda on sale prices
- They agreed to maintain the sale prices until the end of the year. (Evidence Sogap number 4-71)




        -133- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 136 of 172



    CDT multi-party meeting held around November 2004

246     The defendants compared the sale prices of 17” CDTs for the main customers of each company
at the meeting at that time, to ensure that there were the correct differences among the prices applied
by each company to their main customers. In other words, when the sale prices that were applied were
too low even to the main customers approved by the other companies, this could lead to pressure for
price cutting. This can be understood by examining the report on the meetings by CPT.




                                                                            (Evidence Sogap number 3-158)

    Multi-party meeting on November 15, 2004

247      In this meeting, it is found that the defendants realized certain violations from the top at the first
page of the document written by hand by examining it, and then that they even tried to hide the
evidence. They exchanged information on the CDT market, or more specifically, the sales volume and
price information for each customer, which is the main concern. Particularly, Samsung SDI had certain
disputes with Proview, its primary customer, over LPD’s sale expansion. However, you can see that there
was an (implied) agreement that the defendants admitted their own primary suppliers among them for
certain specific customers and that they had a principle of cartel (so called ‘Matching Behavior’),
meaning that if one of them expands its sales to its primary customer without prior consent among
them, the others will retaliate it in the same way. They also agreed to check the market shares assigned
to them in the CDT market and to execute the specific shutdown plan of production lines in January 2005.
You verify this through the emails sent to the other participants of the meeting by Gyung Seop Han from
LPD to confirm the meeting date and place and from the ‘Business Report’ by CPT.

Taking into account that it is against the free market system to hold a meeting with the partners in the
industry, it is not appropriate to leave any documents as evidence.
                                                                         (Evidence Sogap number 3-160)

LPD gradually expanded its sales to Proview without giving any notice to SDI. This means that it
violated the implied agreement on sales assignment. SDI expressed its regret and strongly requested
LPD to explain its follow-up and future plan for Proview. However, LPD argued that it merely maintained
a relationship with Proview as the market demands were decreasing in 2005. They said that they had no
choice regarding the company policy. SDI was still uncomfortable with LPD and it continued requesting
LPD to suggest reasonable explanations and follow-up to it. If it failed to do this, SDI said that it would
make LPD’s customers its own customers.
                                                                          (Evidence Sogap number 3-160)




        -134- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 137 of 172


   Multi-party meeting on December 1, 2004

248      The defendants assigned the specific market shares for each customer and check jointly to see if
all of them followed this smoothly. Particularly, they found that the sale prices applied to six customers
including SEC and LG Electronics were different from the previously agreed prices for each company.
Therefore, they agreed to increase the sale prices based on the prices of Samsung SDI’s products
supplied to SEC. In addition, Sheng Boyang from CPT put in the report of evidences the strategies on how
to get LPD to comply with the agreement by retaliating to LPD in the same way, which violated the
agreed prices. This can be verified from the emails and the meeting report sent to the participants and
from the ‘CDT Market Report’ made by Sheng Boyang from CPT.

As the results of the increase of the agreed prices in the past three executions, the standard prices from
Taiwanese manufacturers were higher than those from Korean manufacturers. At the meeting, CPT
suggested to the three manufacturers that the standard prices for the top six customers should be
settled at the same level in order to secure the competitiveness of Taiwanese manufactures. The
recommended approach is to adjust the prices to Taiwanese manufacturers step by step until they
come to the unified standard prices by making SDI’s prices to SEC the lowest prices and, hereunder,
lowering the prices to prevent a temporary drop in prices, which can lead to market collapse. SDI/LPD
are not concerned about suggesting the same prices to the top six customers, and they have higher
prices in mind. The specific prices will be settled in the management meeting.
                                                                          (Evidence Sogap number 3-162)

Regarding LPD’s repetitive hindrances to the implied agreement by the three manufacturers on CDT M/S,
CPT will respond to them by taking advantage of a small amount of low price strategies in dealing with
LGE, and it will also make efforts to keep LPD from damaging the market prices at the same time as it
uses this opportunity to discover the actual prices of LPD from the internal group.
                                                                          (Evidence Sogap number 3-162)

   Multi-party meeting on December 1, 2004

249     The defendants found that during the processes for three increases in prices agreed upon in
2004, there was a gap in the prices applied among them, and they also found that in order to adjust the
standard prices to the top six customers, the standard price of 17” CDT made by CPT was agreed to be
set at $50. In addition, they agreed to the market share assigned for each customer, which was to be
applied in 2005, based on the actual deliveries to the top six customers in 2004. Accordingly, agreed to
85% with Samsung SDI, 12% with CPT and 4% with LPD for SEC, and agreed to 96% with LPD and 2% with
Samsung SDI and Chunghwa, respectively, for LGE. This can be verified through the ‘Report after
Business Travel Overseas’ by CPT.




        -135- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 138 of 172



With three increases in the prices irregularly, the standard prices from Taiwanese manufacturers became
higher than those from Korean manufacturers. To guarantee the competitiveness and fairness in the
market for Taiwanese manufacturers, CPT suggested that they should make the standard prices at the
same level for the top six customers. At the present level, Samsung SDI has raised its standard price
for SEC to $49 only once, and this is $2 lower than the $51 paid by Taiwanese manufacturers such as
ADC/Lite-On. However, LPD/SDI think that December is not a good time for decreasing the price, and
they want to maintain these prices by the end of the year. CPT agreed to decrease the price by $0.50 per
month of the standard price up to $50 starting from January next year.

 Official
 standard
 price


                                                                           (Evidence Sogap number 3-163)



                                                                                     Highlights
                                                                                     in yellow
                                                                                     show the
                                                                                     items that
                                                                                     the three
                                                                                     manufactur
                                                                                     ers    have
                                                                                     disputes
                                                                                     over.




   Multi-party meeting on December 29 2004

250     The defendants compared the tables with the present applied prices for the top six customers,
and after discussing the possibility of changes of the applied prices, they agreed to maintain the prices
that they agreed on in December 2004 even in January 2005. They also agreed with the plans for jointly
monitoring the implementation of agreement on decreasing the production lines. Specifically, Jay Jeong
and J. H. Choi were appointed as auditors by Samsung SDI, J. H. Oh and          Kim by LPD, Bruce Lu and
Eddie Mei by CPT, and they agreed to conduct audits by visiting each factory in several regions once a
month. This can be verified from both CDT’s market reports by CPT and the data on the sales volume and
the plan for monitoring the shut-down of the production lines by each company, which were saved in
the USB device of      Lee of Samsung SDI and exchanged at the meeting.




        -136- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 139 of 172




The above data is the 17” F standard prices of the top six customers. LPD suggested that the main
suppliers could propose the adjustments of the standard prices for the customer concerned. In this case,
LPD meant that the other two CDT manufacturers could adjust their prices in accordance with the new
standard prices and that could make it possible to maintain the differences in the prices. CPT and SDI
also agreed with this in principle, but this kind of agreement should be made on the assumption of the
actual standard prices.
The three manufacturers agreed to maintain the prices of December even in January effectively, and
they wanted to hold a supreme meeting as soon as possible to clarify the present confusing market
trends.
                                                                         (Evidence Sogap number 3-164)

1. Plan for closing the production lines
CPT representatives: Bruce Lu (Fuzhou), Eddie Mai (Fuzhou), LPD representative: J. H. Oh (Shenzhen), J.
S. Kim (Seoul), SDI representatives: Jay Jeong (Tianjin), J. H. Choi (Seoul)
For the plan for closing the production lines, each company assigned two auditors (1 main auditor and
1 assistant) to hold responsible for it, starting from January 1.
They would visit each of their factories irregularly to examine the situation of closed production lines.
The preparation for audit is shown in the table as follows: Main auditor, Assistant.
                                 Factories              CPT         LPD     SDI
               CPT               Fuzhou
               LPD               Gumi
                                 Changsha
                                 Nanjing
               SDI               Korea
                                 Tianjin
                                 Shenzhen
                                 Malaysia
                                 Brazil
                                                                           (Evidence Sogap number 3-164)
(11) Meetings among the competitors for 2005

<Table 27>               Overview of CDT Cartel Meeting for 2005
No.    Dates         Descriptions of Agreements         Participa   Evidences
                                                        nts
1      1.19.2005     Guidelines for Sales Prices for    CPT, SDI,   Evidence Sogap number 2-1, Page 326
                     Models, Shut-down and Audit        LPD         Evidence Sogap number 3-165, Page 2467
                     Plans of Production Lines                      Evidence Sogap number 4-73, Page 3129
2      2.24.2005     Price reduction level (15”: $1,    CPT, SDI,   Evidence Sogap number 3-166
                     17/19”: $2).                       LPD         Evidence Sogap number 3-167, Page 2541
                     Examination of assignment and                  Evidence Sogap number 3-168, Page 2522
                     implementation of the market                   and 2523
                     share by each company. Reduction               Evidence Sogap number 4-74, Page 3135
                     of production lines




        -137- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 140 of 172


3       3.29.2005   Plans for maintaining the current     CPT,   SDI,   Evidence Sogap number 3-169 - 70
        -3.30       sale    prices,    reducing     the   LPD           Evidence Sogap number 3-171, Page 2456-
                    production lines and making                         7
                    audits. Sales prices for each small                 Evidence Sogap number 4-75, Page 3145
                    customer                                            Evidence Sogap number 4-76, Page 3448-9
4       4.13.2005   Sales prices by customers and         CPT, SDI,     Evidence Sogap number 3-172, Page 2548
                    suppliers                             LPD
5       4.26.2005   Examination of the assignment         CPT, SDI,     Evidence Sogap number 3-173 - 4
                    and implementation of the market      LPD           Evidence Sogap number 3-176 - 7, Page -
                    share by each company                 (Manager-     2587
                                                          level         Evidence Sogap number 4-77, Page 3157
                                                          meeting)
6       5.24.2005   Plans for maintaining the current     CPT, SDI,     Evidence Sogap number 2-1, Page 329
                    sale prices and reducing the          LPD           Evidence Sogap number 3-176 - 7
                    production volume                     (Manager-     Evidence Sogap number 4-78 and 4 - 80
                                                          level         Evidence Sogap number 4-79, Page 3161
                                                          meeting)
7       6.28.2005   Plans for maintaining the current     CPT, SDI,     Evidence Sogap number 3-178 - 180
                    sale prices and reducing the          LPD           Evidence Sogap number 4-81, Page 3172
                    production volume                     (Manager-     Evidence Sogap number 4-82
                                                          level
                                                          meeting)
8       7.20.2005   Plans for information exchange        CPT, SDI,     Evidence Sogap number 4-83
                    and     top-level   management        LPD           Evidence Sogap number 4-84, Page 3185
                    meeting                                             Evidence Sogap number 4-85
9       9.28.2005   Examination of the assignment         CPT, SDI,     Evidence Sogap number 3-181, Page 2625
                    and implementation of the market      LPD           Evidence Sogap number 3-182
                    share by each company. Methods        (Top-level    Evidence Sogap number 4-86 and 4 - 88
                    on how to raise sales prices,         managem       Evidence Sogap number 4-87, Page 3197
                    reduction of the production           ent           and 3199
                    volume                                meeting)
10      11.2.2005   Agreement on rise in the sales        CPT, SDI,     Evidence Sogap number 3-183, Page 2641
                    price ($1) and plan for its           LPD
                    implementation
11      11.21.200   Examination of the agreement          CPT, SDI,     Evidence Sogap number 2-1, Answer 59)
        5           implementation of the previous        LPD           Evidence Sogap number 3-184, Page 2701
                    increases in prices                   (Manager-     Evidence Sogap number 4-89 - 90
                                                          level
                                                          meeting)
12      12.20-      Examination of the agreement          CPT, SDI,     Evidence Sogap number 1-1, Page 295
        12.21.200   implementation of the assignment      LPD           Evidence Sogap number 2-1, Page 332
        5           on market share, and restraints of    (Manager-     Evidence Sogap number 3-185 and 187
                    decreases in prices                   level         Evidence Sogap number 3-186, Page 2709
                                                          meeting)      Evidence Sogap number 4-91 - 92
     Multi-party meeting on January 19 2005

251      At this meeting held on December 15, 2004,             Kim from LPD proposed to the other
participants at the meeting to hold a Manager-level CDT meeting in Taiwan around January 12–18, 2005.
In addition,      Jeong from LPD sent the participants an email on January 13, 2005 proposing that they
would play golf from 7:30 AM to 12:00 PM on January 19 and then a manager-level meeting at Howard
Plaza Hotel in Taiwan from 2:30 PM to 7:00 PM. According to the emails sent to the participants by
Jeong from LPD, they limited the number of the participants for the golf match to two people per
company and to three people per company for the manager-level meeting in order to keep this Cartel
meeting secret.
        -138- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 141 of 172


As for the participants in the management meeting, I would like to explain what we previously agreed;
we had better have limited attendance considering securing the confidentiality and the value of the
management meeting. (The number of participants is limited by taking into account the values of the
manager-level meeting and confidentiality).
Therefore, the following is each companies’ mutual understanding so far
- Green meeting: 2 people per company
- Meeting attendants: 3 people per company
                                                                        (Evidence Sogap number 3-165)

252     In addition, the defendants agreed to sell the products until February, 2005 in compliance with a
new price guideline as specified below, and they also agreed to follow the plan for auditing the shut-
down of production lines and checking whether the lines are closed or not. This can be verified by the
‘Report on G/S MTG’ by Samsung SDI and the statement made by           Song.


    Classification          Existing         New Guideline (B)          (A) – (B)        IQ Management
                          Guideline(A)                                                      Sale Prices
   15” MPR2, SKD              $39                   $38                    $1                 $34.8
   17” MPR2, SKD              $46                   $44                    $2                 $41.9
   17 Flat TCD, SKD           $51                   $49                    $2                 $44.3
   19 Flat TCD SKD            $72                   $70                    $2                 $63.7

5. Capa control
- Strengthening a line audit to make a follow-up of the Capa Control plan
    Two people per company agreed to conduct audits by free pass without prior notice
                Number of Lines          Shut-Down Plan
                End of 2004 End of - Beginning of 2005              - June, 2005
                2005

 CPT            8 6.5                    Bokju #1 or 2 (1.0)      Bokju #1 or 2 (0.5)
 LPD            9.5 7.5                  Changwon #2 (1.0)        Hwafei #1, #7 (1.0)
 SDI            9.5 7.5                  Busan #1 (0.5), Shenzhen Suwon (1.0)
                                         #1 (0.5)
                                                                        (Evidence Sogap number 4-73)




        -139- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 142 of 172



Answer 40-1) In this meeting, they agreed to readjust the sales prices by December to January as every
company reduced its own sales price due to sharp decreases in demand, and to accept the previously-
reduced prices as their new guideline sales prices until February. Specifically, for 15” MPR2 and SKD
sizes, they set the price at $38, which reflected a $1 reduction from the previously existing price of $39,
and for 17” MPR2 and SKD sizes, they set the new guideline price at $44, which reflected a $2 reduction
from $46. For 17” Flat, TCO and SKD sizes, they agreed to sell them at $49, which reflected a $2
reduction from $51, and for 19” Flat, TCO and SKD sizes, they agreed to sell them at $70, which reflected
a $2 reduction from $72.
In addition, regarding the agreement on control of the production volume, I remember that we agreed
to have an audit carried out without prior notice by two people from each company to check if the
production lines were operated under Free Pass.
                                                                            (Evidence Sogap number 2-1)

   Multi-party meeting on February 24 2005

253      Regarding CDT sales prices, the defendants agreed to apply a $1 reduction to 15” and a $2
reduction to 17” and 19”. The agreed upon CDT prices for each size are $38 for 15”, $44 for 17” FST, $49
for 17”, and $70 for 19”, as shown below. The defendants also agreed to discuss the market prices among
the affiliates to discover if they are too low and to discuss the plan for production line reduction and its
execution. This can be verified through the emails sent by          Jeong from LPD on February 12 of the
same year before the meeting and the ‘Report on CDT Market’ by CPT.

Due to decreases in the market demand, the manufacturers are cutting the prices to the other
customers to secure their orders. Particularly, 17” Flats are the most controversial products. To
guarantee fair competition among the key business operators in the market, they decided on the price
quotation again to the main six customers, which is to be issued in February. The prices after
adjustment are $1 FOR 15” AND $2 FOR 17”/19”. As the market condition is still unclear, they agreed to
maintain the current prices above all on the matter of decrease in prices in March and then keep in
touch and decide on the prices when they receive orders from the customers or when they obtain the
market share.
                                                                      (Evidence Sogap number 3-168)


 USD                 Specifications     Standard prices     New standard Differences
                                        before 1 month      prices   after
                                                            February
                                                            updates
 15”                 B+D, MPR2          $39                 $38              -$1
 17” FST             B+D, MPR2          $46                 $44              -$2
 17”                 B+D, MPR2          $51                 $49              -$2
 19”                 B+D, TCO           $72                 $70              -$2
                                                                        (Evidence Sogap number 3-168)




        -140- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 143 of 172


-   Each manufacturer superficially adjusts the prices for its customers based on the standard price.
    However, according to certain information from a SEC/Philips customer, the actual prices of the
    competitor were much lower than the other prices, due to internal trading within the group.
    SDI/LPD suggests prices of the group’s internal customers that are lower by at least $2-3 from the
    announced standard prices for 17”. For 15”, the differences in the prices can be up to $4-5.
    Nonetheless, CPT cannot escape the reality of being the company ranking number 2. Tendency of
    decreasing orders might be accelerated.
-   Plan and execution of shut-down: According to the resolution approved in the previous meeting,
    each manufacturer will close down 1 production line, starting from January. At present, customers
    are continuously asking for a decrease in the prices by being aware of serious oversupply of CDT. At
    the meeting, LPD suggested moving up the execution of shut-down of the 2 nd production line to
    effectively control the gap between supply and demand. (At the meeting) it was decided to
    temporarily conduct the shut-down before June.
                                                                         (Evidence Sogap number 3-168)

254      According to the presentation evidence at the meeting, it was confirmed that they played golf in
Palm Garden from 8:00 AM to 12:00 PM before the meeting and they then held a CDT multi-party
meeting in Mariette Hotel in Taiwan from 2:00 PM to 5:00 PM. In addition, the participants examined
the differences between the CDT market share worldwide, which they had agreed upon previously, and
the actual sales volume from January to February 2005.




                                                                     (Evidence Sogap number 3-167, 4-74 )

(3) Multi-party meeting on March 29-30, 2005

255     You can see that the defendants exchanged the data on the sales and inventory reports by each
company with each other. They agreed to maintain the sales prices in April 2005 after the predictions on
the second quarter of 2005 and to strengthen the working-level meetings in which the sales prices are
mostly discussed twice each month in the future. Furthermore, they agreed to tighten the audits to the
production lines and to close down another single production line in addition to the two-level plan of the
production line reduction, which was agreed upon previously. This can be verified from the ‘Report on
G/S MTG’ by Samsung SDI.




        -141- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
            Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 144 of 172



4. Agenda on sales prices
- Agreed to basically maintain the sales prices of April
    For a solution, strengthen the working-level meeting, starting from April (discussions limited to sales
prices twice/month)
5. Capa Control
- Strengthening a line audit to make a follow-up of the Capa Control plan
   Conduct a line audit under Free Pass without any prior notice, starting from April
- Agreed to examine the shut-down of an additional production line with the exception of the 2nd step
shut-down, which was agreed previously.
                           Production Lines       Shut-Down Plan
                           End of 2004      End 1st Step (January)       2nd Step (- June)
                           of 2005
  CPT                      8 6.5                  Completed by each An additional production line
  LPD                      9.5 7.5                company                other than the line examined
  SDI                      9.5 7.5                                       by each company
                                                                          (Evidence Sogap number 4-75)

256      The defendants checked to see if each company complied with the market share assigned to it in
2005. After appointing an audit manager in each company for agreement on production control, they
agreed to give a day’s notice to the companies both in Korea and China and check with each other freely
to see if the other companies’ factories are operating. In addition, they agreed as below by breaking
down the prices into the standard prices on 15”, 17” and 19” CDT, the sales prices to the six customers by
small vendors, and the sales prices to their own key customers out of the six customers. This can be
verified through the notices on meeting schedules by CPT, ‘CDT Report’ by CPT, and the presentations at
the meetings with CPT and Samsung SDI.

    Guideline on Production Capacity Control for 2005 (1 Unit: M)                              They need to operate an audit
                                st                                      nd

    Manufa
               By January 2005 (1 Step)
               Number      Line       Factories
                                                        By June 2005 (2 Step)
                                                        Number      Line         Factories
                                                                                             system to re-examine the 1st
    ctures     of Lines    Reductio                     of Lines    Reductions               production capacity control
                           ns
    CPT        7.0         -1         - Fuzhou #1 or    6.5        -0.5          - Fuzhou
                                      #2(?)                                      # (?)       - Audit list (free admission)
    LPD        8.5         -1         - C/W #2 0.7L     7.5        -1            7
                                      #5 0.2L
    SDI        8.5         -1         - Busan #1        7.5        -1            - Suwon     Korea SDI            LPD
                                      (0.5L)                                     #1-2
                                      - S/Z #3 (0.5L)                            #1-3           J.H. Choi      J.S. Kim
    Total      28.0        -3.0                         21.5       -2.5                      China CPT            LPD
                                                                                                Bruce Lu        J.H. Oh
-         How was the internal decision for reaching the 2nd                                    Eddie Mei
          production capacity control made?
-         It seems that the 2nd step started earlier than previously                                  SDI
          agreed.                                                                                    J Jeong
                                                                                             -   Mutual auditing is strongly
                                                                                                 recommended
                                                                                             -   A day’s notice of auditing can be
                                                                                                 made
                                                                                             (Evidence Sogap number 3-171, 4-76)




        -142- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 145 of 172



  Examination of the price guideline (based on February)

 Sizes      Specifications        Six customers       Small companies            Key companies Six
                                     excluded          Six key companies            key companies
                                 (Market prices)
  15”     48kHz, N-ITC, MPR            U$39                 U$38.5                     U$38
  17”        N-ITC, MPR                U$45                 U$44.5                     U$44
   FS
  17”F       N-ITC, MPR               U$50                  U$49.5                     U$49
  19”F    96kHz, N-ITC, TCO           U$71                  U$70.5                     U$70
  Six key companies: SEC, AOC, LGE, Proview, Philips, Lite-On

                                                                      (Evidence Sogap number 3-171, 4-76)

   Multi-party meeting on April 13 2005

       At this meeting, the defendants disclosed the sales prices of 15” and 17” CDT for their key
customers as shown below. This was carried out in order to adjust their own sales prices by taking into
account the sales prices applied to the key customers of the other defendants. This can be verified
through the meeting report written by Weilong Lu from CPT.

                                                                      Proview
                                                                                        Bare minus $5
                                                                                        Bare minus
                                                                                        $6.5
                                                                                        Bare minus
                                                                                        $6.5

                                                                       Philips




                                                                      Liteon
                                     Bare minus
                                     $6.5
                                     Bare minus
                                     $6.5

                                                                               (Evidence Sogap number 3-172)

   Multi-party meeting on April 26 2005

258     The defendants checked with each other to see if each company complied with the market
shares agreed upon in 2005, and they also conducted an audit to check if they followed the agreement
on reduction of the production volume. In addition, regarding the price of 17” CDI, they disclosed the
prices applied to the six customers such as SEC and LG Electronics, etc. and they agreed to set a new
price guideline for each customer at the next working-level meeting.




        -143- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 146 of 172


This can be verified through the emails notifying the meeting schedules before the meeting, the ‘CDT
Report’ and the presentations that were made at the meetings.




                                                                      (Evidence Sogap number 3-175, 4-77)

   Multi-party meeting on May 24 2005

259     Regarding the sales prices, the defendants agreed to comply with the previous agreements until
July 2005. For production volume control, CPT agreed to keep 5 production lines, while LPD and Samsung
SDI agreed to keep 6.5 production lines, respectively. According to the presentation data and the
statements of the participants at the meeting, they checked the sales volume information of each
company and the accomplishment of the market shares, which were agreed in 2005, as they did at the
previous manager-level CDT multi-party meeting. In addition, they tried to maintain the proper
differences in the prices of 17” CDT among the defendants and maintain the market share for each
company by disclosing the sales prices of the primary suppliers for six customers. This can be verified
from the statements and the diary of       Song from Samsung SDI, the “CDT G/S MTG Report,” the “CDT
Market Report” from CPT and the presentations from Samsung SDI and CPT.




        -144- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 147 of 172



2. Agenda on sales prices
- Agreed to basically maintain the sales prices until April
- 'Price increase' in June was proposed, but negative responses from each company due to ‘excessive
capacity’.
    They will discuss the increase in sales prices for July at the end of June.
3. Capa Control
- They agreed to conduct the 3rd step by the 3rd quarter of the year
                Production Lines                              Shut-Down Plan
                  End of 2004                 1st Step              2nd Step                3rd Step
                                                - 1Q                  - 2Q                    - 3Q
     CPT       8.0 (4,000 people)       7.0 (3,100 people)    6.0 (2,600 people)      5.0 (2,200 people)
     LPD                9.5             8.5 (Changwon )         7.59 (Gumi )            6.5 (Hwafei )
     SDI                9.5         8.5 (Busan/Shenzhen .5     8.0 (Malian 5)          6.5 (Suwon 5)
 (Submitted)           11.3                respectively)
   (Actual)                               10.3 (Busan )
                                                                              (Evidence Sogap number 4-79)

Answer 54-1) At the time of ‘I. CDT Sales Update’ and ‘II. Market Share Review,’ we checked the data of
the CDT sales volume of each company at the time of the meeting and discussed to what extend it failed
to meet the market share that was agreed upon in 2005. If the agreed upon market share has a big
difference in the sales volume, the companies concerned explained the reasons to the other companies.
For the ‘III. Market Information,’ they made a table of the prices of 17” CRT/Flat monitors supplied by
the primary suppliers to six customers such as SEC, LGE, ADC, Lite-On, Proview and Philips), and they
discussed whether or not they would continue maintaining those prices in the future. Samsung SDI was
mostly connected to SEC and Proview, LPD to LGE and Philips, and CPT to ADC and Lite-on. (Evidence
Sogap number 2-1)

   Multi-party meeting on May 28 2005

260     The defendants were forced maintain the previously agreed upon prices by July 2005 after
exchanging the sales information for each company and discussing the sales prices, and they agreed to
control the production volume in accordance with the forecast for market demand in the second half of
the same year. They also checked the supply of 15”, 17” and 19” CDTs worldwide by exchanging the
monthly information on sales, and they also checked to make sure that they exchanged the sale
information for the key customers. Based on this information, they checked to see if they failed to meet
the market share agreed upon for 2005, and they agreed with the implementation of decreasing the CDT
production lines of each company and the plans for decreases of the production lines in future. This can
be verified through the notes written in the calendar of Ling Yuenyun from CPT and the ‘CDT G/S MTG
Report,’ the ‘G/S MTG Report’ from Samsung SDI and the presentations that were made at the meeting.




        -145- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 148 of 172



2. Agenda on sales prices
- Agreed to basically maintain the sales prices by July
- Partial discussions on price increase, although they still had negative responses due to increases in ‘LCD
Capa’ in the second half of the year.
3. Capa Control
- They agreed to conduct the 3rd step by the 3rd quarter of the year
               Production Lines                               Shut-Down Plan
                 End of 2004                1st Step               2nd Step                 3rd Step
                                              - 1Q                   - 2Q                     - 3Q
    CPT       8.0 (4,000 people)    7.0 (3,100 people)       6.0 (2,600 people)       5.0 (2,200 people)
    LPD               9.5            8.5 (Changwon )            7.59 (Gumi )            6.5 (Hwafei )
    SDI               9.5          8.5 (Busan/Shenzhen     8.0 (Malian/Suwon 5)        6.5 (Suwon 5)
 (Submitte           11.3               .5 respectively)
     d)                                10.3 (Busan )
  (Actual)
                                                                             (Evidence Sogap number 4-81)

   Multi-party meeting on July 20 2005

261     The defendants agreed to hold a ‘Top Meeting’ in August of 2005 to reach an agreement on the
necessity of production line adjustment in the second half of the same year after exchanging the
information on the sales, inventory and production lines of each company. This can be verified from the
schedules of     Song from Samsung SDI, the ‘G/S MTG Report’ and the presentations that were made
at the meeting.

5. Top Meeting
- With unclear prospects for demand recovery in the second half of the year, the three companies
gradually came to the common understanding that they needed the reconstruction of the
companies/production lines.
- They had a discussion to come to a common understanding about reconstruction through the Top
Meeting at the end of August
                                                                         (Evidence Sogap number 4-84)

   Multi-party meeting on September 28 2005

262     It is shown that the defendants agreed to assign 38.1% to Samsung SDI, 34.4% to LPD and 25.8%
to CPT for the market share of 2006. These are the numbers that reflect the differences between the
market shares of each company agreed for 2005 and the actually accomplished numbers. They also
agreed to reduce the number of the competitors for each customer by supplying only two companies for
each customer to coexist with each other.




        -146- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 149 of 172


2. M/S Allocation for 2006
   Based on a total of 33.4M for three companies in 2006, they agreed to assign 38% to SDI, 35% to
LPD, and 26% M/S to CPT
                                  M/S in 2005                           M/S in 2006
                    Original        Actual        Differences   Agreement         Quantities
                   agreement
      SDI             37.7%         41.0%            +3.3%         38.1%            12.8M
      LPD             34.0%         34.4%            +0.4%         34.8%            11.6M
      CPT             28.3%         24.6%              7%          25.8%             8.6M
   They agreed to introduce 2 vendors for each customer from 2006 to coexist with each other
                                                                      (Evidence Sogap number 4-87)

263     In addition, the defendants agreed to establish the price standards from CDT detailed
specifications clearly for increases in sales prices, minimize the inventory, mutually persuade the
customers to justify the causes of price increases and maintain the balance in the price differences for
each customer. They also agreed to reduce 0.5 – 1 production line for each company by the first half of
2006 by adding the agreement on the reduction of the production volume to the existing agreement.

   Three companies’ discussions on how to increase the sales prices
   Establish the processes for determining the prices
    Due to unclear price standards such as Bare/ITC, they can be put into an unfavorable situation when
they have negotiations with monitor manufacturers
   Minimize the inventory for CDT manufacturers and supplies
   Make the monitor manufacturers form an understanding on the causes of price increases
    They will persuade the monitor manufacturers by saying that they may be on the road to ruin due to
supply-chain collapses from price decreases.
   Maintain the price balances for each monitor manufacturer
    They will commence with this from ADC, which applies low prices, and gradually expand it
                                                                          (Evidence Sogap number 4-87)

4. Capa Control
  Beside the plans discussed previously, they agreed to close down 0.5-1 production line additionally
for the first step in 2005
  They strengthened the line audit for each company to follow-up the arranged plans for
implementation
                                                                       (Evidence Sogap number 4-87)

264     In addition, Samsung SDI and CPT had certain disputes over the sales volume to SEC. The
message said that when CPT increased the sales volume to SEC without prior approval from Samsung SDI,
Samsung SDI warned CPT that it would shrink the sales volume of CPT with price dumping to ADC and
Lite-On, which are the primary customers of CPT if CPT did not stop doing this.

Samsung SDI strongly protested CPT’s expansion of orders to SEC. It also warned that it would
retaliate against CPT regarding its primary customers such as ADC/Lite-On if it did not receive a
positive response from CPT. CPT clearly revealed that it would not compete in advance to increase
the orders to SEC. It was SEC that assigned the orders in advance.
                                                                   (Evidence Sogap number 3-181)

265     This meeting was a Top-level CDT multi-party meeting held in Taiwan.

        -147- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 150 of 172


The participants were    Kim and     Park from Samsung SDI, S. D. Han and      Lee from LPD and Mr.
Zhong and Jing-Song Lu from CPT. This can be verified from the schedules and the ‘G/S MTG Report’ of
   Song from Samsung SDI, the ‘GSM Top-level Management Meeting’ from CPT and the presentations
that were made by Samsung SDI and CPT.

   Multi-party meeting on November 2 2005

266     At this meeting, the defendants agreed to increase the price by $1 from the current CDT prices,
regardless of their customers, and facts were revealed that each member company notified its primary
customers of the increases in prices and the other defendants agreed to follow. In addition, it is found
that there were disputes over the attacks with price dumping to the primary customers of the other
defendants. Through this, you can determine that there were both explicit and implied agreements that
they should not attack the primary customers of the other defendants with price dumping among CDT
cartel member companies. This can be verified through the ‘Contact Report’ from CPT.

   Due to the causes stated above and the supply of masks, the expenses increased sharply. Three
parties had common understanding on the current standard of prices as follows: The prices increased
to USD $1, regardless of the customers.
     2. This week, Samsung SDI will be responsible for official notification of the increases in prices
         on SEC/EMC, and LPD/CPT will follow.
     3. LPD also promised that it would notify LGE/PHS, which are its internal customers, of increases
         in prices this week.
     4. With Samsung SDI harassing Lite-On over price dumping, CPT professed serious oppositions to
         this behavior and requested a return to its original prices. Otherwise, it would not cooperate
         regarding SEC.
                                                                         (Evidence Sogap number 3-183)

   Multi-party meeting on November 21 2005

267      The defendants mutually confirmed with the other participants the implementation of a $1
increase in all the CDT prices agreed in the previous meeting, and from the defendants who were
suspicious about the implementation, they obtained promises that they would follow the increases in
prices in the future. This can be verified from the schedules and statements of       Song from Samsung
SDI, the presentations at the meeting and the Report on the Result with the title of ‘GSM Meeting’ from
CPT.




        -148- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 151 of 172


1. Originally, the three parties had common understanding on all of the customers. This means that
   they will increase their delivery prices of SL/PC from November, regardless of tube types.
   However, only CPT and LPD increased the prices to ADC. Therefore, there were strong complaints on
   SDI, as it failed to follow the increases in prices.
2. SDI strenuously insisted that there were certain oppositions to increases in the sales prices to the
   primary customers (ADC/SEC and Proview) that were higher than those to CPT/LPD. After active
   discussions, SDI agreed to follow the increases in prices to ADC. SEC/Proview will also make
   efforts to increase the prices starting from the delivery the following week. CPT and LPD will
   follow this adjustment after SDI sees that it is successful.
3. In addition, LPD argued that LGE had already accepted the request for increases in prices starting
   from November.
                                                                       (Evidence Sogap number 3-184)

   Multi-party meeting on December 20-21 2005

268      It is seen that the defendants took an average of the market share by each company of the first
and second half of 2005 and calculated the whole market share for 2005, and finally compared these
figures mutually with the market share agreed upon previously. As the result of the comparison, the
market shares for 2005 by each defendant worldwide were 25.5% by CPT, 335% by LPD and 41% by
Samsung SDI. In addition, they agreed not to compete for CDT sales prices, as shown below. This can be
verified from the schedules and statements from       Song from Samsung SDI, the emails on the meeting
schedules sent to the other participants by     Kim from LPD, the ‘CDT GSM Meeting in December’ from
CPT, and the presentations that were made by Samsung SDI and CPT.

I. Actual M/S results by each manufacturer in 2005
                                    First half of 2005   Second half of 2005    Total
                  CPT                     23.9%                27.4%           25.5%
                  LPD                     35.5%                31.1%           33.5%
                  SDI                     40.5%                41.5%            41%


III. Price guarantees
Continuously decreasing the quantities of CDT has already been irretrievable. The three manufacturers
have a common understanding that the decreases in prices cannot create demand, but instead, it can
lead the vicious circle of flame wars. The above manufacturers hope that they will each control
themselves and not enter into price competitions.
                                                                          (Evidence Sogap number 3-186)
Answer 60-1) Similarly to the statements made at the meeting held just before this, the discussion went
along in the order of ‘CDT Sales Update’ for checking the sales volume of each company, ‘Market Share
Review’ for checking to see if the sales reports are consistent with the market share already agreed upon
by each company, and ‘Market Information’ for discussing the necessity of predicting the future prices in
accordance with market changes and to check the market prices.
                                                                             (Evidence Sogap number 2-1)




        -149- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 152 of 172


Answer 25-1) Above all, the participants checked to see if the market shares worldwide by each
company are implemented as agreed. They calculated the market shares on the first half and the second
half of 2005, respectively and the whole market share of 2005 from CPT, LPD, and Samsung SDI. As a
result, the whole market share of 2005 was 41% by Samsung SDI, 33.5% by LPD, and 25.5% by CPT.
However, we understated our sales to avoid criticism from the other participants. According to the
meeting report, our market share in the second half of 2005 was actually closer to that of LPD. With the
customers’ demands dropping sharply, there were certain changes in the market share of 2005, but if
the participants had not agreed to maintain the existing market share, we think that they would have
seen the steeper changes in the market share. In addition, despite the situation that CDT market was
shrinking at that time, the participants had a common understanding that they needed to avoid flame
wars resulting from decreases in prices.
                                                                          (Evidence Sogap number 1-1)

(12) Meetings among the competitors for 2006

I. Multi-party meeting on March 13-14 2006

269     It is seen that the defendants checked the monthly sales and market shares by each company
and confirmed the differences with the assigned market shares previously agreed upon for 2006. In
addition, they again confirmed the control agreement on the production volume by each company,
which was agreed upon in Top-level CDT multi-party meeting held in September 2005. It is also found
that the defendants adjusted the supply to SEC through agreement and checked to see if the previously
agreed production line shut-down plan was implemented. In other words, the defendants had disputes
over AOC, a Taiwanese customer, for imbalance in supply, and they agreed that in return for CPT and LPD,
which reduce the supply to SEC, Samsung SDI would terminate business to AOC. They also confirmed
that LPD would close down the Hwafei factory in China and Samsung SDI would close down the Suwon
factory in Korea. This can be verified from the ‘Visit Report (GSM Meeting)’ and statements made by
Jing-Song Lu from CPT and the result report under the title of ‘Key items for discussion’ by Ha from
Samsung SDI.

    1. Competitors’ sales status and M/S
    2. Capa Control by each company
     The discussion over Capa Control for three companies completed at the Top-level meeting
    in September 2005
4. About the meeting operations of three companies
   Change of meeting chairman by three companies SDI in 2005 CPT in 2006
   How to operate the meetings       current once per month holding to either quarterly or bimonthly
holding
   Security enhancement and schedules for future meetings
   Discussion on meeting security reinforcement and future meeting schedules (places)
                                                           (Evidence Sogap number 4-93, page 3223)




        -150- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 153 of 172


0 SDI stated that it merely supplied the order for OPTVx20K by ADC, which is seeking Brazil's support.
This is very unfair to SDI. SDI proposed to completely terminate business dealings with ADC on the
condition that LPD gives up the SEC order and CPTF drastically reduces M/S regarding SEC. Both CPTF
and LPD expressed their willingness to consider this proposal.
 III. Hwafei Plant
0 [LPD]’s Hwafei expected CDT production to completely cease in 5/E.
V. Miscellaneous
0 SDI’s Suwon plant will completely cease production of CRT in the near future.
                                                             (Evidence Sogap number 3-188, page 2722)


Answer 26-1) This meeting was the last CDT multi party meeting with competitors that I attended. How
much of the sales portion would be allocated to Samsung Electronics was discussed at this meeting
among the participating companies. First, Samsung SDI criticized LPD and our company for supplying
CDT to ADC at low prices. In addition, [they] stated that sales will stop for ADC on the condition that LPD
gives up the order regarding Samsung Electronics and Chunghwa Picture Tubes reduces sales share
regarding Samsung Electronics. I did state to the Samsung SDI participant that our company was willing
to consider the proposal but it was to cordially reject the proposal. Chunghwa Picture Tubes could not
give up the CDT sales to Samsung Electronics… Additionally, the meeting participants reviewed the
status of its plan to shut down the production line, in detail, the LPD representative stated that the
company planned to shut down the Hwafei, China plant by end of May, 2006 and the Samsung SDI
representative stated that SDI wanted to shut down the Suwon, Korea plant by the end of the year.

                                                                   (Evidence Sogap number 1-1, page 296)



4) Implementation facts

A) Implementation structure

270     The defendants of the common actions in this case agreed on the sales price, production volume
reduction plan, allocation of the market share rate by market customer, etc. through CDT cartel
meetings held regularly for over 10 years and did in fact implement these agreements in markets such
as Korea, etc.

271      The items agreed on at the cartel meetings were implemented under the control of the main
office of the participating groups. The CDT cartel meeting participants received orders to attend the
meetings and the instructions regarding the meeting contents from the main office regardless of
whether or not the employee was from the main office’s sales, marketing department, or foreign branch
office. In addition, the foreign branch office employee reported the agreed results either by email or in
the form of a result report after the conclusion of the meeting. The detailed implementation structure
according to the agreed measure is as follows:

272     Initially, the agreement regarding the fixed sales price used at the CDT cartel meetings was
established among each company’s main office or branch office employees, and




        -151- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 154 of 172


the main office or the branch office decided on the sales price to be used in the next negotiation cycle.
The negotiation cycle with customers for CDT customarily took place to decide sales price and sales
volume. The fixing of the sales price showed up in different forms, i) special price (scope) agreement by
cycle, ii) agreement on the lowest price iii) agreement on the price difference by detailed specifications,
iv) price agreement considering the quality difference by defendants, v) agreement on the price
increase (decrease) range, vi) agreement on the price difference between major customers and small
scale customers, vii) agreement on maintaining the previously agreed price etc. Additionally, defendants
selected the company to notify customers in connection with the fixing sales price agreement and also
agreed on the collateral conditions such as the notification date and reason for the price increase etc.

 Answer 10) Firstly, to tell you on the price, agreements were made on the price increase and the
 lowest price (minimum, floor, bottom price). Also, a price agreement was made regarding separate
 customers, and there was an agreement on the detailed prices to be offered by major (primary)
 suppliers to 6 large customers. There also existed an agreement on the detailed prices to be offered by
 2nd (secondary) suppliers to 6 large customers, as well as an agreement on the difference in price to be
 offered to 6 large customers and minor customers. The decision was jointly made regarding the
 selection of a company to notify customers, the timing of the price increase and the price increase
 background to be provided to the customers, and these were also made at the CDT cartel meetings.
                                                                            (Evidence Sogap number 1-1)

273       The implementation of the agreement was assured by reviewing whether or not to implement
the agreed sales price, since they were mostly reviewed at these meetings as noted above. The meeting
participants that represented the defendants confirmed the status of implementation for the previous
agreement turn by turn, and if a particular company’s sale volume had increased based on the
information obtained from customers or the market by each company, that company became the target
of criticism. Each time, whether the volume increased or decreased was confirmed with a prepared
table for items such as each company’s production volume, sales volume and inventory volume, etc. and
the increased sales volume for a particular customer was recognized as strong evidence of a sale at a
low price.

274       Secondly, the defendants agreed on the need for artificial reduction for the overall production
volume and also agreed on the detailed measures for the reduced production volume as well in the
initial stages of common action of this case. Initially, defendants agreed on non-operation days by
month, exchanged plans with each other and secured implementation of the agreement by visiting
other party’s production facilities and confirming whether or not operation had ceased. Monitoring
methods also advanced to be more thorough by the parties agreeing to visit other companies
unexpectedly without notice from time to time. In addition, defendants also agreed to shut down
worldwide production lines according to the common plans possessed by each company, since
operation termination can be faked and costs are involved in monitoring.




        -152- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 155 of 172


Yearly shut down plans were jointly established and the implementation of the agreement was reviewed
monthly and quarterly.

 Answer 10) There was an agreement on the production volume and worldwide CDT demand was
 estimated, and then each company’s supply amount was designated accordingly in order to prevent a
 CDT price decrease. The cartel member companies submitted monthly operation termination plans to
 the head company before the meeting and the days of operation termination was set at the meeting.
 Also, an agreement was made to shut down the worldwide CDT plants’ production lines themselves
 when the CDT market gradually contracted. The reason for agreeing to reduce production was with
 the agreement on price, it was not easy to monitor if there was deviation from the agreement due to
 products’ different specifications and difference in quality. The participating companies even sent
 their employees to other companies to directly inspect whether or not operation ceased or lines were
 shut down.
                                                                              (Evidence Sogap number 1-1)


275     Thirdly, the defendants also agreed on the allocation of the market share and sales volume
share by customer in order to avoid mutual competition. The defendants do not have to compete in
production technology and sales activities if shares are allocated by each company, and therefore they
agreed to the allocation of market shares. The defendants agreed on market share rates based on
previous sales volume materials for each company in order to allocate CDT market share rates and
reviewed the implementation of the agreement based on the actual sales volume during each meeting.
The agreement took place without many issues at most meetings, and they also adjusted the allocated
share for the defendant that had more sales than the agreed share. They also compensated the member
companies that had an actual sales figure of less than the allocate share and tried to implement the
agreement depending on the market situation changes by readjusting the market share rates, etc.

 Answer 10) Also, an agreement was made regarding the market share rate, and so there was an
 agreement on the sales share rate for each member company for the worldwide CDT market and for
 the sales share rate by customer, which was reviewed to check whether there was compliance at each
 meeting.
                                                                        (Evidence Sogap number 1-1)


276     In addition, these methods were also used for sales volume allocation for customers in a similar
situation and members decided on the main suppliers and the 2nd suppliers by customers and mutually
selected each sale’s share rate. If sales did not take place according to the agreement, share rates were
readjusted or encouraged implementation of the agreement through mutual discussions and further
agreement and thus they were able to come to an agreement on the allocation of shares by customers.
Each company enjoyed the benefit of not having to compete with other defendants for major customers
with the allocation of the sales volume shares by customers. It was simple to monitor and check to see if
other companies had supplied certain company’s major customer with a low price, since its order would
decrease and




        -153- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 156 of 172


the affected company would mention that it would use the same method to cause damage to the
competitor at the cartel meeting and thus smooth implementation of the agreement on the mutual
share rate could take place.

 Answer 16) The member company that had discovered non-compliance with the agreement would
 make threatening statements to the effect that it could also cause damage to the other company
 with similar methods .
 Answer 28) “Penalty: The other 2 companies will attack the trouble maker’s major customers” is a
 suggested penalty for the participant that does not carry out the agreement … ’s meaning is “let the
 2 companies supply the non-compliant company’s major customers with low prices and take away the
 volume.
                                                                         (Evidence Sogap number 2-1)

277    We know for a fact from these details that the defendants used various agreement methods and
operated monitoring and control system to effectively implement the agreement made at the CDT cartel
meetings.

B) Agreement’s Implementation

278      Looking at the above 2. A), this case’s common actions took place over a period of more than 10
years through cartel meetings that were held at least once every month. The items agreed on by the
defendants from each meeting were reviewed at the next meeting to see if they were implemented and
control rules were also established. The fact that this case’s common action defendants disclosed the
implemented items at each cartel meeting themselves and received confirmation from other defendants
is confirmed based on statements made by the participants who attended each of these meetings as
well as evidentiary materials.




        -154- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 157 of 172


B. Applicable Legal Provisions

Monopoly Regulation and Fair Trade Act related laws (prior to being amended as Act No. 7492 on April 1,
2006) Article 2-2 (applicable to acts in other countries) will apply even if the act occurred in a foreign
country if the domestic market is affected. < This article was established in December 31, 2004>

Article 19 (Prohibition of Improper Common Actions) A business person shall not improperly limit
competition by entering into an agreement to carry out any 1 of the following items (herein below
referred to as “Improper common actions”) or cause other business persons to carry out such acts by
the use of agreement, negotiation, decision or any other methods.
1. Actions to set, maintain or change the price
2. (Omitted)
3. Actions to limit the product’s production, release, transport or transactions or limit services

C. Determination of Illegality

1) Requirements to establish illegality

279     In order to establish improper common action under Act Article 19 Section 1, a business person
enters into an agreement with another business person with agreement, negotiations or decisions and
other methods regarding the acts specified in Act Article 19 Section 1 and such action does improperly
limit competition. This Act applies even if these improper common actions took place in foreign
countries if the actions affect the domestic market.

2) Applicability of requirements for illegality

A) Whether an agreement exists

(1) Meaning of the agreement




        -155- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 158 of 172


280     There must be an agreement between the business persons through contract, negotiations,
decision or any other method to carry out common actions in order to establish improper common
action. Agreement that establishes improper common action not only includes explicit agreements such
as agreement and negotiations, etc. but also implicit agreements such as understanding between
business persons. Agreement from the improper common action perspective means exchange of intent
between the business persons and includes not only explicit agreement but also cases of implicit
agreement or tacit understanding.39

281      Improper common action under Act Article 19 Section 1 means agreeing to carry out acts
covered under any 1 item under the said section to actually limit competition for a particular transaction
by a business person mutually with another business person and it does not require actually carrying out
the act according to the agreement, and even if one business person did not intend to carry out the
actions according to the agreement and agreed without any actual intention, this does not prevent the
establishment of improper common action, since the other business person believes the unintended
business person to act according to the agreement and the unintended business person also uses the
fact that the other business person would act according to the agreement as established and thus this is
equivalent to acts that limit competition. The above agreement need not take place among all the
business persons participating in certain transactional area or a particular bidding and the act will be
deemed an improper common action even if the act occurred only among some business persons if such
an act is viewed as actions to limit competition. 40

282      However, business persons continuously engage in common actions such as price decision,
maintaining or changing prices, etc. in future with the purpose of limiting competition, designating
certain standards such as principal agent for decision and decision method, etc. and further agree on the
basic rules regarding the agreement such as to meet regularly in the future in order to implement these
rules, and does meet multiple times during the implementation stage of the above agreement and
carries out the agreement on detailed price decisions etc., This series of meetings may constitute
improper common action overall, even if details of certain meetings or agreements change or there are
changes to the membership composition. Additionally, in the case that agreements were made on
pricing decisions and implementation actions based on such decisions, the expiration date of the
improper common action is not the date of such agreement but rather the conclusion date of the actual




39
     Refer to Seoul High Court December 11, 2001 Announcement 2000Noo16830 decision
40
     Refer to Supreme Court February 23, 1999 Announcement 98Doo15849 decision
            -156- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 159 of 172


actions based on such agreement.41


283      Regarding “Whether it can be concluded that an agreement had been established regarding the
basic rules and if price collusion had taken place”, the following are important factors in making such
determination: are there circumstances that show that price collusion was planned for a long term when
the initial price collusion took place, if each price collusion took place regularly and at a certain interval,
if the principal agent that determined the price increase at each price collusion was the same, if the
effect from each price collusion continued to the next collusion and if a new collusion took place based
on the agreed upon price from the previous collusion, etc. 42

(2) Whether the action is subject to Act Article 19 Section 1 Clause 1

284      “Act that sets, maintains or changes the price” as specified by Article 19 Section 1 Clause 1
refers to the action taken by business person mutually with another business person to set, maintain or
change the price of a product or service. The "price" referred to in this statement means the price
received by business person in return for providing a product or service, namely, it refers to all economic
benefits received by the business person from the other party to the transaction as a consideration and
includes all products or service regardless of name if it is something that should be paid to the business
person by the other party for the transaction in light of an applicable product, service characteristic,
transaction details and method, etc. as compensation for a product or service.43

285      This price derived from “price determining action” does not only mean the final price itself that
is related to the concluded transaction, but also includes the actions that determine the final transaction
price, as well as actions that determine the factors necessary to determine the said final price such as
the final price, average price, normal price, standard price, highest/lowest prices, etc.44

286      The case of two or more business people engaged in acts under Article 19 Section 1 refers not
only to cases where business people determine the same final transaction prices for the same products,
but also includes all acts that set the price’s compositional factors’ level or limit, such as acts in setting
the basis for price determination such as the average price, normal price, standard price, highest or
lowest price, etc. regarding the same or similar products, acts in setting the price increase or price
decrease rate (range), profit rate or discount rate, etc. (Seoul High Court January 17, 2007
Announcement 2004Noo17060 decision)




41
   Refer to Supreme Court March 24, 2006 Announcement 2004Doo11275 decision
42
   Refer to Seoul High Court August 20, 2008 Announcement 2007Doo2939 decision
43
   Refer to Supreme Court May 8, 2001 Announcement 2000Doo10212 decision
44
   Refer to Supreme Court June 14, 2002 Announcement 2000Doo8905 decision, Seoul High Court October 10,
2000 Announcement 2000Noo1180 decision
          -157- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 160 of 172


 In addition, mutual agreement as to the price guidelines is also deemed to be an improper common
action designated by Article 19 Section 1 Clause 1.45

287      Accordingly, as seen in the actions of the above section 2.1., this case’s defendants agreed on
the lowest price, price guideline, sale price range, sale price increase and decrease range, price
differentiation by detailed specification, etc. for CDT and also agreed on the price increase cause to be
sent to the customer, notification person by customer, timing of the price increase notification and
timing of the price, increase etc. and therefore, these actions are deemed to be an “Act that sets,
maintains or changes the price” specified by Article 19 Section 1 Clause 1.

(3) Whether the action is subject to Article 19 Section 1 Clause 3

288     “Act that limits the product’s production, release, transport or transaction or limits service”
specified by Article 19 Section 1 Clause 3 refers to acts that bring about price maintenance or increase
by each party business person limiting the production volume or sales volume to a certain level or
reducing it to a certain share. In the case that the market share was set previously by agreement, the
participating business persons must limit the product sales volume to maintain the agreed upon market
share and thus this action constitutes acts that limit the product’s production, release or transaction. 46

289     Accordingly, as seen in the actions of the above section 2.1., this case’s defendants attempted to
prevent a price decrease by removing excess supply in response to the overall reduction of demand
worldwide for CDT and thus they agreed to allocate the CDT market share by business or allocate the
sales share by customer and implemented the agreement. In the case that the market share was set by
previous agreement, the production volume must be limited to comply with the market share level in
order to maintain the market share that was agreed to and ultimately, this leads to reduced competition
regarding the market price, quality and service 47and therefore such common acts




45
   Refer to Supreme Court July 12, 2002 Announcement 2000Doo10311 decision
46
   Refer to Supreme Court May 8, 2001 Announcement 2000Doo10212 decision, Seoul High Court November 16,
2000 Announcement 99Noo6226 decision
47
   Supreme Court May 8, 2001 Announcement 2000Doo10212 decision
          -158- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 161 of 172


regarding market share are deemed to be an “Act that limits the product’s production, release,
transport or transaction or limits service” specified by Article 19 Section 1 Clause 3. Additionally, the
defendants agreed to days of non-operation of production lines and to shut down production lines in
order to reduce the production volume and monitored whether or not operations ceased and mutually
inspected the implementation of such acts in order to reduce the production volume, and thus these
acts are applicable to Article 19 Section 1 Clause 3.

(4) Common action as one

290      Not only the case where defendants agree on the basic rules regarding improper common
action and coming to an agreement on multiple occasions during the implementation stage, but also
cases where multiple agreements were made over a long period of time without agreement on such
basic rules and holding such meetings in series will be deemed to be an improper common action overall
if those meetings continued without interruption based on the same intent and were carried out for the
same purpose, even if there were some changes to each detailed content’s agreement or membership
composition, etc. without extenuating circumstances. 48

291      As seen in the above 2. A) actions, this case’s defendants conducted several cartel meetings and
also agreed continuously on detailed sales price, the market share and production volume reduction, etc.
during the common action period, thus this action is deemed to be one of common action considering
the following:49

292     Firstly, defendants tried to bring about CDT’s stable sales price (increase, maintain or prevent
rapid decrease) during the common action period and participated in cartel meetings in order to carry
out the same purpose with the same intent in order to maintain commercial viability and prevent
mutual destruction from price competition in the CDT market, and to adjust to the market demand
situation with agreement on the allocation of the market share and production volume reduction, etc.




48
  Refer to Supreme Court September 25, 2008 Announcement 2007Doo3756 decision
49
  In this case, it could be determined that the basic agreement was established at the first multi-party meeting on
November 23, 1996. That is, this meeting was attended by the CEO of the defendants and there were agreements
on information exchange for production status and planning, sales price decrease control, as well as price
agreement and reduction of the production volume, and these discussion details and agreement methods had a
mutual relationship with later cartel meetings attended by staff members in that they became more detailed and
continued during the common action period. In addition, this point is reinforced by the fact that they agreed to
involve other competitors that had not attended the meeting and thereby displayed their intention of prolonging
these cartel meetings over a long period of time.
          -159- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 162 of 172


293     Secondly, the defendants repeated the agreements and implementations without interruption
during the common action period in order to achieve the cartel meeting’s purpose. During this process,
the defendants not only agreed on the sales price, but also consistently agreed and implemented the
market shares by customers and production volume reduction, and also maintained the agreement
method's same quality continuously by having the CEO to middle managers and staff members attend
the meetings in a layered structure and by holding the meetings over a period of some 10 years in a
regular cycle with more than 1 meeting per month, etc.

294     In particular, there was mutual connection of intention without interruption during the process
of yearly repeated and routine agreements and implementation of this case’s cartel meetings. That is,
defendants discussed the implementation of previously discussed items and the feasibility of a price
increase agreement, etc. after exchanging each company’s production/sales status, future demand
estimates and current prices, etc. at each cartel meeting.

295    In addition, each company readjusted in each quarter by incorporating the changed
circumstances after agreeing on the yearly shares by each company based on the previous year’s sales
volume materials regarding the market shares. Additionally, the defendants continuously agreed on the
production volume reduction at each meeting in order to prevent a price decrease in line with the
defendants’ estimated demand volume regarding the production volume reduction, and the
implementation of such measures was confirmed by the defendants actually visiting each other
companies to check on operation termination.

296     Thirdly, considering the fact that the participants in the meetings were composed mainly of the
defendants and that this was maintained even though certain changes were made during common
action period50, this case’s common action constitutes one common action.




50
  LPD, among the defendants, initially attended as LG Electronics and Phillips Electronics, but later attended as an
LPD member when attending relevant meetings related to this case’s common action meetings when LPD was
established as a joint venture by merging the CRT business divisions of both companies and thus there is no
difference in the consistency of the participants.
         -160- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 163 of 172


B) Determination on the limitation on competitiveness

297      The act of business people mutually deciding or changing the price leads to a situation where
their intention affects the freely determined price or causes concern over such a situation by reducing
the price determination within such a range and therefore this type of common action by business
people is improper without any extenuating circumstances. 51

298     Allocation of the sales volume or market share of the Asian market, etc. including the Korean
market, and the price of the Korean market’s product import/sales price formation and being
maintained at a higher level than it would usually be under general factors by use of actual limitation of
competition among business people as a result of an agreement on sales price maintenance and
decision, etc. must be deemed to be a limitation of competition. 52

299     In the case that the market share was set by previous agreement, the production volume must
be limited to comply with the market share level in order to maintain the market share that was agreed
to and ultimately, this leads to reduced competition regarding the market price, quality and service and
therefore such common acts regarding the market share are limiting acts regarding the applicable
product’s production, release or transaction and thus this is deemed to be an improper common action
under Article 19 Section 1 Clause 3, which controls the transactional market's competition. 53

300     The actions reviewed in above 3. A., the common actions of the defendants in this case,
constitute a common action that clearly causes only limitation on competition when considering the
following: 54

301      Firstly, this case’s common actions are actions that resulted in agreements and implementations
by agreeing on the market share allocation and production volume reduction, etc. through cartel
meetings to artificially increase and maintain CDT’s price that are sold in Korea and other markets and
“price”, “production volume” and “market allocation”, etc. are inter-related and therefore these acts are
deemed to be actions that are intended to limit competition and not for any other purposes.




51
   Refer to Supreme Court March 26, 2009 Announcement 2008Doo2058 decision
52
   Refer to Seoul High Court November 24, 2004 Announcement 2003Noo9000 decision
53
   Refer to Supreme Court May 8, 2001 Announcement 2000Doo10212 decision
54
   According to the Review Standard for common action (Amended August 12, 2009, Fair Trade Commission
Established Rule No. 71, IV. Review of Illegality of Common Action), price, decision or limitation of production
volume or allocation of the market or customer, etc. is considered to be clear cases with only limiting effects on
competition.
          -161- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 164 of 172


302      Secondly, the defendants’ agreement on the CDT price or production volume makes it clear that
competition is completely excluded by monopolizing the market, since they exercised complete
dominance due to their holding of almost 100% of the CDT market from around 2002. It also cannot be
said that defendants intended to encourage competition when they selected the amount of the price
decrease while the market size was shrinking and the price was decreasing due to the demand changing
from CDT to flat displays. Price agreement is not limited to an agreement regarding price stabilization or
price increase, but includes all common actions that impede promotion of non-price competition, such
as quality or service, etc. and impede a faster price decrease while the market is experiencing a price
decline trend without common and artificial price selection.

303     Thirdly, it is also clear that the defendants fundamentally participated in this case’s common
actions with intent to restrict competition. Firstly, the information exchanged by the defendants at the
cartel meetings was generally information that is difficult to obtain from the market such as each
company’s production and sales volume, production line conversion plans, each company’s orders and
inventory status, each company’s current prices and each company’s future pricing plans, etc. 55 In
addition, the defendants encouraged agreement by continuing with the argument that mutual
competition can lead to mutual damage and thus it should be controlled at the actual cartel meetings.
The defendants reviewed other companies’ compliance with the agreed upon items and insisted on
implementing the agreed upon items if any violations were discovered, such as excessive discounting,
taking away another company’s order, or not reducing the production volume or sales volume as agreed.

304      Fourthly, this case’s common action does not have any relationship with the economic result
that increases efficiency. The CDT cartel organized by the defendants is simply a communication system
for adjusting and reaching an agreement on the sales price, allocation of the market share, reduction of
the production volume and does not constitute an Economic Association that improves efficiency such
as production, sale, purchase and research & development, etc.




55
  Actually, this fact is further supported by agreeing to not maintain evidence of meeting materials and limiting
the number of people that may attend the meeting from each company to maintain the secrecy of the cartel
meetings and the fact that meeting materials and the result reports are marked "secret" or "confidential", etc.
         -162- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 165 of 172


305     Accordingly, the defendants’ decision on the sales price, production volume restriction and
market allocation, etc. for the CDT market are clearly intended to limit competition, since these were
actions that were taken mutually by agreement on CDT’s sales price and limit on the production volume,
etc. even though these decisions were to be made separately by the business people independently and
these actions lead to reduced competition or cause competition to disappear among the business
people in the CDT market and thus constitute actions that improperly restrict competition.

3) Conclusion

306     The defendants’ CDT sales price setting actions violate Article 19 Section 1 Clause 1 and the
actions to reduce the production volume and allocate market shares violate Article 19 Section 1 Clause 3.

4. Disposition

A.       Corrective measures and assessment of fines

307     As seen previously, the defendants have almost 100% market dominance in the domestic CDT
sales market and the economic restrictive effect and the ripple effect severity is deemed to be
substantial, and therefore a fine will be imposed pursuant to the Laws related to Monopoly Control and
Fair Trade56 Article 22 and Article 55-3, Enforcement Regulations of the said Act57 Article 9 and Article 61
Section 1 [Asterisk2], Announcement on Imposition of Fine and Criteria58 (herein below referred to as
"Announcement of Imposition of Fine) 2. C. (1)59.




56
   April 1, 2005 Enforcement Regulation (Provision No. 7315) supplemental Provision Article 8 (Interim Measure
related to Fine for Improper Common Action) provides; “Those actions that took place prior to the effective date of
this law and were concluded prior to the effect of this law or even after this provision goes into effect, the portion
consisting of the continuous act shall be subject to the previous regulation." In addition, April 1, 2005
Enforcement Regulation Enforcement Order (No. 18768) Supplemental Provision Article 4 (Interim Measure
related to Fine for Improper Common Action) provides; “Those actions that took place prior to the effective date of
this provision and concluded prior to the effect of this provision or even after this provision goes into effect, the
portion consisting of the continuous act shall be subject to the previous regulation." However, the common action
of this case consists of November 23, 1996-March 14, 2006 and thus the imposition of a fine pursuant to Article 22
refers to the fine that was in effect prior to the amendment by April 1, 2005 Enforcement Regulation No. 7315.
Same as below.
57
   Refers to the fine prior to the amendment by April 1, 2005 Executive Order No. 18768. Same as below.
58
   Apply April 1, 2004 Fair Trade Commission Announcement No. 2004-7 pursuant to July 13, 2005 Fair Trade
Commission Announcement No. 200-15 Supplemental Provision Article 2.
59
   Pursuant to Announcement of the fine 2. C. (1), the fine is imposed as a principle for improper common action.
          -163- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 166 of 172


However, corrective measures designed to prevent future illegal actions will not be imposed, since the
defendants are not engaged in the CDT business due to the disappearance of the domestic CRT industry
and there is no actual benefit of any corrective measures as of the date of the decision.

B. Calculation of the fine

1) Calculation of the basic fine

A) relevant sales amount

     (1) Range of relevant products

308    A CDT for computer color monitors is the product that was affected directly or indirectly by the
common action of this case. Products of 14”, 15”, 17” and 19” are decided as the related products for
which agreement is to be sought.

     (2) The dates the violation acts were initiated and terminated

309     For defendant Samsung SDI, defendant Chunghwa Picture Tubes, defendant Chunghwa Picture
Tubes Malaysia60 and Chunghwa Picture Tubes Fuzhou [CPTF Optronics Co. Ltd.], the commencement of
a common action is November 23, 1996. On the same date, Samsung SDI, defendant Samsung SDI,
defendant Chunghwa Picture Tubes, defendant Chunghwa Picture Tubes Fuzhou and Orion held a
highest level CDT cartel meeting, which was attended by each company’s CEO, and exchanged
information related to production status and future plans, which are essential for a CDT multi-party
meeting, and agreed on production volume reduction, sales price decrease control and also agreed to
each take on the roles of encouraging the participation of the other CRT business people. Thereafter,
the CDT cartel continued for more than 10 years and thus November 23, 1996, the date on which
defendant Samsung SDI, defendant Chunghwa Picture Tubes, defendant Chunghwa Picture Tubes
Malaysia and Chunghwa Picture Tubes Fuzhou agreed on improper common action will be deemed to be
the commencement date of the common action.

310  For defendant LPD, June 30, 2001 will be deemed to be the commencement date of the
common action of this case.




60
     Refer to footnote 5) and footnote 14) as seen previously
            -164- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 167 of 172


As seen previously, LPD was established on June 11, 2001 by a holding company LPD by merging CRT
business divisions of LG Electronics and Phillips Electronics, and the CRT business division was
transferred to LPD by LG Electronics in the same year on June 30 and by Phillips Electronics in the same
year on July 1. It participated for the first time at the cartel meeting on July 24, 2001 and received major
sales materials/personnel information from the parent companies LG Electronics and Phillips Electronics.
Considering that there was agreement with multi party meeting participants on the sales price by
standard, production line termination, etc. on April 19, 2001 and June 27, 2001 when the parent
company participated in the common action of this case as well as continuing with collusion regarding
the foregoing on July 24, 2001 as a participant by the newly formed company on sales price guidelines
establishment and maintaining termination of the production line, etc. with the same participants, thus
there is a finding of restriction of competition and continuity of its effect, and therefore the date of the
transfer of business of June 30, 2001 will be deemed to be the commencement date of the violation.

311     In addition, the date of conclusion of the common action refers to the date from which these
agreements no longer took place and the fact that agreement no longer exists means engaging in
actions that are clearly contrary to the agreed upon actions and thus it is difficult to determine if the
agreement is being maintained. Examples of such actions are: if there were designated conditions or a
deadline related to the agreement, these conditions were satisfied or the deadline had expired; or the
applicable business person withdrew; there was an agreement to terminate the existing agreement or
return the increased price to its original position by agreement between business people, etc. 61

312     Accordingly, the termination date of this case’s common actions is March 14, 2006. There is no
evidence of any new meetings by the defendants after this date and it is unclear whether or not actual
common action existed further. The fact is that the CEO of Chunghwa Picture Tubes testified that [it]
was the last multi party meeting with the competitors. The fact is that the defendants discussed the
plans to close Chinese, Korean and other plants and cease production lines at the last meeting on March
14, 2006 as well as the fact that it is difficult to acknowledge the common actions of this continuing
under the condition of rapid contraction of the CDT market’s demand and rapid conversion to the flat
display market all lead to the conclusion that this case’s common action’s termination is March 14,
2006.



(3) Range of the relevant sales amount




61
     Refer to Seoul High Court November 24, 2004 Announcement 2003Noo9000 decision
            -165- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 168 of 172


The relevant sales amount refers to “The sales amount from the sale of products or service in a
particular transaction area during the violation period by the violating business person or the same
amount.62 Accordingly, Samsung SDI and Chunghwa Picture Tubes’ relevant sales amount is the amount
that the defendants exported to Korea or sold domestically for all CDT products from November 23,
1006~March 14, 2006 and for LPD's relevant sales amount, the period is from June 30, 2001~March 14,
2006. However, while 14” and 15” CDT products were included as the subject of agreement for the
entire period of the common action, 17” CDT product was included as a collusion product starting from
July 31, 1998 and 19” CDT product was included as a collusion product starting from January 18, 1999,
thus the relevant sales amount for those products will be the amount of the sales of CDT products
within Korea from the aforementioned dates until March 14, 2006.

B) Criteria for the imposition rate

314     Under the Announcement of Fine rule of 1. C. (1). (A)63, the fine is to be set according to the
violation act’s severity, and thus the calculated point is 3.064 according to the Guidelines on
Determination of Severity of Violations IV. 2. C. (1) relevant [Asterisk3], and a calculated point that is
over 2.2 is deemed to be a very severe violation and therefore the imposition rate is 3.5%~5%. However,
the 3.5% criteria imposition rate will be applied considering the fact that [acts] were carried out to ease
and maintain the sales price’s decrease amount during the collusion period of this case, the fact that
most of the violations took place prior to the Announcement of Fine of April of 2004 and the fact that
the acts were carried out to ease the deterioration of profit due to the CDT market’s rapid changes and
rapid demand reduction.

C) Basic fine amount

315     The basic fine total per defendant is as noted below pursuant to the criteria for the imposition
rate <Table 28>.




62
  Enforcement Regulation Article 9 (Calculation method for fine) Section 1
63
  Announcement of Fine 1. C. (1) Improper common action
   (A) The basic fine amount is calculated by multiplying the imposition criteria rate by the severity of the violation
to the relevant sales amount.
                 Degree of Severity                         Imposition Criteria Rate
             Very severe violation acts                           3.5%~5.0%
64
  This case’s violation details according to the Guidelines for determination of the severity of the violation act and
calculation of the relevant sales amount when imposing fines: 0.5 (weight) x 3 points (Imposition level: High) = 1.5
points, market dominance rate among factors to consider for severity of violation act: 0.2 (weight) x 3 points
(imposition level: High) =0.6 point. Ripple effect of violation acts: 0.3 (weight) x 3 points (Imposition level: High) =
0.9 point. The total of calculated points is 1.5 points + 0.6 points + 0.9 points = 3 points and is thus higher than 2.2
and therefore qualifies as a very serious violation act.
         -166- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
      Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 169 of 172


<Table 28>                                      Basic Fine Amount

                                                                                                               (Won)

     By Defendant              Relevant Sales Amount          Imposition Criteria Rate          Basic Imposition Amount

Samsung (SDI)                            2,079,129,417,703                               3.5%               72,769,529,619

LPD (LPD)                                  621,349,000,000                               3.5%               21,747,215,000

Chunghwa Picture Tubes                  TWD 6,039,799,493                                3.5%            TWD 211,392,982

                                         (232,592,678,475)                                                 (8,140,743,746)

Chunghwa Picture Tubes                     TWD 89,488,243                                3.5%               TWD 3,132,088
Malaysia
                                            (3,446,192,237)                                                  (120,616,728)

Chunghwa Picture Tubes                     TWD 79,677,374                                3.5%               TWD 2,788,708
Fuzhou
                                            (3,068,375,672)                                                  (107,393,148)

        Total                            2,939,585,664,087                                  -             102,885,498,241




*3 companies of Chunghwa Picture Tube’s Taiwan dollar (TWD) is derived as the commission decision
date (January 26, 2011). Converted to won by applying the Korea Foreign Exchange Bank’s initially
announced sales basis rate (1 TWD – 38.51 won)

D) Calculation of the mandatory adjusted fine amount

316   The defendants do not have any basis for mandatory adjustments and therefore the basic fine
amount is adopted as the adjusted fine amount.

E) Calculation of discretionary adjusted fine amount

317     (1) There was participation by high level executives who are directors or occupy a higher
position who directly participated in the violation acts during the defendants’ common actions of this
case, and therefore 10% of the mandatory adjusted fine amount is added pursuant to the
Announcement of Fine IV. 3. B.65.

318     (2) Defendant Chunghwa Picture Tube, defendant Chunghwa Picture Tube Malaysia, and
defendant Chunghwa Picture Tube Fuzhou had consecutive negative profits for years 2008 and 2009 and
LPD66 had negative profit for the years 2007 and 2008 and therefore,



65
   Announcement of Fine IV. 3. B. Grounds for additional amount and weight
   (5) In the case that the director or a higher position officer of the violating business has directly participated in
the violation acts: less than 10 of 100
   (6) In case of causes that come under above miscellaneous items (1) to (5): Less than 10 of 100
66
   Determination was made with only 2007 and 2008 quarterly profit statements, since LPD had transferred the
CRT business and assets in 2009 and it is currently not in operation and therefore there are no business reports for
the year 2009.
           -167- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
        Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 170 of 172


20% of the mandatory adjusted fine amount is reduced pursuant to Announcement of Fine IV. 3. (C). (8).
(B)67. The discretionary adjusted amount of the fine per defendant is as noted below <Table 29>.
<Table 29>                                   Discretionary Adjusted Fine Amount
                                                                                                        (Won)
     Defendant               Mandatory Adjusted     Additional/Reduction    Amount of         Discretionary Adjusted
                             Fine Amount            Rate                   Adjustment         Fine Amount

Samsung (SDI)                72,769,529,619         10%                    7.276,952,961      80,046,482,580

LPD (LPD)                    21,747,215,000                                2,174,721,500      19,572,493,500

Chunghwa Picture Tubes       TWD 211,392,982                               TWD 21,139,298     TWD 190,253,684

                             (8,140,743,746)                               (814,074,374)      (7,326,669,372)

Chunghwa Picture Tubes       TWD 3,132,088                                 TWD 313,208        TWD 2,818,880
Malaysia
                             (120,616,728)                                 2,061,672          (108,555,056)

Chunghwa Picture Tubes       TWD 2,788,708                                 TWD 278,870        TWD 2,509,838
Fuzhou
                             (107,393,148)                                 10,739,314         (96,653,834)

Total                                               -                                         107,150,854,342

F) Determination of the Imposed Fine Amount

319      (1) The defendant LPD68 transferred the CRT business division to Meridian Solar & Display Co.
Ltd. on June 8, 2009 and it is currently closed and its asset is only 15 million won with liabilities of over
30 billion won, and therefore it is objectively deemed to be unable to pay the fine and therefore the fine
is waived for this entity.

320      (2) Considering the fact that defendant Samsung SDI, defendant Chunghwa Picture Tubes,
defendant Chunghwa Picture Tubes Malaysia, and Chunghwa Picture Tubes Fuzhou experienced
deterioration of profitability due to industry re-structuring arising from the rapid price decrease and
rapid decrease of demand for the applicable year in the CDT market, the fact is that the improper profit
is small due to the actual loss of quarterly profits related to relevant products over the last 3~4 years,
the fact is that there is no record of illegal activities over the past 3 years and [they] have introduced CP
and are implementing them to prevent re-occurrence of violations, the fact is that there exists decisions
by the Fair Trade Commission that had mitigated for management difficulties related to the
market/industry for the applicable year,




67
    Announcement of Fine IV. 3. C. (8)
   (A) In the case that previous year’s profit is negative: less than 10 of 100
   (B) In the case that recent quarterly profit is consecutively negative for more than 2 years: less than 20 of 100
68
    Parent company LPD Holdings (Netherlands company) is currently in bankruptcy and in the process of liquidation.
           -168- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 171 of 172


the fact is that the domestic and foreign market or the industry’s objective circumstances or conditions’
rapidly change and therefore the CDT market has disappeared, it is deemed that imposition of the
discretionary adjusted fine amount is excessive and therefore 70% of the discretionary adjusted fine
amount is reduced pursuant to Announcement of Fine 4. A. (2)’s regulation. However, any amount less
than 1 million won is removed pursuant to Announcement of Fine 4. E.’s regulation. The imposed fine
amount per defendant is as noted below in <Table 30>.

 <Table 30>                                Imposed Fine Amount                          (1000 Won, %)

Defendant                Discretionary          Reduction   Imposed Fine        Limits on Imposed Fine Amount
                         Adjusted Fine          Rate        Amount
                         Amount                                                 5% of 3 year        3 year average
                                                                                average sales       sales amount
                                                                                amount
Samsung (SDI)                    80,046,482            70         24,013,944          276,998,000       5,539,965,000
LPD (LPD)                        19,572,493           100                   0          42,371,000         847,437,000
Chunghwa Picture Tubes            7, 326, 669          70          2,198,000          110,111,000       2,202,227,000
                          (TWD 190, 253, 684)                   (TWD 57, 076,
                                                                         105)
Chunghwa Picture Tubes               108,555           70             32,566           19,981,000         399,636,000
Malaysia                    (RWD 2, 818, 880)                  (TWD 845, 664)
Chunghwa Picture Tubes                96,653           70             28,996           34,472,000         689,442,000
Fuzhou                      (TWD 2, 509, 838)                  (TWD 752, 951)
*Taiwan dollar (TWD) is converted at the amount of 1 TWD = 38.51 won



5. Conclusion

321     The defendants’ actions of above 2. A. are in violation of Article 19 Section 1 Clause 1 and Clause
3, and therefore the decision is hereby rendered as contained in the main text by applying the
regulations of Article 22 for the order to pay a fine.



The Fair Trade Commission hereby renders its decision as noted above.




        -169- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
     Case 4:07-cv-05944-JST Document 2969-4 Filed 11/07/14 Page 172 of 172


                                          March 11, 2011



                Chairperson       Commission Chairman Dong Soo Kim



                                     Chief Commissioner Hak Hyun Kim



                                           Commissioner       Young Ho Ahn



                                           Commissioner      Myung Cho Yang



                                            Commissioner      Hong Kwon Lee



                                            Commissioner      Sung Hoon Chun



                                            Commissioner       Jong Won Choi




        -170- Translation of Korean Fair Trade Commission Multi-Party Meeting Decision No. 2011-019
FINAL TRANSLATION
